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               bmichael@pszjlaw.com

Counsel for the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                          ) Case No. 20-12345 (SCC)
                                                                )
THE ROMAN CATHOLIC DIOCESE OF                                   ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                     )
                                                                )
                                    Debtor. 1                   )
                                                                )


          SUMMARY COVER SHEET TO THIRD INTERIM APPLICATION FOR
            ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
         EXPENSES BY PACHULSKI STANG ZIEHL & JONES LLP AS COUNSEL
            TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
         FOR THE PERIOD FROM JUNE 1, 2021 THROUGH SEPTEMBER 30, 2021


1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four
digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box
9023, Rockville Centre, NY 11571-9023.


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          In accordance with the Local Rules for the Southern District of New York, Pachulski Stang

  Ziehl & Jones LLC (“PSZJ”), Counsel for the Official Committee of Unsecured Creditors (the

  “Committee”) of The Roman Catholic Diocese of Rockville Centre, New York (the “Debtor”),

  submits this summary (this “Summary”) of fees and expenses sought as actual, reasonable, and

  necessary in the fee application to which this Summary is attached (the “Application”) for the

  period from June 1, 2021 through September 30, 2021 (the “Application Period”).

          PSZJ submits the Application as an interim fee application in accordance with the Order

  Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

  Professionals dated November 4, 2020 [Docket No. 129] (the “Interim Compensation Order”).

Name of Applicant:                                                    Pachulski Stang Ziehl & Jones LLP
Name of client:                                                       Official Committee of Unsecured Creditors
Time period covered by this application:                              June 1, 2021 through September 30, 2021 2
Total compensation sought this period:                                $1,175,661.50
Total expenses sought this period:                                    $    20,129.94
Petition Date:                                                        October 1, 2020
Retention Date:                                                       Effective October 16, 2020
Date of order approving employment:                                   November 17, 2020

Total compensation approved by interim order to date: $2,442,354.85

Total expenses approved by interim order to date:                     $    24,709.98
Blended rate in this application for all attorneys:                   $      1,244.50
Blended rate in this application for all timekeepers:                 $        750.17
Compensation sought in this application already
paid pursuant to a monthly compensation order                         $ 668,074.80 3
but not yet allowed:


  2
     The applicant reserves the right to include any time expended and expenses incurred in the period indicated above
     in future application(s) if it is not included herein.
  3
    The applicant will be eligible for payment of $272,444.40 in fees and $4,013.98 from its Ninth Monthly Fee
  Statement filed on October 29, 2021 [Docket No. 807] after the objection deadline has expired on November 15,
  2021.


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Expenses sought in this application already paid
pursuant to a monthly compensation order but not yet    $    16,115.96
allowed:
Number of professionals included in this application    18
If applicable, number of professionals in this
application not included in staffing plan approved by   N/A
client:
If applicable, difference between fees budgeted
                                                        N/A
and compensation sought for this period:
Number of professionals billing fewer than 15 hours
                                                        8
to the case during this period:
Are any rates higher than those approved or disclosed
at retention? If yes, calculate and disclose the total
                                                        No
compensation sought in this application using the rates
originally disclosed in the retention application:

 This is a(n):    ☐ Monthly    ☒ Interim     ☐ Final Application.




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                         Monthly Fee Statements (Third Interim Fee Period)

                                June 1, 2021 through September 30, 2021

    Date             Period Covered          Requested       Requested        Approved        Approved
   Filed                                       Fees          Expenses           Fees          Expenses
  07/30/21         06/01/21 – 06/30/21       $259,929.00      $5,265.05       $207,943.20      $5,265.05
  08/27/21         07/01/21 – 07/31/21       $243,748.00      $5,412.72       $194,998.40      $5,412.72
  09/30/21         08/01/21 – 08/31/21       $331,429.00      $5,438.19       $265,143.20      $5,438.19
  10/29/21         09/01/21 – 09/30/21       $340,555.50      $4,013.98          Pending        Pending


                             PRIOR INTERIM FEE APPLICATIONS FILED

    Date            Period Covered           Requested       Requested        Approved        Approved
   Filed                                        Fees         Expenses            Fees         Expenses
  03/17/21        10/15/20 – 01/31/21       $ 987,643.50     $ 5,893.19      $ 978,077.35     $ 5,893.19
  07/19/21        02/01/21 – 05/31/21       $1,471,777.50    $18,816.79      $1,464,277.50    $18,816.79

 Date: November 15, 2021                       PACHULSKI STANG ZIEHL & JONES LLP

                                               /s/ James I. Stang
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                                               -and-

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                                                       ischarf@pszjlaw.com
                                                       bmichael@pszjlaw.com

                                                 Counsel for the Official Committee
                                                 of Unsecured Creditors




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                          ) Case No. 20-12345 (SCC)
                                                                )
THE ROMAN CATHOLIC DIOCESE OF                                   ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                     )
                                                                )
                                    Debtor. 1                   )
                                                                )

     THIRD INTERIM APPLICATION FOR ALLOWANCE OF COMPENSATION AND
    REIMBURSEMENT OF EXPENSES BY PACHULSKI STANG ZIEHL & JONES LLP
     AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
        FOR THE PERIOD FROM JUNE 1, 2021 THROUGH SEPTEMBER 30, 2021

         Pachulski Stang Ziehl & Jones LLC (“PSZJ”), Counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of the Debtor in the above-captioned case (the “Debtor”),

hereby submits this Third Interim fee application (the “Fee Application”) for the period from June

1, 2021 through September 30, 2021 (the “Interim Compensation Period”) in accordance with the

Order Authorizing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals dated November 4, 2020 [Docket No. 129] (the “Interim Compensation Order”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Local Bankruptcy Rules for the Southern District of New York (the “Local Rules”), the

Amended Guidelines for Fees and Disbursements for Professionals in the Southern District of New

York Bankruptcy Cases, effective December 4, 2009 (together with the “Local Rules”, the “Local

Guidelines”), the United States Trustee Guidelines for Reviewing Applications for Compensation

and Reimbursement of Expenses Filed Under 11 U.S.C. §330, effective January 31, 1996, and as

they may be amended (the “U.S. Trustee Guidelines”), and this Court’s Order Under 11 U.S.C.

§§331 and 105(a), Authorizing and Approving the Employment of Pachulski Stang Ziehl & Jones


1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four
digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box
9023, Rockville Centre, NY 11571-9023.


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LLP as Counsel to the Official Committee of Unsecured Creditors Effective as of October 16,

2020, dated November 17, 2020 [Docket 163]. PSZJ requests compensation in the amount of

$1,175,661.50 for fees on account of reasonable and necessary professional services rendered to

the Committee by PSZJ during the Interim Compensation Period and reimbursement of actual and

necessary costs and expenses in the amount of $20,129.94 incurred by PSZJ during the Interim

Compensation Period. In support of the Application, PSZJ submits the Declaration of James I.

Stang attached hereto as Exhibit A and incorporated herein by reference. In further support of

this Fee Application, PSZJ respectfully represents as follows:

                                          Preliminary Statement

                 1.          During the Interim Compensation Period, PSZJ represented, advised and

assisted the Committee in fulfilling its statutory obligations and duties to unsecured creditors and

rendered services to the Committee in accordance with its instructions and directions. By this Fee

Application, PSZJ requests (a) interim allowance and payment of compensation in the amount of

$1,175,661.50; and (b) reimbursement of actual and necessary costs and expenses in the amount

of $20,129.94. PSZJ reserves the right to apply in the future for reimbursement of actual and

necessary costs and expenses, if any, incurred by members of the Committee in connection with

their service as members of the Committee during the Application Period.

                 2.          To date, PSZJ has been paid a total of $413,619.37, comprising

(a) compensation of $668,074.80—plus an additional $272,444.40 if no objections are made to

PSZJ’s Ninth Monthly Fee Statement [Docket No. 807] by November 15, 2021—representing

80% of its fees incurred during half of the Interim Compensation Period; 2 and (b) reimbursement




2
 The applicant will be eligible for payment of $272,444.40 in fees and $4,013.98 from its Ninth Monthly Fee
Statement filed on October 29, 2021 [Docket No. 807] after the objection deadline has expired on November 15,
2021.


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of $16,115.96—plus an additional $4,013.98 if no objections are made to PSZJ’s Ninth Monthly

Fee Statement [Docket No. 807] by November 15, 2021—representing 100% of its actual and

necessary expenses incurred during the Interim Compensation Period. By this Fee Application,

PSZJ seeks interim allowance and payment of all compensation for services rendered during the

Interim Compensation Period.

                                               Background

                 3.          On October 1, 2020 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code with the Bankruptcy Court for the

Southern District of New York. The Debtor is operating its business and managing its properties

as debtor in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee

or examiner has been appointed in this case.

                 4.          On October 16, 2020, the Office of the United States Trustee (the “UST”)

appointed the Committee pursuant to Section 1102 of the Bankruptcy Code. The Committee

consists of nine individuals who hold claims against the Debtor, including eight individuals who

were sexually abused as minors by perpetrators for whom the Debtor was responsible and one

representative of a minor with a civil rights claim against the Debtor.

                 5.          Following the Committee’s appointment, the Committee elected a Chair,

determined it needed counsel and, subject to Court approval, hired PSZJ on October 16, 2020.

                 6.          On November 04, 2020, the Committee filed for Entry of an Order Under

11 U.S.C. §§ 1103(A) and 328(A) and Fed. R. Bankr. P. 2014(a) Authorizing the Employment of

Pachulski Stang Ziehl & Jones LLC as Counsel to the Official Committee of Unsecured Creditors

Effective as of October 16, 2020 (the “Retention Application”). As set forth in the Retention

Application, the Committee selected PSZJ to provide the following services to the Committee:




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                              assisting, advising and representing the Committee in its
                              consultations with the Debtor regarding the administration of this
                              Case;

                              assisting, advising and representing the Committee in analyzing
                              the Debtor’s assets and liabilities, investigating the extent and
                              validity of liens or other interests in the Debtor’s property and
                              participating in and reviewing any proposed asset sales, any asset
                              dispositions, financing arrangements and cash collateral
                              stipulations or proceedings;

                              reviewing and analyzing all applications, motions, orders,
                              statements of operations and schedules filed with the Court by the
                              Debtor or third parties, advising the Committee as to their
                              propriety, and, after consultation with the Committee, taking
                              appropriate action;

                              preparing necessary applications, motions, answers, orders, reports
                              and other legal papers on behalf of the Committee;

                              representing the Committee at hearings held before the Court and
                              communicating with the Committee regarding the issues raised, as
                              well as the decisions of the Court;

                              performing all other legal services for the Committee which may
                              be necessary and proper in this Case and any related proceeding(s);

                              representing the Committee in connection with any litigation,
                              disputes or other matters that may arise in connection with this
                              Case or any related proceeding(s);

                              assisting, advising and representing the Committee in any manner
                              relevant to reviewing and determining the Debtor’s rights and
                              obligations under leases and other executory contracts;

                              assisting, advising and representing the Committee in investigating
                              the acts, conduct, assets, liabilities and financial condition of the
                              Debtor, the Debtor’s operations and the desirability of the
                              continuance of any portion of those operations, and any other
                              matters relevant to this Case;

                              assisting, advising and representing the Committee in their
                              participation in the negotiation, formulation and drafting of a plan
                              of liquidation or reorganization;

                              assisting, advising and representing the Committee on the issues
                              concerning the appointment of a trustee or examiner under section
                              1104 of the Bankruptcy Code;


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                                    assisting, advising and representing the Committee in
                                    understanding its powers and its duties under the Bankruptcy Code
                                    and the Bankruptcy Rules and in performing other services as are
                                    in the interests of those represented by the Committee;

                                    assisting, advising and representing the Committee in the
                                    evaluation of claims and on any litigation matters, including
                                    avoidance actions; and

                                    providing such other services to the Committee as may be
                                    necessary in this Case or any related proceeding(s).

                 7.          On November 17, 2020, the Court entered the Order Authorizing and

Approving the Application of the Official Creditors’ Committee for Entry of an Order Under 11

U.S.C. §§ 1103(a) and 328(a) and Fed. R. Bankr. P. 2014(a) Authorizing the Employment of

Pachulski Stang Ziehl & Jones LLC as Counsel to the Official Committee of Unsecured Creditors

Effective as of October 16, 2020 (the “Retention Order”). The Retention Order provides that all

compensation and reimbursement of costs and expenses incurred during PSZJ’s employment be

paid only after appropriate application and approval of this Court.

                                          Jurisdiction and Venue

                 8.          This Court has jurisdiction to hear and determine this Fee Application

pursuant to 28 U.S.C. §§ 157 and 1334. Venue is proper in this district pursuant to 28 U.S.C. §§

1408 and 1409. Sections 328(a), 330, and 1103(a) of the Bankruptcy Code and Bankruptcy Rule

2014 are the statutory predicates for the relief sought by this Fee Application.

                                              Billing Practices

                 9.          PSZJ is applying for compensation for professional services rendered in

accordance with its customary practices and in compliance with the applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, Local Rules, any order establishing procedures for

interim compensation and reimbursement of expenses of this Court entered in these cases, and any

other applicable orders of this Court and guidelines established by the United States Trustee.



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                 10.         For professional services, fees are based on the PSZJ’s hourly rates. The

proposed rates of compensation, subject to final Court approval, are the customary hourly rates in

effect when services are performed by the professionals and paraprofessionals who provide

services to the Committee. In the Retention Application, the standard hourly rates for the PSZJ

attorneys who are expected to primarily work on this matter are $1,195 for James I. Stang, $1,075

for Karen B. Dine, $995 for Kenneth H. Brown, $825 for Gail S. Greenwood, $795 for Ilan D.

Scharf, and $650 for Brittany M. Michael. PSZJ’s current standard hourly rates are:

                               Partners                 $725.00 to $1,495.00 per hour

                               Counsel                  $650.00 to $1,195.00 per hour

                               Associates               $575.00 to $695.00 per hour

                               Paralegals               $395.00 to $460.00 per hour

                 11.         PSZJ’s hourly rates are set at a level designed to fairly compensate PSZJ

for the work of its attorneys and paralegals and to cover fixed and routine overhead expenses.

Hourly rates vary with the experience and seniority of the individuals assigned, and by geographic

location and market. These hourly rates are subject to periodic adjustments to reflect economic

and other conditions and are consistent with the rates charged elsewhere. PSZJ’s hourly fees are

comparable to those charged by attorneys of similar experience and expertise for engagements of

scope and complexity similar to this chapter 11 case and are reasonable.

                 12.         PSZJ proposes to reduce its hourly rates for the benefit of the Committee’s

constituency (i.e., holders of tort claims against the Debtor). In order to assure that any price

reduction inures solely to the benefit of the Committee’s constituency, PSZJ will hold ten percent

of all fees received in this Case in a trust account to benefit this Case’s tort claimants. The funds

will be held until a trust is established through a plan of reorganization. If no such trust is created,




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the funds will be donated to a child advocacy organization to be selected by the Committee at the

conclusion of the Case.

                 13.         PSZJ will also seek reimbursement for actual and necessary expenses

incurred in connection with its engagement by the Committee in this Chapter 11 case. It is PSZJ’s

policy to charge its clients in all areas of practice for all other expenses incurred in connection with

the client’s Case. The expenses charged to clients include, among other things, telephone charges,

mail and express mail charges, fax charges, special or hand delivery charges, document retrieval,

photocopying charges, charges for mailing supplies (including, without limitation, envelopes and

labels) provided by PSZJ to outside copying services for use in mass mailings, travel expenses,

expenses for “working meals,” computerized research, transcription costs, as well as non-ordinary

overhead expenses such as secretarial and other overtime. PSZJ will charge the Committee for

these expenses in a manner and at rates consistent with charges made generally to PSZJ’s other

clients, and all amendments and supplemental standing orders of the Court. PSZJ believes that it

is more appropriate to charge these expenses to the clients incurring them than to increase its hourly

rates and spread the expenses among all clients.

                 14.         PSZJ maintains contemporaneous records of the time expended and actual,

necessary expenses incurred in support of its billings. Time entries are recorded in six-minute

increments.

                 15.         All services for which PSZJ requests compensation were performed for or

on behalf of the Committee. PSZJ has received no payment and no promises for payment from

any source other than the Debtors for services rendered or to be rendered in any capacity

whatsoever in connection with the matters covered by this Application. PSZJ has not received a

retainer in these cases. PSZJ has not entered into any agreement, express or implied, with any

other party for the purpose of fixing or sharing fees or other compensation to be paid for


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professional services rendered in these cases. No compensation will be paid to PSZJ or any

member thereof in connection with these cases other than in accordance with the provisions of the

Bankruptcy Code.

                                          Monthly Fee Statements

                 16.         PSZJ has filed and served the following monthly fee statements for the

period June 1, 2021 through September 30, 2021, pursuant to the Interim Compensation Order.

To date, no objections to the Prior Monthly Statements have been filed.


    Date             Period Covered              Requested      Requested        Approved        Approved
   Filed                                           Fees         Expenses           Fees          Expenses
  07/30/21         06/01/21 – 06/30/21           $259,929.00     $5,265.05       $207,943.20      $5,265.05
  08/27/21         07/01/21 – 07/31/21           $243,748.00     $5,412.72       $194,998.40      $5,412.72
  09/30/21         08/01/21 – 08/31/21           $331,429.00     $5,438.19       $265,143.20      $5,438.19
  10/29/21         09/01/21 – 09/30/21           $340,555.50     $4,013.98          Pending        Pending


                             PRIOR INTERIM FEE APPLICATIONS FILED

    Date            Period Covered              Requested       Requested       Approved         Approved
   Filed                                           Fees         Expenses           Fees          Expenses
  03/17/21        10/15/20 – 01/31/21          $ 987,643.50     $ 5,893.19     $ 978,077.35      $ 5,893.19
  07/19/21        02/01/21 – 05/31/21          $1,471,777.50    $18,816.79     $1,464,277.50     $18,816.79

                 17.         This Fee Application is PSZJ’s Third Interim fee application and seeks

payment of interim compensation for services rendered to the Committee in amounts that have

been applied for covering the Interim Compensation Period of June 1, 2021 through September

30, 2021.

                 18.         This Fee Application requests that the Court (a) approve interim fees in the

total amount of $1,175,661.50 and $20,129.94 in reasonable and necessary out-of-pocket expenses

in the total amount of $1,195,791.44 incurred by PSZJ for services rendered in the Chapter 11 case

during the Interim Compensation Period.




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                 19.         The fees requested are reasonable, and all amounts requested were for actual

and necessary services rendered on behalf of the Committee.

                Summary of Professional Services Rendered and Time Expended

                 20.         Pursuant to the Local Guidelines, PSZJ has classified all services performed

for which compensation is sought for this period into one of several major categories. PSZJ

attempted to place the services performed in the category that best relates to the service provided.

However, because certain services may relate to one or more categories, services pertaining to one

category may in fact be included in another category.

                 21.         Exhibit B sets forth a timekeeper summary that includes the respective

names, positions, department, bar admissions, hourly billing rates and aggregate hours spent by

each PSZJ professional and paraprofessional that provided services to the Committee during the

Interim Compensation Period. The rates charged by PSZJ for services rendered to the Committee

are the same rates that PSZJ charges generally for professional services rendered to its non-

bankruptcy clients.

                 22.         Exhibit C sets forth a task code summary that includes the aggregate hours

per task code spent by PSZJ professionals and paraprofessionals in rendering services to the

Committee during the Interim Compensation Period.

                 23.         Exhibit D sets forth a disbursement summary that includes the aggregate

expenses, organized by general disbursement categories, incurred by PSZJ in connection with

services rendered to the Committee during the Interim Compensation Period.

                 24.         PSZJ’s invoices for the Interim Compensation Period were attached as

exhibits to the Prior Monthly Statements [Docket Nos. 637, 708, 767 and 807] and are re-attached

here as Exhibit E.




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                 25.         The following summaries are intended to highlight key services rendered

by PSZJ during the Interim Compensation Period in certain task categories in which PSZJ has

expended a considerable number of hours of behalf of the Committee, and are not meant to be a

detailed description of all work performed.

A.      AA - Asset Analysis/Recovery

                 26.         This category includes work regarding asset analysis and recovery issues.

During the Interim Compensation Period the Firm, among other things: (1) reviewed and analyzed

issues regarding channeling injunctions; (2) reviewed and analyzed issues regarding the status of

discovery; (3) performed work regarding a parish Bankruptcy Rule 2004 motion; (4) reviewed and

analyzed financial discovery issues; (5) reviewed and analyzed issues regarding the Diocese’s

accounting system; (6) reviewed and analyzed a motion regarding restricted assets; (7) reviewed

and analyzed the Debtor’s draft supplement to cash management motion; and (8) reviewed and

analyzed asset analysis and recovery issues.

                             Fees: $61,713.00;     Hours: 73.30

B.      AC – Avoidance Actions

                 27.         This category includes work regarding the recovery of avoidable transfers.

During the Interim Compensation Period the Firm, among other things: (1) performed work

regarding a Seminary complaint; (2) reviewed and analyzed issues regarding New York law; (3)

reviewed and analyzed issues relating to the IAC Report; (4) performed work regarding a

complaint relating to cemetery transfers; (5) reviewed and analyzed the IAC solvency analysis

regarding constructive fraud claims; (6) reviewed and analyzed issues regarding the use of IAC

Report documents in complaints to avoid fraudulent transfers; (7) reviewed and analyzed issues

regarding intentional fraud badges; (8) reviewed and analyzed issues regarding settlement of

fraudulent transfer claims; (9) reviewed and analyzed issues regarding Seminary zoning and


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appraisals; (10) reviewed and analyzed issues regarding stipulations relating to confidentiality

designations; (11) reviewed and analyzed issues regarding high school transfers; (12) performed

work regarding a complaint relating to high school transfers; (13) performed work regarding a

complaint relating to Foundation transfers; (14) performed work regarding a stipulation with the

Debtor and the Seminary corporation to prevent transfer of property; (15) performed work

regarding a common interest agreement; and (16) corresponded and conferred regarding avoidance

action issues.

                             Fees: $123,399.00;   Hours: 118.40

C.      BL – Bankruptcy Litigation

                 28.         This category includes work regarding adversary proceedings and motions

in the Bankruptcy Court. During the Interim Compensation Period the Firm, among other things:

(1) performed work regarding a reservation of rights relating to Hamilton estate motion; and (2)

corresponded regarding litigation issues.

                             Fees: $2,280.00;     Hours: 3.00

D.      CA - Case Administration

                 29.         This category includes work regarding case administration issues. During

the Interim Compensation Period the Firm, among other things: (1) maintained a memorandum

of critical dates; (2) reviewed and analyzed dockets; (3) corresponded and conferred regarding

case administration issues; (4) maintained a work-in-progress memorandum; (5) attended to

scheduling and deadline issues; (6) performed work regarding notice issues; (7) performed work

regarding certificates of no objection relating to fee statements; (8) performed work regarding a

reservation of rights; (9) maintained service lists; (10) reviewed and analyzed issues regarding

filing hearing binders under seal; (11) performed work regarding hearing binders relating to a




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supplemental brief in support of the Committee’s Bankruptcy Rule 2004 motion concerning parish

production of documents; and (12) performed work regarding agenda notices.

                             Fees: $23,891.50;     Hours: 42.80

E.      CEM – Cemetery Transfers

                 30.         This category includes work regarding cemetery transfer issues. During the

Interim Compensation Period the Firm, among other things: (1) performed work regarding a

complaint to recover transfer of cemetery property (“Cemetery Complaint”); (2) performed work

regarding exhibits to the Cemetery Complaint; (3) performed legal research; (4) reviewed and

analyzed a proposal relating to cemetery transfer issues; (5) reviewed and analyzed the IAC Report

regarding cemetery transfers, burial contracts and financial reports; (6) reviewed and analyzed

claims against CemCo and Cemetery Trust and alleged defenses; (7) reviewed and analyzed

perpetual maintenance issues; (8) reviewed and analyzed documents regarding cemetery rules and

regulations; (9) prepared for and attended a telephonic conference with attorneys for Cemetery,

the Debtor and special mediator regarding disclosure of documents and IAC Report requests; (10)

reviewed and analyzed documents relating to cemetery transfer issues; (11) reviewed and analyzed

proposed redactions to the IAC Report; (12) attended to issues regarding transmission of redacted

IAC Report and exhibits to Cemetery Corp.; and (13) corresponded and conferred regarding

cemetery transfer issues.

                             Fees: $66,221.00;     Hours: 62.80

F.      CO - Claims Administration/Objections

                 31.         This category includes work regarding claims administration and claims

objection issues. During the Interim Compensation Period the Firm, among other things: (1)

reviewed and analyzed bar date issues; (2) reviewed and analyzed claim confidentiality issues; (3)

reviewed and analyzed issues regarding access to sexual abuse proof of claim forms; (4) responded


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to creditor inquiries; (5) reviewed and analyzed issues regarding a Committee accused website;

(6) reviewed and analyzed sexual abuse claims; (7) performed work regarding bar date notice

issues; and (8) corresponded and conferred regarding claim issues.

                             Fees: $7,039.00;      Hours: 12.70

G.      CP - Compensation Professionals

                 32.         This category includes work regarding compensation of professionals.

During the Interim Compensation Period the Firm, among other things: (1) performed work

regarding new billing task codes; (2) performed work regarding the Firm’s May 2021 fee

statement; and (3) corresponded and conferred regarding fee issues.

                             Fees: $9,589.50;      Hours: 18.00

H.      CPO - Compensation of Professionals/Others

                 33.         This category includes work regarding compensation of professionals, other

than the Firm. During the Interim Compensation Period the Firm, among other things: (1)

reviewed and analyzed issues regarding fees of the Debtor’s professionals; (2) reviewed and

analyzed issues regarding Morningstar; and (3) corresponded and conferred regarding

compensation issues.

                             Fees: $12,216.00;     Hours: 14.80

I.      CREV - Claims Review

                 34.         This category includes work regarding claims analysis and review. Given

the critical importance of a thorough understanding of claims in this case, the Firm dedicated a

significant amount of time to claims review during the Interim Compensation Period. Specifically,

the Firm has non-attorneys perform the initial review and charting of the sexual abuse claims, as

well as redacting the personal identifying information from the sexual abuse claims so they can be

shared with the Committee, in accordance with the terms of the Order Establishing Deadlines for


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Filing Proofs of Claim and Approving the Form and Manner of Notice Thereof [Docket No. 333].

The Firm then has an attorney review and revise the claims chart, as well as having all central

attorneys working on the case gain a familiarization with the claims. In the Firm’s experience,

these steps are necessary for the creation of a reliable claims chart that avoids duplicative re-review

of claims, as well as for ensuring the attorneys working on the case have the necessary knowledge

to perform their tasks throughout the case.

                             Fees: $217,219.00;   Hours: 479.80

J.      CRF - Committee Discovery Requests – Finance/Govern

                 35.         This category includes work regarding Committee discovery requests

relating to financial and governance issues. During the Interim Compensation Period the Firm,

among other things: (1) performed work regarding a discovery plan; (2) reviewed and analyzed

issues regarding discovery search terms; (3) reviewed and analyzed documents relating to Unitas;

(4) reviewed and analyzed documents regarding accounting and funds issues; (5) reviewed and

analyzed issues regarding commingling of funds; (6) performed work regarding a letter to the

Court relating to Unitas; (7) reviewed and analyzed potential claims against Unitas; (8) prepared

for and attended teleconferences with the Debtor’s and Committee’s professionals regarding

Unitas issues; (9) reviewed and analyzed flow of funds issues; (10) reviewed and analyzed

documents regarding asset information; (11) performed work regarding a supplemental brief

relating to commingling issues; (12) performed work regarding a motion to file documents under

seal; (13) reviewed and analyzed the Debtor’s finance council minutes; (14) performed work

regarding hearing binders relating to sealed documents; (15) reviewed and analyzed issues

regarding Department of Education meeting minutes; (16) prepared for and attended

teleconferences with the Debtor’s attorneys and other professionals regarding document

production and discovery issues; (17) prepared for and attended teleconferences with the


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Committee’s financial advisors regarding financial discovery issues; (18) reviewed and analyzed

issues regarding restricted funds; (19) reviewed and analyzed issues regarding the Debtor’s record

retention policy; (20) reviewed and analyzed Telecare meeting minutes and Unitas board meeting

minutes produced by the Debtor; (21) reviewed and analyzed produced documents related to

Ecclesia; (22) reviewed and analyzed outstanding document requests and drafted next round of

requests; and (23) corresponded and conferred regarding discovery issues.

                             Fees: $145,753.00;   Hours: 181.80

K.      CRP - Committee Discovery Requests – Parishes

                 36.         This category includes work regarding Committee discovery requests

relating to parishes. During the Interim Compensation Period the Firm, among other things: (1)

performed legal research; (2) performed work regarding a reply in support of the Committee parish

Bankruptcy Rule 2004 motion; (3) prepared for and attended a meet and confer on July 12, 2021;

(4) reviewed and analyzed issues regarding potential claims against parishes; (5) reviewed and

analyzed produced parish documents; (6) reviewed and analyzed issues regarding parish and

affiliate assets and liabilities; and (7) corresponded and conferred regarding discovery issues.

                             Fees: $19,709.50;    Hours: 20.90

L.      CVA - Committee Discovery Requests

                 37.         This category includes work regarding Committee discovery requests.

During the Interim Compensation Period the Firm, among other things, reviewed and analyzed

Committee discovery requests and lists of clergy.

                             Fees: $695.00;       Hours: 1.00

M.      EAPPS – Employment Applications

                 38.         This category includes work regarding employment applications. During

the Interim Compensation Period the Firm, among other things: (1) performed work regarding an


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application to employ Ruskin Mascou Faltischek as special real estate counsel; (2) performed work

regarding an order in the Ruskin Mascou Faltischek matter; (3) reviewed and analyzed Ordinary

Course Professionals issues; (4) reviewed and analyzed issues regarding the Debtor’s valuation

expert; (5) reviewed and analyzed the Burnett retention in regard to insurance issues; and (6)

reviewed and analyzed a motion regarding expert employment.

                             Fees: $6,583.00;     Hours: 9.50

N.      GC - General Creditors Committee

                 39.         This category includes work regarding Committee issues. During the

Interim Compensation Period the Firm, among other things: (1) responded to Committee member

and State Court counsel inquiries; (2) prepared for and attended teleconferences with State Court

counsel regarding case issues; (3) prepared for and attended telephonic Committee meetings; (4)

performed work regarding agenda and minutes relating to Committee and State Court counsel

meetings; (5) prepared for and participated in teleconferences with the Debtor’s attorneys

regarding case issues; (6) reviewed and analyzed parish discovery issues; (7) reviewed and

analyzed avoidance action issues; (8) reviewed and analyzed mediator selection issues; (9)

reviewed and analyzed insurance issues; and (10) corresponded and conferred regarding

Committee issues.

                             Fees: $29,220.00;    Hours: 28.00

O.      H - Hearings

                 40.         This category includes work regarding hearings and related issues. During

the Interim Compensation Period the Firm, among other things, prepared for and attended status

conferences on June 8 and 21, 2021.

                             Fees: $2,082.50;     Hours: 2.10




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P.      IAC - IAC/Affiliate Transactions

                 41.         This category includes work regarding issues relating to the IAC and

affiliate transactions. During the Interim Compensation Period the Firm, among other things: (1)

reviewed and analyzed special mediator and avoidance action issues; (2) performed work

regarding a common interest agreement; (3) reviewed and analyzed documents relating to IAC

matters; (4) reviewed and analyzed Foundation issues; (5) reviewed and analyzed religious

freedom issues; (6) performed legal research; (7) prepared for and attended a status conferences

with Judge Gonzalez; (8) reviewed and analyzed confidentiality issues; (9) reviewed and analyzed

issues regarding a solvency analysis; (10) reviewed and analyzed New York law regarding

fraudulent conveyances; (12) reviewed and analyzed claims estimation issues; and (13)

corresponded and conferred regarding IAC and affiliate transaction issues.

                             Fees: $99,950.50;     Hours: 102.00

Q.      IC - Insurance Coverage

                 42.         This category includes work regarding insurance coverage issues. During

the Interim Compensation Period the Firm, among other things: (1) reviewed and analyzed issues

regarding intervening party rights; (2) reviewed and analyzed a proposed insurance settlement; and

(3) corresponded and conferred regarding insurance issues.

                             Fees: $4,904.50;      Hours: 4.20

R.      IFA – Interim Fee Applications

                 43.         This category includes work regarding interim fee applications. During the

Interim Compensation Period the Firm, among other things: (1) performed work regarding the

Firm’s Second interim fee application; (2) performed work regarding the BRG Second interim and

Kinsella Media’s Second and Final fee applications; (3) performed work regarding the Burns

Bowen Bair Second interim fee application; (4) reviewed and analyzed deadline issues; (5)


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attended to notice issues; (6) reviewed and analyzed billing task code issues; (7) performed work

regarding an interim fee application order; (8) maintained a professional fee chart; and (9)

corresponded and conferred regarding interim fee application issues.

                             Fees: $29,010.50;    Hours: 47.30

S.      IL – Insurance Litigation

                 44.         This category includes work regarding insurance litigation issues. During

the Interim Compensation Period the Firm, among other things: (1) reviewed and analyzed court

dockets regarding recently filed pleadings; (2) reviewed and analyzed potential expert issues; (3)

reviewed and analyzed insurance program issues; (4) reviewed and analyzed the Brooklyn versus

Arrowood complaint; (5) reviewed and analyzed issues regarding withdrawal of the reference

relating to coverage litigation; (6) reviewed and analyzed the Debtor’s opposition to insurers’

access to proofs of claim and an opinion regarding withdrawal of the reference; and (7)

corresponded regarding insurance litigation issues.

                             Fees: $11,906.50;    Hours: 12.10

T.      MCC – Meetings/Conferences with Client

                 45.         This category includes work regarding issues relating to meetings and

conferences with the Committee. During the Interim Compensation Period the Firm, among other

things: (1) performed work regarding agenda for Committee meetings; (2) performed work

regarding Committee meeting minutes; (3) prepared for and attended telephonic conferences with

the Committee and State Court counsel regarding case issues; (4) prepared for and attended

meetings with mediator candidates and the Committee; and (5) corresponded and conferred

regarding issues relating to meetings with the Committee and State Court counsel.

                             Fees: $71,706.00;    Hours: 69.80




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U.      ME - Mediation

                 46.         This category includes work regarding mediation issues. During the Interim

Compensation Period the Firm, among other things: (1) performed research regarding potential

mediators; (2) reviewed and analyzed issues regarding mediator selection process; (3) reviewed

and analyzed background information regarding mediator candidates and performed work

regarding a mediator candidate chart; (4) performed work regarding a mediation statement; (5)

corresponded with mediator candidates regarding interview scheduling; (6) prepared for and

participated in telephonic conferences with the Debtor’s counsel and Committee regarding

mediation and mediator selection issues; (7) attended to scheduling issues regarding mediator

candidate interviews; (8) prepared for and attended telephonic conferences with counsel for the

Debtor and insurers regarding mediation process; (9) performed work regarding a letter relating to

mediator selection; and (10) corresponded and conferred regarding mediation issues.

                             Fees: $40,951.50;     Hours: 43.20

V.      MF – Meetings and Conferences with Case Professionals

                 47.         This category includes work regarding meetings and conferences with case

professionals. During the Interim Compensation Period the Firm, among other things, prepared

for and attended telephonic conferences with attorneys for the Debtor regarding outstanding case

matters.

                             Fees: $19,608.00;     Hours: 19.40

W.      MFA – Monthly Fee Statements

                 48.         This category includes work regarding monthly fee statements. During the

Interim Compensation Period the Firm, among other things: (1) performed work regarding the

Firm’s May 2021 fee statement, including an amended May 2021 fee statement; (2) performed

work regarding the Firm’s June 2021 fee statement; (3) performed work regarding the Burns Bown


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Bair May, June, July and August 2021 fee statements; (4) performed work regarding the Firm’s

July 2021 fee statement; (5) performed work regarding the Firm’s August 2021 fee statement; (6)

performed work regarding the Ruskin Macau August 2021 fee statement; and (7) corresponded

and conferred regarding monthly fee statement issues.

                             Fees: $20,791.00;    Hours: 39.10

X.      OPH – Open Court Hearing

                 49.         This category includes work regarding court hearings. During the Interim

Compensation Period the Firm, among other things: (1) prepared for and attended a hearing on

July 7, 2021 regarding Bankruptcy Rule 2004 motion, trust and discovery issues; (2) prepared for

and attended a hearing on July 9, 2021 regarding stay and settlement issues; (3) prepared for and

attended a hearing on July 14, 2021 regarding Bankruptcy Rule 2004 motion issues; (4) prepared

for and attended a hearing on July 29, 2021 regarding discovery issues; (5) attended to post-hearing

issues; (6) prepared for and attended a status conference on August 9, 2021 regarding mediation

and mediator selection issues; (7) prepared for and attended a hearing on August 19, 2021

regarding parish discovery and commingling issues; (8) prepared for and attended a hearing on

August 23, 2021 regarding mediator selection status; (9) prepared for and attended a hearing on

September 13, 2021 regarding bar date order and mediator appointment; (10) prepared for and

attended a hearing on September 23, 2021 regarding the LMI motion for access to proof of claim

forms; and (11) corresponded and conferred regarding court hearing issues.

                             Fees: $47,642.00;    Hours: 45.60

Y.      PD – Plan and Disclosure Statement

                 50.         This category includes work regarding a Plan of Reorganization (“Plan”)

and Disclosure Statement. During the Interim Compensation Period the Firm, among other things:




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(1) reviewed and analyzed an exclusivity motion and order; (2) reviewed and analyzed the Debtor’s

motion to appoint future claims representative; and (3) conferred regarding Plan issues.

                             Fees: $2,989.50;     Hours: 3.40

Z.        PINJ – Preliminary Injunction

                 51.         This category includes work regarding preliminary injunction issues.

During the Interim Compensation Period the Firm, among other things: (1) reviewed and analyzed

a draft stipulation regarding preliminary injunction; (2) reviewed and analyzed issues regarding an

extension of the preliminary injunction; and (3) corresponded regarding preliminary injunction

issues.

                             Fees: $1,315.50;     Hours: 1.30

AA.       PNTC – Public Notice

                 52.         This category includes work regarding public notice issues. During the

Interim Compensation Period the Firm, among other things: (1) reviewed and analyzed the LMI

motion regarding proofs of claims and insurance issues; (2) reviewed and analyzed the Debtor’s

motion to modify bar date order; (3) prepared for and participated in a telephonic conference with

the Nassau District Attorney’s office regarding claim reporting and the Debtor’s bar date motion;

(4) performed work regarding revised proposed language for the bar date order; (5) reviewed and

analyzed issues regarding mandatory reporting requirements in New York; (6) attended to hearing

scheduling issues; (7) reviewed and analyzed the Debtor’s response to LMI motion regarding

claims; and (8) conferred and corresponded regarding public notice issues.

                             Fees: $22,127.50;    Hours: 24.80




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BB.       RF – Restricted Funds

                 53.         This category includes work regarding restricted funds issues. During the

Interim Compensation Period the Firm, among other things, reviewed and analyzed issues

regarding a trust motion and response to such motion.

                             Fees: $836.50;        Hours: 0.70

CC.       RP – Retention of Professionals

                 54.         This category includes work regarding the retention of professionals.

During the Interim Compensation Period the Firm, among other things: (1) reviewed and analyzed

issues regarding the proposed Fisher employment; (2) reviewed and analyzed issues regarding the

Binder Schwartz employment application; and (3) corresponded and conferred regarding retention

issues.

                             Fees: $2,842.00;      Hours: 2.50

DD.       SCL – State Court Litigation

                 55.         This category includes work regarding State Court litigation issues. During

the Interim Compensation Period the Firm, among other things: (1) performed work regarding a

schedule of parish lawsuits; (2) communicated with State Court counsel regarding parish lawsuits;

(3) reviewed and analyzed lawsuits against parishes and other affiliates; and (4) performed work

regarding a chart of parish lawsuits.

                             Fees: $17,923.50;     Hours: 25.20

EE.       SEM – Seminary Transfers

                 56.         This category includes work regarding Seminary transfer issues. During the

Interim Compensation Period the Firm, among other things: (1) reviewed and analyzed issues

regarding Seminary property; (2) reviewed and analyzed a proposed stipulation; (3) prepared for

and attended telephonic conferences with the Committee’s real estate advisors regarding Seminary


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property and a proposed stipulation; (4) performed work regarding the Seminary Complaint; (5)

performed work regarding a stipulation to restrict transfer of Seminary property; (6) performed

work regarding a common interest agreement; (7) performed work regarding negotiations relating

to settlement of the Seminary Complaint; (8) reviewed and analyzed development issues relating

to Seminary property; (9) prepared for and attended a telephonic conference with counsel for the

Debtor, Seminary, and special mediator regarding Seminary transfer issues; (10) reviewed and

analyzed issues regarding Seminary loan request; (11) reviewed and analyzed Seminary

projections; (12) reviewed and analyzed Seminary defenses; (13) performed work regarding a

notice of presentment relating to Seminary stipulation; (14) reviewed and analyzed memorandum

from Committee real estate special counsel regarding Seminary issues; (15) performed work

regarding a memorandum to the Committee regarding Seminary transfer issues; and (16)

corresponded and conferred regarding Seminary transfer issues.

                             Fees: $48,805.00;    Hours: 52.00

FF.       SL – Stay Litigation

                 57.         This category includes work regarding the automatic stay and relief from

stay issues. During the Interim Compensation Period the Firm, among other things: (1) performed

work regarding a preliminary injunction stipulation; and (2) conferred regarding stay litigation

issues.

                             Fees: $4,740.50;     Hours: 5.70

                                       Allowance of Compensation

                 58.         Section 330(a)(1)(A) of the Bankruptcy Code provides that the Court may

award to a professional person, “reasonable compensation for actual, necessary services rendered.”

11 U.S.C. § 330(a)(1)(A). Section 330(a)(3)(A), in turn, provides that in determining the amount




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of reasonable compensation to be awarded, the Court shall consider the nature, the extent, and the

value of such services, taking into account all relevant factors, including:

                                    The time spent on such services;

                                    The rates charges for such services;

                                    Whether the services were necessary to the administration of, or
                                    beneficial at the time which the service was rendered toward the
                                    completion of, a case under this title;

                                    Whether the services were performed within a reasonable amount
                                    of time commensurate with the complexity, importance, and nature
                                    of the problem, issue, or task addressed; and

                                    Whether the compensation is reasonable based on the customary
                                    compensation charged by comparably skilled practitioners in cases
                                    other than cases under this title.

11 U.S.C. § 330(a)(3)(A).

                 59.         The congressional policy expressed above provides for adequate

compensation in order to continue to attract qualified and competent professionals to bankruptcy

cases. PSZJ respectfully submits that the consideration of these factors should result in this Court’s

allowance of the full compensation sought.

                                        Time and Labor Required

                 60.         During the Interim Compensation Period, the Committee relied heavily on

the experience and expertise of PSZJ when dealing with the matters described herein. As a result,

PSZJ devoted significant time and effort to perform properly and expeditiously the required

professional services. During the Interim Compensation Period, PSZJ expended 1,567.20 hours

in providing the requested professional services. PSZJ’s hourly billing rate is based on PSZJ’s

normal billing rates for services of this kind and is competitive with other advisory firms.




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                                Experience and Ability of the Professionals

                 61.         PSZJ’s attorneys have extensive experience representing creditors’

committees, debtors, creditors, trustees, and others in a wide variety of bankruptcy cases. Notably,

attorneys of PSZJ have unique experience representing committees of survivors of childhood

sexual abuse in chapter 11 cases involving entities affiliated with the Roman Catholic Church.

PSZJ also has experience representing Committees comprised of, or including, survivors of

childhood sexual abuse and adult survivors of sexual abuse and harassment, including Boy Scouts

of America, USA Gymnastics, and The Weinstein Companies. Such experience makes PSZJ

highly, if not uniquely, qualified to represent the Committee in this Case, and to maximize

efficiency based on its experience with Roman Catholic dioceses, such as the Debtor.

                                                    Notice

                 62.         Pursuant to the Interim Compensation Order, PSZJ has provided notice of

this Fee Application upon the following parties by electronic or first class mail: (a) the Debtor c/o

The Roman Catholic Diocese of Rockville Centre, 50 N Park Ave P.O. Box 9023, Rockville

Centre, NY 11571-9023 (Attn: Thomas Renker); (b) the attorneys for the Debtor, Jones Day, 250

Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and

Andrew M. Butler, Esq.); and (c) the Office of the United States Trustee Region 2 (the “U.S.

Trustee”), 201 Varick Street, Suite 1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara

Cornell, Esq.). No other or further notice need be provided.

                                                  Conclusion

                 63.         PSZJ respectfully requests that the Court enter an order, in the form attached

hereto as Exhibit F, (a) granting the relief requested in this Fee Application; (b) allowing (i) PSZJ

interim fees in the total amount of $1,175,661.50 for services rendered in the Chapter 11 cases,




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and (ii) reimbursement of actual and necessary costs and expenses in the amount of $20,129.94

during the Interim Compensation Period; and (c) granting such further relief as is just and proper.

 Date: November 15, 2021                    PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ James I. Stang
                                            James I. Stang, Esq. (admitted pro hac vice)
                                            10100 Santa Monica, Boulevard, 11th Floor
                                            Los Angeles, California 90067
                                            Telephone:      (310) 277-6910
                                            Facsimile:      (310) 201-0760
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                                            -and-

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                                              Counsel for the Official Committee
                                              of Unsecured Creditors




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                                               EXHIBIT A

                                       Declaration of James I. Stang

                 I, James I. Stang, declare under penalty of perjury pursuant to 28 U.S.C. § 1746

and pursuant to Rule 2016 of the Federal Rules of Bankruptcy Procedure and Rule 2016 of the

Local Rules for the Bankruptcy Court for the Southern District of New York that the following is

true and correct:

                 1.          I am a partner with the law firm of Pachulski Stang Ziehl & Jones LLP

(“PSZJ”).

                 2.          I have personally reviewed the information contained in the Application,

and believe its contents to be true and correct to the best of my knowledge, information and belief.

In addition, I believe that the Fee Application complies with the Local Rules for the Southern

District of New York and the Amended Guidelines for Fees and Disbursements for Professionals

in Southern District of New York Bankruptcy Cases.

                 3.          All services for which PSZJ requests compensation were performed for or

on behalf of the Committee. PSZJ has received no payment and no promises for payment from

any source other than the Debtors for services rendered or to be rendered in any capacity

whatsoever in connection with the matters covered by this Fee Application. There is no agreement

or understanding between PSZJ and any other person other than the partners of PSZJ for the

sharing of compensation to be received for services rendered in these cases. PSZJ has not received

a retainer in these cases.

                 4.          PSZJ makes the following disclosures pursuant to the Guidelines for

Reviewing Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C.

§ 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013.




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                 5.          The Court authorized the Committee to retain PSZJ as their attorneys in

these chapter 11 cases pursuant to the Order Authorizing and Approving the Employment of

Pachulski Stang Ziehl & Jones LLP as Counsel to the Official Committee of Unsecured Creditors

of the Debtors Effective as of October 16, 2020 (the “Retention Order”) [Docket No. 163] entered

on November 17, 2020. The billing rates in this Fee Application are those disclosed and approved

at retention.

                 6.          9 professionals and 9 paraprofessionals are included in this Fee Application.

Of those professionals, 8 billed fewer than 15 hours during the Interim Compensation Period.

                 7.          In accordance with the U.S. Trustee Guidelines, PSZJ responds to the

questions identified therein as follows:

                 Question 1: Did PSZJ agree to any variations from, or alternatives to, PSZJ’s

                 standard or customary billing rates, fees or terms for services pertaining to this

                 engagement that were provided during the application period? If so, please

                 explain.

                 Answer: No.

                 Question 2: If the fees sought in the Application as compared to the fees

                 budgeted for the time period covered by the Application are higher by 10% or

                 more, did PSZJ discuss the reasons for the variation with the client?

                 Answer: N/A.

                 Question 3: Have any of the professionals included in the Application varied

                 their hourly rate based on geographic location of the bankruptcy case?

                 Answer: No.

                 Question 4: Does the Application include time or fees related to reviewing or

                 revising time records or preparing, reviewing or revising invoices?


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                 Answer: No.

                 Question 5: Does the Application include time or fees for reviewing time

                 records to redact any privileged or other confidential information? If so, please

                 quantify hours and fees.

                 Answer: No.

                 Question 6: Does the Application include any rate increases since PSZJ’s

                 retention in these cases?

                 Answer: No.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

Dated: November 15, 2021
                                                              /s/ James I. Stang
                                                                      James I. Stang




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                                        EXHIBIT B

                                    Timekeeper Summary




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                                                     EXHIBIT B

                                                 Timekeeper Summary

                                                                                      TOTAL
   NAME OF                                        YEAR       YEAR OF     HOURLY                      TOTAL
                                TITLE                                                 HOURS
 PROFESSIONAL                                   ADMITTED   PARTNERSHIP    RATE                    COMPENSATION
                                                                                      BILLED
James I. Stang           Partner                  1980         1983       $1,345.00       59.70       $ 80,296.50
Debra I. Grassgreen      Partner                  1994         1997       $1,295.00        2.20       $ 2,849.00
Kenneth H. Brown         Partner                  1981         2001       $1,225.00       82.70       $101,307.50
Karen B. Dine            Of Counsel               1994         N/A        $1,195.00      220.60       $263,617.00
Iain A. W. Nasatir       Partner                  1983         1999       $1,145.00       14.10       $ 16,144.50
Iain A. W. Nasatir       Partner                  1983         1999       $ 700.00         0.10       $      70.00
Gail S. Greenwood        Of Counsel               1994         N/A        $ 950.00       171.40       $162,830.00
Ilan D. Scharf           Partner                  2002         2010       $ 895.00         8.70       $ 7,786.50
William L. Ramseyer      Of Counsel               1980         N/A        $ 850.00         8.20       $ 6,970.00
Brittany M. Michael      Of Counsel               2015         N/A        $ 695.00       426.70       $296,556.50
Leslie A. Forrester      Law Library Director     N/A          N/A        $ 475.00         6.90       $ 3,277.50
Beth Dassa               Paralegal                N/A          N/A        $ 460.00         2.70       $ 1,242.00
La Asia S. Canty         Paralegal                N/A          N/A        $ 460.00         0.70       $     322.00
Nancy P. F. Lockwood     Paralegal                N/A          N/A        $ 460.00       125.80       $ 57,868.00
Bernadette Anavim        Legal Assistant          N/A          N/A        $ 460.00        31.20       $ 14,352.00
Diane H. Hinojosa        Paralegal                N/A          N/A        $ 395.00       250.50       $ 98,947.50
Sophia Lee               Legal Assistant          N/A          N/A        $ 395.00        72.10       $ 28,479.50
Myra Kulick              Legal Assistant          N/A          N/A        $ 395.00        68.90       $ 27,215.50
Nancy H. Brown           Legal Assistant          N/A          N/A        $ 395.00        14.00       $ 5,530.00
Total                                                                                  1,567.20      $1,175,661.50




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                                        EXHIBIT C

                                    Task Code Summary




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                                          EXHIBIT C

                                      Task Code Summary

        Code                      Description                 Hours         Amount
         AA         Asset Analysis/Recovery                      73.30      $ 61,713.00
         AC         Avoidance Actions                           118.40      $123,399.00
         BL         Bankruptcy Litigation                         3.00      $ 2,280.00
         CA         Case Administration                          42.80      $ 23,891.50
        CEM         Cemetery Transfers                           62.80      $ 66,221.00
         CO         Claims Admin/Objections                      12.70      $ 7,039.00
          CP        Compensation of Professionals                18.00      $ 9,589.50
         CPO        Compensation of Prof./Others                 14.80      $ 12,216.00
        CREV        Claims Review                               479.80      $217,219.00
                    Committee Discovery Requests –
         CRF                                                    181.80      $145,753.00
                    Finance/Governance
        CRP         Committee Discovery Requests – Parishes      20.90      $   19,709.50
       DCVA         Committee Discovery Requests - CVA            1.00      $      695.00
       EAPPS        Employment Applications                       9.50      $    6,583.00
         GC         General Creditors Committee                  28.00      $   29,220.00
          H         Hearing                                       2.10      $    2,082.50
        IAC         IAC/Affiliate Transactions                  102.00      $   99,950.50
         IC         Insurance Coverage                            4.20      $    4,904.50
        IFA         Interim Fee Applications                     47.30      $   29,010.50
         IL         Insurance Litigation                         12.10      $   11,906.50
        MCC         Mtgs/Conf w/ Client                          69.80      $   71,706.00
         ME         Mediation                                    43.20      $   40,951.50
         MF         Mtgs/Conf w/ Case Prof.                      19.40      $   19,608.00
        MFA         Monthly Fee Statements                       39.10      $   20,791.00
        OPH         Open Court Hearings                          45.60      $   47,642.00
         PD         Plan & Disclosure Statement                   3.40      $    2,989.50
        PINJ        Preliminary Injunction                        1.30      $    1,315.50
       PNTC         Public Notice                                24.80      $   22,127.50
         RF         Restricted Funds                              0.70      $      836.50
         RP         Retention of Professional                     2.50      $    2,842.00
        SCL         State Court Litigation                       25.20      $   17,923.50
        SEM         Seminary Transfers                           52.00      $   48,805.00
         SL         Stay Litigation                               5.70      $    4,740.50
        Total                                                  1,567.20     $1,175,661.50




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                                        EXHIBIT D

                                   Disbursement Summary




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                                        EXHIBIT D

                                   Disbursement Summary

                       Expenses (by Category)                  Amounts
            Auto Travel Expense                                      $ 71.01
            Bloomberg                                                $ 273.33
            Working Meal                                             $ 134.56
            Conference Call                                          $2,380.00
            Federal Express                                          $ 299.04
            Filing Fee                                               $ 208.00
            Hotel Expense                                            $ 371.31
            Legal Research – Lexis/Nexis                             $1,144.87
            Outside Services                                         $6,676.00
            Court Research - Pacer                                   $ 241.30
            Postage                                                  $ 220.12
            Reproduction Expense                                     $1,279.80
            Reproduction/ Scan Copy                                  $ 233.60
            Research                                                 $6,468.00
            Transcript                                               $ 129.00
            Total                                                   $20,129.94




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                                         EXHIBIT E

                    PSZJ’s Monthly Invoices for June through September 2021




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                                                 13th Floor
                                           Los Angeles, CA 90067
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JIS                                                                   Invoice 128215
                                                                      Client    18491
                                                                      Matter    00002
                                                                                JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 06/30/2021
               FEES                                                   $259,929.00
               EXPENSES                                                 $5,265.05
               TOTAL CURRENT CHARGES                                  $265,194.05

               BALANCE FORWARD                                        $979,289.77
               TOTAL BALANCE DUE                                     $1,244,483.82
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  Summary of Services by Professional
  ID        Name                              Title                Rate           Hours              Amount

 BMM        Michael, Brittany M.              Counsel             695.00          72.20           $50,179.00

 DG         Grassgreen, Debra I.              Partner            1295.00           2.20            $2,849.00

 DHH        Hinojosa, Diane H.                Paralegal           395.00          10.50            $4,147.50

 GSG        Greenwood, Gail S.                Counsel             950.00          58.50           $55,575.00

 IAWN       Nasatir, Iain A. W.               Partner             700.00           0.10              $70.00

 IAWN       Nasatir, Iain A. W.               Partner            1145.00           2.30            $2,633.50

 IDS        Scharf, Ilan D.                   Partner             895.00           3.50            $3,132.50

 JIS        Stang, James I.                   Partner            1345.00           9.00           $12,105.00

 KBD        Dine, Karen B.                    Counsel            1195.00          59.60           $71,222.00

 KHB        Brown, Kenneth H.                 Partner            1225.00          35.20           $43,120.00

 LAF        Forrester, Leslie A.              Other               475.00           2.50            $1,187.50

 LSC        Canty, La Asia S.                 Paralegal           460.00           0.70             $322.00

 NPL        Lockwood, Nancy P. F.             Paralegal           460.00          29.10           $13,386.00

                                                                                285.40            $259,929.00
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  Summary of Services by Task Code
  Task Code         Description                                              Hours                       Amount

 AA                 Asset Analysis/Recovery[B120]                            73.30                     $61,713.00

 AC                 Avoidance Actions                                       118.40                    $123,399.00

 BL                 Bankruptcy Litigation [L430]                              3.00                      $2,280.00

 CA                 Case Administration [B110]                               15.10                      $9,971.00

 CO                 Claims Admin/Objections[B310]                            12.70                      $7,039.00

 CP                 Compensation Prof. [B160]                                18.00                      $9,589.50

 CPO                Comp. of Prof./Others                                     1.80                      $1,501.00

 GC                 General Creditors Comm. [B150]                           28.00                     $29,220.00

 H                  Hearings                                                  2.10                      $2,082.50

 IC                 Insurance Coverage                                        4.20                      $4,904.50

 ME                 Mediation                                                 0.60                       $647.00

 RP                 Retention of Prof. [B160]                                 2.50                      $2,842.00

 SL                 Stay Litigation [B140]                                    5.70                      $4,740.50

                                                                            285.40                    $259,929.00
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  Summary of Expenses
  Description                                                                                    Amount
Bloomberg                                                                                        $85.23
Conference Call [E105]                                                                      $700.00
Filing Fee [E112]                                                                           $208.00
Lexis/Nexis- Legal Research [E                                                              $263.82
Outside Services                                                                           $3,464.00
Pacer - Court Research                                                                      $213.20
Postage [E108]                                                                                   $82.10
Reproduction Expense [E101]                                                                 $220.00
Reproduction/ Copy                                                                               $28.70

                                                                                           $5,265.05
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                                                                                       Hours           Rate     Amount

  Asset Analysis/Recovery[B120]
 06/01/2021   NPL     AA        Email communications with B. Michael regarding          0.10        460.00        $46.00
                                research regarding channeling injunctions in diocese
                                plans.

 06/01/2021   NPL     AA        Channeling injunctions research regarding diocese       0.80        460.00       $368.00
                                plans of reorganization.

 06/01/2021   KBD     AA        Call with Jones Day and B. Michael regarding            0.40      1195.00        $478.00
                                discovery update.

 06/01/2021   KBD     AA        Telephone B. Michael regarding outstanding              0.40      1195.00        $478.00
                                discovery issues.

 06/01/2021   KBD     AA        Call with M. Babcock, R. Strong and B. Michael          1.20      1195.00       $1,434.00
                                regarding discovery matters.

 06/01/2021   BMM     AA        Draft parish 2004 motion.                               2.50        695.00      $1,737.50

 06/01/2021   BMM     AA        Review and respond to communications with               0.60        695.00       $417.00
                                Diocese and BRG regarding financial discovery.

 06/01/2021   BMM     AA        Call with K. Dine, M. Babcock, and R. Strong            1.20        695.00       $834.00
                                regarding financial discovery.

 06/01/2021   BMM     AA        Draft email to Debtor's counsel regarding financial     0.20        695.00       $139.00
                                discovery.

 06/01/2021   BMM     AA        Review and respond to communications with               0.40        695.00       $278.00
                                Diocese and BRG regarding financial discovery.

 06/01/2021   BMM     AA        Update discovery request tracking document.             0.90        695.00       $625.50

 06/01/2021   BMM     AA        Call with K. Dine regarding outstanding discovery       0.40        695.00       $278.00
                                issues.

 06/01/2021   BMM     AA        Production check-in meeting with debtor's counsel.      0.40        695.00       $278.00

 06/01/2021   BMM     AA        Draft parish 2004 motion.                               0.50        695.00       $347.50

 06/01/2021   BMM     AA        Review and respond to communications with               0.20        695.00       $139.00
                                Diocese and BRG regarding financial discovery.

 06/02/2021   LAF     AA        Research re: locate abuse verdict in state court        0.80        475.00       $380.00
                                action.

 06/02/2021   NPL     AA        Email communications with B. Michael regarding          0.20        460.00        $92.00
                                channeling injunction research.

 06/02/2021   NPL     AA        Prepare research document regarding channeling          1.20        460.00       $552.00
                                injunctions in diocese plans.
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 06/02/2021   NPL     AA        Research diocese plans for channeling injunctions      2.80        460.00      $1,288.00
                                for parish 2004 motion

 06/02/2021   KBD     AA        Review correspondence relating to discovery            0.20      1195.00        $239.00
                                matters.

 06/02/2021   BMM     AA        Draft parish 2004 motion.                              3.10        695.00      $2,154.50

 06/03/2021   KBD     AA        Prepare for call relating to discovery.                0.10      1195.00        $119.50

 06/03/2021   KBD     AA        Call with R. Strong regarding discovery matters.       0.40      1195.00        $478.00

 06/03/2021   KBD     AA        Participate in call with BRG, A&M and Diocese's        1.50      1195.00       $1,792.50
                                accounting staff regarding live accounting system.

 06/03/2021   KBD     AA        Call with Jones Day, Alvarez & Marsal and BRG          0.80      1195.00        $956.00
                                regarding discovery matters.

 06/03/2021   BMM     AA        Call with BRG, Alvarez & Marsal, Jones Day and         0.80        695.00       $556.00
                                PSZJ team regarding financial discovery.

 06/03/2021   BMM     AA        Revise requests for production.                        0.60        695.00       $417.00

 06/04/2021   KBD     AA        Review and prepare comments to 2004 motion.            1.00      1195.00       $1,195.00

 06/04/2021   KBD     AA        Review correspondence regarding proposed               0.10      1195.00        $119.50
                                transaction.

 06/05/2021   KBD     AA        Review and prepare comments to 2004 motion.            0.20      1195.00        $239.00

 06/06/2021   KBD     AA        Review and prepare comments to 2004 motion.            0.50      1195.00        $597.50

 06/06/2021   BMM     AA        Revise parishes 2004 motion.                           1.10        695.00       $764.50

 06/07/2021   IDS     AA        Call with BRG regarding parish 2004 motion.            0.50        895.00       $447.50

 06/07/2021   NPL     AA        Edits to tables and content to parish 2004 motion.     0.90        460.00       $414.00

 06/07/2021   NPL     AA        Email communications with B. Michael regarding         0.30        460.00       $138.00
                                parish 2004 motion.

 06/07/2021   NPL     AA        Email communications with G. Downing and M.            0.20        460.00        $92.00
                                Kulick regarding edits to tables and content
                                regarding parish 2004 motion.

 06/07/2021   NPL     AA        Compile and finalize K. Dine declaration in support    0.70        460.00       $322.00
                                of parish 2004 motion.

 06/07/2021   NPL     AA        Email service of parish 2004 motion.                   0.20        460.00        $92.00

 06/07/2021   NPL     AA        Email chambers regarding courtesy copies of parish     0.10        460.00        $46.00
                                2004 motion.

 06/07/2021   KBD     AA        Review and prepare comments to 2004 motion for         0.80      1195.00        $956.00
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                                                                                       Hours           Rate     Amount
                                filing.
 06/07/2021   KBD     AA        Call with M. Babcock, I. Scharf, B. Michael and R.      0.50      1195.00        $597.50
                                Strong regarding 2004 request.

 06/07/2021   KBD     AA        Telephone call with B. Michael regarding 2004           0.50      1195.00        $597.50
                                preparation and issues.

 06/07/2021   BMM     AA        Call with K. Dine, I. Scharf, M. Babcock, and R.        0.50        695.00       $347.50
                                Strong regarding parish 2004 motion.

 06/07/2021   BMM     AA        Revise parishes 2004 motion and prepare declaration     1.00        695.00       $695.00
                                and exhibits.

 06/07/2021   BMM     AA        Finalize and file parish information 2004.              2.00        695.00      $1,390.00

 06/07/2021   BMM     AA        Revise parishes 2004 motion (with K. Dine in part       0.90        695.00       $625.50
                                (.5)).

 06/08/2021   KHB     AA        Status conference on preliminary injunction and         0.40      1225.00        $490.00
                                parish discovery.

 06/08/2021   IDS     AA        Attend document production call.                        0.50        895.00       $447.50

 06/08/2021   NPL     AA        Prepare certificate of service regarding parish 2004    0.20        460.00        $92.00
                                motion.

 06/08/2021   NPL     AA        Email communications with B. Michael regarding          0.10        460.00        $46.00
                                certificate of service regarding parish 2004 motion.

 06/08/2021   KBD     AA        Review and prepare comments to discovery                0.60      1195.00        $717.00
                                requests.

 06/08/2021   BMM     AA        Call with K. Dine regarding discovery and other         1.00        695.00       $695.00
                                case issues.

 06/08/2021   BMM     AA        Communication regarding Diocese's proposed lease.       0.10        695.00        $69.50

 06/08/2021   BMM     AA        Review information on St. Pius X collection.            0.30        695.00       $208.50

 06/08/2021   BMM     AA        Call with Debtor's counsel regarding discovery          0.30        695.00       $208.50
                                issues.

 06/09/2021   KBD     AA        Review correspondence regarding discovery matters.      0.20      1195.00        $239.00

 06/09/2021   KBD     AA        Review motion regarding restricted assets.              0.30      1195.00        $358.50

 06/09/2021   BMM     AA        Communications with PSZJ team regarding                 0.50        695.00       $347.50
                                discovery requests (.3); communications with
                                debtor's counsel and BRG regarding document
                                production issues (.2).

 06/10/2021   KBD     AA        Review and prepare correspondence regarding             0.20      1195.00        $239.00
                                Debtors’ motion on bequests.
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 06/10/2021   KBD     AA        Review and prepare correspondence relating to         0.40      1195.00        $478.00
                                parish discovery.

 06/11/2021   KBD     AA        Review and prepare correspondence on parish           0.20      1195.00        $239.00
                                discovery.

 06/11/2021   KBD     AA        Review and prepare correspondence relating to         0.20      1195.00        $239.00
                                discovery.

 06/11/2021   KBD     AA        Telephone call with B. Michael regarding              0.10      1195.00        $119.50
                                outstanding discovery items.

 06/11/2021   KBD     AA        Telephone calls with E. Stephens regarding            0.20      1195.00        $239.00
                                discovery issues.

 06/11/2021   BMM     AA        Review Debtor's draft supplement to cash              0.20        695.00       $139.00
                                management motion.

 06/11/2021   BMM     AA        Call with R. Strong regarding financial discovery.    0.40        695.00       $278.00

 06/11/2021   BMM     AA        Review document production and outstanding            2.80        695.00      $1,946.00
                                document requests.

 06/14/2021   KBD     AA        Review correspondence regarding proposed lease.       0.10      1195.00        $119.50

 06/14/2021   KBD     AA        Call with M. Babcock, B. Michael and R. Strong on     0.40      1195.00        $478.00
                                outstanding discovery.

 06/14/2021   KBD     AA        Call with B. Michael on outstanding discovery         0.10      1195.00        $119.50
                                issues.

 06/14/2021   BMM     AA        Call with K. Dine, M. Babcock, and R. Strong          0.40        695.00       $278.00
                                regarding financial discovery.

 06/14/2021   BMM     AA        Call with K. Dine on outstanding discovery issues.    0.10        695.00        $69.50

 06/15/2021   KBD     AA        Call with Jones Day and B. Michael regarding          0.50      1195.00        $597.50
                                discovery matters.

 06/15/2021   KBD     AA        Telephone call with B. Michael regarding discovery    0.40      1195.00        $478.00
                                issues.

 06/15/2021   BMM     AA        Call with Debtor's counsel regarding discovery        0.50        695.00       $347.50
                                issues.

 06/15/2021   BMM     AA        Call with K. Dine regarding discovery and other       0.40        695.00       $278.00
                                case issues.

 06/16/2021   KBD     AA        Review correspondence regarding discovery matters.    0.30      1195.00        $358.50

 06/16/2021   KBD     AA        Call with Jones Day, BRG, Alvarez & Marsal and B.     0.50      1195.00        $597.50
                                Michael regarding document depository.
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 06/16/2021   BMM     AA        Call with BRG, Alvarez & Marsal, Jones Day and            0.50        695.00       $347.50
                                K. Dine regarding financial discovery.

 06/16/2021   BMM     AA        Communications with K. Dine regarding briefing            0.60        695.00       $417.00
                                schedule.

 06/17/2021   BMM     AA        Draft reply in support of Parish 2004.                    3.40        695.00      $2,363.00

 06/18/2021   KBD     AA        Prepare for status conference with Court.                 0.30      1195.00        $358.50

 06/18/2021   KBD     AA        Telephone call with E. Stephens regarding court           0.10      1195.00        $119.50
                                conference.

 06/18/2021   KBD     AA        Call with M. Babcock, B. Michael and R. Strong            0.60      1195.00        $717.00
                                regarding discovery items.

 06/18/2021   BMM     AA        Call with M. Babcock, R. Strong (both in part) and        0.60        695.00       $417.00
                                K. Dine regarding financial discovery.

 06/21/2021   KBD     AA        Prepare for status conference.                            0.20      1195.00        $239.00

 06/21/2021   KBD     AA        Review correspondence from C. Ball regarding              0.10      1195.00        $119.50
                                parish transfer.

 06/21/2021   KBD     AA        Review draft limited objection to Hamilton estate         0.20      1195.00        $239.00
                                motion.

 06/22/2021   BMM     AA        Meeting with Jones Day and I. Scharf regarding            0.30        695.00       $208.50
                                discovery progress.

 06/22/2021   BMM     AA        Review outstanding discovery requests and next            0.90        695.00       $625.50
                                priority requests.

 06/23/2021   KBD     AA        Review and prepare comments to response to Trust          0.30      1195.00        $358.50
                                motion.

 06/23/2021   KBD     AA        Review debtor restricted fund motion and related          0.20      1195.00        $239.00
                                correspondence.

 06/23/2021   KBD     AA        Telephone call with B. Michael regarding                  0.20      1195.00        $239.00
                                outstanding action items.

 06/23/2021   BMM     AA        Draft reply in support of Parish 2004.                    0.70        695.00       $486.50

 06/24/2021   JIS     AA        Call K. Dine re issues related to assessment of estate    0.10      1345.00        $134.50
                                assets.

 06/24/2021   KBD     AA        Review objection/response to 2004 motion.                 0.60      1195.00        $717.00

 06/24/2021   KBD     AA        Review and prepare comments to draft reply in             1.40      1195.00       $1,673.00
                                support of 2004 with B. Michael (for part).

 06/24/2021   KBD     AA        Telephone call with M. Babcock, R. Strong, and B.         0.30      1195.00        $358.50
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                                Michael regarding request regarding St. Pius fund.
 06/24/2021   KBD     AA        Telephone call with B. Michael, R. Strong (for part)     1.00      1195.00       $1,195.00
                                and B. Michael (for part) regarding outstanding
                                discovery/2004.

 06/24/2021   BMM     AA        Call with M. Babcock, R. Strong, and K. Dine             0.30        695.00       $208.50
                                regarding St. Pius X transfer.

 06/24/2021   BMM     AA        Revise reply in support of of parish 2004 motion.        0.30        695.00       $208.50

 06/24/2021   BMM     AA        Draft reply in support of parish 2004 motion.            1.60        695.00      $1,112.00

 06/24/2021   BMM     AA        Call with K. Dine, M. Babcock (in part), and R.          1.00        695.00       $695.00
                                Strong (in part) regarding reply in support of parish
                                2004 motion.

 06/25/2021   JIS     AA        Review Parish and Diocese oppositions to parish          0.30      1345.00        $403.50
                                2004 motion.

 06/25/2021   JIS     AA        Call with K. Dine re joinder to parish 2004 motion       0.20      1345.00        $269.00
                                for parish information.

 06/25/2021   KBD     AA        Correspondence regarding financial discovery             0.40      1195.00        $478.00
                                issues.

 06/25/2021   KBD     AA        Correspondence relating to parish 2004 motion.           0.20      1195.00        $239.00

 06/25/2021   KBD     AA        Telephone call with J. Anderson and J. Stang             0.10      1195.00        $119.50
                                regarding parish 2004 motion.

 06/25/2021   BMM     AA        Revise reply in support of of parish 2004 motion.        1.00        695.00       $695.00

 06/28/2021   KBD     AA        Review and prepare comments to reply in support of       0.50      1195.00        $597.50
                                parish 2004 motion.

 06/28/2021   BMM     AA        Draft reply in support of parish 2004 motion.            2.00        695.00      $1,390.00

 06/29/2021   KBD     AA        Review and prepare comments to 2004 response.            0.50      1195.00        $597.50

 06/29/2021   KBD     AA        Review Anderson joinder and report.                      0.30      1195.00        $358.50

 06/29/2021   KBD     AA        Telephone call with B. Michael, E. Stephens and A.       0.20      1195.00        $239.00
                                Butler regarding discovery.

 06/29/2021   KBD     AA        Telephone call with B. Michael regarding                 0.40      1195.00        $478.00
                                outstanding discovery matters.

 06/29/2021   BMM     AA        Call with K. Dine regarding discovery issues.            0.40        695.00       $278.00

 06/29/2021   BMM     AA        Call with Debtor's counsel regarding discovery           0.20        695.00       $139.00
                                issues.

 06/30/2021   NPL     AA        Review joinder of sexual abuse survivor to               0.10        460.00        $46.00
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                                Committee 2004 motion.
 06/30/2021   KBD     AA        Review and prepare comments to 2004 response.         1.40       1195.00        $1,673.00

 06/30/2021   KBD     AA        Telephone call with R. Strong and C. Tergevorkian     1.20       1195.00        $1,434.00
                                regarding financial discovery information.

 06/30/2021   BMM     AA        Revise reply in support of parish 2004 motion.        0.20         695.00        $139.00

 06/30/2021   BMM     AA        Review Anderson joinder (.2); e-mail team             0.30         695.00        $208.50
                                regarding same (.1).

                                                                                      73.30                    $61,713.00

  Avoidance Actions
 06/03/2021   KHB     AC        Emails with G. Greenwood re seminary complaint.       0.20       1225.00         $245.00

 06/03/2021   GSG     AC        Emails to/from K. Brown re status and circulate       0.30         950.00        $285.00
                                blackline of seminary complaint.

 06/04/2021   KHB     AC        Emails with K. Dine and A. Gonzalez re status         0.50       1225.00         $612.50
                                report (.2); emails from G. Greenwood re Seminary
                                complaint (.1); confer with J. Stang re Seminary
                                complaint (.2).

 06/04/2021   GSG     AC        Follow-up research re NY DCL 276a.                    0.40         950.00        $380.00

 06/04/2021   GSG     AC        Review IAC exhibits/emails re legislative timing      1.70         950.00       $1,615.00
                                and IRCP.

 06/04/2021   GSG     AC        Draft/revise seminary complaint.                      1.20         950.00       $1,140.00

 06/04/2021   GSG     AC        Blackline complaint and internal email re seminary    0.10         950.00         $95.00
                                complaint status.

 06/04/2021   KBD     AC        Review draft complaint regarding seminary             0.30       1195.00         $358.50
                                property.

 06/04/2021   KBD     AC        Review and respond to correspondence from A.          0.10       1195.00         $119.50
                                Gonzalez regarding seminary complaint.

 06/05/2021   KBD     AC        Prepare correspondence to A. Gonzalez regarding       0.10       1195.00         $119.50
                                seminary complaint.

 06/06/2021   KBD     AC        Correspondence regarding meeting with Special         0.10       1195.00         $119.50
                                Mediator.

 06/07/2021   KHB     AC        Email with G. Greenwood, B. Michael re Seminary       1.60       1225.00        $1,960.00
                                Complaint and confidential treatment of identified
                                documents (.2); review and revise Seminary
                                Complaint (1.2); emails from J. Stang, G.
                                Greenwood and State Court Counsel re
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                                identification of present creditors when transfer was
                                made (.2).
 06/07/2021   GSG     AC        Review IAC report re additional details and              1.30        950.00      $1,235.00
                                breakdown of cemetery transfers.

 06/07/2021   GSG     AC        Begin draft complaint re cemetery transfers.             0.80        950.00       $760.00

 06/07/2021   GSG     AC        Research re triggering creditor under NY DCL and         2.60        950.00      $2,470.00
                                email J. Stang re same.

 06/07/2021   BMM     AC        Review draft seminary complaint.                         0.30        695.00       $208.50

 06/08/2021   DG      AC        Draft cemetery complaint.                                2.20      1295.00       $2,849.00

 06/08/2021   KHB     AC        Status conference with A. Gonzalez and his counsel       2.30      1225.00       $2,817.50
                                re prosecution of avoidance actions (.9); conference
                                with K. Dine and B. Michael re action items
                                pursuant to status conference (.1); analyze IAC
                                solvency analysis re constructive fraud claims (1.3).

 06/08/2021   GSG     AC        Review 2004 motion re parish discovery and               0.60        950.00       $570.00
                                supporting documents.

 06/08/2021   GSG     AC        Review IAC exhibits and Anchin report re                 1.40        950.00      $1,330.00
                                valuations.

 06/08/2021   GSG     AC        Draft cemetery complaint.                                2.10        950.00      $1,995.00

 06/08/2021   GSG     AC        Draft cemetery complaint.                                2.20        950.00      $2,090.00

 06/08/2021   KBD     AC        Review and analyze issues relating to draft cemetery     1.00      1195.00       $1,195.00
                                complaint.

 06/08/2021   KBD     AC        Call with A. Gonzalez, E. Fisher, B. Michael, and        0.80      1195.00        $956.00
                                Kenneth Brown regarding IAC actions.

 06/08/2021   KBD     AC        Call with K. Brown and B. Michael regarding next         0.20      1195.00        $239.00
                                steps regarding special mediator.

 06/08/2021   BMM     AC        Review draft seminary complaint.                         0.90        695.00       $625.50

 06/08/2021   BMM     AC        Call with A. Gonzalez, E. Fisher, K. Brown, and K.       0.80        695.00       $556.00
                                Dine regarding avoidance actions.

 06/08/2021   BMM     AC        Call with K. Brown and K. Dine regarding                 0.30        695.00       $208.50
                                avoidance actions.

 06/09/2021   KHB     AC        Review protective order re use of IAC documents in       3.20      1225.00       $3,920.00
                                complaints to avoid fraudulent transfers (.4);
                                consideration of issues raised by IAC solvency
                                analysis and potential responses to same (1.4);
                                emails to/from K. Dine, B. Michael and J. Stang re
                                same and re further legal research (.8); emails from
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                                G. Greenwood re Cemetery transfers (.2); email
                                from B. Michael re timing issues for Seminary
                                complaint under terms of stipulation (.2); emails
                                with G. Greenwood re finalizing Seminary
                                complaint (.2).
 06/09/2021   LAF     AC        Research re: NY lawsuits.                               0.50        475.00       $237.50

 06/09/2021   GSG     AC        Draft fraudulent transfer complaint re cemetery         0.80        950.00       $760.00
                                transfers.

 06/09/2021   GSG     AC        Review dockets and complaints re triggering             0.60        950.00       $570.00
                                creditors.

 06/09/2021   GSG     AC        Review IAC report and exhibits re cemetery              3.90        950.00      $3,705.00
                                transfers valuations, and financials.

 06/09/2021   KBD     AC        Review issues relating to potential complaints          0.70      1195.00        $836.50
                                relating to transfers.

 06/09/2021   KBD     AC        Meeting with M. Bunin regarding issues relating to      0.30      1195.00        $358.50
                                DOE and Foundation.

 06/09/2021   KBD     AC        Draft correspondence regarding Foundation and           0.20      1195.00        $239.00
                                DOE matters.

 06/10/2021   KHB     AC        Analyze IAC solvency analysis and consider areas        3.30      1225.00       $4,042.50
                                of concern (1.5); emails to internal team re
                                independent solvency and sensitivity analysis (1.3);
                                confer with J. Stang re same (.1); email from A.
                                Hassel re same (.2); review motion for order on
                                restricted donations (.2).

 06/10/2021   LAF     AC        Locate Nassau County action.                            0.30        475.00       $142.50

 06/10/2021   LAF     AC        Legal research re: lawsuit.                             0.30        475.00       $142.50

 06/10/2021   GSG     AC        Review docketed letter re triggering creditor.          0.10        950.00        $95.00

 06/10/2021   GSG     AC        Review emails re IAC report and further                 0.20        950.00       $190.00
                                discovery/investigation.

 06/10/2021   GSG     AC        Review IAC exhibits re solvency issues and              1.60        950.00      $1,520.00
                                projected liabilities.

 06/10/2021   BMM     AC        Communications with PSZJ team regarding                 0.50        695.00       $347.50
                                solvency analysis.

 06/10/2021   BMM     AC        Communications with PSZJ team regarding                 1.00        695.00       $695.00
                                seminary complaint.

 06/11/2021   GSG     AC        Review corporate documents and emails re CemCo          3.30        950.00      $3,135.00
                                governance and control and transitional services.
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 06/11/2021   GSG     AC        Review additional documents re cemetery funding.        0.60        950.00       $570.00

 06/11/2021   KBD     AC        Analyze issues relating to IAC actions.                 1.00      1195.00       $1,195.00

 06/11/2021   BMM     AC        Review IAC documents.                                   0.50        695.00       $347.50

 06/14/2021   JIS     AC        Review Seminary avoidance action complaint.             0.40      1345.00        $538.00

 06/14/2021   JIS     AC        Call K. Brown regarding Seminary complaint and          0.20      1345.00        $269.00
                                confidentiality.

 06/14/2021   KHB     AC        Email with K. Dine re fraudulent transfer complaints    0.80      1225.00        $980.00
                                and potential targets for recovery (.2); work on
                                Seminary Complaint (.4); emails with G.
                                Greenwood and B. Michael re same (.2); email from
                                K. Dine re same.

 06/14/2021   GSG     AC        Review state court dockets and request pleadings re     0.30        950.00       $285.00
                                triggering creditors.

 06/14/2021   GSG     AC        Review confidentiality agreement re designations.       0.60        950.00       $570.00

 06/14/2021   GSG     AC        Research and review cases re solvency analysis.         2.60        950.00      $2,470.00

 06/14/2021   KBD     AC        Review draft seminary complaint.                        0.30      1195.00        $358.50

 06/14/2021   KBD     AC        Review and prepare correspondence relating to           0.10      1195.00        $119.50
                                seminary complaint.

 06/14/2021   KBD     AC        Review and prepare correspondence regarding sale        0.10      1195.00        $119.50
                                inquiry.

 06/14/2021   BMM     AC        Communications with team regarding Seminary             0.50        695.00       $347.50
                                complaint.

 06/15/2021   KHB     AC        Work on seminary complaint.                             2.00      1225.00       $2,450.00

 06/15/2021   KHB     AC        Confer with G. Greenwood re finalizing seminary         0.30      1225.00        $367.50
                                complaint.

 06/15/2021   KHB     AC        Call with B. Michael re seminary complaint and          0.20      1225.00        $245.00
                                protocol for dealing with confidential documents.

 06/15/2021   KHB     AC        Email from B. Michael re treatment of confidential      0.20      1225.00        $245.00
                                documents.

 06/15/2021   LAF     AC        Legal research re: Nassau County action details to      0.30        475.00       $142.50
                                G. Greenwood.

 06/15/2021   GSG     AC        Review pleadings re present creditors.                  0.50        950.00       $475.00

 06/15/2021   GSG     AC        Revise and blackline seminary complaint.                0.90        950.00       $855.00
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 06/15/2021   GSG     AC        Confer with K. Brown re seminary complaint.             0.30        950.00       $285.00

 06/15/2021   GSG     AC        Research and review cases re intentional fraud          2.30        950.00      $2,185.00
                                badges and chronology of events.

 06/15/2021   GSG     AC        Draft/revise complaint re cemetery transfers.           3.40        950.00      $3,230.00

 06/15/2021   GSG     AC        Revise seminary complaint re confidentiality issues     0.30        950.00       $285.00
                                and B. Michael comments.

 06/15/2021   KBD     AC        Review correspondence regarding seminary                0.30      1195.00        $358.50
                                complaint and other IAC actions.

 06/15/2021   BMM     AC        Review IAC documents for de-classification (.5);        0.70        695.00       $486.50
                                e-mail PSZJ team regarding same (.2).

 06/16/2021   JIS     AC        Call with potential buyer of Seminary real property.    1.00      1345.00       $1,345.00

 06/16/2021   KHB     AC        Emails from B. Michael re Seminary Complaint.           0.20      1225.00        $245.00

 06/16/2021   KHB     AC        Review email from A. Butler re settlement proposal      0.60      1225.00        $735.00
                                re Seminary Fraudulent Transfer claims.

 06/16/2021   KHB     AC        Email to J. Stang, K. Dine and B. Michael re            0.50      1225.00        $612.50
                                preliminary considerations and questions re
                                proposal.

 06/16/2021   KHB     AC        Review protective order and emails to G.                0.30      1225.00        $367.50
                                Greenwood re challenging confidential designations
                                by Debtor.

 06/16/2021   KHB     AC        Review documents re confidentiality issues and          0.30      1225.00        $367.50
                                document use in complaints.

 06/16/2021   GSG     AC        Emails re confidentiality designations and              0.20        950.00       $190.00
                                challenges.

 06/16/2021   GSG     AC        Review cemetery exhibits re confidentiality and         0.90        950.00       $855.00
                                challenges.

 06/16/2021   GSG     AC        Review/research re 548(e) trust challenges.             0.60        950.00       $570.00

 06/16/2021   GSG     AC        Review public records re seminary zoning.               0.40        950.00       $380.00

 06/16/2021   GSG     AC        Review proposed term sheet re seminary transfer         0.80        950.00       $760.00
                                and appraisals re same.

 06/16/2021   GSG     AC        Emails to K. Brown and B. Michael re cemetery           0.30        950.00       $285.00
                                complaint and underlying documents.

 06/16/2021   KBD     AC        Call with interested party and J. Stang regarding       0.40      1195.00        $478.00
                                seminary property.
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 06/16/2021   BMM     AC        Communications with PSZJ team regarding                0.10        695.00        $69.50
                                seminary complaint.

 06/17/2021   KHB     AC        Analyze recent authority re fraudulent transfer        1.00      1225.00       $1,225.00
                                issues.

 06/17/2021   KHB     AC        Draft cemetery complaint.                              2.40      1225.00       $2,940.00

 06/17/2021   GSG     AC        Review K. Brown comments re cemetery transfers.        0.30        950.00       $285.00

 06/17/2021   KBD     AC        Review correspondence regarding Seminary               0.10      1195.00        $119.50
                                meeting.

 06/17/2021   KBD     AC        Review and prepare comments to proposed term           0.40      1195.00        $478.00
                                sheet regarding seminary.

 06/17/2021   BMM     AC        Respond to K. Brown question regarding IAC report      0.20        695.00       $139.00
                                exhibit.

 06/18/2021   KHB     AC        Review emails from B. Michael to A. Gonzalez re        0.20      1225.00        $245.00
                                Seminary Complaint (.1); review email from A.
                                Gonzalez re same (.1).

 06/18/2021   KBD     AC        Draft correspondence to Special Mediator regarding     0.20      1195.00        $239.00
                                transfer matters.

 06/18/2021   KBD     AC        Review correspondence and issues relating to           0.30      1195.00        $358.50
                                seminary complaint draft.

 06/18/2021   BMM     AC        Revise seminary complaint.                             0.30        695.00       $208.50

 06/18/2021   BMM     AC        Draft e-mail to A. Gonzalez regarding seminary         0.30        695.00       $208.50
                                complaint.

 06/18/2021   BMM     AC        Draft e-mail to Debtor's counsel regarding mediator    0.40        695.00       $278.00
                                selection.

 06/21/2021   JIS     AC        Review and respond to letter from C. Ball re parish    0.20      1345.00        $269.00
                                property sale.

 06/21/2021   KHB     AC        Confer with G. Greenwood re revisions to Cemetery      3.80      1225.00       $4,655.00
                                Complaint (.2); review IAC exhibits (3.3); legal
                                research re basis for potential claims if transfers
                                avoided (.3).

 06/21/2021   GSG     AC        Revise complaint re Cemetery Transfers to separate     1.80        950.00      $1,710.00
                                trust claims and clarify factual allegations.

 06/21/2021   GSG     AC        Review database re seminary complaint and review       0.80        950.00       $760.00
                                stipulations re confidentiality designations.

 06/21/2021   GSG     AC        Review IAC report and exhibits re high school          1.30        950.00      $1,235.00
                                transfers and prepare notes re same.
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 06/21/2021   KBD     AC        Review information relating to seminary in                0.40      1195.00        $478.00
                                preparation for meeting.

 06/21/2021   KBD     AC        Strategize regarding next steps regarding seminary        0.10      1195.00        $119.50
                                with J. Stang.

 06/21/2021   KBD     AC        Call with counsel for seminary, A. Gonzalez, J.           1.10      1195.00       $1,314.50
                                Stang, B. Michael, C. Ball and others from Jones
                                Day regarding seminary proposal.

 06/21/2021   BMM     AC        Call with Debtor's counsel, A. Gonzalez, Seminary         1.10        695.00       $764.50
                                counsel regarding Seminary transfer.

 06/22/2021   JIS     AC        Call with Special Mediator.                               0.90      1345.00       $1,210.50

 06/22/2021   KHB     AC        Email with E. Fisher re seminary complaint (.1);          0.40      1225.00        $490.00
                                confer with E. Fisher re seminary complaint (.2);
                                emails to J. Stang re same (.1).

 06/22/2021   KHB     AC        Emails with B. Michael and Foundation counsel re          2.50      1225.00       $3,062.50
                                settlement discussions and financial disclosures (.3);
                                review IAC report and exhibits re fraudulent transfer
                                complaints and settlement discussions (2.2).

 06/22/2021   KHB     AC        Status conference with A. Gonzalez and E. Fisher re       0.90      1225.00       $1,102.50
                                fraudulent transfer litigation and settlements.

 06/22/2021   GSG     AC        Respond to email re declassification of complaint         0.20        950.00       $190.00
                                documents.

 06/22/2021   GSG     AC        Follow up research re insolvency under NY DCL             0.90        950.00       $855.00
                                273.

 06/22/2021   GSG     AC        Review report and draft adversary complaint re high       2.80        950.00      $2,660.00
                                school transfers.

 06/22/2021   KBD     AC        Participate in telephonic conference with special         0.80      1195.00        $956.00
                                mediator.

 06/22/2021   KBD     AC        Review correspondence regarding foundation.               0.20      1195.00        $239.00

 06/22/2021   KBD     AC        Review correspondence with special mediator.              0.10      1195.00        $119.50

 06/22/2021   BMM     AC        Call with A. Gonzalez and PSZJ team regarding             0.90        695.00       $625.50
                                seminary transfer.

 06/23/2021   KHB     AC        Review IAC report and exhibits (.5); emails with G.       0.60      1225.00        $735.00
                                Greenwood re Seminary Complaint (.1).

 06/23/2021   KHB     AC        Review IAC report and exhibits.                           0.50      1225.00        $612.50

 06/23/2021   GSG     AC        Draft/revise adversary complaint re high school           1.60        950.00      $1,520.00
                                transfers.
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 06/23/2021   GSG     AC        Review AO financials and individual financials re        0.70        950.00       $665.00
                                fraudulent transfers.

 06/23/2021   GSG     AC        Draft adversary complaint re Foundation transfer.        0.80        950.00       $760.00

 06/23/2021   GSG     AC        Review underlying documents re Foundation                1.50        950.00      $1,425.00
                                transfers.

 06/23/2021   KBD     AC        Review correspondence regarding special mediator.        0.20      1195.00        $239.00

 06/24/2021   JIS     AC        Review emails regarding stipulation to be recorded       0.20      1345.00        $269.00
                                against Seminary property.

 06/24/2021   KHB     AC        Analyze IAC report and exhibits re Cemetery              1.90      1225.00       $2,327.50
                                Complaint (1.0); analyze recent authority re
                                avoidance and recovery of fraudulent transfers under
                                NY law (.5); emails with J. Stang and K. Dine re
                                stipulation with Debtor and Seminary Corp to
                                prevent transfer of property (.4).

 06/24/2021   KHB     AC        Analyze IAC report and exhibits re cemetery              1.50      1225.00       $1,837.50
                                complaint (1.0); analyze recent authority re
                                avoidance and recovery of fraudulent transfers under
                                NY law (.5).

 06/24/2021   GSG     AC        Review St. Brigid opinion re parish control.             0.30        950.00       $285.00

 06/24/2021   GSG     AC        Review K. Brown comments and revise cemetery             1.20        950.00      $1,140.00
                                complaint re additional factual allegations and
                                common count claim.

 06/24/2021   GSG     AC        Revise seminary complaint re K. Brown comments           0.40        950.00       $380.00
                                and unjust enrichment claim.

 06/24/2021   GSG     AC        Revise complaints re high school transfers and           0.30        950.00       $285.00
                                foundation transfer re unjust enrichment claim.

 06/24/2021   GSG     AC        Emails from R. Gruber and K. Dine re seminary            0.20        950.00       $190.00
                                stipulation.

 06/24/2021   GSG     AC        Draft stipulation and order re seminary property.        1.40        950.00      $1,330.00

 06/24/2021   KBD     AC        Correspondence regarding next steps with respect to      0.40      1195.00        $478.00
                                seminary.

 06/25/2021   JIS     AC        Call K. Brown regarding stipulation related to sale      0.10      1345.00        $134.50
                                of Seminary property.

 06/25/2021   KHB     AC        Work on stipulation in lieu of filing complaint and      1.70      1225.00       $2,082.50
                                lis pendes during settlement discussion (1.3); confer
                                with G. Greenwood re same (.2); confer with J.
                                Stang re same (.2).
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 06/25/2021   GSG     AC        Draft/revise stip and order re Seminary Property and     0.60        950.00         $570.00
                                circulate same.

 06/25/2021   GSG     AC        Confer with K. Brown re stip and order revisions.        0.30        950.00         $285.00

 06/25/2021   KBD     AC        Review form of stipulation regarding seminary.           0.20      1195.00          $239.00

 06/28/2021   KHB     AC        Work on stipulation concerning restrictions on           0.30      1225.00          $367.50
                                transfer of property.

 06/28/2021   GSG     AC        Review / revise stipulation re Seminary Property re      0.20        950.00         $190.00
                                K. Brown comments and send email re same.

 06/29/2021   LAF     AC        Legal research re: Mediators in bankruptcy.              0.30        475.00         $142.50

 06/29/2021   KBD     AC        Review draft common interest agreement.                  0.20      1195.00          $239.00

                                                                                       118.40                    $123,399.00

  Bankruptcy Litigation [L430]
 06/09/2021   BMM     BL        Review motion re Hamilton estate (.6); e-mail PSZJ       0.80        695.00         $556.00
                                team re same (.2).

 06/21/2021   BMM     BL        Revise reservation of rights regarding Hamilton          0.20        695.00         $139.00
                                estate motion.

 06/21/2021   BMM     BL        Draft reservation of rights to Hamilton estate           1.10        695.00         $764.50
                                motion.

 06/22/2021   JIS     BL        Review response to Hamilton will motion.                 0.30      1345.00          $403.50

 06/23/2021   BMM     BL        Review motion to supplement CMO (.2); e-mail             0.30        695.00         $208.50
                                team regarding same (.1).

 06/23/2021   BMM     BL        Revise reservation of rights regarding Hamilton          0.30        695.00         $208.50
                                estate motion.

                                                                                         3.00                      $2,280.00

  Case Administration [B110]
 06/01/2021   KBD     CA        Review correspondence and notice regarding               0.10      1195.00          $119.50
                                hearing.

 06/04/2021   NPL     CA        Review Debtor docket regarding recently filed            1.20        460.00         $552.00
                                pleadings and entered orders.

 06/04/2021   NPL     CA        Update critical date memorandum.                         0.60        460.00         $276.00

 06/04/2021   NPL     CA        Email communications with Rockville team                 0.10        460.00          $46.00
                                regarding updated critical date memorandum.
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 06/07/2021   KBD     CA        Review correspondence from chambers relating to          0.10      1195.00        $119.50
                                hearing.

 06/08/2021   KBD     CA        Telephone call with J. Stang regarding hearing           0.10      1195.00        $119.50
                                update.

 06/08/2021   KBD     CA        Review outstanding case action items with B.             1.00      1195.00       $1,195.00
                                Michael.

 06/09/2021   KBD     CA        Review and prepare correspondence to Chambers            0.10      1195.00        $119.50
                                regarding hearing.

 06/09/2021   BMM     CA        Review ongoing case issues and work in progress          0.40        695.00       $278.00
                                list.

 06/10/2021   LSC     CA        Coordinate filing of notice of rescheduled hearing on    0.70        460.00       $322.00
                                2004 motion (.2); serve same (.2); prepare COS and
                                coordinate filing of same (.3).

 06/10/2021   KBD     CA        Review and prepare correspondence regarding              0.20      1195.00        $239.00
                                notice of adjourned hearing.

 06/10/2021   BMM     CA        Prepare notice of adjourned hearing for filing.          0.40        695.00       $278.00

 06/14/2021   NPL     CA        Email communications with M. Kulick regarding            0.20        460.00        $92.00
                                status conference deadlines.

 06/16/2021   NPL     CA        Email communications with B. Michael regarding           0.20        460.00        $92.00
                                amended notice of hearing on 2004 motion.

 06/16/2021   NPL     CA        Prepare amended notice of hearing on 2004 motion.        0.80        460.00       $368.00

 06/16/2021   NPL     CA        Prepare service list for amended notice of hearing on    0.20        460.00        $92.00
                                2004 motion.

 06/16/2021   NPL     CA        Email communications with K. Dine regarding              0.10        460.00        $46.00
                                amended notice on hearing for 2004 motion.

 06/16/2021   KBD     CA        Telephone call with J. Eisen regarding scheduling        0.10      1195.00        $119.50
                                matters.

 06/16/2021   KBD     CA        Call with James Stang regarding outstanding case         0.60      1195.00        $717.00
                                issues and next steps.

 06/16/2021   KBD     CA        Telephone calls with B. Michael regarding                0.50      1195.00        $597.50
                                outstanding case action items and next steps.

 06/16/2021   KBD     CA        Review and prepare correspondence to PSZJ team           0.40      1195.00        $478.00
                                regarding scheduling matters.

 06/16/2021   BMM     CA        Revise notice of new briefing schedule.                  0.10        695.00        $69.50

 06/18/2021   NPL     CA        Review debtor docket for recently filed pleadings.       0.60        460.00       $276.00
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 06/18/2021   NPL     CA        Update critical date memorandum.                       0.80        460.00      $368.00

 06/18/2021   NPL     CA        Prepare counsel for status conference.                 0.50        460.00      $230.00

 06/18/2021   NPL     CA        Prepare certificate of service of amended notice of    0.20        460.00       $92.00
                                hearing regarding 2004 motion.

 06/18/2021   NPL     CA        Review district court docket for recently filed        0.30        460.00      $138.00
                                pleadings.

 06/18/2021   NPL     CA        Prepare certification of no objections on PSZJ and     0.20        460.00       $92.00
                                Burns Bowen's April monthly fee statements.

 06/18/2021   NPL     CA        Finalize certificate of no objection regarding         0.10        460.00       $46.00
                                monthly fee statements of PSZJ and Burns Bowen
                                Bair.

 06/18/2021   NPL     CA        Review adversary dockets for recently filed            0.30        460.00      $138.00
                                pleadings.

 06/18/2021   NPL     CA        Review dates associated with filing adversary          0.20        460.00       $92.00
                                complaints.

 06/18/2021   NPL     CA        Telephone call with B. Anavim regarding dates          0.20        460.00       $92.00
                                associated with adversary complaints.

 06/21/2021   BMM     CA        Review critical dates and work in progress memo.       0.10        695.00       $69.50

 06/23/2021   NPL     CA        Email communications with B. Michael regarding         0.30        460.00      $138.00
                                the Committee's reservation of rights regarding
                                motion to accept certain donations.

 06/23/2021   NPL     CA        Prepare the Committee's reservation of rights          0.30        460.00      $138.00
                                regarding motion to accept certain donations for
                                filing.

 06/23/2021   BMM     CA        Draft and send communication to Debtor's counsel       0.30        695.00      $208.50
                                regarding mediation selection.

 06/24/2021   KBD     CA        Telephone call with B. Michael regarding               0.50      1195.00       $597.50
                                outstanding case action items.

 06/28/2021   NPL     CA        Update critical date memorandum.                       0.80        460.00      $368.00

 06/28/2021   NPL     CA        Prepare counsel for upcoming hearings.                 0.30        460.00      $138.00

 06/28/2021   NPL     CA        Email communications with PSZJ team regarding          0.20        460.00       $92.00
                                updated hearings.

 06/28/2021   NPL     CA        Review district court docket regarding pending         0.30        460.00      $138.00
                                motions.

 06/29/2021   NPL     CA        Email communications with K. Dine regarding            0.10        460.00       $46.00
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                                preparation of counsel for upcoming hearings.
 06/29/2021   NPL     CA        Email communications with M. Kulick regarding          0.20         460.00        $92.00
                                outstanding calendar deadlines.

 06/30/2021   NPL     CA        Review deadlines associated with Committee 2004        0.10         460.00        $46.00
                                motion.

                                                                                       15.10                    $9,971.00

  Claims Admin/Objections[B310]
 06/01/2021   KBD     CO        Review and prepare correspondence regarding proof      0.20       1195.00        $239.00
                                of claim issue.

 06/01/2021   BMM     CO        Communications with PSZJ team regarding                0.90         695.00       $625.50
                                Diocese's requested changes to bar date order.

 06/02/2021   KBD     CO        Review correspondence regarding claim                  0.30       1195.00        $358.50
                                confidentiality issue.

 06/02/2021   BMM     CO        Draft communication to State Court Counsel             0.30         695.00       $208.50
                                regarding proposed changes to use and access to
                                sexual abuse proof of claim forms.

 06/07/2021   BMM     CO        Draft revisions to Committee accused site.             0.30         695.00       $208.50

 06/08/2021   BMM     CO        Respond to creditor inquiry regarding claims           0.30         695.00       $208.50
                                submission process.

 06/09/2021   NPL     CO        Telephone call with B. Anavim regarding proof of       0.20         460.00        $92.00
                                claim restricted folder.

 06/09/2021   NPL     CO        Email communications with B. Michael regarding         0.20         460.00        $92.00
                                restrict access proofs of claim.

 06/09/2021   BMM     CO        Communications with Debtor's counsel regarding         0.30         695.00       $208.50
                                authorized parties.

 06/10/2021   BMM     CO        Call with A. Butler regarding proposed edits to the    0.30         695.00       $208.50
                                confidentiality agreement.

 06/14/2021   NPL     CO        Review confidential proofs of claim.                   1.20         460.00       $552.00

 06/14/2021   NPL     CO        Set up confidential claim folder for PSZJ team.        0.30         460.00       $138.00

 06/15/2021   JIS     CO        Review sampling of parish websites re claims bar       0.30       1345.00        $403.50
                                date in response to letter to Court.

 06/15/2021   NPL     CO        Email communications with B. Michael regarding         0.10         460.00        $46.00
                                restricted access proofs of claim.

 06/15/2021   NPL     CO        Email communications with Epiq regarding               0.20         460.00        $92.00
                                restricted access proofs of claim.
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 06/16/2021   NPL     CO        Email communications with B. Michael regarding          0.20         460.00        $92.00
                                parsh postings of bar date notice.

 06/21/2021   NPL     CO        Review proofs of claims filed by sexual assault         0.70         460.00       $322.00
                                vicitms.

 06/28/2021   NPL     CO        Review parish websites for bar date notice.             2.10         460.00       $966.00

 06/28/2021   NPL     CO        Update parish website spreadsheet regarding bar         0.30         460.00       $138.00
                                date notices.

 06/29/2021   NPL     CO        Review parish websites for bar date notice.             3.70         460.00      $1,702.00

 06/29/2021   NPL     CO        Update bar date notice spreadsheet.                     0.30         460.00       $138.00

                                                                                        12.70                    $7,039.00

  Compensation Prof. [B160]
 06/11/2021   DHH     CP        Telephone conference with B. Michael regarding the      0.90         395.00       $355.50
                                creation of new billing task codes (.4); telephone
                                conferences and emails with accounting regarding
                                same (.5).

 06/11/2021   DHH     CP        Review/revise PSZJ May monthly fee statement.           2.50         395.00       $987.50

 06/11/2021   BMM     CP        Call with D. Hinojosa regarding chart of accounts.      0.40         695.00       $278.00

 06/14/2021   BMM     CP        Revise PSZJ May monthly fee statement.                  2.00         695.00      $1,390.00

 06/15/2021   DHH     CP        Review/revise PSZJ May monthly fee statement.           1.50         395.00       $592.50

 06/18/2021   BMM     CP        Review COS and CNO for filing.                          0.30         695.00       $208.50

 06/19/2021   DHH     CP        Review/edit PSZJ May monthly fee statement.             1.30         395.00       $513.50

 06/21/2021   DHH     CP        Emails to/from regarding the creation of new billing    1.20         395.00       $474.00
                                tasks codes; review/revise/update same.

 06/21/2021   DHH     CP        Review/edit PSZJ May monthly fee statement.             0.50         395.00       $197.50

 06/22/2021   DHH     CP        Finalize new billing task codes per client request.     0.70         395.00       $276.50

 06/22/2021   DHH     CP        Review/edit PSZJ May monthly statement.                 0.80         395.00       $316.00

 06/22/2021   KBD     CP        Telephone call with B. Michael regarding                0.10       1195.00        $119.50
                                preparation of fee statement.

 06/22/2021   BMM     CP        Revise PSZJ May monthly fee statement.                  1.60         695.00      $1,112.00

 06/22/2021   BMM     CP        Communication to billers regarding new chart of         0.30         695.00       $208.50
                                account.
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 06/23/2021   BMM     CP        Revise PSZJ May monthly fee statement.                 0.60         695.00       $417.00

 06/23/2021   BMM     CP        Communications with Committee and PSZJ team            0.30         695.00       $208.50
                                regarding monthly fee statements.

 06/24/2021   DHH     CP        Review/edit PSZJ May monthly fee statement.            0.60         395.00       $237.00

 06/24/2021   KBD     CP        Review monthly statement materials.                    0.50       1195.00        $597.50

 06/24/2021   BMM     CP        Revise PSZJ May monthly fee statement.                 0.80         695.00       $556.00

 06/29/2021   NPL     CP        Email communications with D. Hinojosa and B.           0.20         460.00        $92.00
                                Michael regarding PSZJ May fee statement.

 06/30/2021   DHH     CP        Prepare PSZJ May monthly fee statement.                0.50         395.00       $197.50

 06/30/2021   NPL     CP        Email communications with B. Michael regarding         0.10         460.00        $46.00
                                PSZJ monthly fee invoice.

 06/30/2021   BMM     CP        Review PSZJ monthly fee statement.                     0.30         695.00       $208.50

                                                                                       18.00                    $9,589.50

  Comp. of Prof./Others
 06/10/2021   BMM     CPO       Review Debtor's April professional fees.               1.10         695.00       $764.50

 06/10/2021   BMM     CPO       Review Debtor's April professional fees.               0.20         695.00       $139.00

 06/28/2021   KBD     CPO       Review issues and correspondence relating to           0.40       1195.00        $478.00
                                Morningstar.

 06/28/2021   KBD     CPO       Telephone call with J. Stang regarding Morningstar.    0.10       1195.00        $119.50

                                                                                        1.80                    $1,501.00

  General Creditors Comm. [B150]
 06/01/2021   JIS     GC        Call with Committee regarding ongoing case issues.     0.80       1345.00       $1,076.00

 06/01/2021   KBD     GC        Prepare correspondence to SCC on outstanding           0.30       1195.00        $358.50
                                matters.

 06/01/2021   KBD     GC        Telephone call with V. Yannacone regarding             0.70       1195.00        $836.50
                                outstanding issues.

 06/01/2021   KBD     GC        Prepare for call with Committee.                       0.30       1195.00        $358.50

 06/01/2021   KBD     GC        Call with committee and State Court Counsel on         0.80       1195.00        $956.00
                                outstanding matters.

 06/01/2021   BMM     GC        Participate in and take minutes at Committee           0.80         695.00       $556.00
                                meeting regarding ongoing case matters.
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                             637       Filed 11/15/21
                                             07/30/21 Entered 11/15/21
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                                                                                     Hours           Rate     Amount

 06/02/2021   KBD     GC        Prepare for call with Jones Day team regarding        0.20      1195.00       $239.00
                                outstanding matters.

 06/02/2021   KBD     GC        Call with Jones Day regarding outstanding matters.    0.50      1195.00       $597.50

 06/02/2021   KBD     GC        Review minutes of Committee meeting.                  0.20      1195.00       $239.00

 06/02/2021   BMM     GC        Call with Debtor's counsel regarding ongoing case     0.50        695.00      $347.50
                                issues.

 06/03/2021   KBD     GC        Prepare agenda for SCC meeting.                       0.10      1195.00       $119.50

 06/03/2021   KBD     GC        Review and prepare correspondence with SCC.           0.20      1195.00       $239.00

 06/04/2021   KBD     GC        Prepare for SCC meeting.                              0.20      1195.00       $239.00

 06/04/2021   KBD     GC        Meeting with SCC regarding outstanding issues.        0.80      1195.00       $956.00

 06/04/2021   KBD     GC        Review and prepare correspondence with SCC on         0.20      1195.00       $239.00
                                outstanding matters.

 06/04/2021   KBD     GC        Draft agenda for meeting of Committee.                0.10      1195.00       $119.50

 06/07/2021   KBD     GC        Prepare and review correspondence to Committee        0.40      1195.00       $478.00
                                regarding meeting.

 06/08/2021   KBD     GC        Review correspondence with Committee.                 0.10      1195.00       $119.50

 06/08/2021   KBD     GC        Call with Jones Day and B. Michael regarding          0.30      1195.00       $358.50
                                outstanding discovery.

 06/08/2021   KBD     GC        Prepare for Committee meeting.                        0.20      1195.00       $239.00

 06/08/2021   KBD     GC        Participate in meeting with Committee regarding       0.70      1195.00       $836.50
                                outstanding matters.

 06/08/2021   BMM     GC        Prepare summary of status conference for              0.30        695.00      $208.50
                                Committee.

 06/08/2021   BMM     GC        Participate in and take minutes at Committee          0.70        695.00      $486.50
                                meeting regarding ongoing case matters.

 06/09/2021   KBD     GC        Prepare for call with Jones Day.                      0.10      1195.00       $119.50

 06/09/2021   KBD     GC        Call with Jones Day regarding outstanding matters.    0.50      1195.00       $597.50

 06/09/2021   KBD     GC        Telephone call with B. Michael regarding follow-up    0.30      1195.00       $358.50
                                matters regarding Jones Day.

 06/09/2021   BMM     GC        Call with Debtor's counsel regarding ongoing case     0.50        695.00      $347.50
                                issues.

 06/09/2021   BMM     GC        Follow up on debtor's meeting with K. Dine.           0.30        695.00      $208.50
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 06/10/2021   KBD     GC        Draft agenda for SCC meeting regarding outstanding      0.20      1195.00        $239.00
                                matters.

 06/10/2021   KBD     GC        Review and prepare correspondence to SCC                0.20      1195.00        $239.00
                                regarding outstanding matters.

 06/11/2021   JIS     GC        Attend State Court Counsel meeting regarding            0.60      1345.00        $807.00
                                parish discovery, avoidance action issues, mediator
                                candidates, real estate professionals, insurance
                                actions, billing codes.

 06/11/2021   KBD     GC        Prepare for SCC meeting.                                0.20      1195.00        $239.00

 06/11/2021   KBD     GC        Participate in meeting of SCC on outstanding issues.    0.60      1195.00        $717.00

 06/11/2021   KBD     GC        Review and prepare correspondence with SCC on           0.20      1195.00        $239.00
                                outstanding issues.

 06/11/2021   BMM     GC        Participate in State Court Counsel meeting regarding    0.60        695.00       $417.00
                                ongoing case issues.

 06/11/2021   BMM     GC        Call with K. Dine regarding SCC meeting follow-up.      0.20        695.00       $139.00

 06/14/2021   KBD     GC        Telephone call with B. Michael regarding                0.20      1195.00        $239.00
                                correspondence with Committee.

 06/14/2021   KBD     GC        Review and prepare correspondence with Committee        0.20      1195.00        $239.00
                                chair on outstanding issues.

 06/14/2021   BMM     GC        Call with K. Dine regarding correspondence with         0.20        695.00       $139.00
                                Committee.

 06/16/2021   KBD     GC        Prepare for call with Jones Day.                        0.20      1195.00        $239.00

 06/16/2021   KBD     GC        Call with Jones Day and B. Michael regarding            0.40      1195.00        $478.00
                                outstanding issues.

 06/17/2021   KBD     GC        Prepare agenda and correspondence regarding SCC         0.40      1195.00        $478.00
                                meeting.

 06/18/2021   JIS     GC        Attend SCC meeting regarding real property,             1.40      1345.00       $1,883.00
                                retention of professional, mediation.

 06/18/2021   IDS     GC        Attend SCC call regarding case issues including         1.40        895.00      $1,253.00
                                avoidance actions, mediation.

 06/18/2021   KBD     GC        Prepare for meeting with SCC.                           0.20      1195.00        $239.00

 06/18/2021   KBD     GC        Meeting with SCC regarding outstanding issues (in       0.90      1195.00       $1,075.50
                                part).

 06/18/2021   BMM     GC        Participate in State Court Counsel meeting regarding    1.40        695.00       $973.00
                                ongoing case issues.
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 06/21/2021   KBD     GC        Prepare agenda for Committee meeting.                  0.10      1195.00       $119.50

 06/21/2021   KBD     GC        Prepare correspondence to Committee regarding          0.20      1195.00       $239.00
                                meeting.

 06/21/2021   BMM     GC        Revise Committee meeting minutes.                      0.40        695.00      $278.00

 06/22/2021   IDS     GC        Attend Committee call regarding case issues,           0.80        895.00      $716.00
                                including seminary issues, discovery, insurance.

 06/22/2021   KBD     GC        Prepare for Committee meeting.                         0.10      1195.00       $119.50

 06/22/2021   KBD     GC        Participate in meeting of Committee regarding          0.80      1195.00       $956.00
                                outstanding matters.

 06/22/2021   BMM     GC        Participate in and take minutes at Committee           0.80        695.00      $556.00
                                meeting regarding ongoing case matters.

 06/22/2021   BMM     GC        Call with K. Dine regarding executive committee        0.20        695.00      $139.00
                                e-mail.

 06/23/2021   KBD     GC        Call with Jones Day regarding outstanding matters.     0.30      1195.00       $358.50

 06/23/2021   BMM     GC        Call with Debtor's counsel regarding ongoing case      0.30        695.00      $208.50
                                issues.

 06/24/2021   KBD     GC        Correspondence with Committee and SCC.                 0.20      1195.00       $239.00

 06/24/2021   KBD     GC        Call with B. Michael, J. Daly and R. Tollner           0.50      1195.00       $597.50
                                regarding monthly fee statements and other case
                                issues.

 06/24/2021   BMM     GC        Meeting with K. Dine and Executive Committee           0.50        695.00      $347.50
                                regarding case issues.

 06/29/2021   KBD     GC        Telephone calls with A. Butler regarding               0.40      1195.00       $478.00
                                outstanding matters.

 06/29/2021   KBD     GC        Correspondence relating to outstanding Jones Day       0.40      1195.00       $478.00
                                requests.

 06/29/2021   KBD     GC        Prepare for call with Jones Day.                       0.20      1195.00       $239.00

 06/29/2021   KBD     GC        Respond to request from Committee member.              0.10      1195.00       $119.50

 06/30/2021   KBD     GC        Telephone call with I. Scharf regarding update call    0.20      1195.00       $239.00
                                with Jones Day.

 06/30/2021   KBD     GC        Telephone E. Stephens, A. Butler, B. Michael and I.    0.40      1195.00       $478.00
                                Scharf regarding outstanding matters.

 06/30/2021   BMM     GC        Call with Debtor's counsel regarding ongoing case      0.30        695.00      $208.50
                                issues.
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                                                                                       28.00                    $29,220.00

  Hearings
 06/08/2021   IDS     H         Attend status conference.                              0.30         895.00        $268.50

 06/08/2021   GSG     H         Attend hearing (partial) re insurance adversary.       0.30         950.00        $285.00

 06/08/2021   GSG     H         Telephonic attendance at status conference.            0.30         950.00        $285.00

 06/08/2021   KBD     H         Prepare for status hearing.                            0.20       1195.00         $239.00

 06/08/2021   KBD     H         Participate in status conference with Court.           0.30       1195.00         $358.50

 06/08/2021   BMM     H         Participate in status conference hearing.              0.30         695.00        $208.50

 06/21/2021   IAWN H            Attend status conference.                              0.10       1145.00         $114.50

 06/21/2021   JIS     H         Attend status conference regarding discovery.          0.10       1345.00         $134.50

 06/21/2021   KBD     H         Participate in court status conference.                0.10       1195.00         $119.50

 06/21/2021   BMM     H         Participate in status conference hearing.              0.10         695.00         $69.50

                                                                                        2.10                     $2,082.50

  Insurance Coverage
 01/06/2021   IAWN IC           Review J. Bair and K. Dine emails re briefing letter   0.10         700.00         $70.00
                                timing.

 06/15/2021   IAWN IC           Review J. Stang, K. Dine, J. Bair emails re            0.20       1145.00         $229.00
                                intervening party rights.

 06/15/2021   KBD     IC        Review and draft correspondence relating to            0.20       1195.00         $239.00
                                insurance action.

 06/18/2021   KBD     IC        Review and prepare correspondence and pleadings        0.50       1195.00         $597.50
                                relating to insurance action.

 06/22/2021   IAWN IC           Review Terrell article re Arrowood.                    0.70       1145.00         $801.50

 06/22/2021   IAWN IC           Pull and review insurer financials.                    0.20       1145.00         $229.00

 06/24/2021   KBD     IC        Telephone call with A. Butler regarding insurance      0.10       1195.00         $119.50
                                filing.

 06/24/2021   KBD     IC        Review Debtor pleading regarding property              0.30       1195.00         $358.50
                                insurance settlement.

 06/25/2021   IAWN IC           Review J. Stang and K. Dine responses.                 0.10       1145.00         $114.50

 06/25/2021   IAWN IC           Review proposed order re insurance settlement.         0.80       1145.00         $916.00

 06/25/2021   IAWN IC           Email K. Dine and J. Stang re open issues.             0.10       1145.00         $114.50
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 06/25/2021   JIS     IC        Review Arrowood pleadings re amendment to              0.30       1345.00        $403.50
                                answer.

 06/25/2021   KBD     IC        Review matters relating to insurance stipulation.      0.30       1195.00        $358.50

 06/28/2021   IAWN IC           Review K. Dine email re Jones Day answers to open      0.10       1145.00        $114.50
                                issues on proposed order.

 06/28/2021   KBD     IC        Review and prepare correspondence relating to          0.20       1195.00        $239.00
                                insurance stipulation.

                                                                                        4.20                    $4,904.50

  Mediation
 06/18/2021   KBD     ME        Review and comment on correspondence relating to       0.10       1195.00        $119.50
                                mediation process.

 06/21/2021   JIS     ME        Review/revise email regarding mediator                 0.20       1345.00        $269.00
                                nominations.

 06/21/2021   KBD     ME        Review draft correspondence regarding mediation.       0.10       1195.00        $119.50

 06/23/2021   BMM     ME        Call with K. Dine regarding mediator selection         0.20         695.00       $139.00
                                process.

                                                                                        0.60                     $647.00

  Retention of Prof. [B160]
 06/03/2021   KHB     RP        Review Binder and Swartz employment app by             0.20       1225.00        $245.00
                                special mediator.

 06/14/2021   JIS     RP        Call with John Sullivan regarding retention of real    0.70       1345.00        $941.50
                                property special counsel.

 06/22/2021   KHB     RP        Review UST objection to employment of E. Fisher.       0.20       1225.00        $245.00

 06/22/2021   KBD     RP        Review objection to retention of professionals.        0.20       1195.00        $239.00

 06/25/2021   JIS     RP        Call regarding retention of NY real estate counsel.    0.60       1345.00        $807.00

 06/28/2021   NPL     RP        Email communications with K. Dine regarding            0.20         460.00        $92.00
                                hearing on Binder & Schwartz employment
                                application.

 06/28/2021   NPL     RP        Email communications with chambers regarding           0.10         460.00        $46.00
                                hearing on Binder & Schwartz employment
                                application.

 06/28/2021   NPL     RP        Email communications with B. Anavim regarding          0.20         460.00        $92.00
                                transcript for hearing on Binder & Schwartz
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                                                                                      Hours            Rate     Amount
                                employment application.
 06/29/2021   JIS     RP        Call M. Garabedian regarding real estate               0.10       1345.00        $134.50
                                professional.

                                                                                        2.50                    $2,842.00

  Stay Litigation [B140]
 06/01/2021   NPL     SL        Prepare counsel for status conference in adversary     0.30         460.00       $138.00
                                proceeding regarding 20-01226.

 06/01/2021   KBD     SL        Call with Diocese and Parish counsel regarding         0.40       1195.00        $478.00
                                injunction terms.

 06/01/2021   KBD     SL        Telephone call with I. Scharf regarding injunction     0.10       1195.00        $119.50
                                matters.

 06/01/2021   BMM     SL        Call with Debtor's counsel and Parish counsel          0.40         695.00       $278.00
                                regarding preliminary injunction extension.

 06/04/2021   NPL     SL        Review pleadings filed in adversary proceedings.       1.20         460.00       $552.00

 06/04/2021   KBD     SL        Review revisions to consent regarding preliminary      0.20       1195.00        $239.00
                                injunction.

 06/05/2021   KBD     SL        Review comments to proposed preliminary                0.20       1195.00        $239.00
                                injunction stipulation.

 06/06/2021   BMM     SL        Review proposed edits to preliminary injunction        0.60         695.00       $417.00
                                (.3); make additional edits (.3).

 06/07/2021   KBD     SL        Review and prepare comments to preliminary             0.40       1195.00        $478.00
                                injunction stipulation.

 06/07/2021   KBD     SL        Telephone call with A. Butler regarding preliminary    0.10       1195.00        $119.50
                                injunction matters.

 06/07/2021   BMM     SL        Revise preliminary injunction extension.               0.80         695.00       $556.00

 06/07/2021   BMM     SL        Revise draft preliminary injunction extension.         0.10         695.00        $69.50

 06/08/2021   KBD     SL        Review correspondence relating to preliminary          0.20       1195.00        $239.00
                                injunction.

 06/09/2021   KBD     SL        Review and prepare comments to consent to              0.40       1195.00        $478.00
                                preliminary injunction.

 06/11/2021   GSG     SL        Review preliminary injunction stipulation and          0.10         950.00        $95.00
                                deadline.

 06/14/2021   KHB     SL        Review stipulation and order extending preliminary     0.20       1225.00        $245.00
                                injunction.
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                                                                           5.70                    $4,740.50

  TOTAL SERVICES FOR THIS MATTER:                                                              $259,929.00
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 Expenses
 04/15/2021   CC        Conference Call [E105] CourtSolutions LLC,IDS                70.00
 05/06/2021   CC        Conference Call [E105] Court Solutions, BMM                  70.00
 05/07/2021   CC        Conference Call [E105] Court Solutions, KBD                  70.00
 05/11/2021   OS        Zobrio, Inv. INV21006, JIS                                  252.00
 05/13/2021   CC        Conference Call [E105] CourtSolutions LLC, BMM               70.00
 05/14/2021   CC        Conference Call [E105] Court Solutions, KBD                  70.00
 05/19/2021   CC        Conference Call [E105] Court Solutions, KBD                  70.00
 05/27/2021   CC        Conference Call [E105] Court Solutions, KBD                  70.00
 06/01/2021   LN        18491.00002 Lexis Charges for 06-01-21                       30.11
 06/02/2021   LN        18491.00002 Lexis Charges for 06-02-21                       27.81
 06/02/2021   LN        18491.00002 Lexis Charges for 06-02-21                        5.87
 06/07/2021   LN        18491.00002 Lexis Charges for 06-07-21                       15.65
 06/07/2021   LN        18491.00002 Lexis Charges for 06-07-21                        1.96
 06/07/2021   LN        18491.00002 Lexis Charges for 06-07-21                       29.60
 06/07/2021   PO        Postage                                                      76.00
 06/07/2021   RE        COPY ( 1085 @0.20 PER PG)                                   217.00
 06/07/2021   RE2       COPY ( 195 @0.10 PER PG)                                     19.50
 06/07/2021   RE2       COPY ( 22 @0.10 PER PG)                                       2.20
 06/07/2021   RE2       COPY ( 1 @0.10 PER PG)                                        0.10
 06/08/2021   CC        Conference Call [E105] Court Solutions, BMM                  70.00
 06/08/2021   CC        Conference Call [E105] Court Solutions, BMM                  70.00
 06/08/2021   CC        Conference Call [E105] Court Solutions, BMM                  70.00
 06/08/2021   FF        Filing Fee [E112] New York Western Bankruptcy Court,        188.00
                        Filing Fee, BMM
 06/08/2021   FF        Filing Fee [E112] New York Western Bankruptcy,               20.00
                        Certificate of Good Standing, BMM
 06/08/2021   LN        18491.00002 Lexis Charges for 06-08-21                        1.96
 06/08/2021   LN        18491.00002 Lexis Charges for 06-08-21                       27.65
 06/10/2021   BB        18491.00002 Bloomberg Charges through 06-10-21               85.23
 06/10/2021   PO        Postage                                                       2.55
 06/10/2021   RE2       COPY ( 45 @0.10 PER PG)                                       4.50
 06/15/2021   LN        18491.00002 Lexis Charges for 06-15-21                        7.83
 06/16/2021   PO        Postage                                                       3.55
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 06/16/2021   RE2       COPY ( 20 @0.10 PER PG)                                            2.00
 06/17/2021   LN        18491.00002 Lexis Charges for 06-17-21                            69.97
 06/21/2021   LN        18491.00002 Lexis Charges for 06-21-21                             7.50
 06/23/2021   RE        COPY ( 15 @0.20 PER PG)                                            3.00
 06/23/2021   RE2       COPY ( 3 @0.10 PER PG)                                             0.30
 06/23/2021   RE2       COPY ( 1 @0.10 PER PG)                                             0.10
 06/24/2021   LN        18491.00002 Lexis Charges for 06-24-21                            30.09
 06/29/2021   LN        18491.00002 Lexis Charges for 06-29-21                             7.82
 06/30/2021   OS        Everlaw, Inv. 42049, Diocese of Rockville Centre database      3,212.00
                        for the month of June
 06/30/2021   PAC       Pacer - Court Research                                           213.20

   Total Expenses for this Matter                                                   $5,265.05
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        06/30/2021

Total Fees                                                                                           $259,929.00

Total Expenses                                                                                             5,265.05

Total Due on Current Invoice                                                                         $265,194.05

  Outstanding Balance from prior invoices as of        06/30/2021          (May not include recent payments)

A/R Bill Number          Invoice Date                Fees Billed        Expenses Billed             Balance Due
 127261                  11/30/2020                $366,497.50            $2,234.91                   $20,370.78

 127262                  12/31/2020                $195,131.50            $1,151.97                   $39,026.30

 127263                  01/31/2021                $239,884.00            $2,506.31                   $47,976.80

 127463                  02/28/2021                $151,283.50             $879.50                    $30,256.50

 127564                  03/31/2021                $214,968.50            $5,003.65                   $42,993.70

 127762                  04/30/2021                $390,224.50            $7,613.85                   $78,044.90

 128137                  05/31/2021                $715,301.00            $5,319.79                  $720,620.79

             Total Amount Due on Current and Prior Invoices:                                        $1,244,483.82
      20-12345-scc      Doc 848
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                                          10100 Santa Monica Blvd.
                                                 13th Floor
                                           Los Angeles, CA 90067
                                                                      July 31, 2021
JIS                                                                   Invoice 128300
                                                                      Client    18491
                                                                      Matter    00002
                                                                                JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 07/31/2021
               FEES                                                   $243,748.00
               EXPENSES                                                 $5,412.72
               TOTAL CURRENT CHARGES                                  $249,160.72

               BALANCE FORWARD                                       $1,244,483.82
               LAST PAYMENT                                           $577,560.59
               TOTAL BALANCE DUE                                      $916,083.95
       20-12345-scc       Doc 848
                              708   Filed 11/15/21
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  Summary of Services by Professional
  ID        Name                              Title                Rate           Hours              Amount

 BMM        Michael, Brittany M.              Counsel             695.00         116.50           $80,967.50

 DHH        Hinojosa, Diane H.                Paralegal           395.00          50.00           $19,750.00

 GSG        Greenwood, Gail S.                Counsel             950.00           4.80            $4,560.00

 IAWN       Nasatir, Iain A. W.               Partner            1145.00           1.80            $2,061.00

 IDS        Scharf, Ilan D.                   Partner             895.00           3.40            $3,043.00

 JIS        Stang, James I.                   Partner            1345.00          18.80           $25,286.00

 KBD        Dine, Karen B.                    Counsel            1195.00          52.10           $62,259.50

 KHB        Brown, Kenneth H.                 Partner            1225.00           9.80           $12,005.00

 LAF        Forrester, Leslie A.              Other               475.00           2.80            $1,330.00

 NPL        Lockwood, Nancy P. F.             Paralegal           460.00          48.60           $22,356.00

 SLL        Lee, Sophia L.                    Other               395.00           8.00            $3,160.00

 WLR        Ramseyer, William L.              Counsel             850.00           8.20            $6,970.00

                                                                                324.80            $243,748.00
       20-12345-scc      Doc 848
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  Summary of Services by Task Code
  Task Code         Description                                               Hours                       Amount

 CA                 Case Administration [B110]                                10.60                      $5,546.00

 CEM                Cemetery Transfers                                         4.20                      $4,595.00

 CPO                Comp. of Prof./Others                                      7.40                      $5,718.00

 CREV               Claims Review                                             58.90                     $24,110.50

 CRF                CmteDisc Reqs- Finance/Govern                             77.70                     $66,071.00

 CRP                CmteDisc Reqs - Parishes                                  20.10                     $18,633.50

 EAPPS              Employment Appls                                           6.60                      $4,036.00

 IAC                IAC/Affiliate Transactions                                 8.90                      $9,177.50

 IFA                Interim Fee Applications                                  40.20                     $24,678.00

 IL                 Insurance Litigation                                       1.50                      $1,278.00

 MCC                Mtgs/Conf w/Client                                        18.60                     $18,412.00

 ME                 Mediation                                                 13.20                     $11,107.00

 MF                 Mtgs/Conf w/ Case Prof.                                    9.00                      $9,320.00

 MFA                Monthly Fee Statements                                    16.50                      $8,610.50

 OPH                Open Court Hearing                                        25.20                     $25,476.00

 RF                 Restricted Funds                                           0.70                       $836.50

 SEM                Seminary Transfers                                         5.50                      $6,142.50

                                                                             324.80                    $243,748.00
     20-12345-scc        Doc 848
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  Summary of Expenses
  Description                                                                                    Amount
Bloomberg                                                                                        $70.00
Conference Call [E105]                                                                      $910.00
Lexis/Nexis- Legal Research [E                                                              $402.32
Outside Services                                                                           $3,212.00
Pacer - Court Research                                                                           $16.50
Postage [E108]                                                                              $106.10
Reproduction Expense [E101]                                                                 $640.00
Transcript [E116]                                                                                $55.80

                                                                                           $5,412.72
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                                                                                       Hours           Rate     Amount

  Case Administration [B110]
 07/01/2021   NPL     CA        Update critical date memorandum.                        0.90        460.00      $414.00

 07/02/2021   NPL     CA        Email Rockville team regarding updated critical date    0.10        460.00       $46.00
                                memorandum.

 07/06/2021   BMM     CA        Review critical dates and work in progress memo.        0.50        695.00      $347.50

 07/07/2021   NPL     CA        Initial update to weekly critical date memorandum.      0.30        460.00      $138.00

 07/07/2021   KBD     CA        Review notice filed with court.                         0.10      1195.00       $119.50

 07/08/2021   NPL     CA        Update critical date memorandum.                        0.40        460.00      $184.00

 07/08/2021   NPL     CA        Review order re motion to supplement cash               0.10        460.00       $46.00
                                management motion.

 07/08/2021   NPL     CA        Draft email to PSZJ team regarding updated critical     0.10        460.00       $46.00
                                date memorandum.

 07/09/2021   BMM     CA        Communication with K. Dine and I. Scharf                0.60        695.00      $417.00
                                regarding case administration issues.

 07/12/2021   NPL     CA        Update master service list.                             1.10        460.00      $506.00

 07/12/2021   NPL     CA        Email communications with B. Michael regarding          0.10        460.00       $46.00
                                hearing transcript.

 07/12/2021   NPL     CA        Email communications with Veritex regarding             0.20        460.00       $92.00
                                hearing transcript.

 07/12/2021   NPL     CA        Email communications with M. Kulick regarding           0.20        460.00       $92.00
                                dates associated with status conferences.

 07/15/2021   NPL     CA        Email communications with B. Anavim regarding           0.10        460.00       $46.00
                                hearing transcript.

 07/16/2021   NPL     CA        Update critical date memorandum.                        0.60        460.00      $276.00

 07/16/2021   NPL     CA        Draft email to PSZJ team regarding updated critical     0.10        460.00       $46.00
                                dates.

 07/19/2021   NPL     CA        Update 2002 master mailing list.                        0.30        460.00      $138.00

 07/19/2021   KBD     CA        Review correspondence from Chambers regarding           0.10      1195.00       $119.50
                                hearing dates.

 07/20/2021   NPL     CA        Email communications with B. Anavim regarding           0.10        460.00       $46.00
                                expedited transcript.

 07/20/2021   NPL     CA        Update critical date memorandum.                        0.10        460.00       $46.00
     20-12345-scc        Doc 848
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                                             08/27/21 Entered 11/15/21
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 07/20/2021   NPL     CA        Email communications with Veritex regarding            0.10         460.00        $46.00
                                expedited hearing transcript.

 07/21/2021   NPL     CA        Initial updates to weekly critical date memorandum.    0.30         460.00       $138.00

 07/21/2021   NPL     CA        Review notice of rescheduled status conference         0.10         460.00        $46.00
                                regarding ARK320 adversary matter.

 07/22/2021   NPL     CA        Update critical date memorandum.                       0.70         460.00       $322.00

 07/23/2021   NPL     CA        Draft email to K. Dine, B. Michael and G. Brown        0.10         460.00        $46.00
                                regarding critical date memorandum.

 07/26/2021   NPL     CA        Update master service list.                            0.40         460.00       $184.00

 07/26/2021   BMM     CA        Review outstanding case matters and upcoming           0.50         695.00       $347.50
                                deadlines.

 07/27/2021   KBD     CA        Review correspondence from Jones Day regarding         0.10       1195.00        $119.50
                                case matters

 07/28/2021   NPL     CA        Update critical date memorandum.                       0.80         460.00       $368.00

 07/28/2021   NPL     CA        Email communications with B. Anavim regarding          0.10         460.00        $46.00
                                updated critical date memorandum.

 07/28/2021   NPL     CA        Telephone call with B. Anavim regarding updated        0.20         460.00        $92.00
                                critical date memorandum.

 07/30/2021   NPL     CA        Further updates to critical date memorandum.           0.70         460.00       $322.00

 07/30/2021   NPL     CA        Draft email to J. Stang, K. Dine and B. Michael        0.10         460.00        $46.00
                                regarding updated critical date memorandum.

 07/30/2021   NPL     CA        Draft email to Veritex regarding expedited             0.10         460.00        $46.00
                                transcripts.

 07/30/2021   NPL     CA        Email communications with B. Michael regarding         0.10         460.00        $46.00
                                expedited transcripts.

 07/30/2021   KBD     CA        Review correspondence from Jones Day regarding         0.10       1195.00        $119.50
                                bank account.

                                                                                       10.60                    $5,546.00

  Cemetery Transfers
 07/26/2021   KHB     CEM       Confer with J. Stang re Cemetery Complaint (.2);       1.70       1225.00       $2,082.50
                                work on Cemetery Complaint (1.5).

 07/26/2021   GSG     CEM       Review exhibits re components of transfers (.9);       1.90         950.00      $1,805.00
                                Revise complaint re factual allegations (1).
     20-12345-scc        Doc 848
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                                                                                         Hours            Rate     Amount

 07/27/2021   KHB     CEM       Work on cemetery complaint (.3); emails to G.             0.50       1225.00        $612.50
                                Greenwood re same (.2).

 07/27/2021   GSG     CEM       Emails to/from K. Brown re cemetery complaint             0.10         950.00        $95.00
                                status.

                                                                                           4.20                    $4,595.00

  Comp. of Prof./Others
 06/25/2021   IAWN CPO          Review Reed Smith bills re insurance.                     0.30       1145.00        $343.50

 06/25/2021   IAWN CPO          Exchange emails with PSZJ team re same.                   0.10       1145.00        $114.50

 07/07/2021   BMM     CPO       Review Debtor’s professionals fee statements.             1.00         695.00       $695.00

 07/07/2021   BMM     CPO       Review documents provided regarding the Morning           0.60         695.00       $417.00
                                Star Initiative.

 07/08/2021   BMM     CPO       Review Debtor’s professionals fee statements.             1.10         695.00       $764.50

 07/09/2021   KBD     CPO       Telephone call with A. Butler regarding Morning           0.10       1195.00        $119.50
                                Star.

 07/21/2021   BMM     CPO       Draft letter to debtor's counsel regarding Morning        1.60         695.00      $1,112.00
                                Star initiative.

 07/21/2021   IAWN CPO          Review Reed Smith billing                                 0.40       1145.00        $458.00

 07/22/2021   BMM     CPO       Draft letter to Debtor regarding Morning Star             0.30         695.00       $208.50
                                initiative.

 07/26/2021   BMM     CPO       Revise letter to Debtor regarding Morning Star            0.70         695.00       $486.50
                                initiative.

 07/27/2021   JIS     CPO       Review and comment on letter to Debtor re MSI             0.10       1345.00        $134.50
                                fees.

 07/27/2021   KBD     CPO       Review and prepare comments to letter regarding           0.20       1195.00        $239.00
                                Morning Star.

 07/27/2021   BMM     CPO       Revise draft letter regarding Morning Star Initiative.    0.60         695.00       $417.00

 07/30/2021   BMM     CPO       Review Debtor's and special counsel's professionals'      0.30         695.00       $208.50
                                June monthly fee statement.

                                                                                           7.40                    $5,718.00

  Claims Review
 07/12/2021   IDS     CREV      Revise claims review chart template.                      0.60         895.00       $537.00

 07/12/2021   DHH     CREV      Preparation of Claims Summary Chart (.5); email to        0.60         395.00       $237.00
     20-12345-scc        Doc 848
                             708       Filed 11/15/21
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                                                                                 Hours           Rate     Amount
                                B. Michael and I. Scharf regarding same (.1).
 07/13/2021   DHH     CREV      Review and chart filed sexual abuse claims.       0.80        395.00       $316.00

 07/13/2021   BMM     CREV      Review claims register.                           0.30        695.00       $208.50

 07/13/2021   IAWN CREV         Review B. Michael email re number of proofs of    0.10      1145.00        $114.50
                                claims.

 07/14/2021   DHH     CREV      Review and chart filed sexual abuse claims.       3.80        395.00      $1,501.00

 07/14/2021   BMM     CREV      Review claims excel and email team regarding      0.20        695.00       $139.00
                                same.

 07/19/2021   SLL     CREV      Review and chart filed sexual abuse claims.       2.00        395.00       $790.00

 07/19/2021   SLL     CREV      Review and chart filed sexual abuse claims.       2.00        395.00       $790.00

 07/19/2021   SLL     CREV      Review and chart filed sexual abuse claims.       2.00        395.00       $790.00

 07/19/2021   SLL     CREV      Review and chart filed sexual abuse claims.       1.50        395.00       $592.50

 07/20/2021   DHH     CREV      Review and chart filed sexual abuse claims.       2.00        395.00       $790.00

 07/20/2021   SLL     CREV      Review and chart sex abuse claims.                0.50        395.00       $197.50

 07/20/2021   DHH     CREV      Review and chart filed sexual abuse claims.       2.00        395.00       $790.00

 07/21/2021   DHH     CREV      Review and chart filed sexual abuse claims.       2.00        395.00       $790.00

 07/21/2021   DHH     CREV      Review and chart filed sexual abuse claims.       2.00        395.00       $790.00

 07/21/2021   DHH     CREV      Review and chart filed sexual abuse claims.       1.00        395.00       $395.00

 07/21/2021   NPL     CREV      Review emails with K. Tran regarding updated      0.10        460.00        $46.00
                                claims register.

 07/22/2021   DHH     CREV      Review and chart filed sexual abuse claims.       3.20        395.00      $1,264.00

 07/23/2021   DHH     CREV      Review and chart filed sexual abuse claims.       2.80        395.00      $1,106.00

 07/23/2021   DHH     CREV      Review and chart filed sexual abuse claims.       3.00        395.00      $1,185.00

 07/26/2021   DHH     CREV      Review and chart filed sexual abuse claims.       2.80        395.00      $1,106.00

 07/27/2021   DHH     CREV      Review and chart filed sexual abuse claims.       2.00        395.00       $790.00

 07/27/2021   DHH     CREV      Review and chart filed sexual abuse claims.       2.00        395.00       $790.00

 07/27/2021   DHH     CREV      Review and chart filed sexual abuse claims.       2.50        395.00       $987.50

 07/28/2021   DHH     CREV      Review and chart filed sexual abuse claims.       5.50        395.00      $2,172.50

 07/28/2021   NPL     CREV      Abuse claim identification review.                2.20        460.00      $1,012.00
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 07/29/2021   DHH     CREV      Review and chart filed sexual abuse claims.             3.50         395.00       $1,382.50

 07/29/2021   NPL     CREV      Review updated claims register.                         0.20         460.00         $92.00

 07/29/2021   BMM     CREV      Research status of a general claim.                     0.20         695.00        $139.00

 07/30/2021   DHH     CREV      Review and chart filed sexual abuse claims.             4.00         395.00       $1,580.00

 07/30/2021   NPL     CREV      Abuse claim identification and review.                  1.50         460.00        $690.00

                                                                                        58.90                    $24,110.50

  CmteDisc Reqs- Finance/Govern
 07/06/2021   JIS     CRF       Call with K. Dine, B. Michael and BRG regarding         1.00       1345.00        $1,345.00
                                status of discovery plan (partial).

 07/06/2021   KBD     CRF       Follow up telephone call with B. Michael regarding      0.50       1195.00         $597.50
                                discovery matters.

 07/06/2021   KBD     CRF       Telephone call with Jones Day regarding discovery.      0.30       1195.00         $358.50

 07/06/2021   BMM     CRF       Call with Debtor's counsel regarding discovery          0.30         695.00        $208.50
                                issues.

 07/06/2021   BMM     CRF       Meeting with BRG, J. Stang (in part), and K. Dine       1.50         695.00       $1,042.50
                                regarding financial discovery.

 07/06/2021   BMM     CRF       Revise debtor's proposed discovery search terms.        0.70         695.00        $486.50

 07/06/2021   KBD     CRF       Call with J. Stang (for part), M. Babcock, R. Strong    1.50       1195.00        $1,792.50
                                and B. Michael to prepare for hearing.

 07/07/2021   KBD     CRF       Review issues and correspondence from B. Michael        0.40       1195.00         $478.00
                                relating to discovery.

 07/07/2021   IAWN CRF          Exchange emails with B. Michael re BRG role re          0.10       1145.00         $114.50
                                premiums.

 07/09/2021   KBD     CRF       Telephone call with B. Michael regarding                0.30       1195.00         $358.50
                                outstanding discovery requests from Debtor.

 07/09/2021   BMM     CRF       Review previous Unitas document productions.            0.50         695.00        $347.50

 07/10/2021   KBD     CRF       Prepare review/correspondence among BRG and             0.10       1195.00         $119.50
                                PSZJ teams regarding Unitas discovery.

 07/11/2021   KBD     CRF       Prepare review/correspondence among BRG and             0.30       1195.00         $358.50
                                PSZJ teams relating to discovery matters.

 07/12/2021   KBD     CRF       Review documents relating to Unitas.                    0.20       1195.00         $239.00

 07/12/2021   BMM     CRF       Review Unitas-related documents (3.8);                  4.30         695.00       $2,988.50
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                                                                                      Hours           Rate     Amount
                                communication with PSZJ team regarding same (.5).
 07/12/2021   JIS     CRF       Review emails between the Committee & Debtor           0.30      1345.00        $403.50
                                related to Unitas accounting data for parishes.

 07/12/2021   JIS     CRF       Review issues related to Unitas structure and          0.50      1345.00        $672.50
                                co-mingling of funds.

 07/12/2021   JIS     CRF       Call M. Babcock regarding review of Unitas             0.10      1345.00        $134.50
                                documents regarding separate accounts.

 07/12/2021   BMM     CRF       Draft letter to Court regarding Unitas statements.     1.00        695.00       $695.00

 07/13/2021   KHB     CRF       Emails with J. Stang and M. Babcock re potential       1.80      1225.00       $2,205.00
                                claims against Unitas (.6); analyze authorities re
                                potential Unitas claims (1.2).

 07/13/2021   KBD     CRF       Call w/ Jones Day regarding discovery.                 0.20      1195.00        $239.00

 07/13/2021   KBD     CRF       Telephone conference with B. Michael regarding         0.40      1195.00        $478.00
                                discovery issues.

 07/13/2021   BMM     CRF       Call with Debtor's counsel regarding document          0.20        695.00       $139.00
                                production.

 07/13/2021   BMM     CRF       Call with K. Dine regarding discovery status.          0.40        695.00       $278.00

 07/13/2021   BMM     CRF       E-mail communications with PSZJ and BRG teams          0.70        695.00       $486.50
                                regarding Unitas document requests.

 07/13/2021   BMM     CRF       Research precedential cases regarding deposit loan     1.50        695.00      $1,042.50
                                accounts.

 07/13/2021   BMM     CRF       Review documents produced related to Unitas.           1.50        695.00      $1,042.50

 07/14/2021   BMM     CRF       Draft e-mail to Jones Day regarding Unitas meeting.    0.20        695.00       $139.00

 07/15/2021   BMM     CRF       Call with BRG, A&M, Jones Day, PSZJ and                0.80        695.00       $556.00
                                Diocesan Accounting staff regarding Unitas.

 07/15/2021   KBD     CRF       Call w/ M. Babcock, R. Strong, J. Stang and B.         0.50      1195.00        $597.50
                                Michael regarding discovery.

 07/15/2021   BMM     CRF       Call with J. Stang, K. Dine, M. Babcock, and R.        0.50        695.00       $347.50
                                Strong regarding Unitas.

 07/15/2021   BMM     CRF       Review documents produced related to Unitas.           0.60        695.00       $417.00

 07/15/2021   GSG     CRF       Review emails from team and order re Committee         0.10        950.00        $95.00
                                discovery status.

 07/15/2021   JIS     CRF       Call with Debtor and financial advisors regarding      0.80      1345.00       $1,076.00
                                flow of funds for Unitas.
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 07/15/2021   JIS     CRF       Call with BRG and PSZJ teams to discuss call with      0.50      1345.00        $672.50
                                Debtor re Unitas flow of funds.

 07/15/2021   KBD     CRF       Participate in call regarding Unitas with Diocese,     0.80      1195.00        $956.00
                                A&M, Jones Day and BRG

 07/16/2021   BMM     CRF       Correspondences with Debtor's counsel regarding        0.50        695.00       $347.50
                                commingling briefing.

 07/16/2021   BMM     CRF       Research legal definitions related to Unitas.          1.50        695.00      $1,042.50

 07/16/2021   KBD     CRF       Review issues relating to Unitas discovery w/ B.       0.30      1195.00        $358.50
                                Michael (for part).

 07/19/2021   IDS     CRF       Call with PSZJ / BRG teams regarding Unitas            0.50        895.00       $447.50
                                discovery (partial).

 07/19/2021   JIS     CRF       Call with BRG / PSZJ teams regarding Unitas.           0.80      1345.00       $1,076.00

 07/19/2021   KHB     CRF       Call with BRG / PSZJ teams regarding Unitas.           0.80      1225.00        $980.00

 07/19/2021   KBD     CRF       Call among PSZJ and BRG teams regarding issues         0.80      1195.00        $956.00
                                relating to Unitas.

 07/19/2021   KBD     CRF       Call M. Babcock, B. Michael and R. Strong              0.20      1195.00        $239.00
                                regarding issues relating to to financial discovery
                                matters.

 07/19/2021   BMM     CRF       Call with M. Babcock, R. Strong, K. Dine regarding     0.20        695.00       $139.00
                                Unitas and Parish information.

 07/19/2021   BMM     CRF       Call with PSZJ and BRG teams regarding Unitas.         0.80        695.00       $556.00

 07/19/2021   BMM     CRF       Review document production for asset information.      2.00        695.00      $1,390.00

 07/19/2021   BMM     CRF       Review document production for asset information.      2.80        695.00      $1,946.00

 07/20/2021   KBD     CRF       Call w/ Jones Day regarding discovery matters.         0.40      1195.00        $478.00

 07/20/2021   BMM     CRF       Meeting with Debtor's counsel regarding status of      0.40        695.00       $278.00
                                discovery requests.

 07/20/2021   BMM     CRF       Reveiw document production for asset information.      7.80        695.00      $5,421.00

 07/21/2021   KBD     CRF       Call w/ B. Michael, M. Babcock, R. Strong, and C.      1.50      1195.00       $1,792.50
                                Tergevorkian regarding financial discovery.

 07/21/2021   KBD     CRF       Follow up call w / B. Michael regarding financial      0.50      1195.00        $597.50
                                discovery and next steps.

 07/21/2021   BMM     CRF       Draft supplemental brief regarding commingling.        2.20        695.00      $1,529.00

 07/21/2021   BMM     CRF       Meeting with BRG and PSZJ regarding Unitas and         1.50        695.00      $1,042.50
                                outstanding discovery.
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 07/21/2021   BMM     CRF       Follow up call with K. Dine regarding Unitas and       0.50        695.00       $347.50
                                outstanding discovery.

 07/21/2021   BMM     CRF       Review document production for asset information.      1.00        695.00       $695.00

 07/22/2021   KBD     CRF       Review and comment on correspondence from B.           0.20      1195.00        $239.00
                                Michael on outstanding discovery matters.

 07/22/2021   KBD     CRF       Review and comment on correspondence from B.           0.10      1195.00        $119.50
                                Michael on discovery.

 07/22/2021   BMM     CRF       Draft motion to file documents under seal.             2.10        695.00      $1,459.50

 07/23/2021   KBD     CRF       Review draft motion regarding filing under seal.       0.20      1195.00        $239.00

 07/23/2021   KBD     CRF       Analyze issues relating to discovery.                  0.30      1195.00        $358.50

 07/26/2021   KBD     CRF       Review and comment on emails regarding discovery       0.30      1195.00        $358.50
                                status.

 07/26/2021   BMM     CRF       Draft email to Jones Day regarding outstanding         0.90        695.00       $625.50
                                discovery.

 07/27/2021   JIS     CRF       Review motion to file Unitas documents under seal.     0.10      1345.00        $134.50

 07/27/2021   KBD     CRF       Review correspondence with Debtor's counsel            0.30      1195.00        $358.50
                                regarding discovery matters.

 07/27/2021   BMM     CRF       Review Debtor's finance council minutes.               1.30        695.00       $903.50

 07/27/2021   BMM     CRF       Call with Jones Day regarding document production.     0.30        695.00       $208.50

 07/27/2021   BMM     CRF       Send summary of discovery call to PSZJ team.           0.40        695.00       $278.00

 07/28/2021   KBD     CRF       Strategize regarding case discovery matters and        1.00      1195.00       $1,195.00
                                hearing preparation w / B. Michael.

 07/28/2021   KBD     CRF       Call w/ M. Babcock, R. Strong, C. Tergevorkian and     1.00      1195.00       $1,195.00
                                B. Michael regarding Unitas and other discovery
                                matters.

 07/28/2021   BMM     CRF       Review Debtor's finance council minutes.               0.90        695.00       $625.50

 07/28/2021   BMM     CRF       Review Debtor's finance council minutes.               0.80        695.00       $556.00

 07/28/2021   BMM     CRF       Review Debtor's finance council minutes.               0.60        695.00       $417.00

 07/28/2021   BMM     CRF       Call with K. Dine regarding discovery and other        1.00        695.00       $695.00
                                case issues.

 07/28/2021   BMM     CRF       Meeting with BRG and K. Dine regarding Unitas          1.00        695.00       $695.00
                                analysis.

 07/28/2021   KHB     CRF       Review email from B. Michael re status of discovery    0.20      1225.00        $245.00
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                                requests.
 07/29/2021   KBD     CRF       Telephone call with B. Michael regarding                0.20       1195.00         $239.00
                                outstanding matters relating to Unitas.

 07/29/2021   BMM     CRF       Draft supplemental brief regarding commingling.         2.60         695.00       $1,807.00

 07/29/2021   BMM     CRF       Call with K. Dine regarding Unitas briefing and         0.20         695.00        $139.00
                                other case issues.

 07/29/2021   BMM     CRF       Revise supplemental brief regarding commingling         1.90         695.00       $1,320.50
                                (with M. Babcock in part).

 07/30/2021   BMM     CRF       Review Debtor's finance council minutes.                0.40         695.00        $278.00

 07/30/2021   BMM     CRF       Review Debtor's finance council minutes.                0.70         695.00        $486.50

 07/30/2021   BMM     CRF       Meeting with BRG and K. Dine regarding Unitas           1.20         695.00        $834.00
                                analysis.

 07/30/2021   BMM     CRF       Call with K. Dine regarding Unitas briefing.            0.40         695.00        $278.00

 07/30/2021   BMM     CRF       Call with M. Babcock, C. Tergevorkian regarding         0.40         695.00        $278.00
                                Unitas briefing.

 07/30/2021   BMM     CRF       Revise Unitas supplemental brief.                       1.60         695.00       $1,112.00

 07/30/2021   KBD     CRF       Review and prepare comments to 2004 supplement          1.10       1195.00        $1,314.50
                                papers.

 07/30/2021   KBD     CRF       Call regarding 2004 supplement w/ M. Babcock, C.        1.20       1195.00        $1,434.00
                                Tergvorkian, R. Strong and B. Michael.

 07/31/2021   KBD     CRF       Review and prepare comments to draft 2004               0.40       1195.00         $478.00
                                supplement.

                                                                                        77.70                    $66,071.00

  CmteDisc Reqs - Parishes
 07/01/2021   KBD     CRP       Review case law relating to parish discovery matters    0.30       1195.00         $358.50
                                to committee 2004 motion.

 07/01/2021   KBD     CRP       Review draft reply in support to Committee parish       0.50       1195.00         $597.50
                                2004 motion.

 07/01/2021   JIS     CRP       Review parish rule 2004 reply.                          0.60       1345.00         $807.00

 07/01/2021   NPL     CRP       Email communications with B. Michael regarding          0.10         460.00         $46.00
                                Committee reply to objection to 2004 motion.

 07/01/2021   BMM     CRP       Revise reply ISO of parish 2004 motion.                 1.40         695.00        $973.00

 07/02/2021   KBD     CRP       Review and finalize reply regarding Committee           1.40       1195.00        $1,673.00
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                                2004 motion.
 07/02/2021   KBD     CRP       Review correspondence relating to proposed parish         0.20      1195.00        $239.00
                                transaction.

 07/02/2021   NPL     CRP       Email communications with B. Michael and K. Dine          0.20        460.00        $92.00
                                regarding Committee reply in support of Committee
                                2004 motion.

 07/02/2021   NPL     CRP       Final edits to Committee reply in support of              0.40        460.00       $184.00
                                Committee 2004 motion.

 07/02/2021   NPL     CRP       Final edits to supplemental declaration of K. Dine in     0.20        460.00        $92.00
                                support of Committee 2004 motion.

 07/02/2021   NPL     CRP       Prepare service list for Committee reply and K. Dine      0.20        460.00        $92.00
                                declaration in support of Committee 2004 motion.

 07/02/2021   NPL     CRP       Email service of Committee reply and supplement           0.20        460.00        $92.00
                                declaration in support of Committee 2004 motion.

 07/02/2021   NPL     CRP       Prepare certification of service regarding Committee      0.20        460.00        $92.00
                                reply in support of Committee 2004 motion.

 07/02/2021   NPL     CRP       Draft email to chambers regarding Committee reply         0.10        460.00        $46.00
                                in support of Committee 2004 motion.

 07/02/2021   BMM     CRP       Revise and file reply iso parish 2004.                    2.20        695.00      $1,529.00

 07/07/2021   LAF     CRP       Research re: parish real estate transfers.                0.50        475.00       $237.50

 07/08/2021   NPL     CRP       Email communications with B. Anavim regarding             0.20        460.00        $92.00
                                deadlines associated with 2004 motion.

 07/10/2021   KBD     CRP       Review correspondence from Jones Day regarding            0.10      1195.00        $119.50
                                parish lease.

 07/12/2021   JIS     CRP       Call K. Dine regarding strategy for call with parishes    0.20      1345.00        $269.00
                                and diocese regarding discovery.

 07/12/2021   JIS     CRP       Call with Diocese and parishes for meet and confer        1.10      1345.00       $1,479.50
                                on Rule 2004 exam.

 07/12/2021   KBD     CRP       Prepare for meet and confer with Parishes with B.         1.20      1195.00       $1,434.00
                                Michael (for part).

 07/12/2021   KBD     CRP       Follow-up regarding preparation for hearing               0.50      1195.00        $597.50
                                regarding Parish discovery with B. Michael (for
                                part).

 07/12/2021   KBD     CRP       Call with B. Michael, M. Babcock and R. Strong            0.70      1195.00        $836.50
                                regarding Parish information.

 07/12/2021   KBD     CRP       Meet and confer with Parish counsel and Jones Day.        1.10      1195.00       $1,314.50
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 07/12/2021   KBD     CRP       Telephone call with J. Stang to prepare for 2004         0.20       1195.00         $239.00
                                hearing.

 07/12/2021   KBD     CRP       Review court transcript regarding discovery matters.     0.80       1195.00         $956.00

 07/12/2021   BMM     CRP       Call with K. Dine regarding parish information.          0.50         695.00        $347.50

 07/12/2021   BMM     CRP       Call with M. Babcock, R. Strong, K. Dine regarding       0.70         695.00        $486.50
                                Unitas and Parish information.

 07/12/2021   BMM     CRP       Meet and confer with K. Dine, J. Stang, Diocese,         1.10         695.00        $764.50
                                and Parishes regarding Parish 2004.

 07/13/2021   KBD     CRP       Correspondence with PSZJ/BRG teams relating to           0.30       1195.00         $358.50
                                discovery relating to 2004/Unitas.

 07/15/2021   KHB     CRP       Review report of hearing on Parish Discovery             0.20       1225.00         $245.00
                                issues.

 07/16/2021   KBD     CRP       Analyze issues relating to potential claims against      0.40       1195.00         $478.00
                                the Parishes.

 07/16/2021   BMM     CRP       Review decision in precedential case.                    0.30         695.00        $208.50

 07/20/2021   NPL     CRP       Review notice of continued status conference             0.10         460.00         $46.00
                                regarding the Committee's 2004 motion.

 07/20/2021   NPL     CRP       Prepare counsel for continued status conference          0.20         460.00         $92.00
                                regarding the Committee's 2004 motion.

 07/20/2021   NPL     CRP       Email communications with B. Anavim regarding            0.10         460.00         $46.00
                                continued status conference regarding the
                                Committee's 2004 motion.

 07/23/2021   KBD     CRP       Review correspondence with Jones Day and                 0.20       1195.00         $239.00
                                documents regarding parish lease.

 07/23/2021   BMM     CRP       Review notices of parish leases.                         0.80         695.00        $556.00

 07/27/2021   BMM     CRP       Review production of parish documents.                   0.40         695.00        $278.00

                                                                                         20.10                    $18,633.50

  Employment Appls
 07/06/2021   KBD     EAPPS     Call with J. Stang regarding retention of real estate    0.10       1195.00         $119.50
                                professional.

 07/07/2021   KBD     EAPPS     Review and prepare correspondence regarding              0.20       1195.00         $239.00
                                retention of real estate advisor.

 07/08/2021   JIS     EAPPS     Review and respond to email regarding retention of       0.10       1345.00         $134.50
                                real estate counsel.
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 07/12/2021   KHB     EAPPS     Email from K. Dine re retention of real estate          0.20      1225.00       $245.00
                                consultant.

 07/13/2021   DHH     EAPPS     Preparation of application to employ Ruskin Moscou      1.40        395.00      $553.00
                                Faltischek as special real estate counsel.

 07/15/2021   BMM     EAPPS     Prepare application to employ special real estate       1.00        695.00      $695.00
                                counsel.

 07/15/2021   JIS     EAPPS     Review Sullivan employment application and              0.10      1345.00       $134.50
                                forward to Sullivan for comment.

 07/22/2021   BMM     EAPPS     Prepare confidentiality joinder for real estate         0.40        695.00      $278.00
                                counsel.

 07/26/2021   NPL     EAPPS     Email communications with B. Michael regarding          0.20        460.00       $92.00
                                application to employ Ruskin Moscou Faltischek.

 07/26/2021   NPL     EAPPS     Prepare notice of hearing on application to employ      0.60        460.00      $276.00
                                Ruskin Mascou Faltischek as special real estate
                                counsel.

 07/26/2021   NPL     EAPPS     Final edits to application to employ Ruskin Mascou      0.40        460.00      $184.00
                                Faltischek as special real estate counsel.

 07/26/2021   NPL     EAPPS     Final edits to notice of hearing on application to      0.30        460.00      $138.00
                                employ Ruskin Mascou Faltischek as special real
                                estate counsel.

 07/26/2021   NPL     EAPPS     Telephone call with B. Michael regarding                0.10        460.00       $46.00
                                application to employ Ruskin Mascou Faltischek as
                                special real estate counsel.

 07/26/2021   NPL     EAPPS     Email service to interested parties regarding           0.10        460.00       $46.00
                                application to employ Ruskin Mascou Faltischek as
                                special real estate counsel.

 07/26/2021   NPL     EAPPS     Prepare certificate of service regarding application    0.20        460.00       $92.00
                                to employ Ruskin Mascou Faltischek as special real
                                estate counsel.

 07/26/2021   NPL     EAPPS     Draft email to chambers regarding application to        0.10        460.00       $46.00
                                employ Ruskin Mascou Faltischek as special real
                                estate counsel.

 07/26/2021   BMM     EAPPS     Review J. Sullivan revisions to RMF retention           0.40        695.00      $278.00
                                application.

 07/26/2021   BMM     EAPPS     Finalize for filing RMF retention application.          0.50        695.00      $347.50

 07/30/2021   NPL     EAPPS     Prepare counsel for hearing on application to employ    0.20        460.00       $92.00
                                Ruskin Moscou Faltischek as special real estate
                                counsel.
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                                                                                          6.60                    $4,036.00

  IAC/Affiliate Transactions
 07/01/2021   KBD     IAC       Correspondence with PSZJ team regarding filed             0.20      1195.00        $239.00
                                pleadings/order.

 07/02/2021   KBD     IAC       Correspondence with PSZJ team regarding filed             0.40      1195.00        $478.00
                                pleadings/order.

 07/06/2021   KBD     IAC       Call with special mediator, B. Michael and J. Stang       0.30      1195.00        $358.50
                                regarding avoidance actions.

 07/06/2021   KHB     IAC       Emails with N. Lockwood, K. Dine, B. Michael and          0.30      1225.00        $367.50
                                G. Greenwood re status conference and impact on
                                IAC claims.

 07/06/2021   JIS     IAC       Call with Special Mediator regarding status of            0.30      1345.00        $403.50
                                avoidance action issues.

 07/06/2021   BMM     IAC       Call with A. Gonzalez, K. Dine, J. Stang, E. Fisher       0.30        695.00       $208.50
                                regarding seminary complaint.

 07/08/2021   BMM     IAC       Revise common interest agreement.                         0.70        695.00       $486.50

 07/12/2021   KBD     IAC       Review documents relating to IAC matters.                 0.30      1195.00        $358.50

 07/13/2021   BMM     IAC       Revise common interest agreement.                         0.20        695.00       $139.00

 07/20/2021   KBD     IAC       Call w/ A. Gonzalez, J. Stang, B. Michael, K. Brown       0.30      1195.00        $358.50
                                and E. Fisher regarding avoidance actions.

 07/20/2021   JIS     IAC       Status call with J. Gonzalez re IAC issues (partial).     0.10      1345.00        $134.50

 07/27/2021   JIS     IAC       Review the common interest agreement.                     0.20      1345.00        $269.00

 07/27/2021   KHB     IAC       Review proposed common interest agreement (.8);           1.00      1225.00       $1,225.00
                                emails to J. Stang re same (.2).

 07/28/2021   KBD     IAC       Telephone call with K. Brown, J. Stang (in part) and      0.40      1195.00        $478.00
                                B. Michael regarding IAC discovery matters.

 07/28/2021   KBD     IAC       Telephone call with M. Bunin regarding Foundation         0.30      1195.00        $358.50
                                and DOE

 07/28/2021   JIS     IAC       (Partial) PSZJ call re common interest agreement,         0.20      1345.00        $269.00
                                cemetery and 7/29 hearing.

 07/28/2021   KHB     IAC       Review draft common interest agreement and                1.10      1225.00       $1,347.50
                                protective order to prepare for call re same (.4); call
                                with B. Michael, J. Stang and K. Dine re same (.4);
                                revise common interest agreement (.3).

 07/28/2021   BMM     IAC       Incorporate edits & revise common interest                0.50        695.00       $347.50
                                agreement.
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 07/28/2021   BMM     IAC       Meeting with K. Dine, J. Stang (in part), and K.    0.40         695.00       $278.00
                                Brown regarding common interest agreement and
                                other case matters.

 07/29/2021   BMM     IAC       Communication with proposed real estate counsel     0.10         695.00        $69.50
                                regarding outstanding case issues.

 07/29/2021   BMM     IAC       Revise common interest agreement.                   1.10         695.00       $764.50

 07/30/2021   KBD     IAC       Review form of common interest agreement            0.20       1195.00        $239.00

                                                                                     8.90                    $9,177.50

  Interim Fee Applications
 07/06/2021   WLR     IFA       Review correspondence from B. Michael and reply     0.20         850.00       $170.00
                                re 2nd interim fee application.

 07/06/2021   NPL     IFA       Email communications with B. Michael regarding      0.20         460.00        $92.00
                                PSZJ second interim fee application.

 07/06/2021   NPL     IFA       Email communications with W. Ramseyer regarding     0.20         460.00        $92.00
                                PSZJ second interim fee application.

 07/06/2021   NPL     IFA       Email communications with R. Rothman regarding      0.10         460.00        $46.00
                                PSZJ second interim fee application.

 07/06/2021   BMM     IFA       Communications with debtor's counsel and            1.10         695.00       $764.50
                                Committee professionals regarding interim fee
                                applications.

 07/07/2021   WLR     IFA       Draft 2nd interim fee application.                  3.60         850.00      $3,060.00

 07/07/2021   NPL     IFA       Email communications with W. Ramseyer regarding     0.10         460.00        $46.00
                                PSZJ interim fee application.

 07/07/2021   NPL     IFA       Email communications with B. Michael regarding      0.10         460.00        $46.00
                                PSZJ interim fee application.

 07/07/2021   BMM     IFA       Draft final fee application for Kinsella Media.     0.80         695.00       $556.00

 07/08/2021   WLR     IFA       Draft 2nd interim fee application.                  1.90         850.00      $1,615.00

 07/08/2021   KBD     IFA       Review issues relating to fee application.          0.20       1195.00        $239.00

 07/08/2021   BMM     IFA       Revise BRG and Kinsella interim fee applications    1.30         695.00       $903.50
                                (.8); send same to Executive Committee (.1);
                                communications with UST and PSZJ team regarding
                                revised May monthly statement (.4)

 07/10/2021   WLR     IFA       Correspondence to B. Michael and N. Lockwood re     0.20         850.00       $170.00
                                Second interim fee application.
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 07/10/2021   WLR     IFA       Draft Second interim fee application.                    0.40        850.00       $340.00

 07/10/2021   WLR     IFA       Review and revise Second interim fee application.        1.80        850.00      $1,530.00

 07/11/2021   WLR     IFA       Review correspondence from B. Michael re 2nd             0.10        850.00        $85.00
                                interim fee application.

 07/12/2021   NPL     IFA       Analysis of professional fees for preparation of PSZJ    3.20        460.00      $1,472.00
                                second interim fee application.

 07/12/2021   NPL     IFA       Updates to PSZJ second interim fee application.          0.80        460.00       $368.00

 07/13/2021   NPL     IFA       Further preparation of initial draft of PSZJ second      3.80        460.00      $1,748.00
                                interim fee application.

 07/13/2021   NPL     IFA       Update attorney chart regarding second interim fee       0.60        460.00       $276.00
                                application.

 07/13/2021   NPL     IFA       Email communications with IT regarding fee               0.20        460.00        $92.00
                                breakdown for PSZJ second interim fee application.

 07/14/2021   NPL     IFA       Further edits to exhibits to PSZJ second interim fee     1.10        460.00       $506.00
                                application.

 07/15/2021   NPL     IFA       Analysis of professional fees for Committee              1.60        460.00       $736.00
                                professionals regarding interim fee applications.

 07/15/2021   NPL     IFA       Review diocese payment history for second interim        0.60        460.00       $276.00
                                fee applications.

 07/15/2021   NPL     IFA       Edits to exhibits to PSZJ second interim fee             1.20        460.00       $552.00
                                application.

 07/15/2021   NPL     IFA       Edits to Burns Bowen Bair's second interim fee           0.20        460.00        $92.00
                                application.

 07/15/2021   NPL     IFA       Compile exhibits to interim fee applications.            0.30        460.00       $138.00

 07/15/2021   NPL     IFA       Email communications with B. Michael regarding           0.20        460.00        $92.00
                                interim fee application for Burns Bowen Bair.

 07/15/2021   BMM     IFA       Revise Committee professionals' interim fee              1.20        695.00       $834.00
                                applications.

 07/16/2021   NPL     IFA       Update expense breakdown exhibit regarding PSZJ          0.30        460.00       $138.00
                                interim fee applcation.

 07/16/2021   NPL     IFA       Email communications with B. Michael regarding           0.20        460.00        $92.00
                                interim fee applications for Committee
                                professionals.

 07/16/2021   NPL     IFA       Telephone call with B. Michael regarding edits to        0.10        460.00        $46.00
                                PSZJ second interim fee application.
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 07/16/2021   NPL     IFA       Compile exhibits for interim fee applications for       0.50        460.00       $230.00
                                Committee professionals.

 07/16/2021   BMM     IFA       Revise PSZJ interim fee application.                    1.10        695.00       $764.50

 07/16/2021   BMM     IFA       Revise PSZJ interim fee application.                    2.80        695.00      $1,946.00

 07/19/2021   NPL     IFA       Email communications with B. Michael regarding          0.20        460.00        $92.00
                                second interim fee applications for Committee
                                professionals.

 07/19/2021   NPL     IFA       Final edits to Kinsella Media's second and final        0.60        460.00       $276.00
                                interim fee application.

 07/19/2021   NPL     IFA       Final edits to PSZJ second interim fee application.     0.80        460.00       $368.00

 07/19/2021   NPL     IFA       Final edits to Burns Bowen Bair's second interim fee    0.70        460.00       $322.00
                                application.

 07/19/2021   NPL     IFA       Final edits to BRG's second interim fee application.    0.50        460.00       $230.00

 07/19/2021   NPL     IFA       Email service of second interim fee applications        0.20        460.00        $92.00
                                filed by the Committee's professionals.

 07/19/2021   NPL     IFA       Draft email to chambers regarding Committee's           0.10        460.00        $46.00
                                professionals second interim fee applications.

 07/19/2021   NPL     IFA       Prepare certificate of service of Committee's           0.20        460.00        $92.00
                                professionals second interim fee applications.

 07/19/2021   NPL     IFA       Email communications with M. Kulick regarding           0.20        460.00        $92.00
                                Committee interim fee applications for
                                professionals.

 07/19/2021   NPL     IFA       Telephone call with M. Kulick regarding BRG's           0.20        460.00        $92.00
                                second interim fee application.

 07/19/2021   KBD     IFA       Review interim fee applications.                        0.70      1195.00        $836.50

 07/19/2021   BMM     IFA       Review and finalize Committee interim fee               1.00        695.00       $695.00
                                applications.

 07/20/2021   NPL     IFA       Draft email to C. Curtis regarding LEDES formatted      0.10        460.00        $46.00
                                invoices for PSZJ second interim fee application.

 07/20/2021   NPL     IFA       Email communications with J. Bair regarding             0.10        460.00        $46.00
                                LEDES formatted invoices for Burns Bowen Bair's
                                second interim fee application.

 07/20/2021   NPL     IFA       Email communications with J. Shaw regarding             0.10        460.00        $46.00
                                LEDES formatted invoices regarding Berkeley
                                Research Group's second interim fee application.
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 07/20/2021   NPL     IFA       Review and reply to email from B. Horn regarding        0.10         460.00         $46.00
                                Burns Bowen Bair's LEDES formatted invoices
                                regarding second interim fee application.

 07/21/2021   NPL     IFA       Email communications with C. Curts regarding            0.20         460.00         $92.00
                                PSZJ invoices in LEDES format.

 07/21/2021   NPL     IFA       Draft email to S. Cornell regarding PSZJ invoices in    0.10         460.00         $46.00
                                LEDES format.

 07/21/2021   NPL     IFA       Review email communications with J Shaw                 0.10         460.00         $46.00
                                regarding Berkeley Research Groups invoices in
                                LEDES format regarding interim fee application.

 07/22/2021   NPL     IFA       Draft email to B. Michael regarding notice of           0.10         460.00         $46.00
                                hearing on interim fee applications.

 07/22/2021   NPL     IFA       Email communications with J. Shaw regarding             0.10         460.00         $46.00
                                Berkeley Research Group's second interim fee
                                application.

 07/22/2021   NPL     IFA       Submission of fee invoices in Excel to US Trustee       0.10         460.00         $46.00
                                regarding BRG's second interim fee application.

 07/23/2021   NPL     IFA       Email communications with B. Michael and B.             0.20         460.00         $92.00
                                Anavim regarding third interim fee applications for
                                Committee professionals.

 07/23/2021   NPL     IFA       Attention to deadlines associated with third interim    0.10         460.00         $46.00
                                fee applications for Committee professionals.

 07/23/2021   BMM     IFA       Review interim compensation order for hearing           0.30         695.00        $208.50
                                notice and deadline requirements.

 07/26/2021   NPL     IFA       Review and reply to email from B. Michael               0.10         460.00         $46.00
                                regarding notice of hearing on interim fee
                                applications.

 07/26/2021   BMM     IFA       Calls with S. Cornell regarding fee statements.         0.30         695.00        $208.50

 07/28/2021   NPL     IFA       Review notice of hearing of deadlines regarding         0.20         460.00         $92.00
                                interim fee applications.

 07/30/2021   NPL     IFA       Prepare counsel for hearings on interim fee             0.20         460.00         $92.00
                                applications.

                                                                                        40.20                    $24,678.00

  Insurance Litigation
 07/01/2021   NPL     IL        Review court dockets regarding filed pleadings.         0.20         460.00         $92.00
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 07/08/2021   NPL     IL        Review order on presentment of joint stipulations    0.10         460.00        $46.00
                                regarding insurance settlement.

 07/08/2021   NPL     IL        Review district court docket for recently filed      0.20         460.00        $92.00
                                pleadings.

 07/21/2021   IAWN IL           Research potential expert.                           0.10       1145.00        $114.50

 07/21/2021   IAWN IL           Email to Burns Bowen Bair regarding research on      0.10       1145.00        $114.50
                                expert .

 07/28/2021   JIS     IL        Review email and pleadings regarding insurance       0.20       1345.00        $269.00
                                settlement.

 07/28/2021   IAWN IL           Review B. Michael, J. Bair exchange re property      0.10       1145.00        $114.50
                                policies.

 07/29/2021   IAWN IL           Review settlement, related documents.                0.20       1145.00        $229.00

 07/29/2021   IAWN IL           Review J. Stang, I. Scharf, J. Bair emails re        0.10       1145.00        $114.50
                                settlement.

 07/30/2021   NPL     IL        Review District Court dockets for recently filed     0.20         460.00        $92.00
                                pleadings.

                                                                                      1.50                    $1,278.00

  Mtgs/Conf w/Client
 07/01/2021   KBD     MCC       Correspondence with PSZJ team relating to            0.20       1195.00        $239.00
                                meetings with SCC and Committee.

 07/01/2021   KBD     MCC       Correspondence with SCC on outstanding matters.      0.10       1195.00        $119.50

 07/01/2021   KBD     MCC       Telephone call with R. Tollner regarding meeting.    0.10       1195.00        $119.50

 07/02/2021   KBD     MCC       Correspondence to Committee and SCC on               0.30       1195.00        $358.50
                                outstanding matters.

 07/06/2021   KBD     MCC       Correspondence with Committee regarding meeting.     0.20       1195.00        $239.00

 07/07/2021   KBD     MCC       Review and prepare correspondence to Committee       0.20       1195.00        $239.00
                                regarding case issues.

 07/07/2021   BMM     MCC       Communication with Committee regarding case          0.40         695.00       $278.00
                                issues.

 07/11/2021   KBD     MCC       Prepare agenda for Committee meeting.                0.10       1195.00        $119.50

 07/11/2021   KBD     MCC       Review and prepare comments to minutes of            0.10       1195.00        $119.50
                                Committee meeting.

 07/12/2021   KBD     MCC       Prepare correspondence to Committee regarding        0.20       1195.00        $239.00
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                                case issues.
 07/12/2021   KBD     MCC       Telephone call with J. Daly, R. Tollner and B.          0.50      1195.00        $597.50
                                Michael regarding interim fee applications and other
                                case issues.

 07/12/2021   BMM     MCC       Executive Committee meeting regarding fees and          0.50        695.00       $347.50
                                ongoing case issues.

 07/13/2021   KBD     MCC       Prepare for call w/ Committee on outstanding            0.20      1195.00        $239.00
                                matters.

 07/13/2021   KBD     MCC       Call w/ Committee and SCC regarding outstanding         1.30      1195.00       $1,553.50
                                matters.

 07/13/2021   BMM     MCC       Participate in and take minutes at Committee            1.30        695.00       $903.50
                                meeting regarding ongoing case issues.

 07/14/2021   KBD     MCC       Review and prepare comments to correspondence to        0.50      1195.00        $597.50
                                Committee and SCC regarding ongoing case issues.

 07/14/2021   BMM     MCC       Communication with Committee member regarding           0.50        695.00       $347.50
                                claims process.

 07/15/2021   KBD     MCC       Correspondence with Committee and SCC on                0.20      1195.00        $239.00
                                outstanding matters.

 07/15/2021   KBD     MCC       Prepare agenda for SCC meeting.                         0.10      1195.00        $119.50

 07/16/2021   KBD     MCC       Draft correspondence to SCC on outstanding issues.      0.10      1195.00        $119.50

 07/16/2021   KBD     MCC       Participate in meeting with SCC on outstanding          0.80      1195.00        $956.00
                                issues.

 07/16/2021   BMM     MCC       Participate in meeting with SSC regarding ongoing       0.40        695.00       $278.00
                                case issues.

 07/19/2021   KBD     MCC       Prepare correspondence to Committee on                  0.10      1195.00        $119.50
                                outstanding issues.

 07/20/2021   KBD     MCC       Review correspondence with SCC / Committee              0.10      1195.00        $119.50
                                regarding Committee matters.

 07/23/2021   JIS     MCC       Call with J. Allison re mediation.                      0.10      1345.00        $134.50

 07/26/2021   JIS     MCC       Review and approve emails regarding Diocese             0.20      1345.00        $269.00
                                discovery and employment of real estate counsel.

 07/26/2021   KBD     MCC       Prepare agenda for Committee meeting.                   0.10      1195.00        $119.50

 07/26/2021   KBD     MCC       Correspondence regarding committee meeting.             0.20      1195.00        $239.00

 07/26/2021   KBD     MCC       Telephone conference with J. Stang regarding            0.10      1195.00        $119.50
                                meeting.
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 07/26/2021   KBD     MCC       Review and prepare comment to meeting minutes.         0.20      1195.00        $239.00

 07/26/2021   BMM     MCC       Revise Committee meeting minutes.                      0.10        695.00        $69.50

 07/26/2021   BMM     MCC       Revise Committee meeting minutes.                      0.20        695.00       $139.00

 07/26/2021   BMM     MCC       Respond to state court counsel question regarding      0.20        695.00       $139.00
                                preliminary injunction stipulation.

 07/27/2021   JIS     MCC       Call with Committee regarding mediators,               1.40      1345.00       $1,883.00
                                discovery.

 07/27/2021   KBD     MCC       Prepare for meeting of Committee.                      0.20      1195.00        $239.00

 07/27/2021   KBD     MCC       Participate in Committee meeting regarding case        1.50      1195.00       $1,792.50
                                issues.

 07/27/2021   BMM     MCC       Communication with RMF regarding meeting with          0.40        695.00       $278.00
                                R. Tollner and fee applications.

 07/27/2021   BMM     MCC       Prepare for Committee meeting.                         0.50        695.00       $347.50

 07/27/2021   BMM     MCC       Participate in and take minutes at Committee           1.50        695.00      $1,042.50
                                meeting regarding mediator selection and other case
                                issues.

 07/27/2021   IDS     MCC       Telephone call with D. Stonberg regarding stay         0.40        895.00       $358.00
                                relief issues.

 07/27/2021   BMM     MCC       Respond to question regarding terminally-ill           0.20        695.00       $139.00
                                claimant.

 07/28/2021   BMM     MCC       Assist SCC with Everlaw documents.                     0.50        695.00       $347.50

 07/28/2021   BMM     MCC       Revise meeting minutes from Committee meeting.         0.20        695.00       $139.00

 07/29/2021   KBD     MCC       Telephone call w/J. Daly, R. Tollner and B. Michael    0.50      1195.00        $597.50
                                regarding monthly fee statements and other case
                                matters.

 07/29/2021   KBD     MCC       Correspondence with Ccommittee and SCC on              0.20      1195.00        $239.00
                                outstanding matters.

 07/29/2021   BMM     MCC       Meeting with executive committee regarding             0.50        695.00       $347.50
                                ongoing case issues.

 07/30/2021   KBD     MCC       Review correspondence from SCC counsel                 0.20      1195.00        $239.00

 07/30/2021   BMM     MCC       Communications with Committee regarding                0.30        695.00       $208.50
                                mediator interviews.

 07/30/2021   BMM     MCC       Respond to SCC inquiry regarding discovery.            0.20        695.00       $139.00
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                                                                                       18.60                    $18,412.00

  Mediation
 07/06/2021   IAWN ME           Review J. Stang email re potential mediator.           0.10       1145.00         $114.50

 07/06/2021   BMM     ME        Research Debtor's proposed mediators.                  0.50         695.00        $347.50

 07/08/2021   LAF     ME        Research re: potential mediator.                       1.30         475.00        $617.50

 07/09/2021   LAF     ME        Research re: potential mediator.                       0.50         475.00        $237.50

 07/09/2021   KBD     ME        Review correspondence relating to mediation.           0.20       1195.00         $239.00

 07/13/2021   BMM     ME        Communications with PSZJ team and Jones Day            0.30         695.00        $208.50
                                regarding scheduling mediation discussion.

 07/14/2021   JIS     ME        Call with I. Scharf, K. Dine and B. Michael            0.40       1345.00         $538.00
                                regarding issues related to mediator selection.

 07/14/2021   IDS     ME        Follow up call on mediators with PSZJ team.            0.40         895.00        $358.00

 07/14/2021   KBD     ME        Call w/ I. Scharf, J. Stang and B. Michael regarding   0.40       1195.00         $478.00
                                mediation next steps.

 07/14/2021   BMM     ME        Call with PSZJ team to discuss mediators.              0.40         695.00        $278.00

 07/14/2021   BMM     ME        Draft email to SCC regarding mediator selection        0.10         695.00         $69.50
                                process.

 07/20/2021   LAF     ME        Research re: potential mediator.                       0.50         475.00        $237.50

 07/21/2021   JIS     ME        Due diligence calls regarding mediator candidates.     0.20       1345.00         $269.00

 07/21/2021   JIS     ME        Review/revise letter to mediator candidates.           0.10       1345.00         $134.50

 07/21/2021   KBD     ME        Correspondence regarding mediation matters             0.10       1195.00         $119.50

 07/21/2021   KBD     ME        Call w/ J. Stang regarding mediator selection          0.20       1195.00         $239.00

 07/21/2021   KBD     ME        Review correspondence with Jones Day relating to       0.20       1195.00         $239.00
                                mediation.

 07/22/2021   KBD     ME        Review and comment on correspondence on                0.30       1195.00         $358.50
                                mediation.

 07/22/2021   BMM     ME        Find contact information for mediator candidates       1.40         695.00        $973.00
                                (.3); draft e-mail to mediator candidates (.4); work
                                with S. Lee to send mediator e-mails (.7).

 07/22/2021   BMM     ME        Prepare email for mediator candidates.                 0.30         695.00        $208.50

 07/23/2021   JIS     ME        Call with mediator candidate.                          0.50       1345.00         $672.50

 07/23/2021   IDS     ME        Telephone call with J. Stang regarding mediators.      0.40         895.00        $358.00
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 07/23/2021   KBD     ME        Review correspondence relating to mediation.          0.10       1195.00         $119.50

 07/23/2021   BMM     ME        Prepare background information regarding mediator     0.30         695.00        $208.50
                                candidates.

 07/26/2021   NPL     ME        Email communications with B. Michael regarding        0.10         460.00         $46.00
                                mediation comparison chart.

 07/26/2021   NPL     ME        Prepare mediator candidate chart comparison.          0.50         460.00        $230.00

 07/26/2021   KBD     ME        Review and comment on chart regarding mediators.      0.40       1195.00         $478.00

 07/27/2021   IAWN ME           Review B. Michael email to Burns Bowen Bair re        0.10       1145.00         $114.50
                                mediation statement.

 07/27/2021   KBD     ME        Review issues and chart relating to                   0.40       1195.00         $478.00
                                mediation/mediators w/ I. Scharf (for part).

 07/27/2021   BMM     ME        Update chart of potential mediators.                  0.30         695.00        $208.50

 07/27/2021   BMM     ME        Draft mediation statement outline.                    0.70         695.00        $486.50

 07/27/2021   BMM     ME        Call with J. Bair regarding mediator selection and    0.40         695.00        $278.00
                                other case issues.

 07/28/2021   KBD     ME        Correspondence regarding mediator selection.          0.20       1195.00         $239.00

 07/29/2021   KBD     ME        Correspondence w/ candidates regarding mediator       0.20       1195.00         $239.00
                                interview scheduling.

 07/29/2021   BMM     ME        Email to Committee regarding mediator interview.      0.10         695.00         $69.50

 07/30/2021   KBD     ME        Correspondence w/ candidates relating to mediator.    0.20       1195.00         $239.00
                                selection

 07/30/2021   KBD     ME        Review correspondence from Jones Day regarding        0.20       1195.00         $239.00
                                mediation.

 07/30/2021   BMM     ME        Communications with mediator candidates regarding     0.20         695.00        $139.00
                                Committee meeting.

                                                                                      13.20                    $11,107.00

  Mtgs/Conf w/ Case Prof.
 07/06/2021   KBD     MF        Call with Jones Day regarding discovery matters.      0.20       1195.00         $239.00

 07/14/2021   IDS     MF        Call with Debtor regarding mediation, Unitas and      1.10         895.00        $984.50
                                other matters (partial).

 07/14/2021   JIS     MF        Call with Jones Day for regular case check in.        1.30       1345.00        $1,748.50

 07/14/2021   KBD     MF        Prepare for call w/ Jones Day.                        0.20       1195.00         $239.00
     20-12345-scc        Doc 848
                             708       Filed 11/15/21
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 07/14/2021   KBD     MF        Call w/ Jones Day, I. Scharf, J. Stang and B.           1.30       1195.00       $1,553.50
                                Michael regarding mediation matters.

 07/14/2021   BMM     MF        Participate in call with Debtor's counsel regarding     1.30         695.00       $903.50
                                ongoing case issues.

 07/19/2021   KBD     MF        Call w/ Jones Day regarding outstanding matters.        0.50       1195.00        $597.50

 07/19/2021   KBD     MF        Follow-up on issues relating to mediation and           0.70       1195.00        $836.50
                                discovery w/ J. Stang (for part) and B. Michael (for
                                part).

 07/19/2021   BMM     MF        Participate in call with Jones Day regarding Unitas     0.50         695.00       $347.50
                                briefing and discovery.

 07/21/2021   KBD     MF        Call w/ Jones Day regarding outstanding issues.         0.40       1195.00        $478.00

 07/21/2021   BMM     MF        Participate in meeting with Debtor's counsel            0.40         695.00       $278.00
                                regarding ongoing matters.

 07/28/2021   KBD     MF        Prepare for call w /Jones Day.                          0.20       1195.00        $239.00

 07/28/2021   KBD     MF        Call w/Jones Day and B. Michael regarding               0.40       1195.00        $478.00
                                outstanding case matters.

 07/28/2021   BMM     MF        Call with Debtor's counsel regarding ongoing case       0.40         695.00       $278.00
                                issues.

 07/30/2021   KBD     MF        Telephone call with M. Bunin regarding                  0.10       1195.00        $119.50
                                DOE/Foundation matters.

                                                                                         9.00                    $9,320.00

  Monthly Fee Statements
 07/06/2021   NPL     MFA       Email communications with B. Michael regarding          0.20         460.00        $92.00
                                PSZJ fifth monthly fee statement.

 07/06/2021   NPL     MFA       Email communications with B. Michael regarding          0.10         460.00        $46.00
                                seventh monthly fee statement of Burns Bowen Bair.

 07/06/2021   NPL     MFA       Final edits to PSZJ fifth monthly fee statement.        0.30         460.00       $138.00

 07/06/2021   NPL     MFA       Final edits to Burns Bowen Bair seventh monthly         0.30         460.00       $138.00
                                fee statement.

 07/06/2021   NPL     MFA       Attention to deadlines associated with monthly fee      0.10         460.00        $46.00
                                statements.

 07/06/2021   NPL     MFA       Draft email to interested parties regarding monthly     0.10         460.00        $46.00
                                fee statements.

 07/06/2021   NPL     MFA       Prepare certificate of service regarding monthly fee    0.10         460.00        $46.00
     20-12345-scc        Doc 848
                             708       Filed 11/15/21
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                                                                                        Hours           Rate     Amount
                                statements.
 07/06/2021   NPL     MFA       Finalize certificate of service regarding monthly fee    0.20        460.00       $92.00
                                statements.

 07/08/2021   NPL     MFA       Email communications with B. Michael regarding           0.20        460.00       $92.00
                                amended May 2021 monthly fee statement for PSZJ.

 07/08/2021   NPL     MFA       Review and reply to email from W. Ramseyer               0.10        460.00       $46.00
                                regarding amended billing invoice for May 2021 for
                                PSZJ.

 07/09/2021   BMM     MFA       Communications with UST and PSZJ team                    0.40        695.00      $278.00
                                regarding amended monthly statements.

 07/13/2021   NPL     MFA       Email communications with B. Michael regarding           0.20        460.00       $92.00
                                amended PSZJ fifth monthly fee statement.

 07/13/2021   NPL     MFA       Email communications with L. Gardiazabal                 0.20        460.00       $92.00
                                regarding revised May 2021 invoice.

 07/13/2021   NPL     MFA       Telephone call with L. Gardiazabal regarding             0.30        460.00      $138.00
                                revised May 2021 invoice.

 07/13/2021   NPL     MFA       Prepare PSZJ amended fifth monthly statement.            1.20        460.00      $552.00

 07/13/2021   BMM     MFA       Communications with PSZJ staff regarding amended         0.90        695.00      $625.50
                                monthly May fee statement, June fee statement, and
                                interim fee applications.

 07/14/2021   NPL     MFA       Email communications with B. Michael regarding           0.20        460.00       $92.00
                                amended fifth monthly fee statement of PSZJ.

 07/14/2021   NPL     MFA       Telephone call with B. Michael regarding further         0.10        460.00       $46.00
                                edits to amended fifth monthly fee statement of
                                PSZJ.

 07/14/2021   NPL     MFA       Email communications with accounting regarding           0.20        460.00       $92.00
                                further edits to May 2021 fee statement.

 07/14/2021   NPL     MFA       Review corrected May 2021 fee statement.                 0.30        460.00      $138.00

 07/14/2021   NPL     MFA       Further edits to amended fifth monthly fee statement     0.70        460.00      $322.00
                                for PSZJ.

 07/14/2021   BMM     MFA       Review amended monthly fee statement (w/ N.              0.30        695.00      $208.50
                                Lockwood in part).

 07/15/2021   NPL     MFA       Email communications to B. Michael regarding             0.10        460.00       $46.00
                                amended fifth monthly fee statement filed by PSZJ.

 07/15/2021   NPL     MFA       Final edits to PSZJ amended fifth monthly fee            0.30        460.00      $138.00
                                statement.
     20-12345-scc        Doc 848
                             708       Filed 11/15/21
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 07/15/2021   NPL     MFA       Email service of PSZJ amended fifth monthly fee          0.20        460.00        $92.00
                                statement.

 07/15/2021   NPL     MFA       Update service list for PSZJ amended fifth monthly       0.10        460.00        $46.00
                                fee statement.

 07/15/2021   NPL     MFA       Prepare certificate of service for PSZJ amended fifth    0.20        460.00        $92.00
                                monthly fee statement.

 07/15/2021   BMM     MFA       Revise amended May monthly statement.                    0.30        695.00       $208.50

 07/23/2021   DHH     MFA       Review/edit PSZJ June monthly fee statement.             1.50        395.00       $592.50

 07/23/2021   NPL     MFA       Prepare certification of no objections to Burns Bown     0.30        460.00       $138.00
                                Bair's 7th monthly fee statement.

 07/26/2021   DHH     MFA       Review/edit PSZJ June monthly fee statement.             0.50        395.00       $197.50

 07/26/2021   NPL     MFA       Finalize certification of no objection regarding         0.20        460.00        $92.00
                                Burns Bowen Bair's seventh monthly fee statement.

 07/26/2021   NPL     MFA       Draft email to A. Butler regarding payment on Burns      0.10        460.00        $46.00
                                Bowen Bair's 7th monthly fee statement.

 07/26/2021   BMM     MFA       Revise PSZJ June monthly fee statement.                  1.80        695.00      $1,251.00

 07/26/2021   BMM     MFA       Revise PSZJ June monthly fee statement.                  1.50        695.00      $1,042.50

 07/27/2021   DHH     MFA       Review/edit/finalize PSZJ June monthly fee               0.50        395.00       $197.50
                                statement.

 07/27/2021   DHH     MFA       Prepare cover sheet for the filing of PSZJ June          0.60        395.00       $237.00
                                monthly fee statement.

 07/30/2021   NPL     MFA       Email communications with B. Michael regarding           0.10        460.00        $46.00
                                June 2021 monthly fee statements.

 07/30/2021   NPL     MFA       Final edits to sixth monthly fee statement of PSZJ.      0.30        460.00       $138.00

 07/30/2021   NPL     MFA       Final edits to eighth monthly statement of Burns         0.30        460.00       $138.00
                                Bowen Bair LLP.

 07/30/2021   NPL     MFA       Email service of monthly fee statements to interested    0.10        460.00        $46.00
                                parties.

 07/30/2021   NPL     MFA       Email communications with M. Kulick regarding            0.10        460.00        $46.00
                                service address updates for service of monthly fee
                                statements.

 07/30/2021   NPL     MFA       Prepare certificate of service of monthly fee            0.30        460.00       $138.00
                                statements for June 2021.

 07/30/2021   NPL     MFA       Prepare certificate of no objection regarding            0.30        460.00       $138.00
     20-12345-scc        Doc 848
                             708       Filed 11/15/21
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                                                                                      Hours            Rate     Amount
                                Amended 5th monthly fee statement of PSZJ.
 07/30/2021   NPL     MFA       Email communications with B. Michael regarding         0.10         460.00        $46.00
                                certificate of no objection to amended monthly fee
                                statement of PSZJ.

                                                                                       16.50                    $8,610.50

  Open Court Hearing
 07/06/2021   JIS     OPH       Call with K. Dine regarding preparation for 7/7/21.    0.30       1345.00        $403.50

 07/06/2021   JIS     OPH       Call K. Dine and B. Michael regarding 7/7 hearing.     0.20       1345.00        $269.00

 07/06/2021   GSG     OPH       Emails re hearing on 2004 motion.                      0.10         950.00        $95.00

 07/06/2021   GSG     OPH       Emails and confer with B. Michaels re attendance       0.30         950.00       $285.00
                                and Committee access to hearing.

 07/06/2021   NPL     OPH       Review hearing agenda for omnibus hearings             0.20         460.00        $92.00
                                scheduled for 7/7/2021.

 07/06/2021   NPL     OPH       Email communications with Rockville team               0.20         460.00        $92.00
                                regarding omnibus hearing scheduled for 7/7/2021.

 07/06/2021   NPL     OPH       Prepare counsel for omnibus hearing on 7/7/2021.       0.20         460.00        $92.00

 07/06/2021   KBD     OPH       Telephone call with J. Stang regarding preparation     0.30       1195.00        $358.50
                                for hearing.

 07/06/2021   KBD     OPH       Prepare for hearing.                                   0.40       1195.00        $478.00

 07/06/2021   BMM     OPH       Call with K. Dine and J. Stang preparing for           0.20         695.00       $139.00
                                omnibus hearing.

 07/07/2021   KBD     OPH       Telephone call regarding hearing follow up with J.     0.50       1195.00        $597.50
                                Stang, B. Michael, M. Babcock and R. Strong.

 07/07/2021   JIS     OPH       Prepare for hearing on Rule 2004 exam re parish        1.80       1345.00       $2,421.00
                                assets.

 07/07/2021   JIS     OPH       Attend hearing regarding Rule 2004 exam, trust         1.30       1345.00       $1,748.50
                                issues and discovery status.

 07/07/2021   JIS     OPH       Follow up call with BRG regarding discovery            0.50       1345.00        $672.50
                                requests.

 07/07/2021   GSG     OPH       Attend hearing re 2004 motion re parishes and          1.30         950.00      $1,235.00
                                related discovery.

 07/07/2021   KBD     OPH       Prepare for hearing.                                   0.30       1195.00        $358.50

 07/07/2021   KBD     OPH       Attend and participate in court hearing.               1.30       1195.00       $1,553.50
     20-12345-scc        Doc 848
                             708       Filed 11/15/21
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 07/07/2021   BMM     OPH       Draft communications to team and committee in            1.60        695.00      $1,112.00
                                follow up to hearing.

 07/07/2021   BMM     OPH       Participate in hearing on parish 2004, trust request,    1.30        695.00       $903.50
                                and status conference.

 07/07/2021   BMM     OPH       Post-hearing discussion with J. Stang, K. Dine, M.       0.50        695.00       $347.50
                                Babcock, R. Strong.

 07/07/2021   BMM     OPH       Prepare for omnibus hearing.                             0.50        695.00       $347.50

 07/08/2021   NPL     OPH       Prepare counsel for 2004 status conference.              0.20        460.00        $92.00

 07/08/2021   NPL     OPH       Review notice of 2004 status conference.                 0.10        460.00        $46.00

 07/09/2021   KBD     OPH       Attend hearing relating to stay and settlement           1.50      1195.00       $1,792.50
                                regarding Diocese of Rochester.

 07/13/2021   BMM     OPH       Respond to counsel question regarding appearing          0.60        695.00       $417.00
                                in-person at hearings.

 07/14/2021   KBD     OPH       Post-hearing call w/ J. Stang, M. Babcock and B.         0.50      1195.00        $597.50
                                Michael regarding next steps relating to 2004.

 07/14/2021   JIS     OPH       Prepare for hearing regarding parish Rule 2004           0.90      1345.00       $1,210.50
                                exam, including review of transcript of 7/7 and
                                pleadings.

 07/14/2021   JIS     OPH       Attend hearing regarding Rule 2004 exam.                 1.10      1345.00       $1,479.50

 07/14/2021   JIS     OPH       Call with B. Michael, M. Babcock and K. Dine             0.50      1345.00        $672.50
                                regarding follow up to Rule 2004 hearing (partial
                                attendance).

 07/14/2021   KBD     OPH       Attend hearing regarding 2004 motion                     1.10      1195.00       $1,314.50

 07/14/2021   BMM     OPH       Draft summary of hearing for the Committee.              0.30        695.00       $208.50

 07/14/2021   BMM     OPH       Hearing follow-up with K. Dine (partial), J. Stang       1.40        695.00       $973.00
                                (partial), and M. Babcock.

 07/14/2021   BMM     OPH       Participate in continued hearing on the Committee's      1.10        695.00       $764.50
                                parish 2004.

 07/15/2021   BMM     OPH       Revise and send communication to Committee               0.50        695.00       $347.50
                                regarding 7/14 hearing.

 07/28/2021   BMM     OPH       Draft talking points for 7/29 hearing.                   0.30        695.00       $208.50

 07/29/2021   KBD     OPH       Prepare for hearing regarding issues relating to         0.50      1195.00        $597.50
                                discovery.

 07/29/2021   KBD     OPH       Participate in hearing regarding discovery matters       0.50      1195.00        $597.50
     20-12345-scc          Doc 848
                               708     Filed 11/15/21
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 07/29/2021   BMM     OPH       Prepare for hearing.                                       0.20         695.00        $139.00

 07/29/2021   BMM     OPH       Partipate in status conference hearing.                    0.50         695.00        $347.50

 07/29/2021   BMM     OPH       Call with K. Dine regarding hearing follow-up.             0.10         695.00         $69.50

                                                                                           25.20                    $25,476.00

  Restricted Funds
 07/02/2021   KBD     RF        Review and correspondence relating to response to          0.30       1195.00         $358.50
                                Trust motion.

 07/02/2021   KBD     RF        Telephone call with B. Rosenblum regarding trust           0.40       1195.00         $478.00
                                motion.

                                                                                            0.70                      $836.50

  Seminary Transfers
 07/07/2021   KBD     SEM       Review correspondence regarding seminary property          0.20       1195.00         $239.00
                                matters.

 07/21/2021   GSG     SEM       Review emails re Seminary property and status.             0.10         950.00         $95.00

 07/22/2021   JIS     SEM       Call with real estate counsel regarding seminary           0.70       1345.00         $941.50
                                issues.

 07/22/2021   KHB     SEM       Review proposed stipulation and settlement proposal        1.20       1225.00        $1,470.00
                                in preparation for call with RE advisor (.5); call with
                                PSZJ team and real estate advisors (.7).

 07/22/2021   GSG     SEM       Conference call (partial) with real estate                 0.40         950.00        $380.00
                                professionals re Seminary property and status.

 07/22/2021   KBD     SEM       Telephone conference with real estate advisor and          0.70       1195.00         $836.50
                                PSZJ team regarding seminary property.

 07/22/2021   BMM     SEM       Meeting with real estate advisors and PSZJ team            0.70         695.00        $486.50
                                regarding seminary stipulation.

 07/26/2021   GSG     SEM       Revise Seminary Complaint re KHB comments and              0.40         950.00        $380.00
                                factual recitations.

 07/29/2021   KBD     SEM       Review correspondence relating to stipulation with         0.20       1195.00         $239.00
                                Seminary

 07/29/2021   KHB     SEM       Work on Seminary stipulation re no transfer of             0.80       1225.00         $980.00
                                property (.3); work on common interest agreement
                                (.5).

 07/29/2021   GSG     SEM       Review comments to stip/order re Seminary                  0.10         950.00         $95.00
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                             708      Filed 11/15/21
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                                                                            Hours            Rate       Amount
                                Property.

                                                                              5.50                     $6,142.50

  TOTAL SERVICES FOR THIS MATTER:                                                                   $243,748.00
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                             708       Filed 11/15/21
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 Expenses
 06/09/2021   CC         Conference Call [E105] Court Solutions, JIS                   70.00
 06/09/2021   CC         Conference Call [E105] Court Solutions, KBD                   70.00
 06/21/2021   CC         Conference Call [E105] Court Solutions LLP, JIS               70.00
 06/21/2021   CC         Conference Call [E105] Court Solutions, IAWN                  70.00
 06/22/2021   CC         Conference Call [E105] Court Solutions, KBD                   70.00
 07/02/2021   LN         18491.00002 Lexis Charges for 07-02-21                        26.18
 07/02/2021   RE         ( 12 @0.20 PER PG)                                             2.40
 07/02/2021   RE         ( 84 @0.20 PER PG)                                            16.80
 07/02/2021   RE         ( 1563 @0.20 PER PG)                                         312.60
 07/06/2021   LN         18491.00002 Lexis Charges for 07-06-21                         1.70
 07/06/2021   LN         18491.00002 Lexis Charges for 07-06-21                        24.04
 07/06/2021   RE         ( 186 @0.20 PER PG)                                           37.20
 07/07/2021   CC         Conference Call [E105] Court Solutions, HTP                   70.00
 07/07/2021   CC         Conference Call [E105] Court Solutions, JIS                   70.00
 07/07/2021   CC         Conference Call [E105] Court Solutions, BMM                   70.00
 07/07/2021   CC         Conference Call [E105] Court Solutions, M. Babock - BRG,      70.00
                         BMM
 07/07/2021   LN         18491.00002 Lexis Charges for 07-07-21                        80.00
 07/07/2021   LN         18491.00002 Lexis Charges for 07-07-21                         1.85
 07/07/2021   LN         18491.00002 Lexis Charges for 07-07-21                        26.18
 07/08/2021   BB         18491.00002 Bloomberg Charges through 07-08-21                70.00
 07/10/2021   RE         Reproduction Expense. [E101]                                   3.80
 07/12/2021   LN         18491.00002 Lexis Charges for 07-12-21                         8.10
 07/13/2021   LN         18491.00002 Lexis Charges for 07-13-21                         8.10
 07/14/2021   CC         Conference Call [E105] Court Solutions, BMM                   70.00
 07/14/2021   CC         Conference Call [E105] Court Solutions, M. Babock - BRG,      70.00
                         BMM
 07/14/2021   LN         18491.00002 Lexis Charges for 07-14-21                         1.85
 07/14/2021   LN         18491.00002 Lexis Charges for 07-14-21                        78.56
 07/14/2021   TR         Transcript [E116] Veritext, Inv. 5147194, B. Anavim           55.80
 07/15/2021   CC         Conference Call [E105] Court Solutions, JIS                   70.00
 07/16/2021   LN         18491.00002 Lexis Charges for 07-16-21                        24.26
 07/16/2021   LN         18491.00002 Lexis Charges for 07-16-21                         3.40
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 07/16/2021   LN         18491.00002 Lexis Charges for 07-16-21                             24.04
 07/19/2021   RE         ( 1224 @0.20 PER PG)                                              244.80
 07/20/2021   LN         18491.00002 Lexis Charges for 07-20-21                             44.27
 07/20/2021   LN         18491.00002 Lexis Charges for 07-20-21                              1.70
 07/20/2021   LN         18491.00002 Lexis Charges for 07-20-21                             48.09
 07/29/2021   CC         Conference Call [E105] Court Solutions, BMM                        70.00
 07/30/2021   RE         ( 112 @0.20 PER PG)                                                22.40
 07/31/2021   OS         Everlaw, Inv. 43215, Diocese of Rockville database for the      3,212.00
                         month of July
 07/31/2021   PO         LA Postage to end of July                                         106.10
 07/31/2021   PAC        Pacer - Court Research                                             16.50

   Total Expenses for this Matter                                                     $5,412.72
     20-12345-scc        Doc 848
                             708        Filed 11/15/21
                                              08/27/21 Entered 11/15/21
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18491 - 00002                                                                             July 31, 2021


                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        07/31/2021

Total Fees                                                                                           $243,748.00

Total Expenses                                                                                             5,412.72

Total Due on Current Invoice                                                                         $249,160.72

  Outstanding Balance from prior invoices as of        07/31/2021          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 127261                   11/30/2020               $366,497.50           $2,234.91                    $20,370.78

 127262                   12/31/2020               $195,131.50           $1,151.97                    $39,026.30

 127263                   01/31/2021               $239,884.00           $2,506.31                    $47,976.80

 127463                   02/28/2021               $151,283.50             $879.50                    $30,256.50

 127564                   03/31/2021               $214,968.50           $5,003.65                    $42,993.70

 127762                   04/30/2021               $390,224.50           $7,613.85                    $78,044.90

 128137                   05/31/2021               $715,301.00           $5,319.79                   $143,060.20

 128215                   06/30/2021               $259,929.00           $5,265.05                   $265,194.05

             Total Amount Due on Current and Prior Invoices:                                         $916,083.95
      20-12345-scc      Doc 848
                            767    Filed 11/15/21
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                                  Pachulski Stang Ziehl & Jones LLP
                                          10100 Santa Monica Blvd.
                                                 13th Floor
                                           Los Angeles, CA 90067
                                                                      August 31, 2021
JIS                                                                   Invoice 128476
                                                                      Client   18491
                                                                      Matter   00002
                                                                               JIS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 08/31/2021
               FEES                                                   $331,429.00
               EXPENSES                                                 $5,438.19
               TOTAL CURRENT CHARGES                                  $336,867.19

               BALANCE FORWARD                                        $605,067.96
               TOTAL BALANCE DUE                                      $941,935.15
       20-12345-scc        Doc 848
                               767   Filed 11/15/21
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  Summary of Services by Professional
  ID        Name                               Title                 Rate           Hours               Amount

 BA         Anavim, Bernadette                 Legal Assistant      460.00          14.20             $6,532.00

 BMM        Michael, Brittany M.               Counsel              695.00         118.70            $82,496.50

 DHH        Hinojosa, Diane H.                 Paralegal            395.00         117.60            $46,452.00

 GSG        Greenwood, Gail S.                 Counsel              950.00          77.90            $74,005.00

 IAWN       Nasatir, Iain A. W.                Partner             1145.00           5.70             $6,526.50

 JIS        Stang, James I.                    Partner             1345.00          18.50            $24,882.50

 KBD        Dine, Karen B.                     Counsel             1195.00          49.90            $59,630.50

 KHB        Brown, Kenneth H.                  Partner             1225.00           9.60            $11,760.00

 LAF        Forrester, Leslie A.               Other                475.00           0.80              $380.00

 MK         Kulick, Myra                       Other                395.00          12.80             $5,056.00

 NPL        Lockwood, Nancy P. F.              Paralegal            460.00          29.80            $13,708.00

                                                                                  455.50             $331,429.00
        20-12345-scc     Doc 848
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  Summary of Services by Task Code
  Task Code         Description                                               Hours                         Amount

 CA                 Case Administration [B110]                                  8.00                       $3,727.00

 CEM                Cemetery Transfers                                          4.20                       $4,477.00

 CPO                Comp. of Prof./Others                                       2.80                       $2,491.00

 CREV               Claims Review                                             167.60                      $78,264.00

 CRF                CmteDisc Reqs- Finance/Govern                              84.40                      $63,190.50

 EAPPS              Employment Appls                                            1.00                        $721.50

 IAC                IAC/Affiliate Transactions                                 84.70                      $82,124.00

 IFA                Interim Fee Applications                                    3.90                       $2,860.50

 IL                 Insurance Litigation                                        4.00                       $4,011.00

 MCC                Mtgs/Conf w/Client                                         28.50                      $30,032.50

 ME                 Mediation                                                  13.70                      $14,021.00

 MF                 Mtgs/Conf w/ Case Prof.                                     4.10                       $4,514.50

 MFA                Monthly Fee Statements                                     10.60                       $5,607.00

 OPH                Open Court Hearing                                         14.00                      $15,653.00

 PINJ               Preliminary Injunction                                      0.20                        $239.00

 PNTC               Public Notice                                               8.10                       $6,854.50

 SCL                State Court Litigation                                      9.50                       $6,602.50

 SEM                Seminary Transfers                                          6.20                       $6,038.50

                                                                              455.50                     $331,429.00
     20-12345-scc        Doc 848
                             767    Filed 11/15/21
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  Summary of Expenses
  Description                                                                                  Amount
Auto Travel Expense [E109]                                                                     $71.01
Bloomberg                                                                                    $106.10
Working Meals [E111]                                                                         $134.56
Conference Call [E105]                                                                       $560.00
Federal Express [E108]                                                                       $299.04
Hotel Expense [E110]                                                                         $371.31
Lexis/Nexis- Legal Research [E                                                               $228.97
Pacer - Court Research                                                                             $4.80
Postage [E108]                                                                                 $19.80
Reproduction Expense [E101]                                                                  $408.60
Research [E106]                                                                             $3,234.00

                                                                                            $5,438.19
     20-12345-scc        Doc 848
                             767       Filed 11/15/21
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                                                                                      Hours            Rate      Amount

  Case Administration [B110]
 08/02/2021   NPL     CA        Draft email to B. Anavim regarding updated             0.10         460.00         $46.00
                                deadlines.

 08/02/2021   NPL     CA        Email communications with B. Michael regarding         0.20         460.00         $92.00
                                binders for pleadings under seal.

 08/02/2021   NPL     CA        Prepare binders for pleadings under seal.              1.20         460.00        $552.00

 08/02/2021   NPL     CA        Review recently filed pleadings for deadlines.         0.20         460.00         $92.00

 08/03/2021   NPL     CA        Final edits to motion binder regarding supplemental    0.40         460.00        $184.00
                                brief in support of the Committee's 2004 motion
                                regarding parish production of documents.

 08/03/2021   NPL     CA        Finalize service list regarding binders for            0.20         460.00         $92.00
                                supplemental brief regarding 2004 motion.

 08/05/2021   NPL     CA        Update critical date memorandum.                       0.90         460.00        $414.00

 08/05/2021   NPL     CA        View hearing agenda for 8/9/2021 hearing.              0.10         460.00         $46.00

 08/05/2021   NPL     CA        Draft email to PSZJ team regarding updated critical    0.10         460.00         $46.00
                                date memorandum.

 08/06/2021   NPL     CA        Update critical date memorandum.                       0.20         460.00         $92.00

 08/06/2021   NPL     CA        Draft email to PSZJ team regarding updated critical    0.10         460.00         $46.00
                                date memorandum.

 08/13/2021   NPL     CA        Update critical date memorandum.                       0.70         460.00        $322.00

 08/17/2021   BMM     CA        Call with K. Dine regarding case administration.       0.20         695.00        $139.00

 08/20/2021   NPL     CA        Update critical date memorandum.                       0.90         460.00        $414.00

 08/26/2021   NPL     CA        Update critical date memorandum.                       0.30         460.00        $138.00

 08/27/2021   NPL     CA        Update 2002 master service list.                       0.60         460.00        $276.00

 08/27/2021   NPL     CA        Update critical date memorandum.                       1.20         460.00        $552.00

 08/27/2021   NPL     CA        Draft email to J. Stang, K. Dine and B. Michael        0.10         460.00         $46.00
                                regarding updated critical date memroandum.

 08/31/2021   NPL     CA        Update master mailing list.                            0.30         460.00        $138.00

                                                                                        8.00                     $3,727.00

  Cemetery Transfers
 08/06/2021   KHB     CEM       Confer with J. Stang re Cemetery Complaint (.3);       1.00       1225.00        $1,225.00
     20-12345-scc        Doc 848
                             767       Filed 11/15/21
                                             09/30/21 Entered 11/15/21
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                                                                                      Hours            Rate      Amount
                                review recent New York authority re religious
                                liberty and bankruptcy (.7).
 08/27/2021   KHB     CEM       Review settlement term sheet (.5); emails re same      0.70       1225.00         $857.50
                                (.2).

 08/27/2021   KBD     CEM       Review proposal relating to cemetery transfer.         0.30       1195.00         $358.50

 08/27/2021   BMM     CEM       Review proposal relating to cemetery transfer (.3);    0.50         695.00        $347.50
                                Emails to team regarding same (.2).

 08/27/2021   GSG     CEM       Review terms sheet re Cemetery transfers.              0.20         950.00        $190.00

 08/29/2021   GSG     CEM       Review term sheet re cash flows in connection with     0.60         950.00        $570.00
                                cemetery transfers (.4); and email K. Brown re same
                                (.2).

 08/31/2021   KBD     CEM       Analyze proposal regarding cemetery transfer.          0.30       1195.00         $358.50

 08/31/2021   GSG     CEM       Review IAC report and email K. Brown re analysis       0.30         950.00        $285.00
                                of cemetery term sheet.

 08/31/2021   GSG     CEM       Review Anchin valuation report and send further        0.30         950.00        $285.00
                                email to K. Brown re cemetery term sheet.

                                                                                        4.20                     $4,477.00

  Comp. of Prof./Others
 08/05/2021   BMM     CPO       Review Debtor’s professionals fee statements.          0.70         695.00        $486.50

 08/10/2021   BMM     CPO       Prepare MorningStar letter to Debtor's counsel.        0.20         695.00        $139.00

 08/10/2021   BMM     CPO       Review Debtor’s professionals fee statements.          0.70         695.00        $486.50

 08/10/2021   KBD     CPO       Review correspondence to Jones Day regarding           0.10       1195.00         $119.50
                                MSI.

 08/12/2021   IAWN CPO          Review Reed Smith time records re disclosures.         1.00       1145.00        $1,145.00

 08/13/2021   IAWN CPO          Draft email to J. Bair and T. Burns re Reed Smith      0.10       1145.00         $114.50
                                time records and disclosures.

                                                                                        2.80                     $2,491.00

  Claims Review
 08/02/2021   DHH     CREV      Review and chart filed sexual abuse claims.            4.70         395.00       $1,856.50

 08/03/2021   DHH     CREV      Review and chart filed sexual abuse claims.            6.70         395.00       $2,646.50

 08/03/2021   BMM     CREV      Review claims chart.                                   0.20         695.00        $139.00

 08/04/2021   DHH     CREV      Review and chart filed sexual abuse claims.            6.00         395.00       $2,370.00
     20-12345-scc        Doc 848
                             767       Filed 11/15/21
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 08/05/2021   DHH     CREV      Review and chart filed sexual abuse claims.            5.20        395.00       $2,054.00

 08/06/2021   DHH     CREV      Review and chart filed sexual abuse claims.            6.50        395.00       $2,567.50

 08/09/2021   DHH     CREV      Review and chart filed sexual abuse claims.            4.30        395.00       $1,698.50

 08/10/2021   DHH     CREV      Review and chart filed sexual abuse claims.            4.20        395.00       $1,659.00

 08/10/2021   DHH     CREV      Redact personal identifying information from sexual    1.80        395.00        $711.00
                                abuse claims.

 08/10/2021   NPL     CREV      Sexual abuse claim review.                             0.90        460.00        $414.00

 08/10/2021   BMM     CREV      Emails with PSZJ team regarding claims review          0.30        695.00        $208.50
                                process.

 08/10/2021   BMM     CREV      Analysis of latest claims register.                    0.60        695.00        $417.00

 08/11/2021   IAWN CREV         Exchange emails with I. Scharf re issues with proof    0.20      1145.00         $229.00
                                of claims.

 08/11/2021   DHH     CREV      Review and chart filed sexual abuse claims.            3.80        395.00       $1,501.00

 08/11/2021   NPL     CREV      Sexual abuse claim review.                             0.60        460.00        $276.00

 08/12/2021   MK      CREV      Redact personal identifying information from sexual    2.60        395.00       $1,027.00
                                abuse claims.

 08/12/2021   DHH     CREV      Review and chart filed sexual abuse claims.            5.70        395.00       $2,251.50

 08/12/2021   BMM     CREV      Review updated claims count.                           0.20        695.00        $139.00

 08/13/2021   KBD     CREV      Review correspondence to/from Jones Day/PSZJ           0.20      1195.00         $239.00
                                regarding bar date order revisions.

 08/13/2021   MK      CREV      Redact personal identifying information from sexual    1.60        395.00        $632.00
                                abuse claims.

 08/13/2021   DHH     CREV      Review and chart filed sexual abuse claims.            4.00        395.00       $1,580.00

 08/13/2021   NPL     CREV      Email communications with B. Michael regarding         0.10        460.00         $46.00
                                sexual assault proofs of claim.

 08/13/2021   NPL     CREV      Update sexual abuse proof of claim filings.            0.80        460.00        $368.00

 08/13/2021   BA      CREV      Redact personal identifying information from sexual    2.00        460.00        $920.00
                                abuse claims.

 08/16/2021   MK      CREV      Redact personal identifying information from sexual    0.90        395.00        $355.50
                                abuse claims.

 08/16/2021   DHH     CREV      Review and chart filed sexual abuse claims.            6.00        395.00       $2,370.00

 08/16/2021   NPL     CREV      Email communications with B. Michael regarding         0.20        460.00         $92.00
     20-12345-scc        Doc 848
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                                                                                      Hours           Rate      Amount
                                updated proofs of claim.
 08/16/2021   NPL     CREV      Review updated sexual abuse proofs of claim.           1.10        460.00        $506.00

 08/16/2021   KBD     CREV      Correspondence w/PSZJ team regarding claims            0.10      1195.00         $119.50
                                filings.

 08/17/2021   DHH     CREV      Review and chart filed sexual abuse claims.            5.40        395.00       $2,133.00

 08/17/2021   NPL     CREV      Email communications with B. Michael regarding         0.20        460.00         $92.00
                                sexual abuse proofs of claim.

 08/17/2021   NPL     CREV      Review recently filed sexual abuse proofs of claim.    0.70        460.00        $322.00

 08/17/2021   NPL     CREV      Email communications with B. Michael regarding         0.20        460.00         $92.00
                                claim review.

 08/17/2021   NPL     CREV      Review emails from K. Tran regarding updated           0.10        460.00         $46.00
                                claims register.

 08/17/2021   BA      CREV      Redact personal identifying information from sexual    1.10        460.00        $506.00
                                abuse claims.

 08/17/2021   BMM     CREV      Review sexual abuse claims and revise chart.           1.80        695.00       $1,251.00

 08/18/2021   BMM     CREV      Review sexual abuse claims and revise chart.           2.00        695.00       $1,390.00

 08/18/2021   MK      CREV      Redact personal identifying information from sexual    1.80        395.00        $711.00
                                abuse claims.

 08/18/2021   DHH     CREV      Review and chart filed sexual abuse claims.            5.00        395.00       $1,975.00

 08/18/2021   NPL     CREV      Email communications with B. Michael regarding         0.10        460.00         $46.00
                                updated sexual abuse claims.

 08/18/2021   NPL     CREV      Review sexual abuse claims filed through 8/14/2021.    0.50        460.00        $230.00

 08/18/2021   BA      CREV      Redact personal identifying information from sexual    2.10        460.00        $966.00
                                abuse claims.

 08/19/2021   BMM     CREV      Review sexual abuse claims and revise chart.           1.80        695.00       $1,251.00

 08/19/2021   MK      CREV      Redact personal identifying information from sexual    0.50        395.00        $197.50
                                abuse claims.

 08/19/2021   DHH     CREV      Review and chart filed sexual abuse claims.            2.30        395.00        $908.50

 08/19/2021   NPL     CREV      Review timely filed sexual abuse proofs of claim.      0.30        460.00        $138.00

 08/19/2021   NPL     CREV      Email communications with B. Michael regarding         0.10        460.00         $46.00
                                timely filed sexual abuse proofs of claim.

 08/20/2021   BMM     CREV      Review sexual abuse claims and revise chart.           0.80        695.00        $556.00

 08/20/2021   DHH     CREV      Review and chart filed sexual abuse claims.            5.50        395.00       $2,172.50
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                                                                                      Hours           Rate      Amount

 08/20/2021   KBD     CREV      Review proofs of claim regarding sexual abuse.         2.30      1195.00        $2,748.50

 08/22/2021   KBD     CREV      Review proofs of claim regarding sexual abuse.         2.00      1195.00        $2,390.00

 08/23/2021   DHH     CREV      Review and chart filed sexual abuse claims.            6.20        395.00       $2,449.00

 08/23/2021   KBD     CREV      Strategize regarding claim review with B. Michael.     0.70      1195.00         $836.50

 08/23/2021   KBD     CREV      Review proofs of claim regarding sexual abuse.         1.60      1195.00        $1,912.00

 08/24/2021   MK      CREV      Redact personal identifying information from sexual    2.00        395.00        $790.00
                                abuse claims.

 08/24/2021   DHH     CREV      Review and chart filed sexual abuse claims.            5.50        395.00       $2,172.50

 08/24/2021   NPL     CREV      Prepare abuse claim contact spreadsheet.               3.30        460.00       $1,518.00

 08/24/2021   NPL     CREV      Email communications with B. Michael regarding         0.10        460.00         $46.00
                                abuse claim contact spreadsheet.

 08/25/2021   MK      CREV      Redact personal identifying information from sexual    1.00        395.00        $395.00
                                abuse claims.

 08/25/2021   DHH     CREV      Review and chart filed sexual abuse claims.            6.00        395.00       $2,370.00

 08/25/2021   NPL     CREV      Update attorney contact sheet regarding sexual         0.70        460.00        $322.00
                                abuse proof of claims.

 08/25/2021   NPL     CREV      Review sexual abuse claims register.                   0.60        460.00        $276.00

 08/25/2021   BA      CREV      Redact personal identifying information from sexual    2.50        460.00       $1,150.00
                                abuse claims.

 08/26/2021   MK      CREV      Redact personal identifying information from sexual    1.00        395.00        $395.00
                                abuse claims.

 08/26/2021   DHH     CREV      Review and chart filed sexual abuse claims.            5.00        395.00       $1,975.00

 08/26/2021   BA      CREV      Redact personal identifying information from sexual    2.70        460.00       $1,242.00
                                abuse claims.

 08/26/2021   KBD     CREV      Review correspondence to/from SCC counsel              0.20      1195.00         $239.00
                                regarding claims.

 08/27/2021   MK      CREV      Redact personal identifying information from sexual    1.40        395.00        $553.00
                                abuse claims.

 08/27/2021   DHH     CREV      Review and chart filed sexual abuse claims.            4.20        395.00       $1,659.00

 08/27/2021   KBD     CREV      Calls w/B. Michael regarding outstanding claims        0.90      1195.00        $1,075.50
                                issues and next steps.

 08/27/2021   KBD     CREV      Review correspondence relating to confidentiality      0.10      1195.00         $119.50
                                matters among PSZJ team.
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                                                                                      Hours            Rate        Amount

 08/27/2021   BMM     CREV      Review binding nature of e-signatures in New York.      0.50        695.00         $347.50

 08/30/2021   DHH     CREV      Review and chart filed sexual abuse claims.             1.60        395.00         $632.00

 08/30/2021   BA      CREV      Redact personal identifying information from sexual     1.80        460.00         $828.00
                                abuse claims.

 08/30/2021   KBD     CREV      Review sexual abuse proofs of claim.                    1.70      1195.00         $2,031.50

 08/31/2021   DHH     CREV      Review and chart filed sexual abuse claims.             6.20        395.00        $2,449.00

 08/31/2021   BA      CREV      Redact personal identifying information from sexual     2.00        460.00         $920.00
                                abuse claims.

                                                                                      167.60                     $78,264.00

  CmteDisc Reqs- Finance/Govern
 08/02/2021   KBD     CRF       Review and provide comments to supplement to            1.00      1195.00         $1,195.00
                                2004 papers w/B. Michael (for part).

 08/02/2021   BMM     CRF       Coordinate filing of motion to seal and Unitas          0.40        695.00         $278.00
                                supplemental brief.

 08/02/2021   BMM     CRF       Revise Unitas supplemental brief.                       2.80        695.00        $1,946.00

 08/02/2021   BMM     CRF       Communications with N. Lockwood, M. Babcock,            1.70        695.00        $1,181.50
                                and K. Dine regarding Unitas supplemental brief.

 08/02/2021   BMM     CRF       Edit and prepare exhibits for Unitas supplemental       1.90        695.00        $1,320.50
                                brief.

 08/02/2021   BMM     CRF       Revise Unitas supplemental brief.                       2.00        695.00        $1,390.00

 08/02/2021   NPL     CRF       Review emails regarding supplemental brief              0.20        460.00          $92.00
                                regarding 2004 motion directing Debtor to produce
                                parish information.

 08/02/2021   NPL     CRF       Telephone call with B. Michael regarding                0.10        460.00          $46.00
                                supplemental brief regarding 2004 motion directing
                                Debtor to produce parish information.

 08/02/2021   NPL     CRF       Email communications with copy-LA regarding             0.20        460.00          $92.00
                                service procedure of supplemental brief regarding
                                2004 motion directing Debtor to produce parish
                                information.

 08/02/2021   NPL     CRF       Prepare notice of hearing regarding motion to file      0.30        460.00         $138.00
                                under seal regarding 2004 motion regarding
                                document production of parishes.

 08/02/2021   NPL     CRF       Email communications with B. Seal regarding             0.30        460.00         $138.00
                                updates, edits and final pleadings regarding motion
     20-12345-scc        Doc 848
                             767       Filed 11/15/21
                                             09/30/21 Entered 11/15/21
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                                                                                        Hours           Rate      Amount
                                to seal regarding 2004 motion.
 08/02/2021   NPL     CRF       Service address updates regarding motion to seal         0.30        460.00       $138.00
                                2004 brief regarding parish production.

 08/02/2021   NPL     CRF       Email communications with B. Michael regarding           0.20        460.00        $92.00
                                service address updates regarding motion to seal
                                brief regarding 2004 parish production.

 08/02/2021   NPL     CRF       Prepare motion to seal regarding 2004 motion             0.80        460.00       $368.00
                                regarding document production of parishes for
                                filing.

 08/02/2021   NPL     CRF       Prepare declaration of K Dine regarding motion to        0.60        460.00       $276.00
                                seal regarding parish 2004.

 08/02/2021   NPL     CRF       Email communications with B. Michael regarding           0.30        460.00       $138.00
                                supplement brief in support of the Committee's 2004
                                motion regarding parish document production.

 08/02/2021   NPL     CRF       Final edits to supplement brief in support of the        0.80        460.00       $368.00
                                Committee's 2004 motion regarding parish
                                document production.

 08/02/2021   NPL     CRF       Finalize notice of hearing on motion to seal             0.30        460.00       $138.00
                                regarding Committee's 2004 motion regarding parish
                                document production.

 08/02/2021   NPL     CRF       Final edits to notice of continued hearing on the        0.30        460.00       $138.00
                                Committee's motion regarding parish document
                                production.

 08/02/2021   NPL     CRF       Email service of motion to seal and related pleadings    0.20        460.00        $92.00
                                regarding the 2004 motion regarding parish
                                document production.

 08/02/2021   NPL     CRF       Prepare certificate of service regarding motion to       0.40        460.00       $184.00
                                seal and related pleadings regarding the 2004 motion
                                regarding parish document production.

 08/02/2021   NPL     CRF       Coordinate service of motion to seal and related         0.30        460.00       $138.00
                                pleadings regarding the 2004 motion regarding
                                parish document production with M. Kulick.

 08/02/2021   NPL     CRF       Prepare exhibits to declaration of M. Babcock in         2.10        460.00       $966.00
                                support of Committee's motion to seal 2004 motion
                                regarding parish document production.

 08/02/2021   NPL     CRF       Draft email to chambers regarding proposed order         0.10        460.00        $46.00
                                on motion to seal 2004 motion regarding parish
                                document production.

 08/02/2021   NPL     CRF       Draft email to A. Butler regarding supplemental          0.20        460.00        $92.00
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                                                                                     Hours           Rate      Amount
                                brief on the Committee's 2004 motion regarding
                                parish document production.
 08/03/2021   KHB     CRF       Emails with B. Michael re discovery requests and      0.20      1225.00         $245.00
                                confidentiality issues.

 08/03/2021   GSG     CRF       Review supplemental brief and filings re Unitas       0.30        950.00        $285.00
                                discovery.

 08/03/2021   BMM     CRF       Meeting with A. Butler and E. Stephens regarding      0.40        695.00        $278.00
                                document production.

 08/03/2021   BMM     CRF       Review outstanding document requests and prepare      0.50        695.00        $347.50
                                for Jones Day meeting.

 08/03/2021   BMM     CRF       Review and finalize materials for binders to Court    0.70        695.00        $486.50
                                (sealed documents).

 08/03/2021   BMM     CRF       Review meeting minutes from Debtor's IAC              2.60        695.00       $1,807.00
                                production.

 08/04/2021   KBD     CRF       Telephone conferences with B. Michael regarding       0.60      1195.00         $717.00
                                discovery matters.

 08/04/2021   KBD     CRF       Telephone conference with D. Yaffee and B.            0.30      1195.00         $358.50
                                Michael regarding discovery matters.

 08/04/2021   KBD     CRF       Telephone conference with B. Michael and SCC          0.60      1195.00         $717.00
                                member regarding discovery issues.

 08/04/2021   BMM     CRF       Calls with K. Dine regarding Unitas and other case    0.60        695.00        $417.00
                                issues.

 08/04/2021   BMM     CRF       E-mail to Jones Day regarding Unitas documents        0.50        695.00        $347.50
                                (.3); email to PSZJ team regarding same (.2).

 08/04/2021   BMM     CRF       Call with a SCC member & K. Dine regarding            0.60        695.00        $417.00
                                Unitas.

 08/04/2021   BMM     CRF       Review debtor's notice of affiliate payment.          0.20        695.00        $139.00

 08/04/2021   BMM     CRF       Analyze outstanding areas for asset investigation.    1.40        695.00        $973.00

 08/04/2021   BMM     CRF       Analyze outstanding areas for asset investigation.    0.40        695.00        $278.00

 08/04/2021   BMM     CRF       Analyze outstanding areas for asset investigation.    1.00        695.00        $695.00

 08/05/2021   BMM     CRF       Review document production regarding Debtor's         0.30        695.00        $208.50
                                assets.

 08/05/2021   BMM     CRF       Review documents produced related to Debtor's         2.00        695.00       $1,390.00
                                assets.

 08/05/2021   BMM     CRF       Review documents produced related to Debtor's         2.00        695.00       $1,390.00
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                                                                                     Hours           Rate      Amount
                                assets.
 08/05/2021   BMM     CRF       Review documents produced related to Debtor's         2.00        695.00       $1,390.00
                                assets.

 08/05/2021   BMM     CRF       Review documents produced related to Debtor's         2.00        695.00       $1,390.00
                                assets.

 08/06/2021   BMM     CRF       Review Department of Education meeting minutes        0.80        695.00        $556.00
                                from IAC production.

 08/06/2021   NPL     CRF       Review motion to extend time to assume or reject      0.20        460.00         $92.00
                                nonresidential real property leases for dates.

 08/10/2021   BMM     CRF       Call with E. Stephens regarding document              0.30        695.00        $208.50
                                production process.

 08/10/2021   BMM     CRF       Review documents produced related to Debtor's         3.30        695.00       $2,293.50
                                assets.

 08/11/2021   KHB     CRF       Review Placa report.                                  1.00      1225.00        $1,225.00

 08/11/2021   BMM     CRF       Review documents produced related to Debtor's         1.30        695.00        $903.50
                                assets.

 08/11/2021   BMM     CRF       Review documents produced related to Debtor's         1.80        695.00       $1,251.00
                                assets.

 08/11/2021   BMM     CRF       Analyze outstanding areas for asset investigation.    0.50        695.00        $347.50

 08/11/2021   BMM     CRF       Analyze outstanding areas for asset investigation.    0.50        695.00        $347.50

 08/11/2021   BMM     CRF       Analyze outstanding areas for asset investigation.    2.00        695.00       $1,390.00

 08/12/2021   KHB     CRF       Review Debtor’s response to Rule 2004 motion re       0.20      1225.00         $245.00
                                Unitas.

 08/12/2021   BMM     CRF       Call with M. Babcock regarding Unitas briefing.       0.30        695.00        $208.50

 08/12/2021   BMM     CRF       Review documents related to Debtor's revenue.         0.80        695.00        $556.00

 08/12/2021   BMM     CRF       Review documents related to Debtor's revenue.         1.30        695.00        $903.50

 08/12/2021   BMM     CRF       Review IAC document production for information        0.50        695.00        $347.50
                                on Debtor’s assets.

 08/12/2021   BMM     CRF       Review document production for information on         2.60        695.00       $1,807.00
                                Debtor's assets.

 08/13/2021   KBD     CRF       Review Unitas response papers.                        0.50      1195.00         $597.50

 08/13/2021   BMM     CRF       Email to PSZJ team regarding Debtor’s Unitas          0.40        695.00        $278.00
                                briefing.
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 08/13/2021   KBD     CRF       Review/prepare correspondence among PSZJ team           0.30      1195.00         $358.50
                                regarding preparation for hearing regarding 2004
                                motion regarding parish document production.

 08/16/2021   BMM     CRF       Review Debtor's meeting minutes.                        0.80        695.00        $556.00

 08/16/2021   BMM     CRF       Communication with PSZJ/BRG team regarding              0.60        695.00        $417.00
                                debtor's assets.

 08/16/2021   BMM     CRF       Analyze outstanding areas for asset investigation.      2.10        695.00       $1,459.50

 08/17/2021   KBD     CRF       Calls w/B. Michael regarding outstanding discovery      0.50      1195.00         $597.50
                                matters.

 08/17/2021   KBD     CRF       Review and analysis of pleadings relating to Unitas.    0.80      1195.00         $956.00

 08/17/2021   KBD     CRF       Call w/BRG team, J. Stang and B. Michael                0.90      1195.00        $1,075.50
                                regarding Unitas pleadings.

 08/17/2021   BMM     CRF       Call with Debtor's counsel regarding document           0.30        695.00        $208.50
                                production.

 08/17/2021   BMM     CRF       Calls with K. Dine regarding document production.       0.50        695.00        $347.50

 08/17/2021   BMM     CRF       Call with BRG/PSZJ teams regarding Unitas.              0.90        695.00        $625.50

 08/17/2021   JIS     CRF       Call with BRG and B. Michael and K. Dine                0.90      1345.00        $1,210.50
                                regarding analysis of Debtor's response to Unitas
                                discovery.

 08/18/2021   KBD     CRF       Telephone conference with B. Michael regarding          0.30      1195.00         $358.50
                                discovery issues.

 08/18/2021   KBD     CRF       Call w/B. Michael, R. Strong and M. Babcock             1.20      1195.00        $1,434.00
                                regarding financial discovery and information.

 08/18/2021   KBD     CRF       Correspondence among PSZJ team relating to Unitas       0.20      1195.00         $239.00
                                joinder.

 08/18/2021   BMM     CRF       Call with BRG and K. Dine regarding Debtor's asset      1.20        695.00        $834.00
                                analysis.

 08/18/2021   BMM     CRF       Prepare materials for J. Stang for Unitas hearing.      0.20        695.00        $139.00

 08/18/2021   BMM     CRF       Review Unitas joinder (.2); draft email to PSZJ team    0.50        695.00        $347.50
                                regarding same (.3).

 08/18/2021   BMM     CRF       Review documents related to Diocese's real              0.80        695.00        $556.00
                                property.

 08/19/2021   KBD     CRF       Prepare for hearing relating to discovery matters.      0.40      1195.00         $478.00

 08/19/2021   KBD     CRF       Call w/M. Babcock, R. Strong and B. Michael             0.70      1195.00         $836.50
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                                                                                     Hours           Rate      Amount
                                regarding discovery issues and next steps.
 08/19/2021   BMM     CRF       Call with M. Babcock, R. Strong, and K. Dine          0.70        695.00        $486.50
                                regarding asset investigations.

 08/19/2021   BMM     CRF       Review documents related to Diocese's assets.         0.50        695.00        $347.50

 08/19/2021   KBD     CRF       Review analysis regarding restricted funds            0.30      1195.00         $358.50

 08/20/2021   BMM     CRF       Review documents uploaded to Box.com by Debtor.       0.30        695.00        $208.50

 08/20/2021   BMM     CRF       Participate in meeting with BRG and Alvarez &         0.50        695.00        $347.50
                                Marsal regarding discovery.

 08/20/2021   BMM     CRF       Review Debtor's record retention policy.              0.30        695.00        $208.50

 08/23/2021   BMM     CRF       Review Telecare meeting minutes produced by           0.40        695.00        $278.00
                                Debtor.

 08/23/2021   BMM     CRF       Review Unitas board meeting minutes produced by       0.70        695.00        $486.50
                                Debtor.

 08/23/2021   KHB     CRF       Email from B. Michael re Unitas discovery (.1);       0.20      1225.00         $245.00
                                emails from V. Yonnacone re Unitas discovery (.1).

 08/24/2021   KBD     CRF       Telephone conference w/A. Butler, E. Stephens and     0.20      1195.00         $239.00
                                B. Michael regarding discovery matters

 08/24/2021   KBD     CRF       Follow-up regarding discovery call w/B. Michael.      0.10      1195.00         $119.50

 08/24/2021   BMM     CRF       Call with Debtor's counsel regarding document         0.20        695.00        $139.00
                                production.

 08/24/2021   BMM     CRF       Analyze documents produced related to Ecclesia.       4.00        695.00       $2,780.00

 08/25/2021   BMM     CRF       Review document production related to Debtor's        2.80        695.00       $1,946.00
                                assets.

 08/26/2021   BMM     CRF       Review documents uploaded to Box.com by Debtor        0.30        695.00        $208.50
                                related to Unitas.

 08/27/2021   KBD     CRF       Review correspondence relating to outstanding         0.20      1195.00         $239.00
                                discovery issues to/from Jones Day, PSZJ & BRG.

 08/27/2021   BMM     CRF       Review letter from Baker Tilly (.3); email PSZJ       0.50        695.00        $347.50
                                team regarding same (.2).

 08/27/2021   BMM     CRF       Review Debtor's productions regarding assets.         2.00        695.00       $1,390.00

 08/30/2021   KBD     CRF       Review correspondence from Jones Day regarding        0.10      1195.00         $119.50
                                discovery.

 08/31/2021   KBD     CRF       Prepare for discovery call w/Jones Day.               0.20      1195.00         $239.00
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 08/31/2021   KBD     CRF       Correspondence among PSZJ re status of discovery.         0.10       1195.00          $119.50

 08/31/2021   KBD     CRF       Discovery call w/Jones Day.                               0.40       1195.00          $478.00

                                                                                          84.40                     $63,190.50

  Employment Appls
 08/09/2021   BMM     EAPPS     Prepare proposed order for RMF retention (.1); send       0.20         695.00         $139.00
                                same to J. Eisen (.1).

 08/09/2021   BMM     EAPPS     Prepare certificate of no objection for RMF retention     0.50         695.00         $347.50
                                application.

 08/10/2021   NPL     EAPPS     Email communications with B. Anavim regarding             0.10         460.00          $46.00
                                dates associated with Ruskin Moscou Faltischek
                                employment application.

 08/10/2021   BMM     EAPPS     Send Ruskin Moscou Faltischek retention order to          0.10         695.00          $69.50
                                RMF team.

 08/31/2021   KBD     EAPPS     Review OCP application                                    0.10       1195.00          $119.50

                                                                                           1.00                       $721.50

  IAC/Affiliate Transactions
 08/02/2021   KHB     IAC       Review recent authority re religious liberty issues in    0.60       1225.00          $735.00
                                bankruptcy.

 08/02/2021   KBD     IAC       Review correspondence from Jones Day regarding            0.10       1195.00          $119.50
                                discovery.

 08/03/2021   LAF     IAC       Legal research re: precedent case.                        0.80         475.00         $380.00

 08/03/2021   KBD     IAC       Review draft common interest agreement.                   0.20       1195.00          $239.00

 08/03/2021   KHB     IAC       Status conf with Judge Gonzalez.                          0.40       1225.00          $490.00

 08/03/2021   KBD     IAC       Review stipulation regarding Seminary.                    0.10       1195.00          $119.50

 08/03/2021   BMM     IAC       Meeting with A. Gonzalez, E. Fisher, regarding            0.40         695.00         $278.00
                                IAC-investigated transfers.

 08/04/2021   KBD     IAC       Correspondence relating to seminary matters.              0.20       1195.00          $239.00

 08/04/2021   KHB     IAC       Emails with B. Michael and Judge Gonzalez re              0.30       1225.00          $367.50
                                confidentiality issues and Seminary stipulation.

 08/06/2021   JIS     IAC       Call K. Brown regarding avoidance actions.                0.60       1345.00          $807.00

 08/10/2021   KHB     IAC       Emails with Eric Fisher re timing of settlement           0.70       1225.00          $857.50
                                proposal from the Debtor (.1); emails to J. Stang, G.
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                                                                                        Hours           Rate      Amount
                                Greenwood and B. Michael on impact of actually
                                filed claims on solvency analysis (.6).
 08/10/2021   GSG     IAC       Review emails and comments re solvency analysis.         0.30        950.00        $285.00

 08/10/2021   KBD     IAC       Review correspondence to/from counsel for special        0.10      1195.00         $119.50
                                mediator regarding claim status.

 08/10/2021   KBD     IAC       Review issues relating to solvency analysis.             0.20      1195.00         $239.00

 08/11/2021   GSG     IAC       Research/review cases re solvency analysis.              2.00        950.00       $1,900.00

 08/11/2021   GSG     IAC       Prepare notes re solvency.                               2.10        950.00       $1,995.00

 08/11/2021   GSG     IAC       Review current pleadings re RFRA arguments raised        0.30        950.00        $285.00
                                in 2d Circuit appeal.

 08/11/2021   GSG     IAC       Review additional emails re solvency research.           0.20        950.00        $190.00

 08/11/2021   GSG     IAC       Research/review cases re solvency analysis.              3.00        950.00       $2,850.00

 08/12/2021   GSG     IAC       Research cases re probable liability, contingent         4.60        950.00       $4,370.00
                                liability, and unmatured liability.

 08/13/2021   GSG     IAC       Prepare notes re probable liabilities.                   2.20        950.00       $2,090.00

 08/13/2021   GSG     IAC       Research cases and legal articles re probable            2.10        950.00       $1,995.00
                                liabilities and future claims.

 08/13/2021   GSG     IAC       Review cases and outline memo re solvency issues,        2.60        950.00       $2,470.00
                                valuation, and evidence.

 08/16/2021   GSG     IAC       Review IAC report re solvency analysis and               1.70        950.00       $1,615.00
                                assumptions in connection with solvency research
                                memo.

 08/16/2021   GSG     IAC       Review database re declassified documents and            0.90        950.00        $855.00
                                anticipation of insolvency.

 08/16/2021   GSG     IAC       Draft research memo re probable liability and initial    1.40        950.00       $1,330.00
                                factual discussion.

 08/16/2021   BMM     IAC       Revise common interest agreement.                        0.10        695.00         $69.50

 08/17/2021   JIS     IAC       Follow up call with B. Michael and K. Dine re next       0.40      1345.00         $538.00
                                steps for seminary and cemetery litigation/claims.

 08/17/2021   JIS     IAC       Status call with J. Gonzalez regarding cemetery and      0.30      1345.00         $403.50
                                seminary claims.

 08/17/2021   GSG     IAC       Review archived NY DCL statutes re fraudulent            0.40        950.00        $380.00
                                conveyances.

 08/17/2021   GSG     IAC       Research additional cases re solvency evidence,          3.10        950.00       $2,945.00
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                                                                                       Hours           Rate      Amount
                                burdens, and expertise.
 08/17/2021   GSG     IAC       Draft research memo re probable liability: factual      4.70        950.00       $4,465.00
                                discussion and issues and short answers.

 08/17/2021   KBD     IAC       Participate in call w/A. Gonzalez, J. Stang, and B.     0.30      1195.00         $358.50
                                Michael regarding status of review of IAC transfers.

 08/17/2021   KBD     IAC       Call w/J. Stang and B. Michael regarding action         0.30      1195.00         $358.50
                                items following call w/A. Gonzalez.

 08/17/2021   BMM     IAC       Call with Special Mediator regarding transfers.         0.30        695.00        $208.50

 08/17/2021   BMM     IAC       Follow-up transfer strategy discussion with K. Dine     0.40        695.00        $278.00
                                and J. Stang.

 08/18/2021   GSG     IAC       Research additional cases re balance sheet solvency     1.90        950.00       $1,805.00
                                and UFCA.

 08/18/2021   GSG     IAC       Draft research memo re probable liability.              5.30        950.00       $5,035.00

 08/19/2021   GSG     IAC       Research/review cases re contingent liabilities and     1.10        950.00       $1,045.00
                                estimation.

 08/19/2021   GSG     IAC       Draft research memo re probable liability.              6.40        950.00       $6,080.00

 08/20/2021   GSG     IAC       Research/review additional cases re solvency outside    1.20        950.00       $1,140.00
                                of avoidance claim litigation.

 08/20/2021   GSG     IAC       Draft research memo re probable liability               6.40        950.00       $6,080.00

 08/23/2021   KHB     IAC       Emails with B. Michael re claims analysis and           0.20      1225.00         $245.00
                                impact on solvency (.1); emails from B. Michael re
                                common interest agreement with the Debtor (.1).

 08/23/2021   GSG     IAC       Shepardize and research cases re future                 3.80        950.00       $3,610.00
                                noncontingent liabilities.

 08/23/2021   GSG     IAC       Draft memo re probable liability.                       4.90        950.00       $4,655.00

 08/24/2021   GSG     IAC       Research and review cases cited by IAC re solvency.     1.50        950.00       $1,425.00

 08/25/2021   GSG     IAC       Draft memo re probable liability.                       6.90        950.00       $6,555.00

 08/26/2021   KBD     IAC       Review correspondence to/from counsel for special       0.10      1195.00         $119.50
                                mediator.

 08/27/2021   GSG     IAC       Draft/revise memo re probable liability and             0.60        950.00        $570.00
                                conclusions.

 08/30/2021   GSG     IAC       Review IAC exhibits and report re factual evidence      0.70        950.00        $665.00
                                of probable liability.

 08/30/2021   GSG     IAC       Revise/edit memo re probable liability and solvency.    1.60        950.00       $1,520.00
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 08/30/2021   GSG     IAC       Brief research re claim estimation authorities re         0.60         950.00         $570.00
                                solvency.

 08/31/2021   KHB     IAC       Status call with Special Mediator (.3); analyze/revise    2.50       1225.00         $3,062.50
                                memo on solvency issues (2.2).

 08/31/2021   KBD     IAC       Call w/A. Gonzalez, E. Fisher and K. Brown                0.50       1195.00          $597.50
                                regarding cemetery transfer.

 08/31/2021   KBD     IAC       Correspondence among PSZJ team regarding                  0.10       1195.00          $119.50
                                meeting w/special mediator.

                                                                                          84.70                     $82,124.00

  Interim Fee Applications
 08/06/2021   KBD     IFA       Review objections to fee statement.                       0.20       1195.00          $239.00

 08/06/2021   BMM     IFA       Call with S. Cornell regarding interim fee                0.30         695.00         $208.50
                                applications.

 08/10/2021   BMM     IFA       Email PSZJ team regarding interim fee applications.       0.10         695.00          $69.50

 08/10/2021   BMM     IFA       Call with S. Cornell regarding fee statements.            0.50         695.00         $347.50

 08/10/2021   BMM     IFA       Call with J. Bair regarding Committee professional        0.20         695.00         $139.00
                                fees.

 08/13/2021   KBD     IFA       Review correspondence among PSZJ team regarding           0.20       1195.00          $239.00
                                status of interim fee application.

 08/13/2021   BMM     IFA       Email to UST regarding interim fee applications.          0.30         695.00         $208.50

 08/13/2021   BMM     IFA       Call with S. Cornell regarding fee statements.            0.40         695.00         $278.00

 08/13/2021   BMM     IFA       Email to PSZJ team regarding interim fee                  0.40         695.00         $278.00
                                applications.

 08/13/2021   DHH     IFA       Revise billing task codes per UST guidelines.             0.50         395.00         $197.50

 08/16/2021   KBD     IFA       Correspondence among Jones Day, UST and other             0.20       1195.00          $239.00
                                parties regarding fee hearing.

 08/17/2021   BMM     IFA       Revise interim fee application proposed order.            0.20         695.00         $139.00

 08/17/2021   BMM     IFA       Call with A. Butler regarding interim fee application     0.10         695.00          $69.50
                                order.

 08/19/2021   BMM     IFA       Call with A. Butler regarding interim fee application     0.30         695.00         $208.50
                                order.

                                                                                           3.90                      $2,860.50
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  Insurance Litigation
 08/05/2021   NPL     IL        Review District Court docket.                            0.20         460.00         $92.00

 08/06/2021   JIS     IL        Call with I. Nasatir regarding insurance program.        0.50       1345.00         $672.50

 08/06/2021   KBD     IL        Review pleadings in insurance adversary                  0.50       1195.00         $597.50

 08/06/2021   IAWN IL           Review Arrowood complaint and analyze                    0.80       1145.00         $916.00

 08/06/2021   IAWN IL           Email K. Dine, J. Stang, I. Scharf, B. Michael re 5th    0.10       1145.00         $114.50
                                cause of action.

 08/13/2021   NPL     IL        Review District Court docket.                            0.20         460.00         $92.00

 08/18/2021   BMM     IL        Call with K. Dine regarding follow-up on mediator        0.40         695.00        $278.00
                                selection process.

 08/18/2021   BMM     IL        Prepare information regarding additional mediator        0.70         695.00        $486.50
                                candidates for the Committee.

 08/19/2021   KBD     IL        Correspondence to/from PSZJ team and potential           0.30       1195.00         $358.50
                                mediators regarding mediation.

 08/23/2021   JIS     IL        Review NYS decision (Silver) on liability for            0.30       1345.00         $403.50
                                supervision.

                                                                                          4.00                     $4,011.00

  Mtgs/Conf w/Client
 08/02/2021   IAWN MCC          Meeting with Committee interviewing mediator             1.00       1145.00        $1,145.00
                                candidates (partial).

 08/02/2021   KBD     MCC       Participate in meeting with mediator candidates and      1.60       1195.00        $1,912.00
                                Committee.

 08/02/2021   BMM     MCC       Participate in Committee meeting interview               1.60         695.00       $1,112.00
                                mediator candidates.

 08/02/2021   JIS     MCC       Attend interview with mediators.                         1.60       1345.00        $2,152.00

 08/02/2021   KBD     MCC       Review correspondence with Committee.                    0.10       1195.00         $119.50

 08/03/2021   BMM     MCC       Communications with Committee members                    0.20         695.00        $139.00
                                regarding Mediator selection.

 08/03/2021   BMM     MCC       Email communication to Committee regarding               0.40         695.00        $278.00
                                recent court filings.

 08/04/2021   BMM     MCC       Communication with PSZJ team regarding SCC               0.40         695.00        $278.00
                                phone calls.
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 08/04/2021   BMM     MCC       Call with SCC member regarding ongoing case            0.90        695.00        $625.50
                                issues.

 08/05/2021   KBD     MCC       Correspondence relating to SCC meeting on              0.10      1195.00         $119.50
                                outstanding items.

 08/06/2021   JIS     MCC       Call with state court counsel regarding Morningstar    0.50      1345.00         $672.50
                                and mediator.

 08/06/2021   KBD     MCC       Participate in call w/SCC regarding outstanding        0.50      1195.00         $597.50
                                issues.

 08/06/2021   BMM     MCC       Participate in State Court Counsel call regarding      0.50        695.00        $347.50
                                mediation and other case issues.

 08/09/2021   KBD     MCC       Call w/B. Michael regarding outstanding Committee      0.30      1195.00         $358.50
                                matters.

 08/09/2021   BMM     MCC       Call with K. Dine regarding outstanding Committee      0.30        695.00        $208.50
                                matters.

 08/13/2021   BMM     MCC       Email with SCC regarding case updates.                 0.50        695.00        $347.50

 08/16/2021   KBD     MCC       Prepare comments to draft minutes from previous        0.20      1195.00         $239.00
                                8/2 Committee meeting.

 08/16/2021   KBD     MCC       Prepare agenda for 8/17 Committee meeting.             0.10      1195.00         $119.50

 08/16/2021   KBD     MCC       Draft correspondence to Committee and SCC              0.10      1195.00         $119.50
                                regarding upcoming meeting.

 08/16/2021   KBD     MCC       Correspondence w/PSZJ team regarding Committee         0.10      1195.00         $119.50
                                meeting.

 08/17/2021   JIS     MCC       Committee call regarding Unitas, claims                1.50      1345.00        $2,017.50
                                information, mediator selection.

 08/17/2021   KBD     MCC       Prepare for call with Committee regarding              0.20      1195.00         $239.00
                                outstanding issues.

 08/17/2021   KBD     MCC       Call w/Committee and SCC on outstanding issues.        1.50      1195.00        $1,792.50

 08/17/2021   BMM     MCC       Participate in and take minutes at Committee           1.50        695.00       $1,042.50
                                meeting regarding outstanding issues.

 08/19/2021   KBD     MCC       Draft and review correspondence to/from SCC            0.20      1195.00         $239.00
                                regarding outstanding matters.

 08/19/2021   KBD     MCC       Review and revise draft correspondence to              0.20      1195.00         $239.00
                                Committee regarding hearing.

 08/19/2021   KBD     MCC       Prepare agenda for 8/20 SCC meeting.                   0.10      1195.00         $119.50
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 08/19/2021   BMM     MCC       Draft 8/19 hearing summary for the Committee.           0.10        695.00         $69.50

 08/20/2021   KBD     MCC       Correspondence to/from Committee and SCC                0.30      1195.00         $358.50
                                regarding mediation matters

 08/20/2021   JIS     MCC       Call with state court counsel regarding mediator        1.00      1345.00        $1,345.00
                                issues and parish discovery hearing.

 08/20/2021   KBD     MCC       Prepare for meeting w/SCC on outstanding matters.       0.20      1195.00         $239.00

 08/20/2021   KBD     MCC       Meeting with SCC on outstanding matters.                1.00      1195.00        $1,195.00

 08/20/2021   BMM     MCC       Participate in SCC call regarding mediator selection    1.00        695.00        $695.00
                                and other case issues.

 08/23/2021   KBD     MCC       Correspondence to/from Committee on outstanding         0.30      1195.00         $358.50
                                matters.

 08/24/2021   KBD     MCC       Review correspondence to/from SCC counsel               0.20      1195.00         $239.00
                                regarding claims.

 08/25/2021   KBD     MCC       Review correspondence to/from SCC counsel               0.30      1195.00         $358.50
                                regarding proofs of claim matters.

 08/26/2021   JIS     MCC       Attend Committee call for mediation candidate           1.90      1345.00        $2,555.50
                                interviews.

 08/26/2021   KBD     MCC       Prepare for Committee meeting regarding mediators       0.20      1195.00         $239.00

 08/26/2021   KBD     MCC       Participate in meeting w/Committee regarding            1.90      1195.00        $2,270.50
                                mediator candidates.

 08/26/2021   BMM     MCC       Participate in Committee interview of additional        1.90        695.00       $1,320.50
                                mediator candidates.

 08/26/2021   KBD     MCC       Call w/R. Tollner and B. Michael regarding fee          0.40      1195.00         $478.00
                                statements and case issues.

 08/26/2021   KBD     MCC       Follow-up call w/J. Stang from Committee meeting.       0.20      1195.00         $239.00

 08/26/2021   KBD     MCC       Draft correspondence to Committee regarding             0.10      1195.00         $119.50
                                meeting.

 08/26/2021   KBD     MCC       Draft correspondence to SCC regarding meeting.          0.10      1195.00         $119.50

 08/26/2021   KBD     MCC       Call w/B. Michael regarding preparation for             0.10      1195.00         $119.50
                                Committee meeting.

 08/26/2021   BMM     MCC       Call with R. Tollner and K. Dine regarding case         0.40        695.00        $278.00
                                matters and fees.

 08/30/2021   KBD     MCC       Telephone call with J. Allison regarding mediator       0.10      1195.00         $119.50
                                selection.
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 08/30/2021   KBD     MCC       Correspondence to/from Committee and SCC               0.20       1195.00          $239.00
                                regarding status of outstanding matters.

 08/30/2021   BMM     MCC       Call with a SCC regarding case issues.                 0.20         695.00         $139.00

 08/31/2021   KBD     MCC       Correspondence to/from Committee/SCC regarding         0.20       1195.00          $239.00
                                outstanding matters.

                                                                                       28.50                     $30,032.50

  Mediation
 08/02/2021   KBD     ME        Prepare for meeting with mediator candidates and       0.20       1195.00          $239.00
                                Committee.

 08/02/2021   KBD     ME        Call w/B. Rosenblum regarding mediation.               0.10       1195.00          $119.50

 08/02/2021   KBD     ME        Review correspondence regarding mediation              0.40       1195.00          $478.00
                                matters.

 08/03/2021   JIS     ME        Call with K. Dine and J. Anderson re LMI letter        0.20       1345.00          $269.00
                                regarding mediation.

 08/03/2021   KBD     ME        Telephone conference with J. Stang, J. Merson and      0.20       1195.00          $239.00
                                J. Anderson regarding mediation matters.

 08/03/2021   KBD     ME        Telephone conference with B. Rosenblum regarding       0.10       1195.00          $119.50
                                mediation letter.

 08/03/2021   BMM     ME        Call with J. Bair regarding mediator selection and     0.50         695.00         $347.50
                                other case issues.

 08/04/2021   KBD     ME        Telephone call with B. Michael regarding follow-up     0.40       1195.00          $478.00
                                regarding Jones Day call and mediation issues.

 08/04/2021   KBD     ME        Review correspondence relating to mediation issues.    0.20       1195.00          $239.00

 08/04/2021   BMM     ME        Draft summary of case for mediation statement.         0.50         695.00         $347.50

 08/05/2021   KBD     ME        Correspondence regarding mediation with PSZJ           0.10       1195.00          $119.50
                                team.

 08/06/2021   IAWN ME           Telephone conference w/ debtor and creditors           0.60       1145.00          $687.00
                                Committee re mediation.

 08/06/2021   KBD     ME        Telephone conference with J. Anderson regarding        0.10       1195.00          $119.50
                                mediation.

 08/06/2021   KBD     ME        Participate in call w/Jones Day regarding mediation    0.60       1195.00          $717.00
                                matters.

 08/06/2021   KBD     ME        Review correspondence regarding mediation.             0.20       1195.00          $239.00
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 08/06/2021   BMM     ME        Participate in call with Debtor's counsel regarding    0.60        695.00       $417.00
                                mediator selection.

 08/06/2021   KHB     ME        Emails from B. Michael and letters from insurance      0.30      1225.00        $367.50
                                counsel re selection of mediators.

 08/09/2021   JIS     ME        Call with B. Michael and K. Dine regarding             0.20      1345.00        $269.00
                                mediation process.

 08/09/2021   KBD     ME        Call w/J. Stang and B. Michael regarding mediation     0.20      1195.00        $239.00
                                process.

 08/09/2021   BMM     ME        Call with K. Dine and J. Stang regarding mediator      0.20        695.00       $139.00
                                selection.

 08/09/2021   KHB     ME        Emails from B. Michael re status conference on         0.20      1225.00        $245.00
                                selection of mediator (.1); confer with J. Stang re
                                same (.1).

 08/13/2021   NPL     ME        Review mediation status conference transcript.         0.30        460.00       $138.00

 08/16/2021   KBD     ME        Review LMI motion regarding proofs of claim.           0.20      1195.00        $239.00

 08/16/2021   KBD     ME        Review issues for mediation/mediation statement.       0.80      1195.00        $956.00

 08/17/2021   KBD     ME        Review correspondence among PSZJ and with Jones        0.30      1195.00        $358.50
                                Day regarding mediation matters.

 08/17/2021   BMM     ME        Review insurers' proposed mediators.                   0.30        695.00       $208.50

 08/18/2021   KBD     ME        Correspondence to/from mediation candidates.           0.20      1195.00        $239.00

 08/18/2021   KBD     ME        Correspondence among PSZJ team relating to             0.20      1195.00        $239.00
                                mediation candidates/issues.

 08/18/2021   KBD     ME        Telephone conference with P. Von Osselaer              0.10      1195.00        $119.50
                                regarding mediation.

 08/20/2021   KBD     ME        Correspondence to/from PSZJ team and mediation         0.30      1195.00        $358.50
                                candidates regarding mediation process.

 08/23/2021   KBD     ME        Correspondence to/from mediator candidates             0.30      1195.00        $358.50
                                regarding interviews and information.

 08/23/2021   BMM     ME        Schedule interviews with mediator candidates.          0.30        695.00       $208.50

 08/23/2021   BMM     ME        Update mediator chart.                                 0.30        695.00       $208.50

 08/23/2021   BMM     ME        Call with K. Dine regarding mediator interviews and    0.60        695.00       $417.00
                                other case matters.

 08/23/2021   BMM     ME        Update mediator chart (.1) and send same to            0.20        695.00       $139.00
                                Committee (.1).
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 08/26/2021   IAWN ME           Telephone conference w/ Committee re mediator           1.40       1145.00         $1,603.00
                                interviews.

 08/27/2021   KBD     ME        Call w/PSZJ and Jones Day team regarding                0.70       1195.00          $836.50
                                mediation candidates.

 08/27/2021   BMM     ME        Call with Debtor's counsel regarding mediator           0.70         695.00         $486.50
                                selection.

 08/30/2021   IAWN ME           Review emails from J. Merson and P. Mones re            0.10       1145.00          $114.50
                                mediator candidates.

 08/31/2021   KBD     ME        Correspondence among counsel for insurers,              0.30       1195.00          $358.50
                                Diocese and Committee regarding mediation.

                                                                                        13.70                     $14,021.00

  Mtgs/Conf w/ Case Prof.
 08/04/2021   KBD     MF        Call w/Jones Day and B. Michael regarding               0.30       1195.00          $358.50
                                outstanding matters.

 08/04/2021   KBD     MF        Prepare for Jones Day call.                             0.20       1195.00          $239.00

 08/04/2021   BMM     MF        Call with Debtor's counsel regarding ongoing case       0.30         695.00         $208.50
                                issues.

 08/06/2021   JIS     MF        Call with Debtor's counsel regarding case status.       0.50       1345.00          $672.50

 08/11/2021   KBD     MF        Call w/B. Michael, A. Butler and E. Stephens            0.20       1195.00          $239.00
                                regarding outstanding issues.

 08/11/2021   BMM     MF        Call with Debtor's counsel regarding ongoing case       0.20         695.00         $139.00
                                issues.

 08/18/2021   JIS     MF        Call with Debtor re process for mediator interviews,    0.60       1345.00          $807.00
                                modification of bar date order, claims.

 08/18/2021   KBD     MF        Prepare for call w/Jones Day regarding outstanding      0.10       1195.00          $119.50
                                matters.

 08/18/2021   KBD     MF        Call w/Jones Day, B. Michael and J. Stang regarding     0.60       1195.00          $717.00
                                outstanding issues.

 08/18/2021   BMM     MF        Call with Debtor's counsel regarding ongoing case       0.60         695.00         $417.00
                                issues.

 08/25/2021   KBD     MF        Prepare for call w/Jones Day on outstanding matters.    0.10       1195.00          $119.50

 08/25/2021   KBD     MF        Call w/Jones Day, J. Stang and B. Michael regarding     0.30       1195.00          $358.50
                                outstanding matters.

 08/30/2021   KBD     MF        Review correspondence from Jones Day regarding          0.10       1195.00          $119.50
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                                bank account.

                                                                                         4.10                     $4,514.50

  Monthly Fee Statements
 08/02/2021   NPL     MFA       Finalize certificate of no objection to PSZJ amended    0.20         460.00         $92.00
                                monthly fee statement.

 08/06/2021   NPL     MFA       Email communications with B. Horn of Burns              0.20         460.00         $92.00
                                Bowen & Bair regarding monthly fee statements.

 08/11/2021   DHH     MFA       Review/edit PSZJ July monthly statement.                1.70         395.00        $671.50

 08/12/2021   DHH     MFA       Review/edit PSZJ July monthly statement.                0.60         395.00        $237.00

 08/12/2021   BMM     MFA       Revise July monthly fee statement.                      1.90         695.00       $1,320.50

 08/13/2021   DHH     MFA       Review/edit PSZJ July monthly statement.                0.70         395.00        $276.50

 08/13/2021   BMM     MFA       Revise PSZJ July monthly fee statement.                 0.80         695.00        $556.00

 08/16/2021   DHH     MFA       Review/edit PSZJ July monthly statement.                0.50         395.00        $197.50

 08/16/2021   KBD     MFA       Revisions to monthly fee statement.                     0.60       1195.00         $717.00

 08/17/2021   DHH     MFA       Review/edit PSZJ July monthly statement.                0.30         395.00        $118.50

 08/17/2021   NPL     MFA       Draft certificate of no objection regarding             0.30         460.00        $138.00
                                Committee professionals monthly fee statements.

 08/17/2021   NPL     MFA       Email communications with B. Michael regarding          0.10         460.00         $46.00
                                certificate of no objection to Committee
                                professionals monthly fee statements.

 08/18/2021   DHH     MFA       Prepare PSZJ seventh monthly fee statement.             0.80         395.00        $316.00

 08/19/2021   DHH     MFA       Emails to/from accounting and B. Michael regarding      0.70         395.00        $276.50
                                corrections to PSZJ July fee statement (.5); update
                                PSZJ seventh monthly fee statement (.2).

 08/27/2021   NPL     MFA       Email communications with B. Michael regarding          0.10         460.00         $46.00
                                monthly fee statements for committee professionals.

 08/27/2021   NPL     MFA       Final edits to seventh monthly fee statement of         0.30         460.00        $138.00
                                PSZJ.

 08/27/2021   NPL     MFA       Final edits to ninth monthly fee statement for Burns    0.30         460.00        $138.00
                                Bowen Bair.

 08/27/2021   NPL     MFA       Prepare certificate of service regarding monthly fee    0.20         460.00         $92.00
                                statements for Committee professionals.

 08/27/2021   NPL     MFA       Draft email to Jones Day regarding monthly fee          0.10         460.00         $46.00
     20-12345-scc        Doc 848
                             767       Filed 11/15/21
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                                                                                       Hours            Rate      Amount
                                statements for Committee professionals.
 08/27/2021   NPL     MFA       Draft email to US Trustee regarding monthly fee         0.10         460.00         $46.00
                                statements for Committee professionals.

 08/27/2021   NPL     MFA       Email communications with M. Kulick regarding           0.10         460.00         $46.00
                                updated service list regarding monthly fee
                                statements for Committee professionals.

                                                                                        10.60                     $5,607.00

  Open Court Hearing
 08/09/2021   JIS     OPH       Attend hearing regarding mediation.                     0.70       1345.00         $941.50

 08/09/2021   GSG     OPH       Attend status conference re mediation and mediator      0.70         950.00        $665.00
                                selection.

 08/09/2021   KBD     OPH       Prepare for hearing regarding mediation.                0.20       1195.00         $239.00

 08/09/2021   KBD     OPH       Participate in court hearing.                           0.70       1195.00         $836.50

 08/09/2021   BMM     OPH       Participate in hearing regarding mediation status.      0.70         695.00        $486.50

 08/10/2021   NPL     OPH       Email communications with B. Anavin regarding           0.20         460.00         $92.00
                                transcript status for hearing on mediation.

 08/18/2021   JIS     OPH       Review pleadings from Committee and Debtor in           3.10       1345.00        $4,169.50
                                preparation for hearing on commingling issues.

 08/19/2021   JIS     OPH       Attend hearing regarding Parish discovery regarding     0.70       1345.00         $941.50
                                commingling.

 08/19/2021   JIS     OPH       Follow up call with PSZJ and BRG from parish            0.50       1345.00         $672.50
                                discovery hearing on next discovery steps.

 08/19/2021   JIS     OPH       Final preparation for hearing on parish discovery       1.10       1345.00        $1,479.50
                                action relating to commingling.

 08/19/2021   GSG     OPH       Telephonically attend hearing re parish discovery re    0.70         950.00        $665.00
                                Unitas in connection with pursuit of adversary
                                proceedings.

 08/19/2021   KBD     OPH       Participate in hearing relating to discovery matters    0.70       1195.00         $836.50

 08/19/2021   KBD     OPH       Follow up w/M. Babcock, R. Strong, J. Stang and B.      0.50       1195.00         $597.50
                                Michael after hearing regarding next steps

 08/19/2021   BMM     OPH       Prepare for 8/19 hearing.                               0.30         695.00        $208.50

 08/19/2021   BMM     OPH       Participate in hearing on Unitas.                       0.70         695.00        $486.50

 08/19/2021   BMM     OPH       Post-hearing discussion with BRG/PSZJ team.             0.50         695.00        $347.50
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                             767       Filed 11/15/21
                                             09/30/21 Entered 11/15/21
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                                                                                      Hours            Rate        Amount

 08/20/2021   NPL     OPH       Prepare counsel for mediation status conference        0.20         460.00          $92.00
                                regarding parish discovery.

 08/23/2021   JIS     OPH       Attend hearing re mediator selection status.           0.30       1345.00          $403.50

 08/23/2021   KBD     OPH       Prepare for hearing regarding case status.             0.10       1195.00          $119.50

 08/23/2021   KBD     OPH       Participate in court hearing regarding status.         0.30       1195.00          $358.50

 08/23/2021   KBD     OPH       Telephone conference with J. Stang to follow-up on     0.10       1195.00          $119.50
                                matters from hearing.

 08/23/2021   KBD     OPH       Follow-up from hearing w/B. Michael.                   0.40       1195.00          $478.00

 08/23/2021   BMM     OPH       Participate in status conference regarding mediator    0.30         695.00         $208.50
                                selection.

 08/23/2021   BMM     OPH       Draft hearing summary for the Committee.               0.30         695.00         $208.50

                                                                                       14.00                     $15,653.00

  Preliminary Injunction
 08/26/2021   KBD     PINJ      Review draft stipulation regarding preliminary         0.20       1195.00          $239.00
                                injunction.

                                                                                        0.20                       $239.00

  Public Notice
 08/11/2021   IAWN PNTC         Review LMI motion for proof of claims.                 0.30       1145.00          $343.50

 08/11/2021   BMM     PNTC      Review LMI motion regarding proof of claims for        0.30         695.00         $208.50
                                insurance implications.

 08/12/2021   BMM     PNTC      Call with Debtor's counsel regarding proof of claim    0.20         695.00         $139.00
                                access.

 08/13/2021   BMM     PNTC      Email to PSZJ team regarding proposed change to        0.50         695.00         $347.50
                                Bar Date order.

 08/16/2021   BMM     PNTC      Review and revise debtor's proposed changes to bar     0.90         695.00         $625.50
                                date order language.

 08/19/2021   KBD     PNTC      Call w/Jones Day regarding Bar Date Order              0.40       1195.00          $478.00
                                language.

 08/19/2021   KBD     PNTC      Follow-up regarding Bar Date Order language w/B.       0.30       1195.00          $358.50
                                Michael.

 08/19/2021   KBD     PNTC      Follow-up regarding Bar Date Order language w/J.       0.10       1195.00          $119.50
                                Stang.
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 08/19/2021   JIS     PNTC      Call with Debtor regarding modifications to bar date    0.30       1345.00         $403.50
                                order.

 08/19/2021   BMM     PNTC      Call with Debtor's counsel regarding bar date order     0.30         695.00        $208.50
                                language.

 08/19/2021   BMM     PNTC      Call with K. Dine regarding bar date language and       0.30         695.00        $208.50
                                other case issues.

 08/23/2021   KBD     PNTC      Review motion and correspondence relating to Bar        0.30       1195.00         $358.50
                                Date Order amendment

 08/23/2021   BMM     PNTC      Call with K. Dine regarding motion to modify bar        0.80         695.00        $556.00
                                date order.

 08/23/2021   BMM     PNTC      Review Debtor's motion to modify bar date order.        0.30         695.00        $208.50

 08/24/2021   BMM     PNTC      Call with J. Bair regarding LMI proofs of claim         0.30         695.00        $208.50
                                motion.

 08/24/2021   IAWN PNTC         Review Blair Berringer emails re proof of claim         0.10       1145.00         $114.50
                                access for Arrowood.

 08/24/2021   KBD     PNTC      Review joinder regarding review of proofs of claim.     0.10       1195.00         $119.50

 08/24/2021   KBD     PNTC      Review correspondence regarding production of           0.10       1195.00         $119.50
                                claims to insurers.

 08/27/2021   KBD     PNTC      Call w/A. Burke of Nassau District Attorney's office    0.40       1195.00         $478.00
                                and B. Michael regarding claim reporting.

 08/27/2021   BMM     PNTC      Call with A. Burke of Nassau DA's office and K.         0.40         695.00        $278.00
                                Dine regarding Debtor's bar date motion.

 08/27/2021   BMM     PNTC      Calls with K. Dine regarding Debtor's bar date          0.90         695.00        $625.50
                                motion and conversation with DA's office.

 08/27/2021   BMM     PNTC      Draft revised proposed language for Debtor's bar        0.50         695.00        $347.50
                                date order motion.

                                                                                         8.10                     $6,854.50

  State Court Litigation
 08/24/2021   BMM     SCL       Emails to SCC regarding parish lawsuits.                1.50         695.00       $1,042.50

 08/25/2021   BMM     SCL       Compile schedule of parish lawsuits.                    1.00         695.00        $695.00

 08/25/2021   BMM     SCL       Communications with state court counsel regarding       1.40         695.00        $973.00
                                parish lawsuits.

 08/26/2021   BMM     SCL       Communications with state court counsel regarding       1.10         695.00        $764.50
                                parish lawsuits.
     20-12345-scc        Doc 848
                             767       Filed 11/15/21
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                                                                                       Hours            Rate      Amount

 08/26/2021   BMM     SCL       Analyze lawsuits against parishes and other             4.50         695.00       $3,127.50
                                affiliates.

                                                                                         9.50                     $6,602.50

  Seminary Transfers
 08/03/2021   GSG     SEM       Review common interest and seminary stipulation         0.20         950.00        $190.00
                                redlines.

 08/03/2021   GSG     SEM       Review email re financials and confidentiality.         0.10         950.00         $95.00

 08/03/2021   BMM     SEM       Communications with PSZJ team regarding                 0.30         695.00        $208.50
                                seminary financial documents.

 08/10/2021   KHB     SEM       Emails from/to B. Michael re transmission of            0.20       1225.00         $245.00
                                stipulation to Debtor and seminary re no transfer of
                                seminary property.

 08/10/2021   BMM     SEM       Call with RMF and R. Tollner regarding seminary         0.60         695.00        $417.00
                                property.

 08/19/2021   JIS     SEM       Call with Committee professionals re seminary           0.80       1345.00        $1,076.00
                                settlement concepts.

 08/19/2021   KHB     SEM       Call with J. Stang, K. Dine, B. Michael and real        0.80       1225.00         $980.00
                                estate advisor re counteroffer re settlement of
                                Seminary Fraudulent Transfer Action.

 08/19/2021   KBD     SEM       Call w/special real estate counsel and PSZJ team        0.80       1195.00         $956.00
                                regarding seminary matters

 08/19/2021   KBD     SEM       Follow-up regarding seminary matters w/B.               0.20       1195.00         $239.00
                                Michael.

 08/19/2021   BMM     SEM       Call with C. Murray, K. Brown, K. Dine, and J.          0.80         695.00        $556.00
                                Stang regarding seminary property.

 08/19/2021   BMM     SEM       Call with K. Dine regarding seminary counter-offer.     0.20         695.00        $139.00

 08/20/2021   BMM     SEM       Draft seminary counter-proposal.                        0.70         695.00        $486.50

 08/23/2021   KHB     SEM       Email from B. Rosenblum re stipulation concerning       0.10       1225.00         $122.50
                                Seminary property.

 08/27/2021   KBD     SEM       Review correspondence relating to seminary              0.10       1195.00         $119.50
                                stipulation.

 08/27/2021   BMM     SEM       Emails to Diocese, Seminary, and PSZJ regarding         0.30         695.00        $208.50
                                seminary stipulation.

                                                                                         6.20                     $6,038.50
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  TOTAL SERVICES FOR THIS MATTER:                                                             $331,429.00
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 Expenses
 07/08/2021   CC         Conference Call [E105] Court Solutions, K. Dine               70.00
 07/14/2021   CC         Conference Call [E105] Court Solutions, K. Dine               70.00
 07/29/2021   CC         Conference Call [E105] Court Solutions, K. Dine               70.00
 08/02/2021   PO         LA Postage to end of August                                   14.40
 08/02/2021   RE         ( 36 @0.20 PER PG)                                             7.20
 08/02/2021   RE         ( 480 @0.20 PER PG)                                           96.00
 08/02/2021   RE         Reproduction Expense. [E101]                                   1.40
 08/02/2021   RE         Reproduction Expense. [E101]                                   1.60
 08/02/2021   RE         Reproduction Expense. [E101]                                   0.30
 08/02/2021   RE         Reproduction Expense. [E101]                                   6.50
 08/02/2021   RE         Reproduction Expense. [E101]                                   0.30
 08/03/2021   FE         18491.00002 FedEx Charges for 08-03-21                        45.29
 08/03/2021   FE         18491.00002 FedEx Charges for 08-03-21                        50.66
 08/03/2021   FE         18491.00002 FedEx Charges for 08-03-21                        46.80
 08/03/2021   FE         18491.00002 FedEx Charges for 08-03-21                        37.95
 08/03/2021   FE         18491.00002 FedEx Charges for 08-03-21                        29.43
 08/03/2021   FE         18491.00002 FedEx Charges for 08-03-21                        21.72
 08/03/2021   FE         18491.00002 FedEx Charges for 08-03-21                        21.72
 08/03/2021   FE         18491.00002 FedEx Charges for 08-03-21                        26.14
 08/03/2021   RE         Reproduction Expense. [E101]                                   0.20
 08/03/2021   RE         Reproduction Expense. [E101]                                   0.20
 08/03/2021   RE         Reproduction Expense. [E101]                                   0.20
 08/03/2021   RE         Reproduction Expense. [E101]                                   0.20
 08/03/2021   RE         Reproduction Expense. [E101]                                   0.20
 08/03/2021   RE         Reproduction Expense. [E101]                                   1.80
 08/03/2021   RE         Reproduction Expense. [E101]                                 219.60
 08/03/2021   RE         Reproduction Expense. [E101]                                   0.20
 08/03/2021   RE         Reproduction Expense. [E101]                                   0.20
 08/03/2021   RE         Reproduction Expense. [E101]                                   0.20
 08/03/2021   RE         Reproduction Expense. [E101]                                   0.20
 08/03/2021   RE         Reproduction Expense. [E101]                                   0.10
 08/09/2021   CC         Conference Call [E105] CourtSolutions LLC, BMM                70.00
     20-12345-scc        Doc 848
                             767       Filed 11/15/21
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 08/11/2021   LN         18491.00002 Lexis Charges for 08-11-21                         14.47
 08/11/2021   LN         18491.00002 Lexis Charges for 08-11-21                         35.60
 08/12/2021   LN         18491.00002 Lexis Charges for 08-12-21                          7.53
 08/12/2021   LN         18491.00002 Lexis Charges for 08-12-21                          4.04
 08/13/2021   LN         18491.00002 Lexis Charges for 08-13-21                         37.70
 08/17/2021   FE         18491.00002 FedEx Charges for 08-17-21                         19.33
 08/17/2021   LN         18491.00002 Lexis Charges for 08-17-21                          7.53
 08/17/2021   RE         Reproduction Expense. [E101]                                    0.20
 08/17/2021   RE         Reproduction Expense. [E101]                                    9.50
 08/17/2021   RE         Reproduction Expense. [E101]                                    1.50
 08/17/2021   RE         Reproduction Expense. [E101]                                    0.80
 08/17/2021   RE         Reproduction Expense. [E101]                                   23.50
 08/18/2021   LN         18491.00002 Lexis Charges for 08-18-21                         37.70
 08/19/2021   CC         Conference Call [E105] CourtSolutions LLC, BMM                 70.00
 08/19/2021   CC         Conference Call [E105] CourtSolutions LLC, BMM                 70.00
 08/19/2021   CC         Conference Call [E105]CourtSolutions LLC, BMM                  70.00
 08/19/2021   LN         18491.00002 Lexis Charges for 08-19-21                         22.61
 08/23/2021   CC         Conference Call [E105] CourtSolutions LLC, BMM                 70.00
 08/23/2021   LN         18491.00002 Lexis Charges for 08-23-21                         15.22
 08/24/2021   LN         18491.00002 Lexis Charges for 08-24-21                         12.62
 08/27/2021   LN         18491.00002 Lexis Charges for 08-27-21                         33.95
 08/27/2021   PO         LA Postage to end of August                                     5.40
 08/27/2021   RE         ( 156 @0.20 PER PG)                                            31.20
 08/27/2021   RE         Reproduction Expense. [E101]                                    0.70
 08/27/2021   RE         Reproduction Expense. [E101]                                    0.10
 08/27/2021   RE         Reproduction Expense. [E101]                                    4.50
 08/30/2021   AT         Auto Travel Expense [E109] Taxi, BMM                           40.00
 08/30/2021   BB         18491.00002 Bloomberg Charges through 08-30-21                106.10
 08/30/2021   BM         Business Meal [E111] Starbuck's (working meal) BMM              8.49
 08/30/2021   BM         Business Meal [E111] Papa Joe's (snack)BMM                      3.71
 08/30/2021   BM         Business Meal [E111] Oh My Darling, working meal, BMM         112.88
 08/30/2021   HT         Hotel Expense [E110] Hotel Skyler Tapestry, 2 nights, BMM     371.31
 08/31/2021   AT         Auto Travel Expense [E109] Uber Transportation Services,       31.01
                         BMM
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                             767       Filed 11/15/21
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 08/31/2021   BM         Business Meal [E111] Recess Downtown, working meal,            9.48
                         BMM
 08/31/2021   RS         Research [E106] Everlaw Inc. Inv. 44534                    3,234.00
 08/31/2021   PAC        Pacer - Court Research                                         4.80

   Total Expenses for this Matter                                               $5,438.19
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        08/31/2021

Total Fees                                                                                           $331,429.00

Total Expenses                                                                                              5,438.19

Total Due on Current Invoice                                                                         $336,867.19

  Outstanding Balance from prior invoices as of        08/31/2021          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 127263                   01/31/2021               $239,884.00           $2,506.31                      $9,566.14

 127463                   02/28/2021               $151,283.50             $879.50                    $30,256.50

 127564                   03/31/2021               $214,968.50           $5,003.65                    $42,993.70

 127762                   04/30/2021               $390,224.50           $7,613.85                    $78,044.90

 128137                   05/31/2021               $715,301.00           $5,319.79                   $143,060.20

 128215                   06/30/2021               $259,929.00           $5,265.05                    $51,985.80

 128300                   07/31/2021               $243,748.00           $5,412.72                   $249,160.72

             Total Amount Due on Current and Prior Invoices:                                         $941,935.15
      20-12345-scc      Doc 848
                            807    Filed 11/15/21
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                                  Pachulski Stang Ziehl & Jones LLP
                                          10100 Santa Monica Blvd.
                                                 13th Floor
                                           Los Angeles, CA 90067
                                                                      October 12, 2021
JIS                                                                   Invoice 128659
                                                                      Client   18491
                                                                      Matter   00002
                                                                               JIS

RE: Committee Representation



         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 09/30/2021
               FEES                                                   $340,555.50
               EXPENSES                                                 $4,013.98
               TOTAL CURRENT CHARGES                                  $344,569.48

               BALANCE FORWARD                                        $941,935.15
               LAST PAYMENT                                           $200,411.12
               TOTAL BALANCE DUE                                     $1,086,093.51
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                               807   Filed 11/15/21
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Diocese of Rockville Ctr. OCC                                                      Prebill#287406
18491 - 00002                                                                      October 12, 2021




  Summary of Services by Professional
  ID        Name                               Title                 Rate           Hours               Amount
 BA         Anavim, Bernadette                 Legal Assistant      460.00          17.00             $7,820.00

 BDD        Dassa, Beth D.                     Paralegal            460.00           2.70             $1,242.00

 BMM        Michael, Brittany M.               Counsel              695.00         119.30         $82,913.50

 DHH        Hinojosa, Diane H.                 Paralegal            395.00          72.40         $28,598.00

 GSG        Greenwood, Gail S.                 Counsel              950.00          30.20         $28,690.00

 IAWN       Nasatir, Iain A. W.                Partner             1145.00           4.30             $4,923.50

 IDS        Scharf, Ilan D.                    Partner              895.00           1.80             $1,611.00

 JIS        Stang, James I.                    Partner             1345.00          13.40         $18,023.00

 KBD        Dine, Karen B.                     Counsel             1195.00          59.00         $70,505.00

 KHB        Brown, Kenneth H.                  Partner             1225.00          28.10         $34,422.50

 LAF        Forrester, Leslie A.               Other                475.00           0.80              $380.00

 MK         Kulick, Myra                       Other                395.00          56.10         $22,159.50

 NHB        Brown, Nancy H.                    Other                395.00          14.00             $5,530.00

 NPL        Lockwood, Nancy P. F.              Paralegal            460.00          18.30             $8,418.00

 SLL        Lee, Sophia L.                     Other                395.00          64.10         $25,319.50

                                                                                  501.50          $340,555.50
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  Summary of Services by Task Code
  Task Code         Description                                               Hours                         Amount

 CA                 Case Administration [B110]                                  9.10                       $4,647.50

 CEM                Cemetery Transfers                                         54.40                      $57,149.00

 CPO                Comp. of Prof./Others                                       2.80                       $2,506.00

 CREV               Claims Review                                             253.30                  $114,844.50

 CRF                CmteDisc Reqs- Finance/Govern                              19.70                      $16,491.50

 CRP                CmteDisc Reqs - Parishes                                    0.80                       $1,076.00

 DCVA               Cmte Disc Reqs - CVA                                        1.00                        $695.00

 EAPPS              Employment Appls                                            1.90                       $1,825.50

 IAC                IAC/Affiliate Transactions                                  8.40                       $8,649.00

 IFA                Interim Fee Applications                                    3.20                       $1,472.00

 IL                 Insurance Litigation                                        6.60                       $6,617.50

 MCC                Mtgs/Conf w/Client                                         22.70                      $23,261.50

 ME                 Mediation                                                  15.70                      $15,176.50

 MF                 Mtgs/Conf w/ Case Prof.                                     6.30                       $5,773.50

 MFA                Monthly Fee Statements                                     12.00                       $6,573.50

 OPH                Open Court Hearing                                          6.40                       $6,513.00

 PD                 Plan & Disclosure Stmt. [B320]                              3.40                       $2,989.50

 PINJ               Preliminary Injunction                                      1.10                       $1,076.50

 PNTC               Public Notice                                              16.70                      $15,273.00

 SCL                State Court Litigation                                     19.00                      $11,885.00

 SEM                Seminary Transfers                                         37.00                      $36,060.00

                                                                              501.50                  $340,555.50
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  Summary of Expenses
  Description                                                                                  Amount
Bloomberg                                                                                      $12.00
Conference Call [E105]                                                                        $210.00
Lexis/Nexis- Legal Research [E                                                                $249.76
Pacer - Court Research                                                                          $6.80
Postage [E108]                                                                                 $12.12
Reproduction Expense [E101]                                                                    $11.20
Reproduction/ Scan Copy                                                                       $204.90
Research [E106]                                                                             $3,234.00
Transcript [E116]                                                                              $73.20

                                                                                            $4,013.98
         20-12345-scc      Doc 848
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                                                                                           Hours            Rate        Amount
  Case Administration [B110]
 NPL          09/01/2021              CA                  0.30            0.30         460.00                          138.00
  Bill

 09/01/2021    NPL      CA      Prepare certificate of no objection regarding July           0.30        460.00          $138.00
                                monthly fee statements of PSZJ and Burns Bowen
                                Bair.
 NPL          09/02/2021              CA                  1.30            1.30         460.00                          598.00
  Bill

 09/02/2021    NPL      CA      Update critical date memorandum.                             1.30        460.00          $598.00
 NPL          09/02/2021              CA                  0.10            0.10         460.00                           46.00
  Bill

 09/02/2021    NPL      CA      Draft email to J. Stang, K. Dine and B. Michael              0.10        460.00           $46.00
                                regarding updated critical date memorandum.
 NPL          09/03/2021              CA                  0.40            0.40         460.00                          184.00
  Bill

 09/03/2021    NPL      CA      Further updates to weekly critical date                      0.40        460.00          $184.00
                                memorandum.
 NPL          09/03/2021              CA                  0.30            0.30         460.00                          138.00
  Bill

 09/03/2021    NPL      CA      Draft email to B. Dassa regarding case status.               0.30        460.00          $138.00
 NPL          09/03/2021              CA                  0.10            0.10         460.00                           46.00
  Bill

 09/03/2021    NPL      CA      Edits to certificate of no objection regarding July          0.10        460.00           $46.00
                                monthly fee statements.
 KBD          09/08/2021              CA                  0.50            0.50        1,195.00                         597.50
  Bill

 09/08/2021    KBD      CA      Telephone conference with B. Michael regarding               0.50      1195.00           $597.50
                                outstanding matters.
 BDD          09/09/2021              CA                  1.30            1.30         460.00                          598.00
  Bill

 09/09/2021    BDD      CA      Review docket re updated critical dates memo (.5);           1.30        460.00          $598.00
                                update critical dates memo (.6); attend to
                                calendaring matters (.1); email PSZJ team re
                                updated critical dates memo (.1).
         20-12345-scc      Doc 848
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                                                                                         Hours            Rate        Amount
 BMM          09/10/2021              CA                 0.40         0.40            695.00                         278.00
  Bill

 09/10/2021    BMM      CA      Review critical dates memorandum and upcoming              0.40        695.00          $278.00
                                deadlines.
 BDD          09/10/2021              CA                 0.10         0.10            460.00                          46.00
  Bill

 09/10/2021    BDD      CA      Email B. Michael re CNO for PSZJ & Burns Bowen             0.10        460.00           $46.00
                                Bair's July monthly fee statements
 BDD          09/13/2021              CA                 0.20         0.20            460.00                          92.00
  Bill

 09/13/2021    BDD      CA      Revisions to CNO re PSZJ and Burns Bowen Bair's            0.20        460.00           $92.00
                                July monthly fee statements and email B. Michael re
                                same
 BDD          09/15/2021              CA                 0.10         0.10            460.00                          46.00
  Bill

 09/15/2021    BDD      CA      Email B. Michael re CNO for PSZJ & Burns Bowen             0.10        460.00           $46.00
                                Bair's July monthly fee statements
 BDD          09/15/2021              CA                 0.10         0.10            460.00                          46.00
  Bill

 09/15/2021    BDD      CA      Review/research filed COS re PSZJ and Burns                0.10        460.00           $46.00
                                Bowen Bair's July monthly fee statements and email
                                B. Michael re same
 BDD          09/15/2021              CA                 0.10         0.10            460.00                          46.00
  Bill

 09/15/2021    BDD      CA      Email N. Lockwood re service of PSZJ & Bowen               0.10        460.00           $46.00
                                Bair's July monthly fee statement
 BDD          09/15/2021              CA                 0.10         0.10            460.00                          46.00
  Bill

 09/15/2021    BDD      CA      Email N. Lockwood re CNO re PSZJ & Bowen                   0.10        460.00           $46.00
                                Bair's July monthly fee statements
 BDD          09/17/2021              CA                 0.50         0.50            460.00                         230.00
  Bill

 09/17/2021    BDD      CA      Review docket and update critical dates memo (.4);         0.50        460.00          $230.00
                                email PSZJ team re same (.1)
 BDD          09/21/2021              CA                 0.10         0.10            460.00                          46.00
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                                                                                               Hours            Rate        Amount
  Bill

 09/21/2021    BDD      CA      Email N. Lockwood re critical dates                              0.10        460.00           $46.00
 NPL          09/22/2021              CA                   1.30          1.30              460.00                          598.00
  Bill

 09/22/2021    NPL      CA      Update critical date memorandum.                                 1.30        460.00          $598.00
 NPL          09/24/2021              CA                   0.20          0.20              460.00                           92.00
  Bill

 09/24/2021    NPL      CA      Continued update weekly critical date memorandum.                0.20        460.00           $92.00
 NPL          09/29/2021              CA                   0.80          0.80              460.00                          368.00
  Bill

 09/29/2021    NPL      CA      Update weekly critical date memorandum.                          0.80        460.00          $368.00
 NPL          09/30/2021              CA                   0.10          0.10              460.00                           46.00
  Bill

 09/30/2021    NPL      CA      Update service list regarding monthly fee                        0.10        460.00           $46.00
                                statements.
 NPL          09/30/2021              CA                   0.70          0.70              460.00                          322.00
  Bill

 09/30/2021    NPL      CA      Continued updates to weekly critical dates                       0.70        460.00          $322.00
                                memorandum.
                                                                                                 9.10                      $4,647.50

  Cemetery Transfers
 KBD          09/01/2021              CEM                  0.60          0.60             1,195.00                         717.00
  Bill

 09/01/2021    KBD      CEM     Analyze information relating to Cemetery transfer                0.60      1195.00           $717.00
                                and claims.
 KBD          09/02/2021              CEM                  0.50          0.50             1,195.00                         597.50
  Bill

 09/02/2021    KBD      CEM     Correspondence among parties regarding cemetery                  0.50      1195.00           $597.50
                                proposal and next steps.
 KHB          09/03/2021              CEM                  1.10          1.10             1,225.00                     1,347.50
  Bill

 09/03/2021    KHB      CEM     Prepare for call re settlement proposal (.3); call with          1.10      1225.00         $1,347.50
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                                                                                            Hours            Rate        Amount
                                J. Stang, K. Dine, B. Michael, Matt Babcock and G.
                                Greenwood re settlement proposal (.8).
 GSG          09/03/2021              CEM                  0.80           0.80          950.00                          760.00
  Bill

 09/03/2021    GSG      CEM     Conference call with K. Brown, J. Stang, B.                   0.80        950.00          $760.00
                                Michael, K. Dine re cemetery transfers, proposed
                                settlement, and open issues.
 GSG          09/03/2021              CEM                  0.20           0.20          950.00                          190.00
  Bill

 09/03/2021    GSG      CEM     Review database documents re cemetery transfers.              0.20        950.00          $190.00
 GSG          09/03/2021              CEM                  0.60           0.60          950.00                          570.00
  Bill

 09/03/2021    GSG      CEM     Review IAC Report and footnotes re cemetery                   0.60        950.00          $570.00
                                transfers, burial contracts, and financial reports.
 KBD          09/03/2021              CEM                  0.10           0.10         1,195.00                         119.50
  Bill

 09/03/2021    KBD      CEM     Correspondence among parties regarding call                   0.10      1195.00           $119.50
                                relating to cemetery proposal.
 KBD          09/03/2021              CEM                  0.40           0.40         1,195.00                         478.00
  Bill

 09/03/2021    KBD      CEM     Analyze issues relating to cemetery transfer.                 0.40      1195.00           $478.00
 KBD          09/03/2021              CEM                  1.00           1.00        11,958.00                     11,958.00
  Bill

 09/03/2021    KBD      CEM     Call w/PSZJ and BRG regarding cemetery proposal.              0.80      1195.00           $956.00
 BMM          09/03/2021              CEM                  0.20           0.20          695.00                          139.00
  Bill

 09/03/2021    BMM      CEM     Review cemetery documents.                                    0.20        695.00          $139.00
 BMM          09/03/2021              CEM                  1.00           1.00          695.00                          695.00
  Bill

 09/03/2021    BMM      CEM     Meeting with PSZJ/BRG team regarding cemetery                 0.80        695.00          $556.00
                                transfer.
         20-12345-scc      Doc 848
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                                                                                            Hours            Rate        Amount
 JIS          09/03/2021              CEM                0.50          0.50            1,345.00                         672.50
  Bill

 09/03/2021    JIS      CEM     (Partial) Call with PSZJ team regarding cemetery              0.50      1345.00           $672.50
                                issues.
 KHB          09/06/2021              CEM                2.30          2.30            1,225.00                     2,817.50
  Bill

 09/06/2021    KHB      CEM     Evaluate Debtor's cemetery settlement offer and               2.30      1225.00         $2,817.50
                                review IAC report re same.
 KHB          09/07/2021              CEM                3.80          3.80            1,225.00                     4,655.00
  Bill

 09/07/2021    KHB      CEM     Review letter from counsel from Cem Co to Jones               3.80      1225.00         $4,655.00
                                Day requesting discovery (.3); emails with J. Stang
                                and B. Michael re same (.2); evaluate claims against
                                CemCo and Cemetery Trust and alleged defenses
                                (2.6); work on complaint (.7).
 GSG          09/07/2021              CEM                1.20          1.20             950.00                      1,140.00
  Bill

 09/07/2021    GSG      CEM     Review burial contracts and Anchin study re                   1.20        950.00        $1,140.00
                                perpetual maintenance.
 GSG          09/07/2021              CEM                0.20          0.20             950.00                          190.00
  Bill

 09/07/2021    GSG      CEM     Confer with K. Brown re cemetery transfer issues.             0.20        950.00          $190.00
 GSG          09/07/2021              CEM                1.30          1.30             950.00                      1,235.00
  Bill

 09/07/2021    GSG      CEM     Search database and review documents re cemetery              1.30        950.00        $1,235.00
                                rules and regulations.
 GSG          09/07/2021              CEM                1.40          1.40             950.00                      1,330.00
  Bill

 09/07/2021    GSG      CEM     Review financial statements/notes and cemetery sale           1.40        950.00        $1,330.00
                                documents re transfers.
 GSG          09/07/2021              CEM                2.80          2.80             950.00                      2,660.00
  Bill

 09/07/2021    GSG      CEM     Research/review cases re fraudulent transfer                  2.80        950.00        $2,660.00
                                avoidance and benefits/burdens.
 GSG          09/07/2021              CEM                0.30          0.30             950.00                          285.00
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  Bill

 09/07/2021    GSG      CEM     Outline research conclusions re nature of cemetery            0.30        950.00          $285.00
                                obligations and avoidance claims.
 BMM          09/07/2021              CEM                0.10          0.10             695.00                           69.50
  Bill

 09/07/2021    BMM      CEM     Emails to Diocese, Cemetery, and PSZJ regarding               0.10        695.00           $69.50
                                meeting scheduling.
 KHB          09/08/2021              CEM                3.70          3.70            1,225.00                     4,532.50
  Bill

 09/08/2021    KHB      CEM     Review recent developments on RFRA and                        3.70      1225.00         $4,532.50
                                Religious Liberty issues (.6); work on Complaint
                                (1.7); analyze and evaluate settlement proposal from
                                Debtor (.6); review IAC report and exhibits
                                reevaluation of settlement proposal (.8).
 GSG          09/08/2021              CEM                0.90          0.90             950.00                          855.00
  Bill

 09/08/2021    GSG      CEM     Research/review cases re net effect of cemetery               0.90        950.00          $855.00
                                transfers.
 GSG          09/08/2021              CEM                0.20          0.20             950.00                          190.00
  Bill

 09/08/2021    GSG      CEM     Review K. Brown revisions to draft cemetery                   0.20        950.00          $190.00
                                complaint.
 GSG          09/08/2021              CEM                5.90          5.90             950.00                      5,605.00
  Bill

 09/08/2021    GSG      CEM     Draft memo re nature of cemetery maintenance                  5.90        950.00        $5,605.00
                                obligations.
 GSG          09/08/2021              CEM                0.20          0.20             950.00                          190.00
  Bill

 09/08/2021    GSG      CEM     Email team re draft memo and cemetery conference              0.20        950.00          $190.00
                                call.
 KBD          09/08/2021              CEM                0.20          0.20            1,195.00                         239.00
  Bill

 09/08/2021    KBD      CEM     Review correspondence among PSZJ and BRG                      0.20      1195.00           $239.00
                                teams regarding matters relating to cemetery
                                transfer.
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                                                                                           Hours            Rate        Amount
 JIS          09/09/2021              CEM                 0.10          0.10          1,345.00                         134.50
  Bill

 09/09/2021    JIS      CEM     Call with K. Brown re issues raised in call with             0.10      1345.00           $134.50
                                Cemetery counsel re exchange of information.
 KHB          09/09/2021              CEM                 1.30          1.30          1,225.00                     1,592.50
  Bill

 09/09/2021    KHB      CEM     Prepare for call with Cemetery Counsel and Jones             1.30      1225.00         $1,592.50
                                Day (.4); call with counsel for Cemetery Corp and
                                Jones Day re disclosure of documents and IAC
                                report requests (.5); confer with J. Stang re same
                                (.1); confer with K. Dine re same (.1); emails with
                                B. Michael re further communications with Jones
                                Day and Special Mediator re IAC report (.2).
 GSG          09/09/2021              CEM                 0.50          0.50           950.00                          475.00
  Bill

 09/09/2021    GSG      CEM     Conference call among PSZJ team, Debtor's counsel,           0.50        950.00          $475.00
                                and cemetery counsel re settlement discussions.
 GSG          09/09/2021              CEM                 0.70          0.70           950.00                          665.00
  Bill

 09/09/2021    GSG      CEM     Review and revise draft Cemetery complaint re trust          0.70        950.00          $665.00
                                issue.
 GSG          09/09/2021              CEM                 0.20          0.20           950.00                          190.00
  Bill

 09/09/2021    GSG      CEM     Prepare blackline of cemetery complaint and email            0.20        950.00          $190.00
                                K. Brown re same.
 GSG          09/09/2021              CEM                 0.90          0.90           950.00                          855.00
  Bill

 09/09/2021    GSG      CEM     Review Anchin report and Cemetery Corp.                      0.90        950.00          $855.00
                                financials re expenses and revenue.
 GSG          09/09/2021              CEM                 0.80          0.80           950.00                          760.00
  Bill

 09/09/2021    GSG      CEM     Draft memo re nature of cemetery maintenance                 0.80        950.00          $760.00
                                obligations.
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                                                                                          Hours            Rate        Amount
 KBD          09/09/2021              CEM                0.50         0.50           1,195.00                         597.50
  Bill

 09/09/2021    KBD      CEM     Call w/Jones Day, counsel for Cemetery Corp,                0.50      1195.00           $597.50
                                special mediator, counsel for special mediator and
                                PSZJ regarding next steps with respect to cemetery
                                transfer.
 KBD          09/09/2021              CEM                0.10         0.10           1,195.00                         119.50
  Bill

 09/09/2021    KBD      CEM     Call w/K. Brown regarding providing information to          0.10      1195.00           $119.50
                                counsel for Cemetery Corp.
 KBD          09/09/2021              CEM                0.10         0.10           1,195.00                         119.50
  Bill

 09/09/2021    KBD      CEM     Follow-up call regarding Cemetery w/B. Michael              0.10      1195.00           $119.50
 KBD          09/09/2021              CEM                0.10         0.10           1,195.00                         119.50
  Bill

 09/09/2021    KBD      CEM     Correspondence relating to cemetery issues among            0.10      1195.00           $119.50
                                PSZJ team.
 BMM          09/09/2021              CEM                0.50         0.50            695.00                          347.50
  Bill

 09/09/2021    BMM      CEM     Call with Debtor, Cemetery, and Committee                   0.50        695.00          $347.50
                                regarding document production and settlement.
 BMM          09/09/2021              CEM                0.40         0.40            695.00                          278.00
  Bill

 09/09/2021    BMM      CEM     Follow-up communications with PSZJ team and                 0.40        695.00          $278.00
                                Jones Day from Cemetery meeting.
 KHB          09/10/2021              CEM                0.40         0.40           1,225.00                         490.00
  Bill

 09/10/2021    KHB      CEM     Revise cemetery complaint.                                  0.40      1225.00           $490.00
 GSG          09/10/2021              CEM                3.80         3.80            950.00                      3,610.00
  Bill

 09/10/2021    GSG      CEM     Draft memo re cemetery maintenance obligations              3.80        950.00        $3,610.00
                                and legal analysis.
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                                                                                             Hours            Rate        Amount
 KBD          09/10/2021              CEM                 0.40         0.40             1,195.00                         478.00
  Bill

 09/10/2021    KBD      CEM     Revise draft complaint regarding cemetery transfer             0.40      1195.00           $478.00
 KHB          09/13/2021              CEM                 1.30         1.30             1,225.00                     1,592.50
  Bill

 09/13/2021    KHB      CEM     Analyze reports on perpetual cemetery maintenance              1.30      1225.00         $1,592.50
                                obligations in source of legal obligations.
 KBD          09/13/2021              CEM                 0.20         0.20             1,195.00                         239.00
  Bill

 09/13/2021    KBD      CEM     Review revisions to complaint with respect to                  0.20      1195.00           $239.00
                                Cemetery.
 BMM          09/13/2021              CEM                 1.10         1.10              695.00                          764.50
  Bill

 09/13/2021    BMM      CEM     Revise draft cemetery complaint.                               1.10        695.00          $764.50
 BMM          09/13/2021              CEM                 1.20         1.20              695.00                          834.00
  Bill

 09/13/2021    BMM      CEM     Further revisions to cemetery complaint.                       1.20        695.00          $834.00
 KHB          09/14/2021              CEM                 1.70         1.70             1,225.00                     2,082.50
  Bill

 09/14/2021    KHB      CEM     Call with Special Mediator and Jones Day re                    1.70      1225.00         $2,082.50
                                Cemetery Corp. discovery requests, production of
                                documents and redacted portions of IAC report (.8);
                                review email from E. Stephens re document
                                production and transmission of redacted portions of
                                IAC report (.4); emails with B. Michael re same (.2);
                                review revisions to common interest agreement (.3).
 KBD          09/14/2021              CEM                 0.20         0.20             1,195.00                         239.00
  Bill

 09/14/2021    KBD      CEM     Correspondence among PSZJ and Jones Day                        0.20      1195.00           $239.00
                                regarding documents relating to cemetery transfer
 KBD          09/14/2021              CEM                 0.70         0.70             1,195.00                         836.50
  Bill

 09/14/2021    KBD      CEM     Analyze documents relating to cemetery transfer                0.70      1195.00           $836.50
 BMM          09/14/2021              CEM                 0.80         0.80              695.00                          556.00
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                            Hours            Rate        Amount
  Bill

 09/14/2021    BMM      CEM     Review redacted IAC report for transmission to                0.80        695.00          $556.00
                                Cemetery.
 KBD          09/14/2021              CEM                0.30         0.30             1,195.00                         358.50
  Bill

 09/14/2021    KBD      CEM     Review proposed redactions to IAC report.                     0.30      1195.00           $358.50
 KBD          09/15/2021              CEM                0.20         0.20             1,195.00                         239.00
  Bill

 09/15/2021    KBD      CEM     Review correspondence among PSZJ team relating                0.20      1195.00           $239.00
                                to cemetery complaint and documentation.
 BMM          09/15/2021              CEM                0.10         0.10              695.00                           69.50
  Bill

 09/15/2021    BMM      CEM     Revise draft cemetery complaint and email same to             0.10        695.00           $69.50
                                PSZJ team.
 KBD          09/19/2021              CEM                1.00         1.00             1,195.00                     1,195.00
  Bill

 09/19/2021    KBD      CEM     Analysis of documents and pleadings relating to               1.00      1195.00         $1,195.00
                                Cemetery transfer.
 GSG          09/20/2021              CEM                0.50         0.50              950.00                          475.00
  Bill

 09/20/2021    GSG      CEM     Review Cemetery Complaint, declassified                       0.50        950.00          $475.00
                                documents, and redacted IAC report re documents to
                                be provided to Cemetery Corp.
 KHB          09/22/2021              CEM                0.60         0.60             1,225.00                         735.00
  Bill

 09/22/2021    KHB      CEM     Emails with B. Michael and J. Stang and Frank                 0.60      1225.00           $735.00
                                Oswald re transmission of IAC report and exhibits to
                                Cemetery Corp. (.3); review emails and attachments
                                from E. Stephens re IAC report and exhibits (.3).
 KHB          09/29/2021              CEM                0.40         0.40             1,225.00                         490.00
  Bill

 09/29/2021    KHB      CEM     Emails with counsel for Debtor and Cemetery Corp.             0.40      1225.00           $490.00
                                re obtaining Cemetery Corp. docs provided to IAC
                                (.2); emails with B. Michael re same (.2).
 KBD          09/29/2021              CEM                0.20         0.20             1,195.00                         239.00
         20-12345-scc      Doc 848
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                                                                                              Hours            Rate         Amount
  Bill

 09/29/2021    KBD      CEM     Review correspondence among PSZJ team,                          0.20      1195.00           $239.00
                                Cemetery counsel and Jones Day regarding
                                discovery related to Cemetery.
 KHB          09/30/2021              CEM                 1.10          1.10             1,225.00                     1,347.50
  Bill

 09/30/2021    KHB      CEM     Emails from E. Stephens re protective order (.1);               1.10      1225.00          $1,347.50
                                status call with Special Mediator (.7); emails with G.
                                Greenwood re revisions to Cemetery Complaint (.3).
 GSG          09/30/2021              CEM                 0.60          0.60              950.00                          570.00
  Bill

 09/30/2021    GSG      CEM     Review email and revise cemetery complaint per                  0.60        950.00          $570.00
                                IAC report.
 KBD          09/30/2021              CEM                 0.10          0.10             1,195.00                         119.50
  Bill

 09/30/2021    KBD      CEM     Correspondence among Jones Day and counsel for                  0.10      1195.00           $119.50
                                Cemetery.
 KBD          09/30/2021              CEM                 0.20          0.20             1,195.00                         239.00
  Bill

 09/30/2021    KBD      CEM     Review correspondence among PSZJ team regarding                 0.20      1195.00           $239.00
                                Seminary complaint.
                                                                                               54.40                      $57,149.00

  Comp. of Prof./Others
 KBD          09/03/2021              CPO                 0.40          0.40             1,195.00                         478.00
  Bill

 09/03/2021    KBD      CPO     Analyze issues relating to Morningstar w/B. Michael             0.40      1195.00           $478.00
                                (for part)
 BMM          09/03/2021              CPO                 0.30          0.30              695.00                          208.50
  Bill

 09/03/2021    BMM      CPO     Discuss Morningstar Star Initiative counteroffer with           0.40        695.00          $278.00
                                K. Dine.
 BMM          09/03/2021              CPO                 0.60          0.60              695.00                          417.00
  Bill

 09/03/2021    BMM      CPO     Review Debtor’s professionals fee statements.                   0.60        695.00          $417.00
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                           Hours            Rate        Amount
 BMM          09/03/2021              CPO                0.30         0.30             695.00                          208.50
  Bill

 09/03/2021    BMM      CPO     Review Debtor’s professionals fee statements.                0.30        695.00          $208.50
 BMM          09/09/2021              CPO                0.30         0.30             695.00                          208.50
  Bill

 09/09/2021    BMM      CPO     Review Debtor’s professionals fee statements.                0.30        695.00          $208.50
 IAWN         09/21/2021              CPO                0.80         0.80            1,145.00                         916.00
  Bill

 09/21/2021    IAWN CPO         Review Reed Smith fee application                            0.80      1145.00           $916.00
                                                                                             2.80                      $2,506.00

  Claims Review
 MK           09/01/2021              CREV               2.20         2.20             395.00                          869.00
  Bill

 09/01/2021    MK       CREV    Redact personal identifying information from sexual          2.20        395.00          $869.00
                                abuse claims.
 BA           09/01/2021              CREV               3.00         3.00             460.00                      1,380.00
  Bill

 09/01/2021    BA       CREV    Redact personal identifying information from sexual          3.00        460.00        $1,380.00
                                abuse claims.
 MK           09/02/2021              CREV               1.30         1.30             395.00                          513.50
  Bill

 09/02/2021    MK       CREV    Redact personal identifying information from sexual          1.30        395.00          $513.50
                                abuse claims.
 MK           09/02/2021              CREV               3.00         3.00             395.00                      1,185.00
  Bill

 09/02/2021    MK       CREV    Redact personal identifying information from sexual          3.00        395.00        $1,185.00
                                abuse claims.
 DHH          09/02/2021              CREV               3.20         3.20             395.00                      1,264.00
  Bill

 09/02/2021    DHH      CREV    Review and chart filed sexual abuse claims.                  3.20        395.00        $1,264.00
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                         Hours            Rate        Amount
 MK           09/03/2021              CREV               1.80         1.80            395.00                         711.00
  Bill

 09/03/2021    MK       CREV    Redact personal identifying information from sexual        1.80        395.00          $711.00
                                abuse claims.
 MK           09/03/2021              CREV               0.90         0.90            395.00                         355.50
  Bill

 09/03/2021    MK       CREV    Redact personal identifying information from sexual        0.90        395.00          $355.50
                                abuse claims.
 DHH          09/03/2021              CREV               3.50         3.50            395.00                     1,382.50
  Bill

 09/03/2021    DHH      CREV    Review and chart filed sexual abuse claims.                3.50        395.00        $1,382.50
 BA           09/08/2021              CREV               1.00         1.00            460.00                         460.00
  Bill

 09/08/2021    BA       CREV    Redact personal identifying information from sexual        1.00        460.00          $460.00
                                abuse claims.
 BMM          09/08/2021              CREV               3.00         3.00            695.00                     2,085.00
  Bill

 09/08/2021    BMM      CREV    Review claims and revise chart of claims.                  3.00        695.00        $2,085.00
 MK           09/09/2021              CREV               0.60         0.60            395.00                         237.00
  Bill

 09/09/2021    MK       CREV    Redact personal identifying information from sexual        0.60        395.00          $237.00
                                abuse claims.
 DHH          09/09/2021              CREV               1.20         1.20            395.00                         474.00
  Bill

 09/09/2021    DHH      CREV    Review and chart filed sexual abuse claims.                1.20        395.00          $474.00
 BA           09/09/2021              CREV               1.00         1.00            460.00                         460.00
  Bill

 09/09/2021    BA       CREV    Redact personal identifying information from sexual        1.00        460.00          $460.00
                                abuse claims.
 MK           09/10/2021              CREV               5.00         5.00            395.00                     1,975.00
  Bill

 09/10/2021    MK       CREV    Redact personal identifying information from sexual        5.00        395.00        $1,975.00
                                abuse claims.
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                                                                                         Hours            Rate        Amount
 DHH          09/10/2021              CREV               4.20           4.20          395.00                     1,659.00
  Bill

 09/10/2021    DHH      CREV    Review and chart filed sexual abuse claims.                4.20        395.00        $1,659.00
 BA           09/10/2021              CREV               2.00           2.00          460.00                         920.00
  Bill

 09/10/2021    BA       CREV    Redact personal identifying information from sexual        2.00        460.00          $920.00
                                abuse claims.
 BMM          09/10/2021              CREV               2.80           2.80          695.00                     1,946.00
  Bill

 09/10/2021    BMM      CREV    Review claims and revise chart of claims.                  2.80        695.00        $1,946.00
 SLL          09/13/2021              CREV               3.20           3.20          395.00                     1,264.00
  Bill

 09/13/2021    SLL      CREV    Review and chart sex abuse claims.                         3.20        395.00        $1,264.00
 MK           09/13/2021              CREV               0.60           0.60          395.00                         237.00
  Bill

 09/13/2021    MK       CREV    Redact personal identifying information from sexual        0.60        395.00          $237.00
                                abuse claims.
 MK           09/13/2021              CREV               1.70           1.70          395.00                         671.50
  Bill

 09/13/2021    MK       CREV    Redact personal identifying information from sexual        1.70        395.00          $671.50
                                abuse claims.
 DHH          09/13/2021              CREV               5.30           5.30          395.00                     2,093.50
  Bill

 09/13/2021    DHH      CREV    Review and chart filed sexual abuse claims.                5.30        395.00        $2,093.50
 BMM          09/13/2021              CREV               1.40           1.40          695.00                         973.00
  Bill

 09/13/2021    BMM      CREV    Review claims and revise chart of claims.                  1.40        695.00          $973.00
 NHB          09/14/2021              CREV               3.00           3.00          395.00                     1,185.00
  Bill

 09/14/2021    NHB      CREV    Review and chart sexual abuse claims.                      3.00        395.00        $1,185.00
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                                                                                         Hours            Rate        Amount
 SLL          09/14/2021              CREV               4.00           4.00          395.00                     1,580.00
  Bill

 09/14/2021    SLL      CREV    Review and chart sexual abuse claims.                      4.00        395.00        $1,580.00
 MK           09/14/2021              CREV               2.30           2.30          395.00                         908.50
  Bill

 09/14/2021    MK       CREV    Redact personal identifying information from sexual        2.30        395.00          $908.50
                                abuse claims.
 MK           09/14/2021              CREV               1.70           1.70          395.00                         671.50
  Bill

 09/14/2021    MK       CREV    Redact personal identifying information from sexual        1.70        395.00          $671.50
                                abuse claims.
 MK           09/14/2021              CREV               0.80           0.80          395.00                         316.00
  Bill

 09/14/2021    MK       CREV    Redact personal identifying information from sexual        0.80        395.00          $316.00
                                abuse claims.
 MK           09/14/2021              CREV               1.60           1.60          395.00                         632.00
  Bill

 09/14/2021    MK       CREV    Redact personal identifying information from sexual        1.60        395.00          $632.00
                                abuse claims.
 DHH          09/14/2021              CREV               3.30           3.30          395.00                     1,303.50
  Bill

 09/14/2021    DHH      CREV    Review and chart filed sexual abuse claims.                3.30        395.00        $1,303.50
 BA           09/14/2021              CREV               0.50           0.50          460.00                         230.00
  Bill

 09/14/2021    BA       CREV    Redact personal identifying information from sexual        0.50        460.00          $230.00
                                abuse claims.
 NHB          09/15/2021              CREV               3.00           3.00          395.00                     1,185.00
  Bill

 09/15/2021    NHB      CREV    Review and chart sexual abuse claims.                      3.00        395.00        $1,185.00
 SLL          09/15/2021              CREV               3.00           3.00          395.00                     1,185.00
  Bill

 09/15/2021    SLL      CREV    Review and chart sexual abuse claims.                      3.00        395.00        $1,185.00
 MK           09/15/2021              CREV               3.90           3.90          395.00                     1,540.50
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                                                                                         Hours            Rate        Amount
  Bill

 09/15/2021    MK       CREV    Redact personal indentifying information from              3.90        395.00        $1,540.50
                                sexual abuse claims.
 MK           09/15/2021              CREV               1.90           1.90          395.00                         750.50
  Bill

 09/15/2021    MK       CREV    Redact personal identifying information from sexual        1.90        395.00          $750.50
                                abuse claims.
 DHH          09/15/2021              CREV               5.00           5.00          395.00                     1,975.00
  Bill

 09/15/2021    DHH      CREV    Review and chart filed sexual abuse claims.                5.00        395.00        $1,975.00
 BA           09/15/2021              CREV               3.00           3.00          460.00                     1,380.00
  Bill

 09/15/2021    BA       CREV    Redact personal identifying information from sexual        3.00        460.00        $1,380.00
                                abuse claims.
 BMM          09/15/2021              CREV               1.00           1.00          695.00                         695.00
  Bill

 09/15/2021    BMM      CREV    Review sexual abuse claims and revise chart.               1.00        695.00          $695.00
 NHB          09/16/2021              CREV               4.00           4.00          395.00                     1,580.00
  Bill

 09/16/2021    NHB      CREV    Review and chart sexual abuse claims.                      4.00        395.00        $1,580.00
 SLL          09/16/2021              CREV               4.50           4.50          395.00                     1,777.50
  Bill

 09/16/2021    SLL      CREV    Review and chart sexual abuse claims.                      4.50        395.00        $1,777.50
 DHH          09/16/2021              CREV               4.80           4.80          395.00                     1,896.00
  Bill

 09/16/2021    DHH      CREV    Review and chart filed sexual abuse claims.                4.80        395.00        $1,896.00
 SLL          09/17/2021              CREV               4.00           4.00          395.00                     1,580.00
  Bill

 09/17/2021    SLL      CREV    Review and chart sex abuse claims.                         4.00        395.00        $1,580.00
 DHH          09/17/2021              CREV               4.80           4.80          395.00                     1,896.00
  Bill

 09/17/2021    DHH      CREV    Review and chart filed sexual abuse claims.                4.80        395.00        $1,896.00
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 BA           09/17/2021              CREV               0.30         0.30             460.00                          138.00
  Bill

 09/17/2021    BA       CREV    Redact personal identifying information from sexual          0.30        460.00          $138.00
                                abuse claims.
 SLL          09/20/2021              CREV               5.00         5.00             395.00                      1,975.00
  Bill

 09/20/2021    SLL      CREV    Review and chart sex abuse claims.                           5.00        395.00        $1,975.00
 MK           09/20/2021              CREV               0.70         0.70             395.00                          276.50
  Bill

 09/20/2021    MK       CREV    Redact personal identifying information from sexual          0.70        395.00          $276.50
                                abuse claims.
 DHH          09/20/2021              CREV               5.40         5.40             395.00                      2,133.00
  Bill

 09/20/2021    DHH      CREV    Review and chart filed sexual abuse claims.                  5.40        395.00        $2,133.00
 BMM          09/20/2021              CREV               2.30         2.30             695.00                      1,598.50
  Bill

 09/20/2021    BMM      CREV    Review sexual abuse claims and revise chart.                 2.30        695.00        $1,598.50
 SLL          09/21/2021              CREV               5.50         5.50             395.00                      2,172.50
  Bill

 09/21/2021    SLL      CREV    Review and chart sex abuse claims.                           5.50        395.00        $2,172.50
 MK           09/21/2021              CREV               2.40         2.40             395.00                          948.00
 Bill

 09/21/2021    MK       CREV    Redact personal identifying information from sexual          2.40        395.00          $948.00
                                abuse claims.
 KBD          09/21/2021              CREV               0.70         0.70            1,195.00                         836.50
  Bill

 09/21/2021    KBD      CREV    Analyze claims filed.                                        0.70      1195.00           $836.50
 BMM          09/21/2021              CREV               2.00         2.00             695.00                      1,390.00
  Bill

 09/21/2021    BMM      CREV    Review sexual abuse claims and revise chart.                 2.00        695.00        $1,390.00
         20-12345-scc      Doc 848
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                                                                                         Hours            Rate        Amount
 SLL          09/22/2021              CREV               5.00         5.00            395.00                     1,975.00
  Bill

 09/22/2021    SLL      CREV    Review and chart sex abuse claims.                         5.00        395.00        $1,975.00
 NPL          09/22/2021              CREV               0.10         0.10            460.00                          46.00
  Bill

 09/22/2021    NPL      CREV    Review entered orders on claim objections.                 0.10        460.00           $46.00
 MK           09/22/2021              CREV               0.70         0.70            395.00                         276.50
  Bill

 09/22/2021    MK       CREV    Redact personal identifying information from sexual        0.70        395.00          $276.50
                                abuse claims.
 MK           09/22/2021              CREV               0.30         0.30            395.00                         118.50
  Bill

 09/22/2021    MK       CREV    Redact personal identifying information from sexual        0.30        395.00          $118.50
                                abuse claims.
 MK           09/22/2021              CREV               1.10         1.10            395.00                         434.50
  Bill

 09/22/2021    MK       CREV    Redact personal identifying information from sexual        1.10        395.00          $434.50
                                abuse claims.
 MK           09/22/2021              CREV               0.90         0.90            395.00                         355.50
  Bill

 09/22/2021    MK       CREV    Redact personal identifying information from sexual        0.90        395.00          $355.50
                                abuse claims.
 DHH          09/22/2021              CREV               6.20         6.20            395.00                     2,449.00
  Bill

 09/22/2021    DHH      CREV    Review and chart filed sexual abuse claims.                6.20        395.00        $2,449.00
 BA           09/22/2021              CREV               0.20         0.20            460.00                          92.00
  Bill

 09/22/2021    BA       CREV    Redact personal identifying information from sexual        0.20        460.00           $92.00
                                abuse claims.
 SLL          09/23/2021              CREV               5.50         5.50            395.00                     2,172.50
  Bill

 09/23/2021    SLL      CREV    Review and chart sex abuse claims.                         5.50        395.00        $2,172.50
 MK           09/23/2021              CREV               1.70         1.70            395.00                         671.50
         20-12345-scc      Doc 848
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                                                                                         Hours            Rate        Amount
  Bill

 09/23/2021    MK       CREV    Redact personal identifying information from sexual        1.70        395.00          $671.50
                                abuse claims
 MK           09/23/2021              CREV               0.40          0.40           395.00                         158.00
  Bill

 09/23/2021    MK       CREV    Redact personal identifying information from sexual        0.40        395.00          $158.00
                                abuse claims.
 MK           09/23/2021              CREV               2.40          2.40           395.00                         948.00
  Bill

 09/23/2021    MK       CREV    Begin redacting personal identifying information           2.40        395.00          $948.00
                                from sexual abuse claims (partial 245 page claim).
 DHH          09/23/2021              CREV               2.10          2.10           395.00                         829.50
  Bill

 09/23/2021    DHH      CREV    Review and chart filed sexual abuse claims.                2.10        395.00          $829.50
 BA           09/23/2021              CREV               1.00          1.00           460.00                         460.00
  Bill

 09/23/2021    BA       CREV    Redact personal identifying information from sexual        1.00        460.00          $460.00
                                abuse claims.
 BMM          09/23/2021              CREV               0.50          0.50           695.00                         347.50
  Bill

 09/23/2021    BMM      CREV    E-mail to Debtor's counsel regarding proof of claim        0.50        695.00          $347.50
                                access.
 SLL          09/24/2021              CREV               5.50          5.50           395.00                     2,172.50
  Bill

 09/24/2021    SLL      CREV    Review and chart sex abuse claims.                         5.50        395.00        $2,172.50
 MK           09/24/2021              CREV               2.10          2.10           395.00                         829.50
  Bill

 09/24/2021    MK       CREV    Redact personal identifying information from sexual        2.10        395.00          $829.50
                                abuse claims.
 BMM          09/24/2021              CREV               3.60          3.60           695.00                     2,502.00
  Bill

 09/24/2021    BMM      CREV    Review sexual abuse claims and revise chart.               3.60        695.00        $2,502.00
 NHB          09/27/2021              CREV               1.50          1.50           395.00                         592.50
         20-12345-scc      Doc 848
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  Bill

 09/27/2021    NHB      CREV    Review and chart confiidential sexual abuse claims.          1.50        395.00          $592.50
 SLL          09/27/2021              CREV                  3.50      3.50             395.00                      1,382.50
  Bill

 09/27/2021    SLL      CREV    Review and chart sex abuse claims.                           3.50        395.00        $1,382.50
 MK           09/27/2021              CREV                  1.30      1.30             395.00                          513.50
  Bill

 09/27/2021    MK       CREV    Redact personal identifying information from sexual          1.30        395.00          $513.50
                                abuse claims.
 MK           09/27/2021              CREV                  0.70      0.70             395.00                          276.50
  Bill

 09/27/2021    MK       CREV    Redact personal identifying information from sexual          0.70        395.00          $276.50
                                abuse claims.
 MK           09/27/2021              CREV                  1.80      1.80             395.00                          711.00
  Bill

 09/27/2021    MK       CREV    Redact personal identifying information from sexual          1.80        395.00          $711.00
                                abuse claims.
 NPL          09/27/2021              CREV                  0.20      0.20             460.00                           92.00
  Bill

 09/27/2021    NPL      CREV    Email communications with S. Lee regarding                   0.20        460.00           $92.00
                                updated abuse proof of claims.
 NPL          09/27/2021              CREV                  1.20      1.20             460.00                          552.00
  Bill

 09/27/2021    NPL      CREV    Review updated abuse claims.                                 1.20        460.00          $552.00
 NPL          09/27/2021              CREV                  0.10      0.10             460.00                           46.00
  Bill

 09/27/2021    NPL      CREV    Email communications with D. Hinojosa regarding              0.10        460.00           $46.00
                                abuse claim review.
 KBD          09/27/2021              CREV                  0.30      0.30            1,195.00                         358.50
  Bill

 09/27/2021    KBD      CREV    Analysis of claims chart.                                    0.30      1195.00           $358.50
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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 BMM          09/27/2021              CREV               1.40           1.40           695.00                          973.00
  Bill

 09/27/2021    BMM      CREV    Review sexual abuse claims and revise chart.                 1.40        695.00          $973.00
 SLL          09/28/2021              CREV               5.50           5.50           395.00                      2,172.50
  Bill

 09/28/2021    SLL      CREV    Review and chart sex abuse claims.                           5.50        395.00        $2,172.50
 BMM          09/28/2021              CREV               0.30           0.30           695.00                          208.50
  Bill

 09/28/2021    BMM      CREV    Review sexual abuse claims and revise chart.                 0.30        695.00          $208.50
 MK           09/28/2021              CREV               3.30           3.30           395.00                      1,303.50
  Bill

 09/28/2021    MK       CREV    Redact personal identifying information from sexual          3.30        395.00        $1,303.50
                                abuse claims.
 MK           09/28/2021              CREV               0.70           0.70           395.00                          276.50
  Bill

 09/28/2021    MK       CREV    Redact personal identifying information from sexual          0.70        395.00          $276.50
                                abuse claims.
 DHH          09/28/2021              CREV               5.20           5.20           395.00                      2,054.00
  Bill

 09/28/2021    DHH      CREV    Review and chart filed sexual abuse claims.                  5.20        395.00        $2,054.00
 BA           09/28/2021              CREV               2.00           2.00           460.00                          920.00
  Bill

 09/28/2021    BA       CREV    Redact personal identifying information from sexual          2.00        460.00          $920.00
                                abuse claims.
 KBD          09/28/2021              CREV               2.30           2.30          1,195.00                     2,748.50
  Bill

 09/28/2021    KBD      CREV    Review claims chart and filed claims.                        2.30      1195.00         $2,748.50
 BMM          09/28/2021              CREV               2.30           2.30           695.00                      1,598.50
  Bill

 09/28/2021    BMM      CREV    Review sexual abuse claims and revise chart.                 2.30        695.00        $1,598.50
         20-12345-scc      Doc 848
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                                                                                           Hours            Rate        Amount
 NHB          09/29/2021              CREV               2.50           2.50           395.00                          987.50
  Bill

 09/29/2021    NHB      CREV    Review and chart sexual abuse claims.                        2.50        395.00          $987.50
 SLL          09/29/2021              CREV               5.00           5.00           395.00                      1,975.00
  Bill

 09/29/2021    SLL      CREV    Review and chart sexual abuse claims.                        5.00        395.00        $1,975.00
 MK           09/29/2021              CREV               0.40           0.40           395.00                          158.00
  Bill

 09/29/2021    MK       CREV    Redact personal identifying information from sexual          0.40        395.00          $158.00
                                abuse claims.
 MK           09/29/2021              CREV               0.80           0.80           395.00                          316.00
  Bill

 09/29/2021    MK       CREV    Redact personal identifying information from sexual          0.80        395.00          $316.00
                                abuse claims.
 MK           09/29/2021              CREV               0.90           0.90           395.00                          355.50
  Bill

 09/29/2021    MK       CREV    Redact personal identifying information from sexual          0.90        395.00          $355.50
                                abuse claims.
 DHH          09/29/2021              CREV               4.80           4.80           395.00                      1,896.00
  Bill

 09/29/2021    DHH      CREV    Review and chart filed sexual abuse claims.                  4.80        395.00        $1,896.00
 NPL          09/29/2021              CREV               0.30           0.30           460.00                          138.00
  Bill

 09/29/2021    NPL      CREV    Email communications with S. Lee regarding update            0.30        460.00          $138.00
                                abuse proof of claims.
 NPL          09/29/2021              CREV               0.50           0.50           460.00                          230.00
  Bill

 09/29/2021    NPL      CREV    Review updated abuse proof of claims.                        0.50        460.00          $230.00
 BA           09/29/2021              CREV               1.00           1.00           460.00                          460.00
  Bill

 09/29/2021    BA       CREV    Redact personal identifying information from sexual          1.00        460.00          $460.00
                                abuse claims.
 KBD          09/29/2021              CREV               1.00           1.00          1,195.00                     1,195.00
         20-12345-scc      Doc 848
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  Bill

 09/29/2021    KBD      CREV    Call w/B. Michael regarding outstanding issues               1.00      1195.00         $1,195.00
                                regarding proofs of claims.
                                .
 KBD          09/29/2021              CREV                1.00          1.00          1,195.00                     1,195.00
  Bill

 09/29/2021    KBD      CREV    Review proofs of claim.                                      1.00      1195.00         $1,195.00
 BMM          09/29/2021              CREV                4.00          4.00           695.00                      2,780.00
  Bill

 09/29/2021    BMM      CREV    Review sexual abuse claims and revise chart.                 4.00        695.00        $2,780.00
 BMM          09/29/2021              CREV                1.30          1.30           695.00                          903.50
  Bill

 09/29/2021    BMM      CREV    Review sexual abuse claims and revise chart.                 1.30        695.00          $903.50
 SLL          09/30/2021              CREV                4.50          4.50           395.00                      1,777.50
  Bill

 09/30/2021    SLL      CREV    Review and chart sexual abuse claims.                        4.50        395.00        $1,777.50
 MK           09/30/2021              CREV                2.60          2.60           395.00                      1,027.00
  Bill

 09/30/2021    MK       CREV    Redact personal identifying information from sexual          2.60        395.00        $1,027.00
                                abuse claims.
 MK           09/30/2021              CREV                0.20          0.20           395.00                           79.00
  Bill

 09/30/2021    MK       CREV    Redact personal identifying information from sexual          0.20        395.00           $79.00
                                abuse claims.
 MK           09/30/2021              CREV                1.40          1.40           395.00                          553.00
  Bill

 09/30/2021    MK       CREV    Redact personal identifying information from sexual          1.40        395.00          $553.00
                                abuse claims.
 DHH          09/30/2021              CREV                5.50          5.50           395.00                      2,172.50
  Bill

 09/30/2021    DHH      CREV    Review and chart filed sexual abuse claims.                  5.50        395.00        $2,172.50
         20-12345-scc      Doc 848
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                                                                                           Hours            Rate        Amount
 BA           09/30/2021              CREV               2.00          2.00            460.00                          920.00
  Bill

 09/30/2021    BA       CREV    Redact personal identifying information from sexual          2.00        460.00          $920.00
                                abuse claims.
 KBD          09/30/2021              CREV               0.40          0.40           1,195.00                         478.00
  Bill

 09/30/2021    KBD      CREV    Review proofs of claim and related chart.                    0.40      1195.00           $478.00
 BMM          09/30/2021              CREV               4.00          4.00            695.00                      2,780.00
  Bill

 09/30/2021    BMM      CREV    Review sexual abuse claims and revise chart.                 4.00        695.00        $2,780.00
                                                                                           253.30                  $114,844.50

  CmteDisc Reqs- Finance/Govern
 BMM          07/06/2021              CRF                0.50          0.50            695.00                          347.50
  Bill

 07/06/2021    BMM      CRF     Call with K. Dine regarding discovery status.                0.50        695.00          $347.50
 KBD          09/03/2021              CRF                0.50          0.50           1,195.00                         597.50
  Bill

 09/03/2021    KBD      CRF     Call with M. Babcock, R. Strong, and B. Michael              0.50      1195.00           $597.50
                                regarding financial discovery.
 BMM          09/03/2021              CRF                0.40          0.40            695.00                          278.00
  Bill

 09/03/2021    BMM      CRF     Meeting with K. Dine, M. Babcock, and R. Strong              0.50        695.00          $347.50
                                regarding Unitas discovery.
 BMM          09/07/2021              CRF                0.30          0.30            695.00                          208.50
  Bill

 09/07/2021    BMM      CRF     E-mail to SCC regarding discovery issues.                    0.30        695.00          $208.50
 BMM          09/07/2021              CRF                0.40          0.40            695.00                          278.00
  Bill

 09/07/2021    BMM      CRF     Meeting with Jones Day regarding document                    0.40        695.00          $278.00
                                production.
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 BMM          09/13/2021              CRF               1.00          1.00        695.00                          695.00
  Bill

 09/13/2021    BMM      CRF     Review documents produced related to Debtor's           1.00        695.00          $695.00
                                assets.
 KBD          09/14/2021              CRF               0.20          0.20       1,195.00                         239.00
  Bill

 09/14/2021    KBD      CRF     Call w/Jones Day and B. Michael regarding               0.20      1195.00           $239.00
                                outstanding discovery matters.
 BMM          09/14/2021              CRF               2.60          2.60        695.00                      1,807.00
  Bill

 09/14/2021    BMM      CRF     Review documents produced related to Debtor's           2.60        695.00        $1,807.00
                                assets.
 BMM          09/14/2021              CRF               1.20          1.20        695.00                          834.00
  Bill

 09/14/2021    BMM      CRF     Review documents produced related to Debtor's           1.20        695.00          $834.00
                                assets.
 BMM          09/14/2021              CRF               1.20          1.20        695.00                          834.00
  Bill

 09/14/2021    BMM      CRF     Meeting with Jones Day regarding document               0.20        695.00          $139.00
                                production.
 BMM          09/14/2021              CRF               0.80          0.80        695.00                          556.00
  Bill

 09/14/2021    BMM      CRF     Review documents produced related to Debtor's           0.80        695.00          $556.00
                                assets.
 BMM          09/16/2021              CRF               1.60          1.60        695.00                      1,112.00
  Bill

 09/16/2021    BMM      CRF     Review outstanding document requests and draft          1.60        695.00        $1,112.00
                                next round of requests.
 KBD          09/17/2021              CRF               0.30          0.30       1,195.00                         358.50
  Bill

 09/17/2021    KBD      CRF     Review proposed discovery requests.                     0.30      1195.00           $358.50
         20-12345-scc      Doc 848
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                                                                                        Hours            Rate        Amount
 KBD          09/20/2021              CRF                0.40         0.40         1,195.00                         478.00
  Bill

 09/20/2021    KBD      CRF     Review documents and correspondence regarding             0.40      1195.00           $478.00
                                financial discovery.
 KBD          09/21/2021              CRF                0.80         0.80         1,195.00                         956.00
  Bill

 09/21/2021    KBD      CRF     Telephone conference with B. Michael regarding            0.80      1195.00           $956.00
                                outstanding discovery issues.
 KBD          09/21/2021              CRF                0.20         0.20         1,195.00                         239.00
  Bill

 09/21/2021    KBD      CRF     Correspondence with BRG regarding financial               0.20      1195.00           $239.00
                                discovery matters.
 KBD          09/21/2021              CRF                0.20         0.20         1,195.00                         239.00
  Bill

 09/21/2021    KBD      CRF     Correspondence w/Jones Day relating to discovery          0.20      1195.00           $239.00
                                matters.
 BMM          09/21/2021              CRF                0.90         0.90          695.00                          625.50
  Bill

 09/21/2021    BMM      CRF     Call with K. Dine regarding document production           0.80        695.00          $556.00
                                and other case issues.
 KBD          09/22/2021              CRF                0.90         0.90         1,195.00                     1,075.50
  Bill

 09/22/2021    KBD      CRF     Call w/BRG and B. Michael regarding discovery             0.90      1195.00         $1,075.50
                                matters.
 BMM          09/22/2021              CRF                0.90         0.90          695.00                          625.50
  Bill

 09/22/2021    BMM      CRF     Meeting with BRG and K. Dine regarding document           0.90        695.00          $625.50
                                request progress.
 KBD          09/23/2021              CRF                0.40         0.40         1,195.00                         478.00
  Bill

 09/23/2021    KBD      CRF     Call w/B. Michael, E. Stephens and A. Butler              0.50      1195.00           $597.50
                                regarding discovery matters.
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 KBD          09/23/2021              CRF                0.20            0.20      1,195.00                         239.00
  Bill

 09/23/2021    KBD      CRF     Follow-up regarding discovery w/B. Michael.               0.30      1195.00           $358.50
 BMM          09/23/2021              CRF                0.40            0.40       695.00                          278.00
  Bill

 09/23/2021    BMM      CRF     Call with K. Dine regarding discovery.                    0.30        695.00          $208.50
 BMM          09/23/2021              CRF                0.50            0.50       695.00                          347.50
  Bill

 09/23/2021    BMM      CRF     Call with Debtor's counsel regarding document             0.50        695.00          $347.50
                                production.
 BMM          09/23/2021              CRF                0.30            0.30       695.00                          208.50
  Bill

 09/23/2021    BMM      CRF     Call with K. Dine regarding discovery follow-up.          0.30        695.00          $208.50
 KBD          09/28/2021              CRF                0.70            0.70      1,195.00                         836.50
  Bill

 09/28/2021    KBD      CRF     Telephone conference with Jones Day and B.                0.60      1195.00           $717.00
                                Michael regarding outstanding discovery.
 KBD          09/28/2021              CRF                0.50            0.50      1,195.00                         597.50
  Bill

 09/28/2021    KBD      CRF     Follow-up with B. Michael regarding Jones Day             0.50      1195.00           $597.50
                                discovery.
 BMM          09/28/2021              CRF                0.60            0.60       695.00                          417.00
  Bill

 09/28/2021    BMM      CRF     Meeting with Jones Day regarding document                 0.60        695.00          $417.00
                                production.
 BMM          09/28/2021              CRF                0.50            0.50       695.00                          347.50
  Bill

 09/28/2021    BMM      CRF     Call with K. Dine regarding discovery.                    0.50        695.00          $347.50
 BMM          09/29/2021              CRF                1.10            1.10       695.00                          764.50
  Bill

 09/29/2021    BMM      CRF     Call with K. Dine regarding discovery.                    1.10        695.00          $764.50
 KBD          09/30/2021              CRF                0.20            0.20      1,195.00                         239.00
  Bill
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 09/30/2021    KBD      CRF     Review motion regarding experts filed by Debtor.             0.20      1195.00           $239.00
                                                                                            19.70                      $16,491.50

  CmteDisc Reqs - Parishes
 JIS          09/02/2021              CRP                0.80          0.80           1,345.00                     1,076.00
  Bill

 09/02/2021    JIS      CRP     Call with M. Babcock regarding parish and affiliate          0.80      1345.00          $1,076.00
                                assets and liabilities.
                                                                                             0.80                       $1,076.00

  Cmte Disc Reqs - CVA
 BMM          09/23/2021              DCVA               1.00          1.00            695.00                          695.00
  Bill

 09/23/2021    BMM      DCVA    Review CVA productions and lists of clergy.                  1.00        695.00          $695.00
                                                                                             1.00                        $695.00

  Employment Appls
 BMM          09/03/2021              EAPP               0.30          0.30            695.00                          208.50
  Bill

 09/03/2021    BMM      EAPPS   Review materials on Debtor’s value expert.                   0.30        695.00          $208.50
 IAWN         09/03/2021              EAPP               0.90          0.90           1,145.00                     1,030.50
  Bill

 09/03/2021    IAWN EAPPS       Review Burnett retention from insurance                      0.90      1145.00          $1,030.50
                                perspective.
 BMM          09/25/2021              EAPP               0.50          0.50            695.00                          347.50
  Bill

 09/25/2021    BMM      EAPPS   Review draft motion regarding expert employment.             0.50        695.00          $347.50
 KBD          09/27/2021              EAPP               0.20          0.20           1,195.00                         239.00
  Bill

 09/27/2021    KBD      EAPPS   Review motion regarding experts.                             0.20      1195.00           $239.00
                                                                                             1.90                       $1,825.50

  IAC/Affiliate Transactions
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                             Hours            Rate        Amount
 GSG          09/01/2021              IAC                 0.30          0.30             950.00                          285.00
  Bill

 09/01/2021    GSG      IAC     Review K. Brown comments re probable                           0.30        950.00          $285.00
                                liability/solvency of DRVC.
 LAF          09/07/2021              IAC                 0.30          0.30             475.00                          142.50
  Bill

 09/07/2021    LAF      IAC     Research re: Bronx Miracle Gospel case.                        0.30        475.00          $142.50
 GSG          09/09/2021              IAC                 0.10          0.10             950.00                           95.00
  Bill

 09/09/2021    GSG      IAC     Emails to/from B. Michael re scheduling of further             0.10        950.00           $95.00
                                calls regarding Cemetery & Seminary.
 JIS          09/10/2021              IAC                 0.60          0.60            1,345.00                         807.00
  Bill

 09/10/2021    JIS      IAC     Call with PSZJ team regarding Cemetery and                     0.60      1345.00           $807.00
                                Seminary issues.
 KHB          09/10/2021              IAC                 0.80          0.80            1,225.00                         980.00
  Bill

 09/10/2021    KHB      IAC     Call with J. Stang, K. Dine, B. Michael re claims              0.80      1225.00           $980.00
                                against Cemetery and Seminary and request to share
                                IAC report with targets (.6); confer with Eric Fisher
                                re same (.2).
 GSG          09/10/2021              IAC                 0.60          0.60             950.00                          570.00
  Bill

 09/10/2021    GSG      IAC     Call with K. Brown, K. Dine, B. Michael, and J.                0.60        950.00          $570.00
                                Stang re cemetery and seminary transfers and
                                ongoing settlement discussions.
 GSG          09/10/2021              IAC                 1.60          1.60             950.00                      1,520.00
  Bill

 09/10/2021    GSG      IAC     Follow-up research re case law re probable liability           1.60        950.00        $1,520.00
                                and statute of limitations.
 KBD          09/10/2021              IAC                 0.60          0.60            1,195.00                         717.00
  Bill

 09/10/2021    KBD      IAC     Call w/PSZJ team regarding issues relating to                  0.60      1195.00           $717.00
                                Seminary and Cemetery transfers
 KBD          09/10/2021              IAC                 0.40          0.40            1,195.00                         478.00
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                          Hours            Rate        Amount
  Bill

 09/10/2021    KBD      IAC     Telephone conference with B. Michael regarding              0.40      1195.00           $478.00
                                next steps relating to IAC matters
 BMM          09/10/2021              IAC                0.60         0.60            695.00                          417.00
  Bill

 09/10/2021    BMM      IAC     Call with PSZJ team re. Seminary and Cemetery               0.60        695.00          $417.00
                                transfers.
 BMM          09/10/2021              IAC                0.40         0.40            695.00                          278.00
  Bill

 09/10/2021    BMM      IAC     Call with K. Dine regarding IAC matters.                    0.40        695.00          $278.00
 KBD          09/14/2021              IAC                0.80         0.80           1,195.00                         956.00
  Bill

 09/14/2021    KBD      IAC     Call w/Special Mediator and counsel, Jones Day and          0.80      1195.00           $956.00
                                PSZJ regarding IAC transfer matters.
 KBD          09/15/2021              IAC                0.10         0.10           1,195.00                         119.50
  Bill

 09/15/2021    KBD      IAC     Review revised common interest agreement and                0.10      1195.00           $119.50
                                related correspondence.
 BMM          09/15/2021              IAC                0.20         0.20            695.00                          139.00
  Bill

 09/15/2021    BMM      IAC     Review edits to common interest agreement (.1);             0.20        695.00          $139.00
                                email PSZJ team regarding same (.1).
 BMM          09/28/2021              IAC                0.10         0.10            695.00                           69.50
  Bill

 09/28/2021    BMM      IAC     Email to Jones Day regarding common interest                0.10        695.00           $69.50
                                agreement.
 KBD          09/30/2021              IAC                0.10         0.10           1,195.00                         119.50
  Bill

 09/30/2021    KBD      IAC     Prepare for meeting with special mediator and               0.10      1195.00           $119.50
                                counsel.
 KBD          09/30/2021              IAC                0.60         0.60           1,195.00                         717.00
  Bill

 09/30/2021    KBD      IAC     Call w/special mediator, mediator's counsel, K.             0.60      1195.00           $717.00
                                Brown and B. Michael regarding IAC transfers.
         20-12345-scc        Doc 848
                                 807    Filed 11/15/21
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                                                                                               Hours            Rate        Amount
 KBD          09/30/2021               IAC                 0.20          0.20             1,195.00                         239.00
  Bill

 09/30/2021    KBD      IAC      Follow-up with B. Michael and K. Brown regarding                0.20      1195.00           $239.00
                                 call with special mediator regarding seminary &
                                 cemetery.
                                                                                                 8.40                      $8,649.00

  Interim Fee Applications
 NPL          09/30/2021               IFA                 1.60          1.60              460.00                          736.00
  Bill

 09/30/2021    NPL      IFA      Update professional fee chart regarding first and               1.60        460.00          $736.00
                                 second interim fee applications for all professionals.
 NPL          09/30/2021               IFA                 1.60          1.60              460.00                          736.00
  Bill

 09/30/2021    NPL      IFA      Update interim fee application task chart detail                1.60        460.00          $736.00
                                 regarding professional service of PSZJ
                                                                                                 3.20                      $1,472.00

  Insurance Litigation
 KHB          09/08/2021               IL                  0.50          0.50             1,225.00                         612.50
  Bill

 09/08/2021    KHB      IL       Review opinion withdrawing reference of coverage                0.50      1225.00           $612.50
                                 litigation.
 LAF          09/08/2021               IL                  0.50          0.50              475.00                          237.50
  Bill

 09/08/2021    LAF      IL       Legal research re: Complaint against Arrowpoint,                0.50        475.00          $237.50
                                 North Carolina General Court of Justice, Superior
                                 Court Division (Mecklenburg County).
 IAWN         09/08/2021               IL                  0.10          0.10             1,145.00                         114.50
  Bill

 09/08/2021    IAWN IL           Email B. Michael re Arrowood complaint.                         0.10      1145.00           $114.50
 JIS          09/15/2021               IL                  0.30          0.30             1,345.00                         403.50
  Bill

 09/15/2021    JIS      IL       Review Arrowood complaint.                                      0.30      1345.00           $403.50
         20-12345-scc        Doc 848
                                 807    Filed 11/15/21
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                                                                                           Hours            Rate        Amount
 IAWN         09/15/2021               IL                 1.00          1.00          1,145.00                     1,145.00
  Bill

 09/15/2021    IAWN IL           Review Brooklyn v. Arrowood complaint.                      1.00      1145.00         $1,145.00
 IAWN         09/15/2021               IL                 1.00          1.00          1,145.00                     1,145.00
  Bill

 09/15/2021    IAWN IL           Review Brooklyn v. Arrowood complaint.                      1.00      1145.00         $1,145.00
 BMM          09/15/2021               IL                 0.20          0.20           695.00                          139.00
  Bill

 09/15/2021    BMM      IL       Review joint letter and information regarding               0.20        695.00          $139.00
                                 insurance case hearing.
 IAWN         09/16/2021               IL                 0.10          0.10          1,145.00                         114.50
  Bill

 09/16/2021    IAWN IL           Review J. Bair update in LMI pleadings.                     0.10      1145.00           $114.50
 KBD          09/17/2021               IL                 1.00          1.00          1,195.00                     1,195.00
  Bill

 09/17/2021    KBD      IL       Review pleadings relating to insurance matters.             1.00      1195.00         $1,195.00
 GSG          09/20/2021               IL                 0.40          0.40           950.00                          380.00
  Bill

 09/20/2021    GSG      IL       Review Diocese’s opposition to insurers’ access to          0.40        950.00          $380.00
                                 proofs of claim and opinion re withdrawal of
                                 reference.
 KBD          09/20/2021               IL                 0.10          0.10          1,195.00                         119.50
  Bill

 09/20/2021    KBD      IL       Review correspondence from insurance counsel                0.10      1195.00           $119.50
                                 regarding status of litigation
 NPL          09/22/2021               IL                 0.30          0.30           460.00                          138.00
  Bill

 09/22/2021    NPL      IL       Review pleadings related to Rockville v. Arrowood           0.30        460.00          $138.00
                                 Indemnity filed in District Court, SDNY, Case No.
                                 21-cv-07706.
 NPL          09/22/2021               IL                 0.20          0.20           460.00                           92.00
  Bill

 09/22/2021    NPL      IL       Review pleadings filed in Rockville Centre, New             0.20        460.00           $92.00
         20-12345-scc        Doc 848
                                 807   Filed 11/15/21
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                                                                                            Hours            Rate        Amount
                                 York v. Arrowood Indemnity filed in District Court,
                                 SDNY, Case No. 21-cv-00071.
 NPL          09/22/2021               IL                 0.10         0.10             460.00                           46.00
  Bill

 09/22/2021    NPL      IL       Review District Court Docket regarding Rockville             0.10        460.00           $46.00
                                 Centre v. Arrowood Indemnity, Case No.
                                 20-cv-11011.
 NPL          09/23/2021               IL                 0.10         0.10             460.00                           46.00
  Bill

 09/23/2021    NPL      IL       Email communications with B. Michael regarding               0.10        460.00           $46.00
                                 pending insurance litigation in District Court.
 NPL          09/29/2021               IL                 0.20         0.20             460.00                           92.00
  Bill

 09/29/2021    NPL      IL       Email communications with B. Anavim regarding                0.20        460.00           $92.00
                                 circulating pleadings in District Court matters.
 KBD          09/29/2021               IL                 0.50         0.50            1,195.00                         597.50
  Bill

 09/29/2021    KBD      IL       Review pleadings submitted in insurance cases                0.50      1195.00           $597.50
                                                                                              6.60                      $6,617.50

  Mtgs/Conf w/Client
 KBD          09/01/2021               MCC                0.40         0.40            1,195.00                         478.00
  Bill

 09/01/2021    KBD      MCC      Correspondence to/from Committee/SCC and PSZJ                0.40      1195.00           $478.00
                                 team regarding mediation and other outstanding
                                 matters
 JIS          09/02/2021               MCC                1.00         1.00            1,345.00                     1,345.00
  Bill

 09/02/2021    JIS      MCC      Call with State Court Counsel regarding conference           1.00      1345.00         $1,345.00
                                 call with carriers and Debtor regarding mediator
                                 selection.
 KBD          09/02/2021               MCC                0.70         0.70            1,195.00                         836.50
  Bill

 09/02/2021    KBD      MCC      Call w/SCC regarding mediation process.                      0.70      1195.00           $836.50
 KBD          09/02/2021               MCC                0.30         0.30            1,195.00                         358.50
         20-12345-scc      Doc 848
                               807    Filed 11/15/21
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                                                                                           Hours            Rate        Amount
  Bill

 09/02/2021    KBD      MCC     Correspondence to/from SCC regarding outstanding             0.30      1195.00           $358.50
                                matters
 BMM          09/02/2021              MCC                0.80         0.80             695.00                          556.00
  Bill

 09/02/2021    BMM      MCC     Call with SCC regarding mediator selection.                  0.70        695.00          $486.50
 KBD          09/06/2021              MCC                0.10         0.10            1,195.00                         119.50
  Bill

 09/06/2021    KBD      MCC     Prepare agenda for Committee meeting.                        0.10      1195.00           $119.50
 JIS          09/07/2021              MCC                1.10         1.10            1,345.00                     1,479.50
  Bill

 09/07/2021    JIS      MCC     Call with Committee regarding mediator and bar               1.10      1345.00         $1,479.50
                                date order issues.
 BMM          09/07/2021              MCC                0.30         0.30             695.00                          208.50
  Bill

 09/07/2021    BMM      MCC     Revise meeting minutes from August 17 and 26                 0.30        695.00          $208.50
                                meetings.
 BMM          09/07/2021              MCC                0.20         0.20             695.00                          139.00
  Bill

 09/07/2021    BMM      MCC     Email to Committee regarding 9/7 Committee                   0.20        695.00          $139.00
                                meeting agenda and past meeting minutes.
 BMM          09/07/2021              MCC                1.10         1.10             695.00                          764.50
  Bill

 09/07/2021    BMM      MCC     Participate in and take minutes at Committee                 1.10        695.00          $764.50
                                meeting regarding mediator selection and other case
                                issues.
 KBD          09/09/2021              MCC                0.20         0.20            1,195.00                         239.00
  Bill

 09/09/2021    KBD      MCC     Prepare agenda for SCC meeting                               0.20      1195.00           $239.00
 KBD          09/09/2021              MCC                0.20         0.20            1,195.00                         239.00
  Bill

 09/09/2021    KBD      MCC     Correspondence with SCC relating to outstanding              0.20      1195.00           $239.00
                                matters
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                            Hours            Rate        Amount
 JIS          09/10/2021              MCC                   0.20       0.20            1,345.00                         269.00
  Bill

 09/10/2021    JIS      MCC     Call K. Dine regarding State Court Counsel meeting            0.20      1345.00           $269.00
                                agenda.
 IDS          09/10/2021              MCC                   0.50       0.50             895.00                          447.50
  Bill

 09/10/2021    IDS      MCC     Attend SCC call (partial)                                     0.50        895.00          $447.50
 JIS          09/10/2021              MCC                   0.70       0.70            1,345.00                         941.50
  Bill

 09/10/2021    JIS      MCC     State Court Counsel call regarding mediation                  0.70      1345.00           $941.50
                                candidates, bar date modification, avoidance actions
                                (Cemetery and Seminary).
 KBD          09/10/2021              MCC                   0.20       0.20            1,195.00                         239.00
  Bill

 09/10/2021    KBD      MCC     Prepare for call w/SCC and J. Stang (for part).               0.20      1195.00           $239.00
 KBD          09/10/2021              MCC                   0.70       0.70            1,195.00                         836.50
  Bill

 09/10/2021    KBD      MCC     Participate in call w/SCC regarding outstanding               0.70      1195.00           $836.50
                                matters.
 BMM          09/10/2021              MCC                   0.70       0.70             695.00                          486.50
  Bill

 09/10/2021    BMM      MCC     Call with SCC regarding case issues.                          0.70        695.00          $486.50
 KBD          09/13/2021              MCC                   0.10       0.10            1,195.00                         119.50
  Bill

 09/13/2021    KBD      MCC     Prepare agenda for Committee meeting                          0.10      1195.00           $119.50
 KBD          09/13/2021              MCC                   0.30       0.30            1,195.00                         358.50
  Bill

 09/13/2021    KBD      MCC     Review correspondence to/from PSZJ team and                   0.30      1195.00           $358.50
                                Committee/SCC regarding outstanding matters.
 JIS          09/14/2021              MCC                   0.60       0.60            1,345.00                         807.00
  Bill

 09/14/2021    JIS      MCC     Call with Committee regarding mediator selection,             0.70      1345.00           $941.50
                                Cemetery/Seminary issues.
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                               807     Filed 11/15/21
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                                                                                           Hours            Rate        Amount
 KBD          09/14/2021              MCC                0.20          0.20           1,195.00                         239.00
  Bill

 09/14/2021    KBD      MCC     Prepare for meeting with Committee.                          0.20      1195.00           $239.00
 KBD          09/14/2021              MCC                0.70          0.70           1,195.00                         836.50
  Bill

 09/14/2021    KBD      MCC     Participate in meeting with Committee and SCC                0.70      1195.00           $836.50
                                regarding outstanding matters.
 KBD          09/14/2021              MCC                0.20          0.20           1,195.00                         239.00
  Bill

 09/14/2021    KBD      MCC     Draft and review correspondence with SCC member              0.20      1195.00           $239.00
                                on outstanding issues.
 BMM          09/14/2021              MCC                0.70          0.70            695.00                          486.50
  Bill

 09/14/2021    BMM      MCC     Participate in and take minutes at Committee                 0.70        695.00          $486.50
                                meeting regarding mediator selection and other case
                                issues.
 JIS          09/15/2021              MCC                0.30          0.30           1,345.00                         403.50
  Bill

 09/15/2021    JIS      MCC     Status call with Debtor on mediation process,                0.30      1345.00           $403.50
                                Morningstar and other matters.
 KBD          09/15/2021              MCC                0.10          0.10           1,195.00                         119.50
  Bill

 09/15/2021    KBD      MCC     Review draft minutes of Committee meeting.                   0.10      1195.00           $119.50
 KBD          09/16/2021              MCC                0.10          0.10           1,195.00                         119.50
  Bill

 09/16/2021    KBD      MCC     Correspondence among PSZJ team regarding SCC                 0.10      1195.00           $119.50
                                meeting.
 KBD          09/17/2021              MCC                0.20          0.20           1,195.00                         239.00
  Bill

 09/17/2021    KBD      MCC     Review and prepare comments to draft                         0.20      1195.00           $239.00
                                correspondence w/Committee/SCC on outstanding
                                matters.
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                               807     Filed 11/15/21
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                                                                                          Hours            Rate        Amount
 BMM          09/17/2021              MCC                1.10          1.10           695.00                          764.50
  Bill

 09/17/2021    BMM      MCC     Review recent case filings (.3); draft summary              1.10        695.00          $764.50
                                communication for Committee (.8).
 KBD          09/20/2021              MCC                0.20          0.20          1,195.00                         239.00
  Bill

 09/20/2021    KBD      MCC     Participate in call with SCC regarding outstanding          0.20      1195.00           $239.00
                                matters.
 IAWN         09/20/2021              MCC                0.20          0.20          1,145.00                         229.00
  Bill

 09/20/2021    IAWN MCC         Telephone conference w/ SCC re reference and                0.20      1145.00           $229.00
                                others issues.
 BMM          09/20/2021              MCC                0.30          0.30           695.00                          208.50
  Bill

 09/20/2021    BMM      MCC     Call with State Court Counsel regarding mediator            0.30        695.00          $208.50
                                selection.
 KBD          09/21/2021              MCC                0.10          0.10          1,195.00                         119.50
  Bill

 09/21/2021    KBD      MCC     Correspondence to/from Committee and SCC                    0.10      1195.00           $119.50
                                regarding outstanding matters.
 KBD          09/21/2021              MCC                0.10          0.10          1,195.00                         119.50
  Bill

 09/21/2021    KBD      MCC     Correspondence w/SCC member and counsel for                 0.10      1195.00           $119.50
                                DOE regarding meeting.
 BMM          09/21/2021              MCC                0.60          0.60           695.00                          417.00
  Bill

 09/21/2021    BMM      MCC     Draft communication to the Committee regarding              0.60        695.00          $417.00
                                ongoing case issues.
 KBD          09/23/2021              MCC                0.20          0.20          1,195.00                         239.00
  Bill

 09/23/2021    KBD      MCC     Correspondence among PSZJ and Committee/SCC                 0.20      1195.00           $239.00
                                re outstanding matters
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                          Hours            Rate        Amount
 KBD          09/23/2021              MCC                 0.40          0.40         1,195.00                         478.00
  Bill

 09/23/2021    KBD      MCC     Call w/M. Bunin and P. Collins of DOE and V.                0.40      1195.00           $478.00
                                Yannacone
 BMM          09/23/2021              MCC                 0.30          0.30          695.00                          208.50
  Bill

 09/23/2021    BMM      MCC     Draft e-mail to State Court Counsel regarding 9/24          0.30        695.00          $208.50
                                agenda and other case issues.
 BMM          09/23/2021              MCC                 0.10          0.10          695.00                           69.50
  Bill

 09/23/2021    BMM      MCC     Email to executive committee regarding meeting              0.10        695.00           $69.50
                                scheduling.
 JIS          09/24/2021              MCC                 0.30          0.30         1,345.00                         403.50
  Bill

 09/24/2021    JIS      MCC     (Partial) attendance at SCC status call: removed            0.30      1345.00           $403.50
                                insurance suits; mediator selection.
 KBD          09/24/2021              MCC                 0.60          0.60         1,195.00                         717.00
  Bill

 09/24/2021    KBD      MCC     Participate in call w/SCC regarding outstanding             0.60      1195.00           $717.00
                                matters.
 KBD          09/24/2021              MCC                 0.20          0.20         1,195.00                         239.00
  Bill

 09/24/2021    KBD      MCC     Prepare for call w/SCC regarding outstanding                0.20      1195.00           $239.00
                                matters.
 BMM          09/24/2021              MCC                 0.60          0.60          695.00                          417.00
  Bill

 09/24/2021    BMM      MCC     Participate in call with State Court Counsel                0.60        695.00          $417.00
                                regarding ongoing case issues.
 BMM          09/24/2021              MCC                 0.70          0.70          695.00                          486.50
  Bill

 09/24/2021    BMM      MCC     Respond to Committee member information request.            0.70        695.00          $486.50
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
                                             10/29/21 Entered 11/15/21
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                                                                                           Hours            Rate        Amount
 KBD          09/27/2021              MCC                0.10          0.10           1,195.00                         119.50
  Bill

 09/27/2021    KBD      MCC     Prepare correspondence to Committee regarding                0.10      1195.00           $119.50
                                upcoming meeting.
 KBD          09/27/2021              MCC                1.00          1.00           1,195.00                     1,195.00
  Bill

 09/27/2021    KBD      MCC     Telephone conference with B. Michael regarding               0.90      1195.00         $1,075.50
                                outstanding issues for Committee call.
 BMM          09/27/2021              MCC                0.90          0.90            695.00                          625.50
  Bill

 09/27/2021    BMM      MCC     Call with K. Dine regarding upcoming Committee               0.90        695.00          $625.50
                                meetings and other case issues.
 KBD          09/28/2021              MCC                0.30          0.30           1,195.00                         358.50
  Bill

 09/28/2021    KBD      MCC     Correspondence among PSZJ team and                           0.30      1195.00           $358.50
                                Committee/SCC on outstanding matters.
 KBD          09/29/2021              MCC                0.30          0.30           1,195.00                         358.50
  Bill

 09/29/2021    KBD      MCC     Call w/J. Daly and R. Tollner regarding fee matters          0.30      1195.00           $358.50
                                (for part).
 KBD          09/30/2021              MCC                0.20          0.20           1,195.00                         239.00
  Bill

 09/30/2021    KBD      MCC     Correspondence among PSZJ team and SCC                       0.20      1195.00           $239.00
                                regarding SCC meeting regarding outstanding
                                matters
 KBD          09/30/2021              MCC                0.30          0.30           1,195.00                         358.50
  Bill

 09/30/2021    KBD      MCC     Review correspondence among PSZJ, Committee                  0.30      1195.00           $358.50
                                and SCC regarding outstanding matters
 KBD          09/30/2021              MCC                0.40          0.40           1,195.00                         478.00
  Bill

 09/30/2021    KBD      MCC     Call w/B. Michael regarding outstanding issues for           0.40      1195.00           $478.00
                                Committee and SCC.
 BMM          09/30/2021              MCC                0.40          0.40            695.00                          278.00
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                           Hours            Rate         Amount
  Bill

 09/30/2021    BMM      MCC     Call with K. Dine regarding Committee                        0.40        695.00          $278.00
                                communication re. Diocese's filed motions.
                                                                                            22.70                      $23,261.50

  Mediation
 KBD          09/01/2021              ME                 0.10         0.10            1,195.00                         119.50
  Bill

 09/01/2021    KBD      ME      Call w/B. Michael and J. Stang regarding next steps          0.10      1195.00           $119.50
                                on mediation and other matters
 KBD          09/02/2021              ME                 1.00         1.00            1,195.00                     1,195.00
  Bill

 09/02/2021    KBD      ME      Call w/Jones Day, PSZJ team and counsel for                  1.00      1195.00          $1,195.00
                                insurers regarding mediation process.
 KBD          09/02/2021              ME                 0.30         0.30            1,195.00                         358.50
  Bill

 09/02/2021    KBD      ME      Telephone calls with B. Michael regarding                    0.30      1195.00           $358.50
                                mediation next steps.
 BMM          09/02/2021              ME                 1.00         1.00             695.00                          695.00
  Bill

 09/02/2021    BMM      ME      Call with Debtor and Insurers regarding mediator             1.00        695.00          $695.00
                                selections.
 JIS          09/02/2021              ME                 1.00         1.00            1,345.00                     1,345.00
  Bill

 09/02/2021    JIS      ME      Call with Debtor, insurance counsel regarding                1.00      1345.00          $1,345.00
                                mediation selection.
 KBD          09/03/2021              ME                 0.30         0.30            1,195.00                         358.50
  Bill

 09/03/2021    KBD      ME      Correspondence among PSZJ team regarding                     0.30      1195.00           $358.50
                                mediation matters.
 JIS          09/07/2021              ME                 0.10         0.10            1,345.00                         134.50
  Bill

 09/07/2021    JIS      ME      Call with J. Anderson re mediator candidates.                0.10      1345.00           $134.50
 KBD          09/10/2021              ME                 0.50         0.50            1,195.00                         597.50
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                            Hours            Rate        Amount
  Bill

 09/10/2021    KBD      ME      Call among counsel for insurers, PSZJ and Jones               0.50      1195.00           $597.50
                                Day regarding mediation process.
 KBD          09/10/2021              ME                  0.20          0.20           1,195.00                         239.00
  Bill

 09/10/2021    KBD      ME      Correspondence among Insurers, PSZJ and Jones                 0.20      1195.00           $239.00
                                Day regarding mediation process.
 BMM          09/10/2021              ME                  0.50          0.50            695.00                          347.50
  Bill

 09/10/2021    BMM      ME      Call with insurers, PSZJ team, and Jones Day                  0.50        695.00          $347.50
                                regarding mediator selection.
 JIS          09/10/2021              ME                  0.50          0.50           1,345.00                         672.50
  Bill

 09/10/2021    JIS      ME      Call with insurers and Debtor re mediation candidate          0.50      1345.00           $672.50
                                process.
 JIS          09/10/2021              ME                  0.30          0.30           1,345.00                         403.50
  Bill

 09/10/2021    JIS      ME      Review emails and attachments between Debtor and              0.30      1345.00           $403.50
                                insurer regarding mediation candidates.
 JIS          09/13/2021              ME                  0.30          0.30           1,345.00                         403.50
  Bill

 09/13/2021    JIS      ME      Follow up with B. Michael and K. Dine regarding               0.30      1345.00           $403.50
                                submissions on mediation candidates.
 JIS          09/13/2021              ME                  0.10          0.10           1,345.00                         134.50
  Bill

 09/13/2021    JIS      ME      Call J. Merson re mediator appointment.                       0.10      1345.00           $134.50
 KBD          09/15/2021              ME                  0.50          0.50           1,195.00                         597.50
  Bill

 09/15/2021    KBD      ME      Call regarding issues relating to mediator selection          0.50      1195.00           $597.50
                                w/B. Michael.
 BMM          09/15/2021              ME                  0.60          0.60            695.00                          417.00
  Bill

 09/15/2021    BMM      ME      Call with K. Dine regarding mediator letter and               0.50        695.00          $347.50
                                other case issues.
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                           Hours            Rate        Amount
 BMM          09/15/2021              ME                  1.40          1.40           695.00                          973.00
  Bill

 09/15/2021    BMM      ME      Draft letter regarding mediator selection.                   1.40        695.00          $973.00
 JIS          09/15/2021              ME                  0.40          0.40          1,345.00                         538.00
  Bill

 09/15/2021    JIS      ME      Call with mediator candidate regarding status.               0.40      1345.00           $538.00
 KBD          09/17/2021              ME                  0.40          0.40          1,195.00                         478.00
  Bill

 09/17/2021    KBD      ME      Review and prepare comments to letter regarding              0.40      1195.00           $478.00
                                mediator selection w/B. Michael (for part).
 KBD          09/17/2021              ME                  0.10          0.10          1,195.00                         119.50
  Bill

 09/17/2021    KBD      ME      Correspondence among PSZJ team and Jones Day                 0.10      1195.00           $119.50
                                regarding mediator selection process.
 BMM          09/17/2021              ME                  2.00          2.00           695.00                      1,390.00
  Bill

 09/17/2021    BMM      ME      Draft letter regarding mediator selection.                   2.00        695.00        $1,390.00
 BMM          09/17/2021              ME                  1.40          1.40           695.00                          973.00
  Bill

 09/17/2021    BMM      ME      Revise letter regarding mediator selection (with K.          1.40        695.00          $973.00
                                Dine in part).
 KBD          09/20/2021              ME                  0.20          0.20          1,195.00                         239.00
  Bill

 09/20/2021    KBD      ME      Draft and review correspondence among SCC and                0.20      1195.00           $239.00
                                Committee regarding mediation process.
 KBD          09/20/2021              ME                  0.50          0.50          1,195.00                         597.50
  Bill

 09/20/2021    KBD      ME      Review and prepare comments to letter regarding              0.50      1195.00           $597.50
                                mediator selection.
 KBD          09/20/2021              ME                  0.20          0.20          1,195.00                         239.00
  Bill

 09/20/2021    KBD      ME      Telephone conference with J. Stang regarding                 0.20      1195.00           $239.00
                                mediator selection.
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                           Hours            Rate         Amount
 BMM          09/20/2021              ME                  1.00         1.00            695.00                          695.00
  Bill

 09/20/2021    BMM      ME      Revise letter regarding mediator selection (with K.          1.00        695.00          $695.00
                                Dine in part).
 JIS          09/20/2021              ME                  0.20         0.20           1,345.00                         269.00
  Bill

 09/20/2021    JIS      ME      Call K. Dine regarding mediator issues.                      0.20      1345.00           $269.00
 JIS          09/20/2021              ME                  0.10         0.10           1,345.00                         134.50
  Bill

 09/20/2021    JIS      ME      Review letter regarding mediator selection.                  0.10      1345.00           $134.50
 JIS          09/20/2021              ME                  0.10         0.10           1,345.00                         134.50
  Bill

 09/20/2021    JIS      ME      Call B. Michael re changes to mediator letter to             0.10      1345.00           $134.50
                                Chambers.
 BMM          09/21/2021              ME                  0.30         0.30            695.00                          208.50
  Bill

 09/21/2021    BMM      ME      Call with R. Tollner regarding mediator selection.           0.30        695.00          $208.50
 KBD          09/21/2021              ME                  0.20         0.20           1,195.00                         239.00
  Bill

 09/21/2021    KBD      ME      Review draft letter regarding mediator selection.            0.20      1195.00           $239.00
                                                                                            15.70                      $15,176.50

  Mtgs/Conf w/ Case Prof.
 KBD          09/01/2021              MF                  0.60         0.60           1,195.00                         717.00
  Bill

 09/01/2021    KBD      MF      Call w/Jones Day, B. Michael and J. Stang regarding          0.60      1195.00           $717.00
                                mediation process and other outstanding matters
 BMM          09/01/2021              MF                  0.60         0.60            695.00                          417.00
  Bill

 09/01/2021    BMM      MF      Call with Debtor's counsel regarding mediator                0.60        695.00          $417.00
                                selection and other case issues.
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                           Hours            Rate        Amount
 BMM          09/01/2021              MF                 0.10         0.10             695.00                           69.50
  Bill

 09/01/2021    BMM      MF      Call with K. Dine and J. Stang regarding Jones Day           0.10        695.00           $69.50
                                meeting follow-up.
 BMM          09/08/2021              MF                 0.70         0.70             695.00                          486.50
  Bill

 09/08/2021    BMM      MF      Call with Debtor's counsel regarding mediator                0.70        695.00          $486.50
                                selection and other case issues.
 BMM          09/09/2021              MF                 0.50         0.50             695.00                          347.50
  Bill

 09/09/2021    BMM      MF      Emails with Committee and Debtor counsel                     0.50        695.00          $347.50
                                regarding scheduling meetings.
 KBD          09/15/2021              MF                 0.20         0.20            1,195.00                         239.00
  Bill

 09/15/2021    KBD      MF      Participate in call among PSZJ team & Jones Day.             0.20      1195.00           $239.00
 KBD          09/22/2021              MF                 0.20         0.20            1,195.00                         239.00
  Bill

 09/22/2021    KBD      MF      Prepare for call w/Jones Day.                                0.20      1195.00           $239.00
 KBD          09/22/2021              MF                 0.50         0.50            1,195.00                         597.50
  Bill

 09/22/2021    KBD      MF      Call w/Jones Day team regarding outstanding issues.          0.50      1195.00           $597.50
 KBD          09/22/2021              MF                 0.60         0.60            1,195.00                         717.00
  Bill

 09/22/2021    KBD      MF      Follow-up call on outstanding items w/B. Michael.            0.60      1195.00           $717.00
 BMM          09/22/2021              MF                 0.50         0.50             695.00                          347.50
  Bill

 09/22/2021    BMM      MF      Call with Jones Day regarding ongoing case issues.           0.50        695.00          $347.50
 BMM          09/22/2021              MF                 0.70         0.70             695.00                          486.50
  Bill

 09/22/2021    BMM      MF      Call with K. Dine regarding follow up from Jones             0.60        695.00          $417.00
                                Day meeting.
 BMM          09/22/2021              MF                 0.30         0.30             695.00                          208.50
  Bill
         20-12345-scc      Doc 848
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 09/22/2021    BMM      MF      Email to PSZJ team regarding follow-up from Jones          0.30        695.00          $208.50
                                Day meeting.
 JIS          09/29/2021              MF                 0.30         0.30          1,345.00                         403.50
  Bill

 09/29/2021    JIS      MF      Call Jones Day for weekly update including FCR             0.30      1345.00           $403.50
                                motion, discovery status, mediator selection.
 KBD          09/29/2021              MF                 0.30         0.30          1,195.00                         358.50
  Bill

 09/29/2021    KBD      MF      Call w/Jones Day and PSZJ regarding outstanding            0.30      1195.00           $358.50
                                matters.
 BMM          09/29/2021              MF                 0.30         0.30           695.00                          208.50
  Bill

 09/29/2021    BMM      MF      Call with Debtor's counsel regarding ongoing case          0.30        695.00          $208.50
                                issues.
                                                                                           6.30                      $5,773.50

  Monthly Fee Statements
 DHH          09/14/2021              MFA                1.30         1.30           395.00                          513.50
  Bill

 09/14/2021    DHH      MFA     Review/edit PSZJ August monthly statement.                 1.30        395.00          $513.50
 DHH          09/15/2021              MFA                0.70         0.70           395.00                          276.50
  Bill

 09/15/2021    DHH      MFA     Review/edit PSZJ August monthly statement.                 0.70        395.00          $276.50
 BMM          09/16/2021              MFA                1.30         1.30           695.00                          903.50
  Bill

 09/16/2021    BMM      MFA     Draft PSZJ monthly fee statement.                          1.30        695.00          $903.50
 BDD          09/17/2021              MFA                0.10         0.10           460.00                           46.00
  Bill

 09/17/2021    BDD      MFA     Email G. Downing re CNO for PSZJ and Burns                 0.10        460.00           $46.00
                                Bowen Bair July monthly fee applications
 DHH          09/17/2021              MFA                0.50         0.50           395.00                          197.50
  Bill

 09/17/2021    DHH      MFA     Review/edit PSZJ August monthly statement.                 0.50        395.00          $197.50
         20-12345-scc      Doc 848
                               807    Filed 11/15/21
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 BMM          09/22/2021              MFA               0.70         0.70           695.00                          486.50
  Bill

 09/22/2021    BMM      MFA     Revise PSZJ monthly fee statement.                        0.70        695.00          $486.50
 BMM          09/22/2021              MFA               0.90         0.90           695.00                          625.50
  Bill

 09/22/2021    BMM      MFA     Revise PSZJ monthly fee statement.                        0.90        695.00          $625.50
 BMM          09/23/2021              MFA               1.30         1.30           695.00                          903.50
  Bill

 09/23/2021    BMM      MFA     Revise PSZJ monthly fee statement.                        1.30        695.00          $903.50
 DHH          09/28/2021              MFA               0.80         0.80           395.00                          316.00
  Bill

 09/28/2021    DHH      MFA     Prepare PSZJ seventh monthly fee statement.               0.80        395.00          $316.00
 DHH          09/29/2021              MFA               0.20         0.20           395.00                           79.00
  Bill

 09/29/2021    DHH      MFA     Edit/review PSZJ August monthly statement (.10);          0.20        395.00           $79.00
                                edit PSZJ seventh monthly fee statement (.10).
 NPL          09/29/2021              MFA               0.10         0.10           460.00                           46.00
  Bill

 09/29/2021    NPL      MFA     Draft email to B. Michael regarding PSZJ monthly          0.10        460.00           $46.00
                                fee statement for August 2021.
 KBD          09/29/2021              MFA               0.40         0.40          1,195.00                         478.00
  Bill

 09/29/2021    KBD      MFA     Review and prepare comments to PSZJ monthly fee           0.40      1195.00           $478.00
                                statement
 NPL          09/30/2021              MFA               0.10         0.10           460.00                           46.00
  Bill

 09/30/2021    NPL      MFA     Email communications with B. Michael regarding            0.10        460.00           $46.00
                                monthly fee statements for August 2021.
 NPL          09/30/2021              MFA               0.10         0.10           460.00                           46.00
  Bill

 09/30/2021    NPL      MFA     Email communications with D. Hinojosa regarding           0.10        460.00           $46.00
                                PSZJ monthly fee statement for August 2021.
 NPL          09/30/2021              MFA               0.30         0.30           460.00                          138.00
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  Bill

 09/30/2021    NPL      MFA     Finalize PSZJ eighth monthly fee statement for             0.30        460.00          $138.00
                                August 2021.
 NPL          09/30/2021              MFA                 0.30          0.30          460.00                         138.00
  Bill

 09/30/2021    NPL      MFA     Finalize tenth monthly fee statement for Burns             0.30        460.00          $138.00
                                Bowen Bair for August 2021.
 NPL          09/30/2021              MFA                 0.30          0.30          460.00                         138.00
  Bill

 09/30/2021    NPL      MFA     Finalize first monthly fee statement of Ruskin             0.30        460.00          $138.00
                                Macau for August 2021.
 NPL          09/30/2021              MFA                 0.10          0.10          460.00                          46.00
  Bill

 09/30/2021    NPL      MFA     Email communications with M. Kulick regarding              0.10        460.00           $46.00
                                service of monthly fee statements for Committee
                                professionals.
 NPL          09/30/2021              MFA                 0.10          0.10          460.00                          46.00
  Bill

 09/30/2021    NPL      MFA     Draft email to notice parties regarding Committee's        0.10        460.00           $46.00
                                filing of monthly fee statements for August 2021.
 NPL          09/30/2021              MFA                 0.30          0.30          460.00                         138.00
  Bill

 09/30/2021    NPL      MFA     Prepare certificate of service regarding service of        0.30        460.00          $138.00
                                Committee fee statements for August 2021.
 NPL          09/30/2021              MFA                 2.10          2.10          460.00                         966.00
  Bill

 09/30/2021    NPL      MFA     Update monthly fee statement calculations for              2.10        460.00          $966.00
                                Committee professionals.
                                                                                          12.00                      $6,573.50

  Open Court Hearing
 IDS          08/19/2021              OPH                 0.80          0.80          895.00                         716.00
  Bill

 08/19/2021    IDS      OPH     Attend hearing regarding Unitas.                           0.80        895.00          $716.00
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
                                             10/29/21 Entered 11/15/21
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                                                                                            Hours            Rate        Amount
 IDS          09/13/2021              OPH                 0.50          0.50            895.00                          447.50
  Bill

 09/13/2021    IDS      OPH     Attend telephonic hearing (partial)                           0.50        895.00          $447.50
 JIS          09/13/2021              OPH                 0.70          0.70           1,345.00                         941.50
  Bill

 09/13/2021    JIS      OPH     Attend hearing regarding bar date order and                   0.70      1345.00           $941.50
                                mediator appointment.
 KBD          09/13/2021              OPH                 0.20          0.20           1,195.00                         239.00
  Bill

 09/13/2021    KBD      OPH     Prepare for Court hearing on bar date and mediation.          0.20      1195.00           $239.00
 KBD          09/13/2021              OPH                 0.70          0.70           1,195.00                         836.50
  Bill

 09/13/2021    KBD      OPH     Attend and participate in Court hearing.                      0.70      1195.00           $836.50
 KBD          09/13/2021              OPH                 0.30          0.30           1,195.00                         358.50
  Bill

 09/13/2021    KBD      OPH     Follow-up on action items after hearing w/B.                  0.30      1195.00           $358.50
                                Michael and J. Stang.
 BMM          09/13/2021              OPH                 0.70          0.70            695.00                          486.50
  Bill

 09/13/2021    BMM      OPH     Participate in hearing on bar date order and                  0.70        695.00          $486.50
                                mediator.
 BMM          09/13/2021              OPH                 0.30          0.30            695.00                          208.50
  Bill

 09/13/2021    BMM      OPH     Follow-up call with J. Stang and K. Dine after                0.30        695.00          $208.50
                                hearing.
 KBD          09/21/2021              OPH                 0.10          0.10           1,195.00                         119.50
  Bill

 09/21/2021    KBD      OPH     Review hearing agenda.                                        0.10      1195.00           $119.50
 KBD          09/23/2021              OPH                 0.30          0.30           1,195.00                         358.50
  Bill

 09/23/2021    KBD      OPH     Prepare for hearing before court.                             0.30      1195.00           $358.50
 KBD          09/23/2021              OPH                 0.70          0.70           1,195.00                         836.50
  Bill
         20-12345-scc      Doc 848
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                                                                                           Hours            Rate        Amount

 09/23/2021    KBD      OPH     Attend and participate in court hearing.                     0.70      1195.00           $836.50
 KBD          09/23/2021              OPH                 0.40             0.40       1,195.00                         478.00
  Bill

 09/23/2021    KBD      OPH     Follow-up from hearing w/B. Michael.                         0.40      1195.00           $478.00
 BMM          09/23/2021              OPH                 0.80             0.80        695.00                          556.00
  Bill

 09/23/2021    BMM      OPH     Participate in hearing on LMI motion for access to           0.70        695.00          $486.50
                                proof of claim forms.
                                                                                             6.40                      $6,513.00

  Plan & Disclosure Stmt. [B320]
 KBD          09/14/2021              PD                  0.20             0.20       1,195.00                         239.00
  Bill

 09/14/2021    KBD      PD      Review motion for extension of exclusivity.                  0.20      1195.00           $239.00
 NPL          09/22/2021              PD                  0.10             0.10        460.00                           46.00
  Bill

 09/22/2021    NPL      PD      Review entered order regarding further extension of          0.10        460.00           $46.00
                                exclusivity periods.
 BMM          09/29/2021              PD                  1.30             1.30        695.00                          903.50
  Bill

 09/29/2021    BMM      PD      Revise Diocese's draft future claims representative          1.30        695.00          $903.50
                                motion.
 KBD          09/29/2021              PD                  0.80             0.80       1,195.00                         956.00
  Bill

 09/29/2021    KBD      PD      Review and prepare comments to Debtor's motion to            0.80      1195.00           $956.00
                                appoint FCR.
 BMM          09/30/2021              PD                  0.30             0.30        695.00                          208.50
  Bill

 09/30/2021    BMM      PD      Calls with A. Butler regarding FCR motion.                   0.30        695.00          $208.50
 KBD          09/30/2021              PD                  0.30             0.30       1,195.00                         358.50
  Bill

 09/30/2021    KBD      PD      Review motion to appoint FCR filed by Debtor.                0.30      1195.00           $358.50
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                            Hours            Rate        Amount
 BMM          09/30/2021              PD                  0.40         0.40             695.00                          278.00
  Bill

 09/30/2021    BMM      PD      Review Debtor's filed FCR motion (.2);                        0.40        695.00          $278.00
                                communication with Committee regarding same (.2).
                                                                                              3.40                      $2,989.50

  Preliminary Injunction
 KHB          09/01/2021              PINJ                0.40         0.40            1,225.00                         490.00
  Bill

 09/01/2021    KHB      PINJ    Email from B. Michael re extension of preliminary             0.40      1225.00           $490.00
                                injunction (.2); emails from SCC re same (.2).
 BMM          09/09/2021              PINJ                0.30         0.30             695.00                          208.50
  Bill

 09/09/2021    BMM      PINJ    Review Debtor's preliminary injunction language               0.30        695.00          $208.50
                                (.2); PSZJ email PSZJ team regarding same (.1).
 KBD          09/10/2021              PINJ                0.20         0.20            1,195.00                         239.00
  Bill

 09/10/2021    KBD      PINJ    Review proposed preliminary injunction stipulation            0.20      1195.00           $239.00
 BMM          09/10/2021              PINJ                0.20         0.20             695.00                          139.00
  Bill

 09/10/2021    BMM      PINJ    Review final preliminary injunction extension draft.          0.20        695.00          $139.00
                                                                                              1.10                      $1,076.50

  Public Notice
 KBD          09/01/2021              PNCT                0.20         0.20            1,195.00                         239.00
  Bill

 09/01/2021    KBD      PNTC    Correspondence among Jones Day and PSZJ                       0.20      1195.00           $239.00
                                regarding bar date order amendment.
 KBD          09/01/2021              PNCT                0.10         0.10            1,195.00                         119.50
  Bill

 09/01/2021    KBD      PNTC    Telephone conference with B. Michael regarding bar            0.10      1195.00           $119.50
                                date order issue.
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                           Hours            Rate        Amount
 BMM          09/02/2021              PNCT                1.60          1.60           695.00                      1,112.00
  Bill

 09/02/2021    BMM      PNTC    Call with K. Dine regarding bar date order.                  1.60        695.00        $1,112.00
 BMM          09/02/2021              PNCT                1.00          1.00           695.00                          695.00
  Bill

 09/02/2021    BMM      PNTC    Discussions with K. Dine and Long Island DAs                 0.60        695.00          $417.00
                                regarding amended bar date order language.
 BMM          09/02/2021              PNCT                1.10          1.10           695.00                          764.50
  Bill

 09/02/2021    BMM      PNTC    Call with Debtor's counsel regarding bar date order          0.60        695.00          $417.00
                                language.
 NPL          09/02/2021              PNCT                0.10          0.10           460.00                           46.00
  Bill

 09/02/2021    NPL      PNTC    Email communications with B. Michael regarding               0.10        460.00           $46.00
                                Committee objection to motion amending bar date.
 KBD          09/02/2021              PNCT                1.60          1.60          1,195.00                     1,912.00
  Bill

 09/02/2021    KBD      PNTC    Analyze issues relating to bar date order w / B.             1.60      1195.00         $1,912.00
                                Michael.
 KBD          09/02/2021              PNCT                0.40          0.40          1,195.00                         478.00
  Bill

 09/02/2021    KBD      PNTC    Telephone conference B. Michael and D. Brown of              0.40      1195.00           $478.00
                                Suffolk Cty. DA regarding bar date order matters.
 KBD          09/02/2021              PNCT                0.20          0.20          1,195.00                         239.00
  Bill

 09/02/2021    KBD      PNTC    Telephone conference with B. Michael and A. Burke            0.20      1195.00           $239.00
                                of Nassau DA regarding bar date order matters.
 KBD          09/02/2021              PNCT                0.30          0.30          1,195.00                         358.50
  Bill

 09/02/2021    KBD      PNTC    Correspondence to/from Jones Day and Chambers                0.30      1195.00           $358.50
                                regarding Bar Date order.
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                           Hours            Rate        Amount
 KBD          09/02/2021              PNCT                0.60         0.60           1,195.00                         717.00
  Bill

 09/02/2021    KBD      PNTC    Telephone conference with B. Rosenblum, L.                   0.60      1195.00           $717.00
                                Maleson and B. Michael regarding bar date order.
 KBD          09/06/2021              PNCT                0.10         0.10           1,195.00                         119.50
  Bill

 09/06/2021    KBD      PNTC    Correspondence regarding bar date issues to/from             0.10      1195.00           $119.50
                                PSZJ team.
 BMM          09/07/2021              PNCT                0.30         0.30            695.00                          208.50
  Bill

 09/07/2021    BMM      PNTC    Communication with PSZJ team regarding bar date              0.30        695.00          $208.50
                                order motion.
 BMM          09/07/2021              PNCT                0.50         0.50            695.00                          347.50
  Bill

 09/07/2021    BMM      PNTC    Research mandatory reporting requirements in NY.             0.50        695.00          $347.50
 BMM          09/08/2021              PNCT                0.30         0.30            695.00                          208.50
  Bill

 09/08/2021    BMM      PNTC    Calls with J. Eisen regarding bar date hearing               0.30        695.00          $208.50
                                scheduling.
 BMM          09/08/2021              PNCT                1.30         1.30            695.00                          903.50
  Bill

 09/08/2021    BMM      PNTC    Research on mandatory reporting requirements.                1.30        695.00          $903.50
 KBD          09/08/2021              PNCT                0.10         0.10           1,195.00                         119.50
  Bill

 09/08/2021    KBD      PNTC    Review correspondence relating to bar date matter.           0.10      1195.00           $119.50
 BMM          09/09/2021              PNCT                0.90         0.90            695.00                          625.50
  Bill

 09/09/2021    BMM      PNTC    Call with Debtor's counsel regarding bar date order          0.80        695.00          $556.00
                                language.
 BMM          09/09/2021              PNCT                0.60         0.60            695.00                          417.00
  Bill

 09/09/2021    BMM      PNTC    Call with K. Dine regarding bar date motion next             0.50        695.00          $347.50
                                steps.
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                           Hours            Rate        Amount
 BMM          09/09/2021              PNCT               0.30          0.30            695.00                          208.50
  Bill

 09/09/2021    BMM      PNTC    Call with A. Burke, DA, and K. Dine regarding bar            0.30        695.00          $208.50
                                date motion.
 BMM          09/09/2021              PNCT               0.20          0.20            695.00                          139.00
  Bill

 09/09/2021    BMM      PNTC    Communication with D. Brown regarding bar date               0.20        695.00          $139.00
                                motion next steps.
 BMM          09/09/2021              PNCT               0.30          0.30            695.00                          208.50
  Bill

 09/09/2021    BMM      PNTC    Draft revised proposed order language regarding bar          0.30        695.00          $208.50
                                date motion.
 BMM          09/09/2021              PNCT               0.50          0.50            695.00                          347.50
  Bill

 09/09/2021    BMM      PNTC    Email to Debtor's counsel regarding bar date order           0.50        695.00          $347.50
                                language.
 KBD          09/09/2021              PNCT               0.70          0.70           1,195.00                         836.50
  Bill

 09/09/2021    KBD      PNTC    Call regarding bar date issues with Jones Day and            0.80      1195.00           $956.00
                                PSZJ.
 KBD          09/09/2021              PNCT               0.50          0.50           1,195.00                         597.50
  Bill

 09/09/2021    KBD      PNTC    Follow-up regarding bar date issues w/B. Michael.            0.50      1195.00           $597.50
 KBD          09/09/2021              PNCT               0.30          0.30           1,195.00                         358.50
  Bill

 09/09/2021    KBD      PNTC    Call w/A. Burke of Nassau Cty Attorney and B.                0.30      1195.00           $358.50
                                Michael regarding bar date matters.
 KBD          09/09/2021              PNCT               0.20          0.20           1,195.00                         239.00
  Bill

 09/09/2021    KBD      PNTC    Correspondence among Jones Day and PSZJ relating             0.20      1195.00           $239.00
                                to bar date issues.
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                           Hours            Rate        Amount
 BMM          09/10/2021              PNCT                0.30         0.30            695.00                          208.50
  Bill

 09/10/2021    BMM      PNTC    Call with K. Dine regarding bar date issues.                 0.30        695.00          $208.50
 BMM          09/10/2021              PNCT                0.50         0.50            695.00                          347.50
  Bill

 09/10/2021    BMM      PNTC    Draft email to Committee regarding bar date motion.          0.50        695.00          $347.50
 BMM          09/10/2021              PNCT                0.60         0.60            695.00                          417.00
  Bill

 09/10/2021    BMM      PNTC    Communications with DAs and Debtor regarding                 0.60        695.00          $417.00
                                bar date order proposed language.
 KBD          09/10/2021              PNCT                0.20         0.20           1,195.00                         239.00
  Bill

 09/10/2021    KBD      PNTC    Correspondence among PSZJ team and Jones Day                 0.20      1195.00           $239.00
                                regarding bar date language.
 KBD          09/10/2021              PNCT                0.30         0.30           1,195.00                         358.50
  Bill

 09/10/2021    KBD      PNTC    Telephone conference with B. Michael regarding bar           0.30      1195.00           $358.50
                                date issues.
 KBD          09/17/2021              PNCT                0.30         0.30           1,195.00                         358.50
  Bill

 09/17/2021    KBD      PNTC    Review Debtor response to LMI motion regarding               0.30      1195.00           $358.50
                                claims.
 IAWN         09/21/2021              PNCT                0.20         0.20           1,145.00                         229.00
  Bill

 09/21/2021    IAWN PNTC        Review debtors reply to LMI proof of claim                   0.20      1145.00           $229.00
                                pleading.
 KBD          09/21/2021              PNCT                0.20         0.20           1,195.00                         239.00
  Bill

 09/21/2021    KBD      PNTC    Review LMI reply in support of motion.                       0.20      1195.00           $239.00
 KBD          09/21/2021              PNCT                0.30         0.30           1,195.00                         358.50
  Bill

 09/21/2021    KBD      PNTC    Analyze issues relating to request from Jones Day            0.30      1195.00           $358.50
                                relating to bar date order.
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                               807     Filed 11/15/21
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                                                                                          Hours            Rate         Amount
 KBD          09/22/2021              PNCT                0.20        0.20           1,195.00                         239.00
  Bill

 09/22/2021    KBD      PNTC    Correspondence among PSZJ team and Jones Day                0.20      1195.00           $239.00
                                regarding bar date matters.
 KBD          09/23/2021              PNCT                0.10        0.10           1,195.00                         119.50
  Bill

 09/23/2021    KBD      PNTC    Correspondence with Jones Day regarding bar date            0.10      1195.00           $119.50
                                confidentiality.
 KBD          09/24/2021              PNCT                0.20        0.20           1,195.00                         239.00
  Bill

 09/24/2021    KBD      PNTC    Correspondence relating to proposed bar date order          0.20      1195.00           $239.00
                                                                                           16.70                      $15,273.00

  State Court Litigation
 BMM          09/07/2021              SCL                 0.40        0.40            695.00                          278.00
  Bill

 09/07/2021    BMM      SCL     Prepare chart of parish lawsuits.                           0.40        695.00          $278.00
 BMM          09/07/2021              SCL                 2.60        2.60            695.00                      1,807.00
  Bill

 09/07/2021    BMM      SCL     Prepare chart of parish lawsuits.                           2.60        695.00         $1,807.00
 BMM          09/08/2021              SCL                 1.80        1.80            695.00                      1,251.00
  Bill

 09/08/2021    BMM      SCL     Update parish lawsuit chart.                                1.80        695.00         $1,251.00
 BMM          09/10/2021              SCL                 1.60        1.60            695.00                      1,112.00
  Bill

 09/10/2021    BMM      SCL     Update parish lawsuit chart.                                1.60        695.00         $1,112.00
 BMM          09/13/2021              SCL                 0.40        0.40            695.00                          278.00
  Bill

 09/13/2021    BMM      SCL     Update parish lawsuit chart.                                0.40        695.00          $278.00
 BMM          09/14/2021              SCL                 1.00        1.00            695.00                          695.00
  Bill

 09/14/2021    BMM      SCL     Prepare chart of parish lawsuits.                           1.00        695.00          $695.00
         20-12345-scc      Doc 848
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 BMM          09/15/2021              SCL                 1.80         1.80           695.00                      1,251.00
  Bill

 09/15/2021    BMM      SCL     Prepare chart of parish lawsuits.                           1.80        695.00         $1,251.00
 BMM          09/15/2021              SCL                 1.00         1.00           695.00                          695.00
  Bill

 09/15/2021    BMM      SCL     Update parish lawsuit chart.                                1.00        695.00          $695.00
 DHH          09/21/2021              SCL                 4.40         4.40           395.00                      1,738.00
  Bill

 09/21/2021    DHH      SCL     Add information to chart of parish lawsuits.                4.40        395.00         $1,738.00
 BMM          09/22/2021              SCL                 0.70         0.70           695.00                          486.50
  Bill

 09/22/2021    BMM      SCL     Update parish lawsuit chart.                                0.70        695.00          $486.50
 BMM          09/22/2021              SCL                 0.30         0.30           695.00                          208.50
  Bill

 09/22/2021    BMM      SCL     Update parish lawsuit chart.                                0.30        695.00          $208.50
 BMM          09/22/2021              SCL                 2.70         2.70           695.00                      1,876.50
  Bill

 09/22/2021    BMM      SCL     Update parish lawsuit chart.                                2.70        695.00         $1,876.50
 BMM          09/30/2021              SCL                 0.30         0.30           695.00                          208.50
  Bill

 09/30/2021    BMM      SCL     Communication with SCC regarding state court stay           0.30        695.00          $208.50
                                litigation.
                                                                                           19.00                      $11,885.00

  Seminary Transfers
 GSG          09/01/2021              SEM                 0.10         0.10           950.00                           95.00
  Bill

 09/01/2021    GSG      SEM     Review proposed seminary counteroffer.                      0.10        950.00           $95.00
 KBD          09/01/2021              SEM                 0.30         0.30          1,195.00                         358.50
  Bill

 09/01/2021    KBD      SEM     Review and prepare comments to letter to Seminary.          0.30      1195.00           $358.50
 KBD          09/03/2021              SEM                 0.30         0.30          1,195.00                         358.50
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                               807     Filed 11/15/21
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                                                                                            Hours            Rate        Amount
  Bill

 09/03/2021    KBD      SEM     Review information regarding seminary property.               0.30      1195.00           $358.50
 JIS          09/07/2021              SEM                 0.20          0.20           1,345.00                         269.00
  Bill

 09/07/2021    JIS      SEM     Review memo regarding development of Seminary                 0.20      1345.00           $269.00
                                property.
 KHB          09/07/2021              SEM                 0.70          0.70           1,225.00                         857.50
  Bill

 09/07/2021    KHB      SEM     Review memo from C. Murphy re development                     0.70      1225.00           $857.50
                                issues for seminary property (.5); emails with K.
                                Dine and J. Stang re same (.2).
 KHB          09/08/2021              SEM                 1.60          1.60           1,225.00                     1,960.00
  Bill

 09/08/2021    KHB      SEM     Emails W. Heauer re settlement proposal discussion            1.60      1225.00         $1,960.00
                                (.2); work on response to settlement proposal (1.0),
                                confer with J. Stang re same (.4).
 GSG          09/08/2021              SEM                 0.30          0.30            950.00                          285.00
  Bill

 09/08/2021    GSG      SEM     Review emails re seminary transfers and proposed              0.30        950.00          $285.00
                                counter offer.
 KBD          09/08/2021              SEM                 0.20          0.20           1,195.00                         239.00
  Bill

 09/08/2021    KBD      SEM     Review correspondence among counsel for Debtor,               0.20      1195.00           $239.00
                                seminary and special mediator regarding next steps
 KBD          09/09/2021              SEM                 1.20          1.20           1,195.00                     1,434.00
  Bill

 09/09/2021    KBD      SEM     Call w/Jones Day, counsel for Seminary, special               1.10      1195.00         $1,314.50
                                mediator, counsel for special mediator and PSZJ
                                regarding next steps with respect to seminary
                                transfer
 KHB          09/09/2021              SEM                 2.30          2.30           1,225.00                     2,817.50
  Bill

 09/09/2021    KHB      SEM     Call with counsel for Seminary Corp and Debtor re             2.30      1225.00         $2,817.50
                                Seminary cash crunch and request for loan (1.1);
                                confer with B. Michael and K. Dine re same (.2);
                                emails with K. Dine re follow up calls with Jones
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                                                                                          Hours            Rate        Amount
                                Day and Special Mediator re same (.2); emails J.
                                Stang, K. Dine and B. Michael re transmission of
                                draft complaint to Seminary (.3); work on draft
                                complaint (.3); emails with B. Michael re Seminary
                                governance issues (.2).
 GSG          09/09/2021              SEM                1.10         1.10            950.00                      1,045.00
  Bill

 09/09/2021    GSG      SEM     Conference call among PSZJ team, Debtor's counsel,          1.10        950.00        $1,045.00
                                and seminary counsel re settlement discussions.
 GSG          09/09/2021              SEM                0.20         0.20            950.00                          190.00
  Bill

 09/09/2021    GSG      SEM     Review emails and IAC exhibits re Seminary Corp.            0.20        950.00          $190.00
                                structure.
 GSG          09/09/2021              SEM                0.30         0.30            950.00                          285.00
  Bill

 09/09/2021    GSG      SEM     Revise draft complaint and email Debtor’s counsel           0.30        950.00          $285.00
                                re permission to circulate unredacted draft to
                                seminary counsel.
 KBD          09/09/2021              SEM                0.30         0.30           1,195.00                         358.50
  Bill

 09/09/2021    KBD      SEM     Correspondence relating to seminary issues among            0.30      1195.00           $358.50
                                PSZJ and Jones Day teams.
 KBD          09/09/2021              SEM                0.20         0.20           1,195.00                         239.00
  Bill

 09/09/2021    KBD      SEM     Review projections provided by seminary.                    0.20      1195.00           $239.00
 KBD          09/09/2021              SEM                0.20         0.20           1,195.00                         239.00
  Bill

 09/09/2021    KBD      SEM     Follow-up call regarding seminary matters w/K.              0.20      1195.00           $239.00
                                Brown and B. Michael
 BMM          09/09/2021              SEM                0.30         0.30            695.00                          208.50
  Bill

 09/09/2021    BMM      SEM     Review K. Brown edits to seminary letter.                   0.30        695.00          $208.50
 BMM          09/09/2021              SEM                1.20         1.20            695.00                          834.00
  Bill

 09/09/2021    BMM      SEM     Call with Diocese, Committee, and seminary                  1.10        695.00          $764.50
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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                                                                                           Hours            Rate        Amount
                                regarding settlement.
 BMM          09/09/2021              SEM                0.40          0.40            695.00                          278.00
  Bill

 09/09/2021    BMM      SEM     Follow up from Seminary meeting (with K. Dine                0.40        695.00          $278.00
                                and K. Brown in part).
 KHB          09/10/2021              SEM                0.20          0.20           1,225.00                         245.00
  Bill

 09/10/2021    KHB      SEM     Emails from K. Dine transmitting draft of complaint          0.20      1225.00           $245.00
                                and requesting information.
 KBD          09/10/2021              SEM                0.20          0.20           1,195.00                         239.00
  Bill

 09/10/2021    KBD      SEM     Draft correspondence to seminary counsel, Jones              0.20      1195.00           $239.00
                                Day and Special Mediator and counsel regarding
                                Seminary transfer
 KBD          09/10/2021              SEM                0.20          0.20           1,195.00                         239.00
  Bill

 09/10/2021    KBD      SEM     Correspondence among PSZJ teams, Jones Day and               0.20      1195.00           $239.00
                                real estate counsel regarding seminary transfer
                                issues.
 JIS          09/13/2021              SEM                0.90          0.90           1,345.00                     1,210.50
  Bill

 09/13/2021    JIS      SEM     Call with Debtor regarding seminary action.                  0.90      1345.00         $1,210.50
 JIS          09/13/2021              SEM                0.50          0.50           1,345.00                         672.50
  Bill

 09/13/2021    JIS      SEM     Follow up call w/PSZJ team re call with Debtor               0.50      1345.00           $672.50
                                regarding seminary.
 JIS          09/13/2021              SEM                1.60          1.60           1,345.00                     2,152.00
  Bill

 09/13/2021    JIS      SEM     Call w/K. Brown re issues related to Seminary                0.20      1345.00           $269.00
                                settlement offer.
 JIS          09/13/2021              SEM                0.30          0.30           1,345.00                         403.50
  Bill

 09/13/2021    JIS      SEM     Call K. Dine re follow up on calls with Debtor               0.30      1345.00           $403.50
                                regarding IAC actions.
 KHB          09/13/2021              SEM                1.60          1.60           1,225.00                     1,960.00
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  Bill

 09/13/2021    KHB      SEM     Confer with J. Stang re proposed loan to Seminary            1.60      1225.00         $1,960.00
                                (.2); call with B. Michael, K. Dine, J. Stang and
                                Debtor’s counsel re Committee position re loan to
                                seminary (.9); analyze merits of Seminary defenses
                                (.5).
 KBD          09/13/2021              SEM                 0.90         0.90           1,195.00                     1,075.50
  Bill

 09/13/2021    KBD      SEM     Call among PSZJ team and Jones Day regarding                 0.90      1195.00         $1,075.50
                                Seminary request.
 BMM          09/13/2021              SEM                 0.90         0.90            695.00                          625.50
  Bill

 09/13/2021    BMM      SEM     Meeting with Debtor and Committee regarding                  0.90        695.00          $625.50
                                seminary.
 BMM          09/14/2021              SEM                 0.30         0.30            695.00                          208.50
  Bill

 09/14/2021    BMM      SEM     Communication with PSZJ and RMF regarding                    0.30        695.00          $208.50
                                seminary research.
 SLL          09/15/2021              SEM                 0.40         0.40            395.00                          158.00
  Bill

 09/15/2021    SLL      SEM     Prepare for efiling and efile Notice of Presentment          0.40        395.00          $158.00
                                and Certificate of Service.
 KBD          09/15/2021              SEM                 0.20         0.20           1,195.00                         239.00
  Bill

 09/15/2021    KBD      SEM     Review proposed notice of presentment relating to            0.20      1195.00           $239.00
                                Seminary Stipulation.
 KBD          09/15/2021              SEM                 0.30         0.30           1,195.00                         358.50
  Bill

 09/15/2021    KBD      SEM     Review memorandum regarding certain seminary                 0.30      1195.00           $358.50
                                issues from special counsel.
 BMM          09/15/2021              SEM                 0.10         0.10            695.00                           69.50
  Bill

 09/15/2021    BMM      SEM     Revise draft seminary complaint.                             0.10        695.00           $69.50
         20-12345-scc      Doc 848
                               807     Filed 11/15/21
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 BMM          09/15/2021              SEM                 0.20             0.20       695.00                          139.00
  Bill

 09/15/2021    BMM      SEM     Prepare seminary stipulation for filing.                    0.20        695.00          $139.00
 BMM          09/15/2021              SEM                 0.40             0.40       695.00                          278.00
  Bill

 09/15/2021    BMM      SEM     Prepare notice of presentment of seminary                   0.40        695.00          $278.00
                                stipulation.
 BMM          09/15/2021              SEM                 0.40             0.40       695.00                          278.00
  Bill

 09/15/2021    BMM      SEM     Prepare and file notice of presentment.                     0.40        695.00          $278.00
 BMM          09/16/2021              SEM                 0.60             0.60       695.00                          417.00
  Bill

 09/16/2021    BMM      SEM     Revise draft settlement letter regarding seminary.          0.60        695.00          $417.00
 KBD          09/17/2021              SEM                 0.40             0.40      1,195.00                         478.00
  Bill

 09/17/2021    KBD      SEM     Review and prepare comments to draft seminary               0.40      1195.00           $478.00
                                letter
 KHB          09/20/2021              SEM                 0.30             0.30      1,225.00                         367.50
  Bill

 09/20/2021    KHB      SEM     Emails with J. Stang, M. Michael and C. Murry re            0.30      1225.00           $367.50
                                monetizing seminary property.
 GSG          09/20/2021              SEM                 0.30             0.30       950.00                          285.00
  Bill

 09/20/2021    GSG      SEM     Review Seminary Complaint and online binder of              0.30        950.00          $285.00
                                supporting documents.
 KBD          09/20/2021              SEM                 0.10             0.10      1,195.00                         119.50
  Bill

 09/20/2021    KBD      SEM     Review correspondence regarding seminary matters            0.10      1195.00           $119.50
                                with real estate counsel
 KBD          09/21/2021              SEM                 0.20             0.20      1,195.00                         239.00
  Bill

 09/21/2021    KBD      SEM     Correspondence among PSZJ team and real estate              0.20      1195.00           $239.00
                                counsel regarding seminary.
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 BMM          09/21/2021              SEM                 0.40         0.40             695.00                          278.00
  Bill

 09/21/2021    BMM      SEM     Call with R. Strong regarding seminary financials.            0.40        695.00          $278.00
 KHB          09/22/2021              SEM                 1.10         1.10            1,225.00                     1,347.50
  Bill

 09/22/2021    KHB      SEM     Emails from C. Murray re meeting with Mayor (.2);             1.10      1225.00         $1,347.50
                                review and revise response to settlement proposal
                                (.6); review report from J. Chillemi re monetization
                                of Seminary Property (.2); emails with J. Stang re
                                subdivision process (.1).
 KHB          09/23/2021              SEM                 0.50         0.50            1,225.00                         612.50
  Bill

 09/23/2021    KHB      SEM     Review email from counsel from Seminary Corp re               0.50      1225.00           $612.50
                                financing and monetizing seminary property (.3)
                                email to K. Dine and J. Stang re same (.2).
 GSG          09/23/2021              SEM                 0.20         0.20             950.00                          190.00
  Bill

 09/23/2021    GSG      SEM     Review email and proposal re disposition of                   0.20        950.00          $190.00
                                seminary property.
 NPL          09/23/2021              SEM                 0.30         0.30             460.00                          138.00
  Bill

 09/23/2021    NPL      SEM     Email communications with B. Michael regarding                0.30        460.00          $138.00
                                objection deadline on notice of presentment of joint
                                stipulation regarding transfer of seminary property.
 NPL          09/23/2021              SEM                 0.20         0.20             460.00                           92.00
  Bill

 09/23/2021    NPL      SEM     Draft email to chambers regarding no objections to            0.20        460.00           $92.00
                                presentment of joint stipulation regarding seminary
                                transfer of property.
 KBD          09/23/2021              SEM                 0.40         0.40            1,195.00                         478.00
  Bill

 09/23/2021    KBD      SEM     Correspondence among counsel for seminary, Jones              0.40      1195.00           $478.00
                                Day and PSZJ team and Committee real estate
                                counsel regarding outstanding issues.
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 KBD          09/23/2021              SEM                 0.40         0.40           1,195.00                         478.00
  Bill

 09/23/2021    KBD      SEM     Analyze issues relating to seminary property.                0.40      1195.00           $478.00
 KBD          09/23/2021              SEM                 0.10         0.10           1,195.00                         119.50
  Bill

 09/23/2021    KBD      SEM     Review correspondence to Chambers re stipulation.            0.10      1195.00           $119.50
 BMM          09/23/2021              SEM                 0.30         0.30            695.00                          208.50
  Bill

 09/23/2021    BMM      SEM     Review BRG questions for seminary.                           0.30        695.00          $208.50
 BMM          09/23/2021              SEM                 0.70         0.70            695.00                          486.50
  Bill

 09/23/2021    BMM      SEM     Analyze and draft response to communication from             0.70        695.00          $486.50
                                seminary.
 BMM          09/23/2021              SEM                 0.30         0.30            695.00                          208.50
  Bill

 09/23/2021    BMM      SEM     Review procedures for notice of presentment (with            0.30        695.00          $208.50
                                N. Lockwood).
 GSG          09/24/2021              SEM                 0.20         0.20            950.00                          190.00
  Bill

 09/24/2021    GSG      SEM     Review stipulation prohibiting sale etc of seminary          0.20        950.00          $190.00
                                and emails N. Lockwood re revisions to stip/order.
 NPL          09/24/2021              SEM                 0.50         0.50            460.00                          230.00
  Bill

 09/24/2021    NPL      SEM     Review multiple versions of joint stipulation                0.50        460.00          $230.00
                                regarding transfer of seminary properties.
 NPL          09/24/2021              SEM                 0.20         0.20            460.00                           92.00
  Bill

 09/24/2021    NPL      SEM     Email communications with B. Anavim regarding                0.20        460.00           $92.00
                                multiple versions of joint stipulation regarding
                                transfer of seminary property.
 NPL          09/24/2021              SEM                 0.30         0.30            460.00                          138.00
  Bill

 09/24/2021    NPL      SEM     Email communications with B. Michael regarding               0.30        460.00          $138.00
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                                                                                               Hours            Rate        Amount
                                multiple versions of joint stipulation regarding
                                transfer of seminary property
 NPL          09/24/2021              SEM                  0.10          0.10              460.00                           46.00
  Bill

 09/24/2021    NPL      SEM     Review email from chambers regarding order on                    0.10        460.00           $46.00
                                joint stipulation regarding transfer of seminary
                                property.
 KBD          09/24/2021              SEM                  0.60          0.60             1,195.00                         717.00
  Bill

 09/24/2021    KBD      SEM     Review materials relating to seminary                            0.60      1195.00           $717.00
 JIS          09/27/2021              SEM                  0.30          0.30             1,345.00                         403.50
  Bill

 09/27/2021    JIS      SEM     Call with PSZJ team regarding seminary issues.                   0.40      1345.00           $538.00
 JIS          09/27/2021              SEM                  0.20          0.20             1,345.00                         269.00
  Bill

 09/27/2021    JIS      SEM     Review letter from Seminary Counsel regarding sale               0.20      1345.00           $269.00
                                of real property.
 KHB          09/27/2021              SEM                  0.40          0.40             1,225.00                         490.00
  Bill

 09/27/2021    KHB      SEM     Call with K. Dine; J. Stang and B. Michael re                    0.40      1225.00           $490.00
                                response to seminary request for funding.
 GSG          09/27/2021              SEM                  0.10          0.10              950.00                           95.00
  Bill

 09/27/2021    GSG      SEM     Review emails re seminary property disposition and               0.10        950.00           $95.00
                                communications with counsel.
 GSG          09/27/2021              SEM                  0.40          0.40              950.00                          380.00
  Bill

 09/27/2021    GSG      SEM     Conference call with K. Brown, J. Stang, B.                      0.40        950.00          $380.00
                                Michael, and K. Dine re seminary complaint and
                                status of litigation.
 NPL          09/27/2021              SEM                  0.20          0.20              460.00                           92.00
  Bill

 09/27/2021    NPL      SEM     Email communications with B. Micahel regarding                   0.20        460.00           $92.00
                                status of order on joint stipulation regarding transfer
                                of seminary property.
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 NPL          09/27/2021              SEM                 0.40          0.40            460.00                          184.00
  Bill

 09/27/2021    NPL      SEM     Review final version of joint stipulation regarding           0.40        460.00          $184.00
                                transfer of seminary property against filed version.
 KBD          09/27/2021              SEM                 0.20          0.20           1,195.00                         239.00
  Bill

 09/27/2021    KBD      SEM     Review correspondence regarding seminary matters.             0.20      1195.00           $239.00
 KBD          09/27/2021              SEM                 0.40          0.40           1,195.00                         478.00
  Bill

 09/27/2021    KBD      SEM     Call w/K. Brown, J. Stang, B. Michael and G.                  0.40      1195.00           $478.00
                                Greenwood regarding seminary.
 KBD          09/27/2021              SEM                 0.20          0.20           1,195.00                         239.00
  Bill

 09/27/2021    KBD      SEM     Prepare and review correspondence with counsel for            0.20      1195.00           $239.00
                                seminary, Jones Day and the Special Mediator.
 BMM          09/27/2021              SEM                 0.50          0.50            695.00                          347.50
  Bill

 09/27/2021    BMM      SEM     Review issues with proposed order for stipulation             0.50        695.00          $347.50
                                and notice of presentment.
 BMM          09/27/2021              SEM                 0.50          0.50            695.00                          347.50
  Bill

 09/27/2021    BMM      SEM     Call with PSZJ team regarding seminary response.              0.40        695.00          $278.00
 KBD          09/28/2021              SEM                 0.10          0.10           1,195.00                         119.50
  Bill

 09/28/2021    KBD      SEM     Correspondence among seminary counsel, PSZJ                   0.10      1195.00           $119.50
                                team and Jones Day regarding outstanding issues.
 BMM          09/28/2021              SEM                 0.90          0.90            695.00                          625.50
  Bill

 09/28/2021    BMM      SEM     Draft memo to Committee regarding seminary.                   0.90        695.00          $625.50
                                transfer.
 BMM          09/28/2021              SEM                 2.20          2.20            695.00                      1,529.00
  Bill

 09/28/2021    BMM      SEM     Draft memo to Committee regarding seminary                    2.20        695.00        $1,529.00
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                                transfer.
 KBD          09/29/2021               SEM              0.10         0.10        1,195.00                         119.50
  Bill

 09/29/2021    KBD      SEM     Review correspondence from real estate counsel          0.10      1195.00           $119.50
                                regarding seminary.
 BMM          09/30/2021               SEM              1.20         1.20         695.00                          834.00
  Bill

 09/30/2021    BMM      SEM     Draft memo to Committee regarding seminary              1.20        695.00          $834.00
                                transfer.
 BMM          09/30/2021               SEM              0.60         0.60         695.00                          417.00
  Bill

 09/30/2021    BMM      SEM     Draft memo to Committee regarding Seminary              0.60        695.00          $417.00
                                transfer.
                                                                                       37.00                      $36,060.00
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  TOTAL SERVICES FOR THIS MATTER:                                                             $340,555.50
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 Expenses
  TR           07/13/2021                                    $73.20
   Bill
 07/13/2021   TR         Transcript [E116] Veritext Legal Solutions, Inv. 5130033,      73.20
                         NPL
  CC           08/10/2021                                    $70.00
   Bill
 08/10/2021   CC         Conference Call [E105] Court Solutions LLC, KBD                70.00
  CC           08/19/2021                                    $70.00
   Bill
 08/19/2021   CC         Conference Call [E105] Court Solutions LLC, KBD                70.00
  CC           08/23/2021                                    $70.00
   Bill
 08/23/2021   CC         Conference Call [E105] Court Solutions LLC, KBD                70.00
  LN           09/07/2021                                    $21.98
   Bill
 09/07/2021   LN         18491.00002 Lexis Charges for 09-07-21                         21.98
  LN           09/07/2021                                    $42.18
   Bill
 09/07/2021   LN         18491.00002 Lexis Charges for 09-07-21                         42.18
  LN           09/08/2021                                    $11.00
   Bill
 09/08/2021   LN         18491.00002 Lexis Charges for 09-08-21                         11.00
  LN           09/09/2021                                     $1.34
   Bill
 09/09/2021   LN         18491.00002 Lexis Charges for 09-09-21                          1.34
  LN           09/09/2021                                     $2.67
   Bill
 09/09/2021   LN         18491.00002 Lexis Charges for 09-09-21                          2.67
  LN           09/09/2021                                    $18.89
   Bill
 09/09/2021   LN         18491.00002 Lexis Charges for 09-09-21                         18.89
  LN           09/10/2021                                    $32.98
   Bill
 09/10/2021   LN         18491.00002 Lexis Charges for 09-10-21                         32.98
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                             807       Filed 11/15/21
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  LN           09/13/2021                                  $2.68
   Bill
 09/13/2021   LN         18491.00002 Lexis Charges for 09-13-21                         2.68
  LN           09/13/2021                                  $1.34
   Bill
 09/13/2021   LN         18491.00002 Lexis Charges for 09-13-21                         1.34
  LN           09/13/2021                                 $18.90
   Bill
 09/13/2021   LN         18491.00002 Lexis Charges for 09-13-21                        18.90
  RE2          09/13/2021                                  $0.90
   Bill
 09/13/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                    0.90
  RE2          09/13/2021                                  $1.00
   Bill
 09/13/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                   1.00
  RE2          09/13/2021                                  $0.70
   Bill
 09/13/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                    0.70
  RE2          09/13/2021                                  $0.80
   Bill
 09/13/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                    0.80
  RE2          09/13/2021                                  $0.70
   Bill
 09/13/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                    0.70
  RE2          09/13/2021                                  $0.70
   Bill
 09/13/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                    0.70
  RE2          09/13/2021                                  $0.80
   Bill
 09/13/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                    0.80
  RE2          09/13/2021                                  $0.70
   Bill
 09/13/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                    0.70
  RE2          09/13/2021                                  $1.00
   Bill
 09/13/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                   1.00
     20-12345-scc        Doc 848
                             807     Filed 11/15/21
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  RE2          09/13/2021                               $1.50
   Bill
 09/13/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
  RE2          09/13/2021                               $0.70
   Bill
 09/13/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/13/2021                               $0.70
   Bill
 09/13/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/13/2021                               $0.70
   Bill
 09/13/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/13/2021                               $0.70
   Bill
 09/13/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/13/2021                               $1.20
   Bill
 09/13/2021   RE2        SCAN/COPY ( 12 @0.10 PER PG)                                 1.20
  RE2          09/13/2021                               $0.80
   Bill
 09/13/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                  0.80
  RE2          09/13/2021                               $1.40
   Bill
 09/13/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/13/2021                               $0.70
   Bill
 09/13/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/13/2021                               $0.70
   Bill
 09/13/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/13/2021                               $1.40
   Bill
 09/13/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/14/2021                               $1.40
   Bill
 09/14/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
       20-12345-scc      Doc 848
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  PO           09/15/2021                               $2.92
   Bill
 09/15/2021   PO         Postage Charges                                               2.92
  RE           09/15/2021                               $8.80
   Bill
 09/15/2021   RE         ( 44 @0.20 PER PG)                                            8.80
  RE2          09/15/2021                               $1.50
   Bill
 09/15/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
  RE2          09/15/2021                               $1.50
   Bill
 09/15/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
  RE2          09/15/2021                               $1.40
   Bill
 09/15/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                  1.40
  RE2          09/15/2021                               $1.60
   Bill
 09/15/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                  1.60
  RE2          09/15/2021                               $1.10
   Bill
 09/15/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
  RE2          09/15/2021                               $1.50
   Bill
 09/15/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
  RE2          09/15/2021                               $1.50
   Bill
 09/15/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
  RE2          09/15/2021                               $1.50
   Bill
 09/15/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
  RE2          09/15/2021                               $2.80
   Bill
 09/15/2021   RE2        SCAN/COPY ( 28 @0.10 PER PG)                                  2.80
  RE2          09/15/2021                               $0.70
   Bill
 09/15/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
       20-12345-scc      Doc 848
                             807      Filed 11/15/21
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  RE2          09/15/2021                               $0.70
   Bill
 09/15/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
  RE2          09/15/2021                               $3.40
   Bill
 09/15/2021   RE2        SCAN/COPY ( 34 @0.10 PER PG)                                  3.40
  RE2          09/15/2021                               $0.70
   Bill
 09/15/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
  RE2          09/15/2021                               $1.40
   Bill
 09/15/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                  1.40
  RE2          09/15/2021                               $1.50
   Bill
 09/15/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
  RE2          09/15/2021                               $0.70
   Bill
 09/15/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
  RE2          09/15/2021                               $0.70
   Bill
 09/15/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
  RE2          09/15/2021                               $0.70
   Bill
 09/15/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
  RE2          09/15/2021                               $0.70
   Bill
 09/15/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
  RE2          09/15/2021                               $2.30
   Bill
 09/15/2021   RE2        SCAN/COPY ( 23 @0.10 PER PG)                                  2.30
  PO           09/17/2021                               $2.12
   Bill
 09/17/2021   PO         Postage Charges                                               2.12
  RE           09/17/2021                               $2.40
   Bill
 09/17/2021   RE         ( 12 @0.20 PER PG)                                            2.40
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                             807     Filed 11/15/21
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  RE2          09/17/2021                               $0.70
   Bill
 09/17/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/17/2021                               $0.70
   Bill
 09/17/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/17/2021                               $0.70
   Bill
 09/17/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/17/2021                               $0.60
   Bill
 09/17/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
  RE2          09/17/2021                               $0.60
   Bill
 09/17/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
  RE2          09/17/2021                               $1.40
   Bill
 09/17/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/17/2021                               $0.70
   Bill
 09/17/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/17/2021                               $2.30
   Bill
 09/17/2021   RE2        SCAN/COPY ( 23 @0.10 PER PG)                                 2.30
  RE2          09/17/2021                               $0.80
   Bill
 09/17/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                  0.80
  RE2          09/17/2021                               $0.60
   Bill
 09/17/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
  RE2          09/17/2021                               $0.60
   Bill
 09/17/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
  RE2          09/17/2021                               $0.60
   Bill
 09/17/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
     20-12345-scc        Doc 848
                             807     Filed 11/15/21
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  RE2          09/17/2021                               $1.40
   Bill
 09/17/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/17/2021                               $1.50
   Bill
 09/17/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
  RE2          09/17/2021                               $0.70
   Bill
 09/17/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/17/2021                               $0.70
   Bill
 09/17/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/17/2021                               $0.70
   Bill
 09/17/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/17/2021                               $0.70
   Bill
 09/17/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/17/2021                               $3.40
   Bill
 09/17/2021   RE2        SCAN/COPY ( 34 @0.10 PER PG)                                 3.40
  RE2          09/17/2021                               $1.00
   Bill
 09/17/2021   RE2        SCAN/COPY ( 10 @0.10 PER PG)                                 1.00
  RE2          09/17/2021                               $3.00
   Bill
 09/17/2021   RE2        SCAN/COPY ( 30 @0.10 PER PG)                                 3.00
  RE2          09/21/2021                               $1.40
   Bill
 09/21/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/21/2021                               $1.40
   Bill
 09/21/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/21/2021                               $0.70
   Bill
 09/21/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
     20-12345-scc        Doc 848
                             807     Filed 11/15/21
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  RE2          09/21/2021                               $1.40
   Bill
 09/21/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/21/2021                               $1.70
   Bill
 09/21/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)                                 1.70
  RE2          09/21/2021                               $1.40
   Bill
 09/21/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/21/2021                               $0.80
   Bill
 09/21/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                  0.80
  RE2          09/21/2021                               $1.50
   Bill
 09/21/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
  RE2          09/21/2021                               $1.60
   Bill
 09/21/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
  RE2          09/21/2021                               $1.40
   Bill
 09/21/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/21/2021                               $1.40
   Bill
 09/21/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/21/2021                               $0.80
   Bill
 09/21/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                  0.80
  RE2          09/21/2021                               $1.40
   Bill
 09/21/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/21/2021                               $0.70
   Bill
 09/21/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/21/2021                               $0.70
   Bill
 09/21/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
       20-12345-scc      Doc 848
                             807       Filed 11/15/21
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  RE2          09/21/2021                                  $1.50
   Bill
 09/21/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                   1.50
  RE2          09/21/2021                                  $1.40
   Bill
 09/21/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                   1.40
  RE2          09/21/2021                                  $1.50
   Bill
 09/21/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                   1.50
  RE2          09/21/2021                                  $1.50
   Bill
 09/21/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                   1.50
  RE2          09/21/2021                                  $1.40
   Bill
 09/21/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                   1.40
  RE2          09/21/2021                                  $1.40
   Bill
 09/21/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                   1.40
  LN           09/22/2021                                 $18.90
   Bill
 09/22/2021   LN         18491.00002 Lexis Charges for 09-22-21                        18.90
  LN           09/23/2021                                  $1.34
   Bill
 09/23/2021   LN         18491.00002 Lexis Charges for 09-23-21                         1.34
  LN           09/23/2021                                 $37.78
   Bill
 09/23/2021   LN         18491.00002 Lexis Charges for 09-23-21                        37.78
  RE2          09/23/2021                                  $1.30
   Bill
 09/23/2021   RE2        SCAN/COPY ( 13 @0.10 PER PG)                                   1.30
  RE2          09/23/2021                                  $1.60
   Bill
 09/23/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                   1.60
  RE2          09/23/2021                                  $1.50
   Bill
 09/23/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                   1.50
     20-12345-scc        Doc 848
                             807     Filed 11/15/21
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  RE2          09/23/2021                               $1.50
   Bill
 09/23/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
  RE2          09/23/2021                               $1.40
   Bill
 09/23/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/23/2021                               $1.80
   Bill
 09/23/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                 1.80
  RE2          09/23/2021                               $1.40
   Bill
 09/23/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/23/2021                               $1.60
   Bill
 09/23/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
  RE2          09/23/2021                               $1.70
   Bill
 09/23/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)                                 1.70
  RE2          09/23/2021                               $1.50
   Bill
 09/23/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
  RE2          09/23/2021                               $1.50
   Bill
 09/23/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
  RE2          09/23/2021                               $1.40
   Bill
 09/23/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/23/2021                               $1.40
   Bill
 09/23/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/23/2021                               $0.60
   Bill
 09/23/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
  RE2          09/23/2021                               $0.60
   Bill
 09/23/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                  0.60
       20-12345-scc      Doc 848
                             807      Filed 11/15/21
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  RE2          09/23/2021                                 $0.90
   Bill
 09/23/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                   0.90
  RE2          09/23/2021                                 $1.90
   Bill
 09/23/2021   RE2        SCAN/COPY ( 19 @0.10 PER PG)                                  1.90
  RE2          09/23/2021                                 $1.50
   Bill
 09/23/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
  RE2          09/23/2021                                 $1.50
   Bill
 09/23/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
  RE2          09/23/2021                                 $1.70
   Bill
 09/23/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)                                  1.70
  RE2          09/23/2021                                 $1.50
   Bill
 09/23/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
  RE2          09/23/2021                                 $1.40
   Bill
 09/23/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                  1.40
  RE2          09/23/2021                                 $1.40
   Bill
 09/23/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                  1.40
  RE2          09/23/2021                                 $1.40
   Bill
 09/23/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                  1.40
  BB           09/27/2021                                $12.00
   Bill
 09/27/2021   BB         18491.00002 Bloomberg Charges through 09-27-21               12.00
  RE2          09/27/2021                                 $1.60
   Bill
 09/27/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                  1.60
  RE2          09/27/2021                                 $0.70
   Bill
 09/27/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                   0.70
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  RE2          09/27/2021                               $1.40
   Bill
 09/27/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/27/2021                               $1.60
   Bill
 09/27/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
  RE2          09/27/2021                               $1.60
   Bill
 09/27/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
  RE2          09/27/2021                               $1.50
   Bill
 09/27/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
  RE2          09/27/2021                               $1.60
   Bill
 09/27/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
  RE2          09/27/2021                               $1.40
   Bill
 09/27/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/27/2021                               $0.70
   Bill
 09/27/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                  0.70
  RE2          09/27/2021                               $5.10
   Bill
 09/27/2021   RE2        SCAN/COPY ( 51 @0.10 PER PG)                                 5.10
  RE2          09/27/2021                               $1.40
   Bill
 09/27/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/27/2021                               $1.70
   Bill
 09/27/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)                                 1.70
  RE2          09/27/2021                               $1.50
   Bill
 09/27/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
  RE2          09/27/2021                               $1.50
   Bill
 09/27/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
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  RE2          09/27/2021                               $1.50
   Bill
 09/27/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
  RE2          09/27/2021                               $2.20
   Bill
 09/27/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                 2.20
  RE2          09/27/2021                               $1.40
   Bill
 09/27/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                 1.40
  RE2          09/27/2021                               $2.20
   Bill
 09/27/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                 2.20
  RE2          09/27/2021                               $1.60
   Bill
 09/27/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
  RE2          09/27/2021                               $1.50
   Bill
 09/27/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
  RE2          09/27/2021                               $1.60
   Bill
 09/27/2021   RE2        SCAN/COPY ( 16 @0.10 PER PG)                                 1.60
  RE2          09/27/2021                               $1.50
   Bill
 09/27/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
  RE2          09/27/2021                               $1.50
   Bill
 09/27/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
  RE2          09/27/2021                               $1.70
   Bill
 09/27/2021   RE2        SCAN/COPY ( 17 @0.10 PER PG)                                 1.70
  RE2          09/27/2021                               $1.50
   Bill
 09/27/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
  RE2          09/27/2021                               $1.50
   Bill
 09/27/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                 1.50
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  RE2          09/27/2021                                  $1.80
   Bill
 09/27/2021   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                   1.80
  LN           09/29/2021                                 $37.78
   Bill
 09/29/2021   LN         18491.00002 Lexis Charges for 09-29-21                        37.78
  RE2          09/29/2021                                  $1.40
   Bill
 09/29/2021   RE2        SCAN/COPY ( 14 @0.10 PER PG)                                   1.40
  RE2          09/29/2021                                  $0.90
   Bill
 09/29/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                    0.90
  RE2          09/29/2021                                  $0.60
   Bill
 09/29/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                    0.60
  RE2          09/29/2021                                  $0.70
   Bill
 09/29/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                    0.70
  RE2          09/29/2021                                  $0.70
   Bill
 09/29/2021   RE2        SCAN/COPY ( 7 @0.10 PER PG)                                    0.70
  RE2          09/29/2021                                  $0.60
   Bill
 09/29/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                    0.60
  RE2          09/29/2021                                  $0.60
   Bill
 09/29/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                    0.60
  RE2          09/29/2021                                  $0.80
   Bill
 09/29/2021   RE2        SCAN/COPY ( 8 @0.10 PER PG)                                    0.80
  RE2          09/29/2021                                  $0.60
   Bill
 09/29/2021   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                    0.60
  PO           09/30/2021                                  $7.08
   Bill
 09/30/2021   PO         Postage Charges                                                7.08
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  RE2          09/30/2021                                   $3.30
   Bill
 09/30/2021   RE2        SCAN/COPY ( 33 @0.10 PER PG)                                   3.30
  RE2          09/30/2021                                   $0.10
   Bill
 09/30/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                    0.10
  RE2          09/30/2021                                   $5.10
   Bill
 09/30/2021   RE2        SCAN/COPY ( 51 @0.10 PER PG)                                   5.10
  RE2          09/30/2021                                  $13.20
   Bill
 09/30/2021   RE2        SCAN/COPY ( 132 @0.10 PER PG)                                 13.20
  RS           09/30/2021                               $3,234.00
   Bill
 09/30/2021   RS         Research [E106] Everlaw, Inc. Inv. 45852                   3,234.00
  PAC          09/30/2021                                   $6.80

 09/30/2021   PAC        Pacer - Court Research                                         6.80

   Total Expenses for this Matter                                               $4,013.98
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        09/30/2021

Total Fees                                                                                           $340,555.50

Total Expenses                                                                                           4,013.98

Total Due on Current Invoice                                                                         $344,569.48

  Outstanding Balance from prior invoices as of        10/12/2021          (May not include recent payments)

A/R Bill Number           Invoice Date              Fees Billed         Expenses Billed             Balance Due
 127263                   01/31/2021               $239,884.00           $2,506.31                    $9,566.14

 127463                   02/28/2021               $151,283.50             $879.50                    $30,256.50

 127564                   03/31/2021               $214,968.50           $5,003.65                    $42,993.70

 127762                   04/30/2021               $390,224.50           $7,613.85                    $78,044.90

 128137                   05/31/2021               $715,301.00           $5,319.79                   $143,060.20

 128215                   06/30/2021               $259,929.00           $5,265.05                    $51,985.80

 128300                   07/31/2021               $243,748.00           $5,412.72                    $48,749.60

 128476                   08/31/2021               $331,429.00           $5,438.19                   $336,867.19

             Total Amount Due on Current and Prior Invoices:                                        $1,086,093.51
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                                        EXHIBIT F

                                      Proposed Order




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                          ) Case No. 20-12345 (SCC)
                                                                )
THE ROMAN CATHOLIC DIOCESE OF                                   ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                                     )
                                                                )
                                    Debtor. 1                   )
                                                                )


                            ORDER GRANTING
    THIRD INTERIM APPLICATION FOR ALLOWANCE OF COMPENSATION AND
    REIMBURSEMENT OF EXPENSES BY PACHULSKI STANG ZIEHL & JONES LLP
     AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
        FOR THE PERIOD FROM JUNE 1, 2021 THROUGH SEPTEMBER 30, 2021

                  Pachulski Stang Ziehl & Jones LLC (“PSZJ”) as Counsel to the Official

Committee of Unsecured Creditors in the above-captioned case, filed its Third Interim

Application for Compensation for the Period from June 1, 2021 through September 30, 2021 (the

“Third Interim Fee Application”). The Court has reviewed the Third Interim Fee Application

and finds that: (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334; (b) notice of the Third Interim Fee Application, and any hearing on the Third Interim Fee

Application, was adequate under the circumstances; and (c) all persons with standing have been

afforded the opportunity to be heard on the Third Interim Fee Application. Accordingly, it is

hereby

                  ORDERED that the Third Interim Fee Application is GRANTED. PSZJ is

hereby awarded, on an interim basis, the allowance of $1,175,661.50 for services rendered and

$20,129.94 for actual and necessary expenses incurred in the Chapter 11 case during the Third



1
 The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the last four
digits of its federal tax identification number are 7437, and its mailing address is 50 North Park Avenue, P.O. Box
9023, Rockville Centre, NY 11571-9023.


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Interim Compensation Period. The Debtor is hereby authorized and directed to immediately pay

PSZJ the unpaid portion of 90% of such allowed fees.

                 ORDERED that this Court retains jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.

Dated: ____________________, 2021
       New York, New York

                                              THE HONORABLE SHELLEY C. CHAPMAN
                                              U.S. BANKRUPTCY JUDGE




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